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                    Exhibit A
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  MISMA RIVERA, individually and on behalf of all
  others similarly situated,

                 Plaintiff,
                                                                Case No: 19-CV-61664
                 v.

  METROPCS FLORIDA, LLC,

                 Defendant.



                               DECLARATION OF
                               DECLARATION OF HOPE
                                              HOPE NORRIS
                                                   NORRIS

          I, Hope Norris, declare as follows:

         1.
         1.      My name is Hope Norris. II am
                                            am over
                                               over the
                                                     the age
                                                         age of
                                                             of 18
                                                                18 and
                                                                   and am
                                                                       am competent
                                                                          competent to make this

  declaration. II am
  declaration.     amemployed
                      employed as
                                as aacustodian
                                      custodian of
                                                 ofrecords
                                                    records for
                                                             forDefendant
                                                                Defendant MetroPCS
                                                                          MetroPCS Florida,
                                                                                   Florida, LLC
                                                                                            LLC

  (“Metro”) in
  ("Metro") in Dallas,
               Dallas, Texas. My title
                       Texas. My  title isis Senior
                                              Senior Director,
                                                     Director, Customer
                                                               Customer Experience.   make this
                                                                        Experience. I make this

  declaration in support of
                         of Metro’s
                            Metro's Motion to Compel Arbitration. The following facts are true and
                                                     Arbitration. The

  of my own personal knowledge, my familiarity with Metro policies and practices, and my review

  of business records
              records of
                      of Metro.
                         Metro. IfIf called
                                     called and
                                            and sworn
                                                sworn as
                                                      as aa witness,
                                                            witness, II could
                                                                        could and
                                                                              and would
                                                                                  would competently
                                                                                        competently

  testify to the following.

         2.
         2.                        responsibilities as Senior Director, Customer Experience, I am
                 As part of my job responsibilities

  familiar with Metro’s
                Metro's recordkeeping for customer records. Metro, in
                                                   records. Metro, in its ordinary course of doing

  business, keeps
  business, keeps and
                  and maintains
                      maintains records
                                 recordsof
                                         of its
                                             its customers.       records are made by, or from,
                                                 customers. Those records                 from,

  information transmitted by a person with knowledge of the event described therein at or near the

  time of the event described and are kept in the ordinary course of the regularly conducted business

  activity of that person and Metro, and it is the
                                               the regular
                                                   regular practice
                                                           practice of Metro
                                                                       Metro to
                                                                             to make
                                                                                make such
                                                                                     such records.
                                                                                          records.



                                                  1
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  Those records document, among other things, cellular number, account number, activation date,

  termination date (if service has been terminated), and the number of active lines on that account.

  The records may also document,
  The records          document, among
                                 among other
                                       other things,
                                             things, usage
                                                     usage of     account by the
                                                           of the account     the customer,
                                                                                   customer,

  payments made by the customer, etc.

         3.
         3.      MetroPCS Florida,
                 MetroPCS Florida, LLC
                                   LLC is
                                       is a Delaware
                                            Delaware LLC,
                                                     LLC, and its sole
                                                                  sole member
                                                                       member is
                                                                              is T-Mobile
                                                                                 T-Mobile

  South,
  South, LLC. T-Mobile South,
         LLC. T-Mobile South, LLC
                              LLC is
                                  is also
                                     also aa Delaware
                                             Delaware LLC,
                                                      LLC, and
                                                           and its
                                                               its sole
                                                                   sole member
                                                                        member is T-Mobile
                                                                                  T-Mobile

       T-MobileUSA
  USA. T-Mobile USAisis aa Delaware
                           Delaware corporation
                                    corporation with
                                                with its principal place of business in Washington.

         4.              records reflect
                 Metro’s records
                 Metro's         reflect that
                                         that Mr.
                                              Mr. Rivera
                                                  Rivera has
                                                         has aa Metro
                                                                Metro account
                                                                      account ending in 6279 (the

  “Rivera Account").
  "Rivera Account”).

         5.
         5.      Plaintiff’s counsel
                 Plaintiffs   counsel included
                                       included in
                                                in the
                                                    the Complaint,
                                                        Complaint, and Metro's
                                                                       Metro’s records
                                                                                records confirm,
                                                                                        confirm, that

  Mr. Rivera has a Metro telephone number
                                   number ending
                                          ending in 6059 (“Rivera’s
                                                 in 6059 ("Rivera's 6059 line”).
                                                                         line").

         6.
         6.              records reflect
                 Metro’s records
                 Metro's         reflect that
                                         that Rivera's
                                              Rivera’s 6059
                                                       6059 line
                                                             line of
                                                                  of service
                                                                     service was activated with Metro

  on or about September 27, 2010.

         7.      Throughout the life of the Rivera Account, Mr. Rivera activated, used, and paid for

  his Metro service.

         8.
         8.      Plaintiff upgraded
                           upgraded his
                                    his account
                                        account multiple
                                                multiple times,
                                                         times, including
                                                                including but
                                                                          but not
                                                                              not limited
                                                                                  limited to,
                                                                                          to, on or

  about October 20, 2017, November 28, 2018, and June 10, 2019.

         9.
         9.         all relevant
                 At all  relevant times,
                                  times, it has
                                            has been
                                                been (and
                                                      (and still
                                                           still is)
                                                                  is) Metro's  standard practice
                                                                      Metro’s standard  practice and
                                                                                                 and

  procedure to provide a customer activating
  procedure                       activating service
                                             service with
                                                     with information
                                                          information about
                                                                      about Metro’s Terms and
                                                                            Metro's Terms and

  Conditions, including information
                        information that
                                    that the Terms and Conditions require arbitration of disputes

             customer would accept the Terms and Conditions
  and that a customer                            Conditions by activating, using, or paying for

  Metro services.




                                                  2
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           10.
           10.                                     Conditions (the
                  The Metro October 2018 Terms and Conditions (the “2018
                                                                   "2018 Terms
                                                                         Terms and
                                                                               and Conditions”)
                                                                                   Conditions")

  included an arbitration agreement that governs all claims in any way related to or concerning the

  Agreement or Metro’s services, devices, or products.
               Metro's services,

           11.
           11.    While Metro
                  While Metro periodically
                              periodically revises
                                           revises its Terms and
                                                   its Terms  and Conditions,
                                                                   Conditions, the
                                                                                the arbitration
                                                                                     arbitration

  provisions have
  provisions have not
                  not changed
                      changed in
                              in a way material
                                       material to this
                                                   this dispute
                                                        dispute and
                                                                and are
                                                                    are essentially
                                                                         essentially identical
                                                                                     identical to

          2018 Terms
  Metro’s 2018
  Metro's      Terms and
                     and Conditions
                         Conditions described
                                    described below.
                                              below.

           12.
           12.    At the time Mr. Rivera opened his account,
                                                    account, it was Metro's standard practice
                                                                    Metro’s standard practice and
                                                                                              and

  procedure to provide a customer purchasing a new Metro device with a one-page sheet explaining

          return and
  Metro’s return
  Metro's        and upgrade
                     upgrade policies,
                             policies, Metro's Terms and
                                       Metro’s Terms and Conditions,
                                                         Conditions, and
                                                                     and the
                                                                         the web address for the

  full terms
  full terms and
             and conditions
                 conditions (the
                            (the “Metro
                                 "Metro Information
                                        Information Sheet”). A true
                                                    Sheet"). A true and
                                                                    and correct
                                                                        correct copy
                                                                                copy of
                                                                                     of the
                                                                                        the Metro

  Information Sheet is attached as Exhibit A-1.

           13.
           13.    The       Information Sheet
                      Metro Information
                  The Metro             Sheet includes
                                              includes aa section
                                                          section entitled,
                                                                  entitled, "Metro
                                                                            “Metro Terms
                                                                                   Terms and
                                                                                         and

  Conditions.” The
  Conditions." The first
                    first line
                           line of
                                of the
                                    the section
                                        section describing
                                                describing Metro's Terms and
                                                           Metro’s Terms and Conditions
                                                                             Conditions reads
                                                                                        reads in
                                                                                              in bold
                                                                                                 bold

  print:

               activating or
           By activating     using Metro
                          or using Metro Service,
                                           Service, you
                                                     you agree
                                                         agree to the Metro
                                                                        Metro Terms
                                                                               Terms and
           Conditions of Service. Metro requires Arbitration of Disputes unless you opt-
           out within 30 days of activating. Details and the full version can be viewed at
           metropcs.com/terms.

  Exhibit A-1, at MetroPCS Terms and Conditions of Service.

           14.
           14.    The Metro Information Sheet also states in bold that customers agree to the Terms

  and Conditions, including the arbitration obligation and class action waiver by using and paying

  for Metro service:

           By: (a) giving us a written or electronic signature or telling us orally that you
           accept the MetroPCS Terms and Conditions of Service; (b) activating Service
               you are
           (if you are aa new
                           new subscriber);
                                subscriber); (c)
                                               (c) using
                                                   using your
                                                          your Service
                                                               Service after
                                                                       after your
                                                                             your Service
                                                                                  Service is
           activated or after you make a change or addition to your Service; (d) paying
           for the Service;
           for      Service; or (e)
                                 (e) failing
                                      failing to
                                              to activate
                                                  activate Service
                                                           Service within
                                                                   within 30 days after
                                                                                   after the
                                                                                         the



                                                  3
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         purchase of your wireless device, unless you return your wireless device within
         MetroPCS’ applicable
         MetroPCS'   applicable return
                                 return period,
                                        period, you agree to the MetroPCS Terms and
         Conditions of Service and the terms and conditions of service and use related
         to any feature you may have selected or may be included in your Rate Plan,
         including, but not limited to:

                 •   You waive your right to a jury trial in disputes with MetroPCS;
                 •   Your disputes with MetroPCS will be decided by an arbitrator;
                 •   You waive
                      You   waive your
                                   your right to
                                              to institute
                                                  institute or
                                                            or participate
                                                               participate in class
                                                                              class action
                                                                                    action
                      litigation against MetroPCS;
                 •   You will provide MetroPCS with accurate information about yourself;
                 •   MetroPCS may
                      MetroPCS may communicate
                                   communicate with
                                               with you
                                                    you from
                                                        from time
                                                             time to time about your
                      Service;
                 •   You will pay all taxes
                      You                taxes and
                                               and regulatory
                                                    regulatory fees
                                                                fees even
                                                                     even if your rate
                                                                          if your rate plan
                                                                                       plan is
                      inclusive of taxes and regulatory fees; and
                 •   MetroPCS may terminate your Service if you fail to timely pay for your
                      Service
                      Service or violate the Terms
                              or violate     Terms and Conditions
                                                          Conditions of Service
                                                                         Service in any way,
                                                                                        way,
                      including abuse of the Service or violations of applicable laws.

  Id. (emphasis in original).

         15.
         15.     It
                 It is
                    is also
                       also Metro’s practice to
                            Metro's practice to include
                                                include aa sticker
                                                           sticker on
                                                                   on the
                                                                      the box
                                                                          box (the
                                                                              (the “Metro
                                                                                   "Metro Box
                                                                                          Box Sticker”)
                                                                                              Sticker")

  that must be removed before the box can be opened,
                                             opened, which
                                                     which also
                                                           also alerts
                                                                alerts customers  to Metro’s
                                                                       customers to  Metro's Terms
                                                                                             Terms

  and Conditions
  and Conditions and
                 and the arbitration agreement.
                     the arbitration            The Metro
                                     agreement. The Metro Box
                                                          Box Sticker
                                                              Sticker both
                                                                      both references
                                                                            references the
                                                                                       the

  arbitration provision
  arbitration provision of
                        of the
                           the Terms
                               Terms and Conditions
                                         Conditions and
                                                    and directs
                                                        directs customers
                                                                customers to
                                                                          to the full Terms and

  Conditions on
  Conditions on Metro’s website. The sticker appears as follows:
                Metro's website.

                                       C
                                           IMPORTANT
                                           Thls drice't eti:1 teln•-lon ye, 'en•menlal cq
                                           Fat             DJ-chasing tier use on Metro I
                                           T-Mahar and ndt for comnustcbl ramie_ Hy
                                           exchasqg onenqg 'Ks package at:C.a.-a
                                                     pay 3 ro• Mel, by 1 Mohle se.v.ce
                                           la agee lc the Mel-o by 1 t-loh'b re-^n and
                                                   c-incf 5Cs-',..vohCh D•ow'cle lo- a•El•al C9
                                           Di .1.51:1Jil, ax= ,a'wrs cr clam a=!'o, aqc1,-y
                                             als.See the conolele 1 f,Cs                cleta'h
                                           at -nel .cEyt
                                           acco.dance wl h the          DOICddl. the
                                           cu.chase I yeJcb•c.i ag,eeic the 18C:a.
                                                                             NI- S2791,11- I g




         16.
         16.     At all relevant times, it also was Metro’s standard practice and procedure to send a
                                                    Metro's standard

  SMS text message to a customer activating a new device or line of service notifying the customer


                                                                   4
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  of Terms and Conditions and directing them to the website containing the Terms and Conditions:

  https://www.metropcs.com/terms-conditions/terms-conditions-service.html.
  https ://www.metropcs. com/tenns -conditions/tenns -conditions -service. html.

          17.
          17.     Metro’s records
                  Metro's records indicate
                                  indicate that
                                            that Metro
                                                 Metro sent the return
                                                       sent the return policy
                                                                       policy and
                                                                              and Terms
                                                                                  Terms and
                                                                                        and

  Conditions to Mr. Rivera in English and Spanish by SMS text message
                                                              message delivered to Mr.
                                                                      delivered to Mr. Rivera’s
                                                                                       Rivera's

  6059 line on October 20, 2017, November 28, 2018, and June 10, 2019, after Mr. Rivera upgraded

  his service.

          18.
          18.     The 2018 Terms and Conditions provide that a customer
                                                               customer accepts
                                                                        accepts the
                                                                                the Agreement
                                                                                    Agreement

                         number of ways,
  with Metro in any of a number    ways, including
                                         including by activating service, by using service, or by

  paying for service:

                Acceptance. YOUR
                            YOUR AGREEMENT
                                  AGREEMENT WITH
                                               WITH METROPCS
                                                    METROPCS STARTS
                                                               STARTS WHEN
                                                                        WHEN
                YOU ACCEPT
                YOU  ACCEPT THESE
                              THESE TERMS
                                     TERMS AND CONDITIONS.
                                                 CONDITIONS. YOU   AGREE TO
                                                              YOU AGREE
                COMPLY WITH ALL APPLICABLE LAWS AND POLICIES BY DOING
                ANY OF
                ANY   OF THE
                          THE FOLLOWING:
                                FOLLOWING: (A)   GIVING US
                                             (A) GIVING  US AA WRITTEN
                                                                WRITTEN OROR
                ELECTRONIC SIGNATURE,
                ELECTRONIC    SIGNATURE,OROR TELLING
                                              TELLING US
                                                      US ORALLY
                                                          ORALLY THAT
                                                                   THAT YOU
                                                                         YOU
                ACCEPT; (B) ACTIVATING
                ACCEPT;      ACTIVATING OR CONTINUING
                                             CONTINUING SERVICE;
                                                          SERVICE; (C) USING
                                                                       USING
                YOUR
                YOUR SERVICE     AFTER YOUR
                       SERVICE AFTER   YOUR SERVICE
                                              SERVICE IS ACTIVATED
                                                         ACTIVATED OROR YOU
                                                                         YOU
                MAKE A CHANGE
                MAKE     CHANGE OR ADDITION
                                      ADDITION TO YOUR
                                                   YOUR SERVICE;
                                                         SERVICE; (D) PAYING
                                                                      PAYING
                FOR THE SERVICE; OR (E) FAILING TO ACTIVATE SERVICE WITHIN
                   DAYS AFTER
                30 DAYS  AFTER THE
                                 THE PURCHASE
                                     PURCHASE OFOF YOUR
                                                   YOUR WIRELESS
                                                         WIRELESS DEVICE.
                                                                   DEVICE. IF
                YOU ARE A NEW CUSTOMER AND YOU DO NOT AGREE TO THIS
                AGREEMENT, DO NOT DO ANY OF THESE THINGS.

                IF YOU
                   YOU ARE
                       ARE AN
                            AN EXISTING
                                EXISTING CUSTOMER
                                          CUSTOMER AND
                                                     AND THE SERVICE
                                                                SERVICE IS
                PROVIDED TO YOU UNDER A PRIOR AGREEMENT AND YOU DO
                NOT AGREE
                NOT  AGREE TO
                            TO THIS
                                THIS AGREEMENT,
                                      AGREEMENT, YOU
                                                   YOU MUST
                                                        MUST TERMINATE
                                                                TERMINATE
                SERVICE AS SET FORTH IN THE PRIOR AGREEMENT; PROVIDED,
                HOWEVER, THAT
                HOWEVER,  THAT IF YOU CHOOSE
                                       CHOOSE TO
                                               TO TERMINATE
                                                  TERMINATE SERVICE YOU
                WILL STILL BE BOUND
                              BOUND BY
                                     BY THE
                                        THE PRIOR
                                             PRIOR AGREEMENT,
                                                   AGREEMENT, INCLUDING
                                                                 INCLUDING
                      OBLIGATION TO PAY ANY
                YOUR OBLIGATION          ANY OUTSTANDING
                                              OUTSTANDING AMOUNTS AND
                YOUR AGREEMENT
                      AGREEMENT TO ARBITRATE    DISPUTES. IF YOU HAVE ANY
                                     ARBITRATE DISPUTES.
                QUESTIONS,
                QUESTIONS, DO
                            DO NOT
                               NOT ACTIVATE
                                    ACTIVATE OR
                                              OR USE YOUR
                                                      YOUR SERVICE,
                                                              SERVICE, AND
                                                                       AND
                CONTACT  METROPCS OR
                CONTACT METROPCS    OR ITS AUTHORIZED
                                           AUTHORIZED DEALERS
                                                        DEALERS TO HAVE
                                                                      HAVE
                YOUR QUESTIONS ANSWERED.
                                ANSWERED

  A true and correct copy of the Metro Terms and Conditions are attached as Exhibit A-2 (emphasis

  in original).



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         19.
         19.     Metro’s records
                 Metro's records show
                                 show that
                                      that Mr.
                                           Mr. Rivera
                                               Rivera activated
                                                      activated service, used service, and paid for

           TheRivera
  service. The Rivera Account
                      Account reflects
                               reflects aa number
                                           number of
                                                  of payments
                                                     payments received,
                                                              received, including, but not limited

  to, payments for service on September 27, 2010, the day Mr. Rivera opened his account, and on

  October 21,
  October 21, 2017;
              2017; November
                    November 28,
                             28, 2018;
                                 2018; and
                                       and June
                                           June 11,
                                                11, 2019,
                                                    2019, all within
                                                              within one day of his
                                                                                his account
                                                                                    account

  upgrades.

         20.     Metro's records show
                 Metro’s records show that
                                      that from January to July of 2019,
                                                                   2019, Metro
                                                                         Metro received at least

  seven different payments to the Rivera Account.

         21.                                                    “any and all claims or Disputes
                 The 2018 Terms and Conditions apply broadly to "any

  between you
          youand
              and us,
                  us, in
                       in any
                          any way
                              way related
                                  related to or concerning the Agreement, our Privacy Policy,

                                products." Id. (emphasis in original).
  our Services, [or] devices or products.”

         22.     The 2018 Terms and Conditions also included a notice under the heading Metro

  by T-Mobile Terms and Conditions of Service before the full text of the arbitration provision:

         IMPORTANT: READ THIS AGREEMENT CAREFULLY. IT REQUIRES
         THE USE
         THE USE OF
                  OFINDIVIDUAL
                     INDIVIDUAL ARBITRATION
                                 ARBITRATION RATHER
                                               RATHER THAN
                                                       THAN JURY
                                                              JURY
         TRIALS OR CLASS ACTIONS TO RESOLVE DISPUTES. ARBITRATION
         IS MORE INFORMAL
         IS MORE  INFORMAL THAN
                             THAN LITIGATION
                                   LITIGATION BECAUSE
                                               BECAUSEIT IT USES
                                                            USES A
         NEUTRAL   ARBITRATORINSTEAD
         NEUTRAL ARBITRATOR     INSTEADOFOFAA JUDGE
                                              JUDGE OR
                                                     OR JURY
                                                        JURY AND
                                                               AND
         ALLOWS FOR LESS
         ALLOWS       LESS DISCOVERY
                           DISCOVERY AND
                                      AND LESS
                                          LESS APPELLATE
                                                APPELLATE REVIEW
                                                           REVIEW
         THAN IN COURT.

  Id. (emphasis in original).

         23.     Additionally the
                 Additionally                and Conditions
                              the 2018 Terms and Conditions provide
                                                            provide aa comprehensive
                                                                        comprehensive section
                                                                                      section

  entitled Dispute Resolution and Arbitration, which states in pertinent part:

         Dispute Resolution and Arbitration.
                                     Arbitration. We each agree that, except as provided
         below, any and all claims or Disputes between you and us, in any way related
         to or concerning the Agreement, our Privacy Policy, our Services, devices or
         products, will
         products,           resolved by
                    will be resolved     by binding
                                             binding arbitration.
                                                      arbitration. This
                                                                   This includes
                                                                        includes any claims
                                                                                      claims
         against other parties relating to Services or wireless devices provided or billed to
         you (such as our suppliers, Dealers or third party vendors) whenever you also assert
         claims against
         claims against us in the same
                                   same proceeding.    “Dispute” shall be given
                                          proceeding. "Dispute"           given the broadest
                                                                                    broadest
         possible meaning and shall include any dispute, claim, or controversy arising from



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             relating to this
         or relating      this Agreement
                               Agreement or   or Services
                                                 Services and/or
                                                           and/or Products
                                                                     Products provided
                                                                               provided under this
         Agreement, including but not limited to: (1) all claims for relief and all theories of
         liability, whether
         liability, whether based
                              based in contract, tort, statute, regulation,
                                                                  regulation, ordinance, fraud, or
         misrepresentation; (2) all disputes regarding the validity, enforceability or scope of
              arbitration agreement
         this arbitration  agreement (with
                                        (with the
                                               the exception
                                                   exception of of its class action waiver);
                                                                                     waiver); (3) all
         disputes   that arose  before   this  Agreement;    (4)  all disputes
         disputes that arose before this Agreement; (4) all disputes that arise that  arise after the
                                                                                                  the
         termination of this Agreement; and (5) all disputes that are the subject of a putative
         class action in which no class has been  been certified.
                                                       certified. References in this provision to
         “us” include
         "us"   include our
                         our parents,
                              parents, subsidiaries,
                                        subsidiaries, affiliates,
                                                       affiliates, predecessors,
                                                                    predecessors, successors,
                                                                                    successors, and
         assigns and our and their directors, officers, employees and agents. References in
                            “you” include all beneficiaries of this Agreement and all users of
         this provision to "you"
         the Services provided under this Agreement. Notwithstanding the foregoing, either
         party may bring an individual action in small claims court or bring Disputes to the
         attention of
         attention      federal, state,
                     of federal, state, or local agencies,
                                                   agencies, including,
                                                               including, but
                                                                            but not  limited to, the
                                                                                 not limited
         Federal Communications Commission

  Id. (emphasis in original).

         24.     A customer may opt out of the arbitration
                                               arbitration agreement contained
                                                                     contained in the Terms and

  Conditions if that customer notifies Metro in writing according to the “notice”
                                                                         "notice" section of the Terms

  and Conditions within 30 days of initiating service or, if the customer never had the opportunity

  to opt out of arbitration, within 30 days of the date of the change notice giving the customer that

                In full,
  opportunity. In  full, the
                          the opt-out
                              opt-out provision provides:

         If you do not wish to be bound by this arbitration agreement, you must notify us of
         your desire to do so within 30 days of initiating Service, or, if you have never had
         the opportunity to opt out of arbitration, within 30 days of the date of the change
         notice giving
         notice    giving you you the the opportunity.
                                              opportunity. ToTo do      do so,so, please
                                                                                     please visit
                                                                                                visit
         www.metropcsdisputeresolution.com and     andfollow
                                                        follow the
                                                                the instructions
                                                                     instructions on that site. Your
         decision to
         decision         out of
                   to opt out  of this
                                   this arbitration
                                         arbitration agreement
                                                      agreement will not not adversely
                                                                              adversely affect
                                                                                         affect our
                                                                                                 our
         relationship with or delivery of Service to you. If you have previously notified us
         of your decision to opt out of this arbitration agreement, you need not do so again.

  Id. (emphasis in original).

         25.     The 2018 Terms and Conditions also include a class action and jury trial waiver:

         CLASS ACTION
         CLASS ACTION WAIVER.
                       WAIVER. WE        AGREE THAT
                                WE EACH AGREE  THAT ANY
                                                     ANY DISPUTE
                                                          DISPUTE
         RESOLUTION   PROCEEDINGS, WHETHER
         RESOLUTION PROCEEDINGS,     WHETHER IN
                                              IN ARBITRATION
                                                 ARBITRATION OR
         COURT, WILL
         COURT,           CONDUCTED ONLY
                WILL BE CONDUCTED    ONLY ON AN
                                             AN INDIVIDUAL
                                                 INDIVIDUAL BASIS
                                                             BASIS
         AND
         AND NOT
             NOT IN
                 IN AA CLASS
                        CLASS OR
                               ORREPRESENTATIVE   ACTION OR
                                  REPRESENTATIVE ACTION   OR AS
                                                              AS A
         MEMBER OF AA CLASS,
         MEMBER          CLASS,CONSOLIDATED
                                CONSOLIDATED OR
                                              ORREPRESENTATIVE
                                                  REPRESENTATIVE



                                                      7
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          ACTION. If a court or arbitrator determines in an action between you and us
          that this Class Action Waiver is unenforceable, the arbitration agreement will
          be void as to you. If you choose to pursue your claim in court by opting out of
          the arbitration
          the  arbitration provision
                            provision as   specified above,
                                       as specified  above, this
                                                             this Class
                                                                  Class Action
                                                                         Action Waiver
                                                                                  Waiver
          provision will not apply to you. Neither you, nor any other customer, can be a
          class representative,
          class  representative, class
                                  class member,
                                        member, or    otherwise participate
                                                   or otherwise  participateinin aa class,
                                                                                    class,
          consolidated or representative
          consolidated     representative proceeding
                                           proceeding without
                                                       without having complied
                                                                      complied with the
          opt out requirements above.

          JURY TRIAL
          JURY   TRIAL WAIVER.   If aa claim
                         WAIVER. If     claim proceeds
                                              proceeds in
                                                        in court
                                                           court rather
                                                                 rather than
                                                                        than through
                                                                             through
          arbitration, WE EACH WAIVE ANY RIGHT TO A JURY TRIAL.

  Id. (emphasis in original).

          26.    The Terms and Conditions
                 The Terms     Conditions also        that "Because
                                               stated that
                                          also stated      “Because this Agreement
                                                                         Agreement and
                                                                                   and the

  Services provided under this Agreement concern interstate commerce, this arbitration agreement

  shall be
  shall be governed
           governed by
                    by the
                       the Federal
                           Federal Arbitration
                                   Arbitration Act
                                               Act (“FAA”).”
                                                   ("FAA")." Id.

          27.    The Terms and
                 The Terms     Conditions further
                           and Conditions further state
                                                  state that
                                                        that “[f]or claims less
                                                             If] or claims less than
                                                                                than $75,000,
                                                                                     $75,000, the

  AAA’s Supplemental
  AAA's Supplemental Procedures
                     Procedures for
                                for Consumer-Related
                                    Consumer-Related Disputes
                                                     Disputes will
                                                              will apply.”
                                                                   apply." Id.

          28.    Under the heading Notices and Customer Communications, the Metro Terms and

  Conditions contains
  Conditions                            “Metro by
             contains an agreement that "Metro by T-Mobile
                                                  T-Mobile may contact you in any way, including,

  pre-recorded or
  pre-recorded or artificial
                  artificial voice
                             voice or text
                                      text messages
                                           messages delivered
                                                    delivered by an
                                                                 an automatic
                                                                     automatic telephone
                                                                                telephone dialing
                                                                                          dialing

  system, or e-mail
  system,    e-mail messages
                    messages delivered
                             delivered by an
                                          an automatic
                                              automatic e-mailing system.” Id. (emphasis
                                                        e-mailing system."     (emphasis in

  original).

          29.    The current Terms and Conditions are also publicly available on the Metro website

  and contain
  and  contain the
                 theofficial
                       official Metro
                             Metro logo:logo:  https://www.metropcs.com/terms-conditions/terms-
                                          https://www.metropcs.com/tenns-conditions/terms-

  conditions-service.html.

          30.
          30.    Metro's customer records
                 Metro’s customer records reflect
                                          reflect any
                                                  any opt-out
                                                      opt-out notices,
                                                              notices, if
                                                                       if and when they are received.

  Mr. Rivera never provided notice that he wished to opt out of the arbitration agreement.




                                                  8
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         I declare under penalty of perjury under the laws of the State of Texas that the foregoing is

  true and correct. Executed this,     day of                    Richardson,Texas.
                                                          4- at Richardson,



                                                                                 k
                                                               I-lope Norris




                                                  9
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                Exhibit A-1
                                                 MetroPCS
                                                 MetroPCS
                  Case 0:19-cv-61664-RS Document 5-1        Policies
                                                     EnteredPolicies
                                                             on FLSD Docket 08/02/2019 Page 12 of 39
Return Policy                                                                                                                                                                             Upgrade Policy
                                                                                                                                                                                          Upgrade Policy
 MetroPCS customers
MetroPCS      customers activating
                               activating aa new      device on
                                                 new device      on aa new
                                                                       new line
                                                                            line ofof service
                                                                                      service with
                                                                                                 with                                                                                     Customers who
                                                                                                                                                                                          Customers     who wish
                                                                                                                                                                                                            wish to
                                                                                                                                                                                                                 to purchase
                                                                                                                                                                                                                    purchase aa new
                                                                                                                                                                                                                                new device
                                                                                                                                                                                                                                      device in-store
                                                                                                                                                                                                                                              in-store or
                                                                                                                                                                                                                                                       or online
                                                                                                                                                                                                                                                          online within
                                                                                                                                                                                                                                                                  within 90 days
                                                                                                                                                                                                                                                                         90 days
 MetroPCS who
MetroPCS      who are are dissatisfied
                           dissatisfied with       their new
                                             with their   new device
                                                                 device oror service
                                                                             service maymay return
                                                                                               return                                                                                     of their last
                                                                                                                                                                                          of their last new
                                                                                                                                                                                                        new device
                                                                                                                                                                                                            device purchase
                                                                                                                                                                                                                    purchase on
                                                                                                                                                                                                                             on aa line of service
                                                                                                                                                                                                                                   line of service must
                                                                                                                                                                                                                                                   must pay
                                                                                                                                                                                                                                                          pay the
                                                                                                                                                                                                                                                              the full
                                                                                                                                                                                                                                                                  full suggested
                                                                                                                                                                                                                                                                       suggested
 their new
their  new device
              device for for aa device
                                 device and and service     refund.**
                                                  service refund.                                                                                                                         retail price.
                                                                                                                                                                                          retail price.
 MetroPROMISE® Rules:
MetroPROMISE®             Rules:
•• The
   The device
        device must
                 must be  be returned
                              returned within
                                           within 77 days
                                                     days of
                                                           of purchase
                                                                purchase with     less than
                                                                           with less    than one
                                                                                              one                                                                                         Returned Payment Policy
   hour of
   hour  of talk  time for
            talk time     for aa full
                                 full refund
                                       refund
•• The
   The device
        device must
                 must be be returned
                             returned in  in "like
                                             “like new
                                                   new condition"
                                                        condition” andand contain
                                                                           contain all
                                                                                     all original
                                                                                         original                                                                                         IfIf your
                                                                                                                                                                                               your check,  electronic funds
                                                                                                                                                                                                    check, electronic  funds transfer
                                                                                                                                                                                                                             transfer payment,
                                                                                                                                                                                                                                       payment, including
                                                                                                                                                                                                                                                  including debit
                                                                                                                                                                                                                                                             debit or
                                                                                                                                                                                                                                                                   or Automated
                                                                                                                                                                                                                                                                      Automated Clearing
                                                                                                                                                                                                                                                                                Clearing
   packaging and
   packaging   and accessories.
                       accessories.                                                                                                                                                       House payment,
                                                                                                                                                                                          House     payment, oror any
                                                                                                                                                                                                                  any other
                                                                                                                                                                                                                       other payment
                                                                                                                                                                                                                             payment is is dishonored
                                                                                                                                                                                                                                           dishonored oror returned,  we may
                                                                                                                                                                                                                                                           returned, we   may charge
                                                                                                                                                                                                                                                                              charge you
                                                                                                                                                                                                                                                                                       you
                                                                                                                                                                                          up
                                                                                                                                                                                          up to to $35
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                                                                                                                                                                                                       or the
                                                                                                                                                                                                           the maximum
                                                                                                                                                                                                                maximumamount
                                                                                                                                                                                                                           amountallowed
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                                                                                                                                                                                                                                               under applicable
                                                                                                                                                                                                                                                     applicable law,
                                                                                                                                                                                                                                                                 law, and
                                                                                                                                                                                                                                                                       and we
                                                                                                                                                                                                                                                                           we may
                                                                                                                                                                                                                                                                              may also
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•• The
   The device
        device must
                 must be  be returned
                              returned to  to the
                                              the original
                                                   original place
                                                            place of of purchase
                                                                        purchase with
                                                                                    with accompanying
                                                                                          accompanying
   device                                                                                                                                                                                 generate
                                                                                                                                                                                          generate aa draft    or electronically
                                                                                                                                                                                                         draft or electronically debit
                                                                                                                                                                                                                                 debit your
                                                                                                                                                                                                                                        your account
                                                                                                                                                                                                                                              account for
                                                                                                                                                                                                                                                       for any
                                                                                                                                                                                                                                                           any fee
                                                                                                                                                                                                                                                               fee amount   due, all
                                                                                                                                                                                                                                                                    amount due,  all as
                                                                                                                                                                                                                                                                                     as
   device and
           and service
                 service payment
                             payment receipts.
                                          receipts.
•• Online
   Online customers
           customers must          return the
                           must return      the device
                                                 device to
                                                         to the
                                                            the Online
                                                                  Online Returns
                                                                          Returns Center
                                                                                     Center perper                                                                                        allowed by
                                                                                                                                                                                          allowed    by law.
                                                                                                                                                                                                        law.
   the instructions
   the instructions included
                        included in   in the
                                         the shipment
                                              shipment packaging.
                                                         packaging.
•• Device
   Device exchanges
           exchanges and   and upgrades
                                 upgrades are are non-refundable
                                                   non-refundable under
                                                                      under this
                                                                             this policy,
                                                                                   policy, but
                                                                                           but may
                                                                                                may be
                                                                                                     be                                                                                   Return Policy
                                                                                                                                                                                          Return Policy does
                                                                                                                                                                                                        doesnot
                                                                                                                                                                                                             notapply
                                                                                                                                                                                                                 applyto
                                                                                                                                                                                                                       tonon-MetroPCS
                                                                                                                                                                                                                          non-MetroPCSbranded
                                                                                                                                                                                                                                      branded devices.
                                                                                                                                                                                                                                              devices.
   covered
   covered byby aa limited
                    limited manufacturer’s       warranty, ifif applicable.
                             manufacturer's warranty,           applicable.
*Thisreturn
'This returnpolicy
             policyonly
                    only applies
                         applies to
                                  to new
                                     new phone
                                          phone purchases
                                                 purchases at at MetroPCS
                                                                 MetroPCS and
                                                                            andits
                                                                                its authorized
                                                                                    authcneeddealer
                                                                                               dealerlocations, andexcludes
                                                                                                      location, md  excludesnew new phone
                                                                                                                                     phone purchases
                                                                                                                                            purchases on
                                                                                                                                                      on metropcs.com.
                                                                                                                                                         metropcs.com. Monthly
                                                                                                                                                                        Monthly service
                                                                                                                                                                                service
 payment, application
 payment,  application download
                       download and     other fees
                                   md other   fees ere
                                                    are non-rekndable.
                                                         non-refundable.MetroPROMISE
                                                                         MetroPROMISE notnot applicable
                                                                                             applicable when
                                                                                                        when phone
                                                                                                              phone and   service not
                                                                                                                     md service    not purchased
                                                                                                                                       purchased at
                                                                                                                                                 at same
                                                                                                                                                    same location.
                                                                                                                                                          !motion. New
                                                                                                                                                                   New phone purchases,
                                                                                                                                                                       Mone purchases,
 includingmone
 hcludbg   phoneupgrades,
                  upgrades,maymaybebecovered
                                       covered by
                                                by aa limited
                                                      limited manufacturer's
                                                              manufacturer’s warranty.
                                                                             warranty. See
                                                                                        See metropcs.com/returns   for full
                                                                                             metrcoes.com/retums for   full return
                                                                                                                            return policy.
                                                                                                                                   policy.




                                                                                                      MetroPCS Terms
                                                                                                      MetroPCS Terms and
                                                                                                                     and Conditions
                                                                                                                         Conditions of
                                                                                                                                    of Service
                                                                                                                                       Service
By activating
By activating or
              or using
                 using MetroPCS
                       MetroPCS Service,
                                  Service, you
                                            you agree
                                                agree to
                                                       to the
                                                          the MetroPCS
                                                              MetroPCS Terms
                                                                       Terms and
                                                                             and Conditions
                                                                                 Conditions of
                                                                                            of Service.
                                                                                               Service. MetroPCS
                                                                                                        MetroPCS requires
                                                                                                                 requires Arbitration of Disputes
                                                                                                                          Arbitration of Disputes unless
                                                                                                                                                  unless you
                                                                                                                                                         you opt-out
                                                                                                                                                             opt-out
within 30
within 30 days
          days of
               of activating.
                  activating. Details
                              Details and
                                      and the
                                          the full
                                              full version
                                                   versioncan
                                                            canbe
                                                               beviewed
                                                                  viewedat
                                                                         atmetropcs.com/terms.
                                                                           metropcs.com/terms.
Welcome to
Welcome   to MetroPCS.
             MetroPCS. WeWe are
                              are pleased
                                  pleased that  you have
                                           that you have selected
                                                         selected us
                                                                  us as
                                                                     as your
                                                                         your wireless
                                                                              wireless carrier.
                                                                                       carrier. Please
                                                                                                Please use
                                                                                                       use this
                                                                                                           this page
                                                                                                                page as
                                                                                                                     as aa reference
                                                                                                                           reference for
                                                                                                                                     for questions
                                                                                                                                         questions about   your service
                                                                                                                                                     about your service and
                                                                                                                                                                        and the
                                                                                                                                                                            the Terms
                                                                                                                                                                                Terms
and Conditions
and Conditions of
               of Service
                  Service that
                           that govern
                                govern the
                                        the service
                                            service you
                                                    you have
                                                        have purchased  from MetroPCS.
                                                             purchased from   MetroPCS. These
                                                                                         These Terms
                                                                                                 Terms and
                                                                                                        and Conditions
                                                                                                            Conditions of
                                                                                                                        of Service
                                                                                                                           Service apply
                                                                                                                                   apply to
                                                                                                                                         to all
                                                                                                                                            all devices
                                                                                                                                                devices and
                                                                                                                                                        and wireless
                                                                                                                                                            wireless services
                                                                                                                                                                     services provided
                                                                                                                                                                              provided
by us
by us to
      to you
         you and
             and consist
                  consist of
                          of several
                             several parts,
                                      parts, which
                                             which may
                                                    may be
                                                        be amended
                                                           amended from
                                                                     from time
                                                                           time to
                                                                                to time:
                                                                                   time:
•• The
   The MetroPCS
        MetroPCS Terms
                 Terms and
                        and Conditions
                            Conditions of Service
                                       of Service                                                                                                                                         •• The
                                                                                                                                                                                             The MetroPCS
                                                                                                                                                                                                 MetroPCS Network
                                                                                                                                                                                                            Network Disclosure
                                                                                                                                                                                                                     Disclosure
   (http://www.metropcs.com/terms);
   (http://www.metropcs.com/terms);                                                                                                                                                          (www.metropcs.com/terms-network-disclosure);
                                                                                                                                                                                             (www. nnetropcs.conn/ternns-network-d isclosu re) ;

•• Your
   Your MetroPCS  Rate Plan
         MetroPCS Rate Plan                                                                                                                                                               •• The
                                                                                                                                                                                             The MetroPCS
                                                                                                                                                                                                  MetroPCS Online
                                                                                                                                                                                                            Online Terms
                                                                                                                                                                                                                   Terms of
                                                                                                                                                                                                                          of Use
                                                                                                                                                                                                                             Use
   (http://www.metropcs.com/plans);
   (http://www.metropcs.com/plans);                                                                                                                                                          (https://www.metropcs.com/terms-conditions/online-terms.html);
                                                                                                                                                                                             (https://www.nnetropcs.conn/ternns-conditions/online-ternns.htnnI);
•• The
   The MetroPCS
        MetroPCS Privacy
                  Privacy Policy
                          Policy                                                                                                                                                          ••The
                                                                                                                                                                                             The MetroPCS
                                                                                                                                                                                                 MetroPCS Wi-Fi
                                                                                                                                                                                                           Wi-Fi Terms
                                                                                                                                                                                                                 Terms of
                                                                                                                                                                                                                       of Use
                                                                                                                                                                                                                          Use
   (http://www.metropcs.com/privacy-policy);
   (http://www.nnetropcs.conn/privacy-policy);                                                                                                                                              (https://www.metropcs.com/terms-conditions/wifi.html); and
                                                                                                                                                                                            (https://www.nnetropcs.conn/ternns-conditions/wifi.htnn1); and

•• The
   The terms and conditions
       terms and conditions relating
                            relating to
                                     to any
                                        any additional
                                            additional features
                                                       features you
                                                                you may
                                                                    may have
                                                                        have selected
                                                                             selected or
                                                                                      or as
                                                                                         as may
                                                                                            may be
                                                                                                be included
                                                                                                   included in
                                                                                                            in your
                                                                                                               your Rate
                                                                                                                    Rate Plan,
                                                                                                                         Plan, including,
                                                                                                                                including, but
                                                                                                                                           but not
                                                                                                                                               not limited
                                                                                                                                                   limited to:
                                                                                                                                                           to:
     o MetroWEB®
     o MetroWEB® Terms    of Use
                    Terms of Use                                                                                                                                                             oo Lookout®
                                                                                                                                                                                                Lookout ® Premium
                                                                                                                                                                                                          Premium Terms  of Use
                                                                                                                                                                                                                   Terms of Use
       (https://www.metropcs.com/terms-conditions/metro-web.html)
       (https://www.nnetropcs.conn/ternns-conditions/nnetro-web.htnnl)                                                                                                                          (http://www.mymetrophp.com)
                                                                                                                                                                                                (http://www.nnynnetrophp.conn)

     o Metro411
     o Metro411 Terms
                 Terms of
                        of Use
                           Use                                                                                                                                                                 MetroPCS International Calling
                                                                                                                                                                                             o MetroPCS
       (http://www.metropcs.com/metro411-terms-of-use)
       (http://www.nnetropcs.conn/nnetro411-terms-of-use)                                                                                                                                      (https://www.metropcs.com/terms-conditions/uild-terms-conditions.html)
                                                                                                                                                                                               (https://www.nnetropcs.conn/ternns-conditions/uild-terms-conditions.htnnl)
     o MetroZone
     o MetroZone and
                   and MyExtras®
                        MyExtras ® Terms
                                    Terms of  Service
                                           of Service                                                                                                                                        oo Premium
                                                                                                                                                                                                Premium Handset
                                                                                                                                                                                                          Handset Protection®
                                                                                                                                                                                                                  Protection® Program Terms of
                                                                                                                                                                                                                              Program Terms of Use
                                                                                                                                                                                                                                               Use
       (https://www.metropcs.com/terms-conditions/metrozone-my-extras-terms-of-service.html)
       (https://www.nnetropcs.conn/ternns-conditions/nnetrozone-my-extras-terms-of-service.htnnl)                                                                                               (http://www.mymetrophp.com)
                                                                                                                                                                                                (http://www.nnynnetrophp.conn)
     o Bring
     o Bring Your
              Your Own
                   Own Phone
                       Phone Terms
                              Terms of
                                    of Use
                                       Use
       (https://www.metropcs.com/content/metro/en/desktop/metro/cell-phones/simcard-terms.html)
       (https://www.nnetropcs.conn/content/nnetro/en/desktop/nnetro/cell-phones/sinncard-ternns.htnnl)
     o Napster®Unlimited
     o Napster ® Unlimited Music
                           Music Terms
                                 Terms of
                                       of Use
                                          Use
       (https://www.metropcs.com/terms-conditions/napster-unlimited-music-terms-conditions.html)
       (https://www.nnetropcs.conn/ternns-conditions/napster-unlimited-music-terms-conditions.htnnl)
In the
In  the event
         event that
                  that the
                         the terms
                              terms and
                                      and conditions
                                            conditions relating
                                                           relating to to aa feature
                                                                              feature youyou may
                                                                                               may have
                                                                                                     have selected
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                                                                                                                                                 in your
                                                                                                                                                    your Rate
                                                                                                                                                          Rate Plan
                                                                                                                                                               Plan conflicts  with the
                                                                                                                                                                    conflicts with   the MetroPCS
                                                                                                                                                                                          MetroPCS Terms
                                                                                                                                                                                                      Terms and
                                                                                                                                                                                                             and Conditions
                                                                                                                                                                                                                  Conditions
of  Service, the
of Service,      the Terms
                      Terms and and Conditions
                                     Conditions of  of Service
                                                       Service shallshall control.
                                                                           control.
By: (a)
By:    (a) giving
           giving us  us aa written
                               written or or electronic
                                             electronic signature
                                                             signature or      ortelling
                                                                                  tellingus    usorally
                                                                                                   orallythat thatyouyouaccept
                                                                                                                            acceptthetheMetroPCS
                                                                                                                                          MetroPCSTerms TermsandandConditions
                                                                                                                                                                    ConditionsofofService;
                                                                                                                                                                                        Service;(b)(b)activating
                                                                                                                                                                                                       activating Service
                                                                                                                                                                                                                    Service
(if you
(if  you areare aanew newsubscriber);
                               subscriber);(c)(c)using   usingyour  your     Service
                                                                         Service      after after  your
                                                                                                your          Service
                                                                                                        Service           is activated
                                                                                                                      is activated     or or after
                                                                                                                                           after you you  makea change
                                                                                                                                                       make      a changeororaddition
                                                                                                                                                                                 additiontotoyour
                                                                                                                                                                                               yourService;
                                                                                                                                                                                                      Service; (d)
                                                                                                                                                                                                                 (d) paying
                                                                                                                                                                                                                      paying
for the
for   the Service;
            Service; or    or (e)
                               (e) failing
                                   failing to to activate
                                                 activate Service
                                                               Service within within 30  30 days
                                                                                              days after
                                                                                                      after the the purchase
                                                                                                                      purchase of  of your
                                                                                                                                       your wireless
                                                                                                                                              wireless device,
                                                                                                                                                          device, unless
                                                                                                                                                                  unless youyou return
                                                                                                                                                                                  return your
                                                                                                                                                                                           your wireless
                                                                                                                                                                                                 wireless device
                                                                                                                                                                                                             device within
                                                                                                                                                                                                                      within
MetroPCS’ applicable
MetroPCS'                          return period,
                   applicable return          period, you you agree
                                                                agree to   to the
                                                                                the MetroPCS
                                                                                    MetroPCS Terms     Terms and   and Conditions
                                                                                                                         Conditions of   of Service
                                                                                                                                            Service andand the
                                                                                                                                                            the terms
                                                                                                                                                                terms and
                                                                                                                                                                       and conditions
                                                                                                                                                                              conditions of  of service
                                                                                                                                                                                                service and
                                                                                                                                                                                                          and use
                                                                                                                                                                                                                use related
                                                                                                                                                                                                                     related
to any
to   any feature
           feature you  you maymay have
                                      have selected
                                             selected or   or may
                                                               may be   be included
                                                                             included in     in your
                                                                                                 your Rate
                                                                                                        Rate Plan,Plan, including,
                                                                                                                          including, butbut not
                                                                                                                                             not limited
                                                                                                                                                  limited to:
                                                                                                                                                           to:
•• You
   You waive
          waive youryour right
                             right toto aa jury
                                           jury trial
                                                 trial inin disputes
                                                             disputes with          MetroPCS;
                                                                             with MetroPCS;
•• Your
   Your disputes
            disputes with  with MetroPCS
                                  MetroPCS will  will bebe decided
                                                             decided by     by anan arbitrator;
                                                                                    arbitrator;
•• You
   You waive
          waive your your right
                             right toto institute
                                         institute or or participate
                                                           participate in     in class
                                                                                 class action
                                                                                            action litigation         against MetroPCS;
                                                                                                      litigation against         MetroPCS;
•• You
   You will
         will provide
               provide MetroPCS
                           MetroPCS with with accurate
                                               accurate information
                                                            information about about yourself;
                                                                                       yourself;
•• MetroPCS
   MetroPCS may    may communicate
                          communicate with   with you
                                                   you from     time to
                                                         from time      to time
                                                                            time about
                                                                                  about your your Service;
                                                                                                   Service;
•• You
   You will
         will pay
              pay all
                    all taxes
                        taxes and
                                and regulatory
                                     regulatory fees
                                                  fees even
                                                         even ifif your
                                                                   your rate
                                                                          rate plan
                                                                                plan isis inclusive
                                                                                           inclusive ofof taxes
                                                                                                           taxes and
                                                                                                                   and regulatory
                                                                                                                        regulatory fees;
                                                                                                                                    fees; and
                                                                                                                                          and
•• MetroPCS
   MetroPCS may     may terminate
                           terminate your
                                        your Service
                                               Service ifif you
                                                            you fail
                                                                   fail to
                                                                        to timely
                                                                            timely pay
                                                                                    pay for  for your
                                                                                                 your Service
                                                                                                        Service or  or violate
                                                                                                                       violate the
                                                                                                                                the Terms
                                                                                                                                     TermsandandConditions
                                                                                                                                                  ConditionsofofService
                                                                                                                                                                 Serviceininany
                                                                                                                                                                             anyway,
                                                                                                                                                                                   way,including
                                                                                                                                                                                         including abuse
                                                                                                                                                                                                    abuse of
                                                                                                                                                                                                           of the
                                                                                                                                                                                                              the Service  or
                                                                                                                                                                                                                  Service or
    violations of
    violations       applicable laws.
                  of applicable     laws.
Billing for
Billing    for Premium
                  Premium and    and Third-Party         Services
                                       Third-Party Services
California Residents
California    Residents Only  Only
Certain parties
Certain    parties besides
                      besides MetroPCS
                                  MetroPCS have have thethe ability
                                                             ability toto place
                                                                           place charges
                                                                                   charges on    on your
                                                                                                    your billbill for
                                                                                                                  for premium
                                                                                                                      premium services.
                                                                                                                                 services. You
                                                                                                                                             You may
                                                                                                                                                  may access
                                                                                                                                                        access these
                                                                                                                                                               these services
                                                                                                                                                                     services and     authorize the
                                                                                                                                                                                 and authorize   the placement
                                                                                                                                                                                                      placement ofof charges
                                                                                                                                                                                                                     charges
on
on your
     your bill
            bill through
                 through youryour phone
                                   phone or     online account.
                                            or online    account.
MetroPCS also
MetroPCS         also provides
                        provides customers,
                                    customers, at   at no
                                                       no additional
                                                            additional cost,
                                                                           cost, with
                                                                                   with the the ability
                                                                                                 ability toto restrict
                                                                                                               restrict the
                                                                                                                         theplacement
                                                                                                                              placementofofcharges
                                                                                                                                              chargesforforpremium
                                                                                                                                                            premiumand
                                                                                                                                                                     andthird-party
                                                                                                                                                                           third-partyservices
                                                                                                                                                                                        servicesonon your
                                                                                                                                                                                                      your account.
                                                                                                                                                                                                           account. Contact
                                                                                                                                                                                                                     Contact
customer
customer care care oror gogo to
                              to www.metropcs.com/blocking
                                 www.metropcs.com/blocking for           for more
                                                                               more information.
                                                                                     information.




                                                                                                                                           metroPCS.                                                                                                                     MPCS-4042/06-17
                                                                                                                                                                                                                                                                         MPCS-4042/06-17
                                               Políticas
                                               Politicos
                   Case 0:19-cv-61664-RS Document        de MetroPCS
                                                         de MetroPCS
                                                  5-1 Entered on FLSD Docket 08/02/2019 Page 13 of 39
Política de
Politica de devolucion
            devolución                                                                                                                                                                             Política de actualizacion
                                                                                                                                                                                                   Politica    actualización
 Los clientes
Los            clientes de              de MetroPCS
                                               MetroPCS que           que activen activen un          un nuevo
                                                                                                            nuevo dispositivo
                                                                                                                            dispositivo en                en una  una nueva    nueva               Los clientes
                                                                                                                                                                                                   Los clientes que
                                                                                                                                                                                                                que quieran
                                                                                                                                                                                                                     quieran comprar
                                                                                                                                                                                                                             comprar unun dispositivo
                                                                                                                                                                                                                                           dispositivo nuevo
                                                                                                                                                                                                                                                       nuevo en
                                                                                                                                                                                                                                                              en tiendas
                                                                                                                                                                                                                                                                 tiendas oo en
                                                                                                                                                                                                                                                                            en linea
                                                                                                                                                                                                                                                                               línea en
                                                                                                                                                                                                                                                                                     en un
                                                                                                                                                                                                                                                                                        un
 línea del
lines             del servicio
                             servicio con          con MetroPCS
                                                            MetroPCS yy que               que no      no esten
                                                                                                            estén satisfechos
                                                                                                                           satisfechos con                con el      el nuevo
                                                                                                                                                                             nuevo                 plazo de
                                                                                                                                                                                                   plazo    90 dias
                                                                                                                                                                                                         de 90  días posteriores
                                                                                                                                                                                                                     posteriores aa su
                                                                                                                                                                                                                                    suOltinna
                                                                                                                                                                                                                                       última compra
                                                                                                                                                                                                                                               compra dede un
                                                                                                                                                                                                                                                           un dispositivo nuevo en
                                                                                                                                                                                                                                                              dispositivo nuevo   en una línea
                                                                                                                                                                                                                                                                                     una linea
 dispositivo oo servicio
dispositivo                               servicio pueden   pueden devolver     devolver el            el nuevo
                                                                                                            nuevo dispositivo
                                                                                                                            dispositivo yy solicitar            solicitar un          un           de
                                                                                                                                                                                                   de servicio
                                                                                                                                                                                                      servicio deben
                                                                                                                                                                                                               deben pagar
                                                                                                                                                                                                                      pagar el
                                                                                                                                                                                                                             el precio
                                                                                                                                                                                                                                precio minorista sugerido completo.
                                                                                                                                                                                                                                       minorista sugerido   completo.
 reembolso de
reembolso                          de este este yy del   del servicio
                                                                  servicio.*
 Reglas de
Reglas                   de la   la promesa
                                         promesa de          de Metro:
                                                                     Metro:
•• Para    Para obtener
                     obtener un          un reembolso
                                               reembolso completo,  completo, elel dispositivo
                                                                                             dispositivo debe       debe devolverse
                                                                                                                              devolverse en          en un          plazo de
                                                                                                                                                             un plazo            de 77             Política de
                                                                                                                                                                                                   Politica de pagos
                                                                                                                                                                                                               pagos devueltos
                                                                                                                                                                                                                     devueltos
           días     posteriores aa la
           dias posteriores                       la compra
                                                      compra con     con menos menos de      de una  una hora
                                                                                                            hora de   de tiempo
                                                                                                                            tiempode       deconversaciOn.
                                                                                                                                                  conversación.                                    Si tu
                                                                                                                                                                                                   Si     cheque, pago
                                                                                                                                                                                                       tu cheque,   pago por
                                                                                                                                                                                                                         por transferencia
                                                                                                                                                                                                                             transferencia electrOnica
                                                                                                                                                                                                                                                electrónica dede fondos,
                                                                                                                                                                                                                                                                 fondos, incluyendo
                                                                                                                                                                                                                                                                         incluyendo pagos
                                                                                                                                                                                                                                                                                     pagos por
                                                                                                                                                                                                                                                                                            por
•• El      El dispositivo
                dispositivo debe           debe devolverse
                                                     devolverse “como        "como nuevo”   nuevo" yy contener  contener todo     todo el    el embalaje
                                                                                                                                                   embalaje yy los             los                 débito
                                                                                                                                                                                                    debito oo de
                                                                                                                                                                                                              de la
                                                                                                                                                                                                                 la Camara
                                                                                                                                                                                                                    Cámara dede ConnpensaciOn
                                                                                                                                                                                                                                 Compensación Automatizada
                                                                                                                                                                                                                                                      Automatizada (Automated
                                                                                                                                                                                                                                                                     (Automated Clearing
                                                                                                                                                                                                                                                                                 Clearing House),
                                                                                                                                                                                                                                                                                          House),
           accesorios originales.
           accesorios                  originales.                                                                                                                                                 oocualquier
                                                                                                                                                                                                      cualquier otro
                                                                                                                                                                                                                 otro pago
                                                                                                                                                                                                                      pago es
                                                                                                                                                                                                                            es devuelto
                                                                                                                                                                                                                                devuelto oo rechazado,
                                                                                                                                                                                                                                               rechazado,podemos
                                                                                                                                                                                                                                                             podemoscobrarte
                                                                                                                                                                                                                                                                       cobrarte hasta
                                                                                                                                                                                                                                                                                hasta $35
                                                                                                                                                                                                                                                                                       $35 oo la
                                                                                                                                                                                                                                                                                              la
•• El      El dispositivo
                dispositivo debe                     devolverse al
                                          debe devolverse                    al lugar
                                                                                  lugar de   de compracompra original original aconnpaliado
                                                                                                                                     acompañado de                   de los   los                  máxima cantidad
                                                                                                                                                                                                   maxima     cantidad permitida
                                                                                                                                                                                                                       permitida por
                                                                                                                                                                                                                                   por lala ley
                                                                                                                                                                                                                                             ley pertinente,
                                                                                                                                                                                                                                                 pertinente,adennas,
                                                                                                                                                                                                                                                              además, podemos     generar un
                                                                                                                                                                                                                                                                       podemos generar    un giro
                                                                                                                                                                                                                                                                                               giro
           recibos de
           recibos           de pagopago del     del dispositivo
                                                       dispositivo yy del         del servicio.
                                                                                          servicio.                                                                                                oodebitar   de forma
                                                                                                                                                                                                      debitar de  forma electrOnica
                                                                                                                                                                                                                         electrónica tu
                                                                                                                                                                                                                                      tu cuenta
                                                                                                                                                                                                                                           cuenta por    la cantidad
                                                                                                                                                                                                                                                     por la cantidad de
                                                                                                                                                                                                                                                                     de cualquier
                                                                                                                                                                                                                                                                         cualquier cargo
                                                                                                                                                                                                                                                                                   cargo vencido,
                                                                                                                                                                                                                                                                                         vencido,
•• Los     Los clientes
                   clientes en           en linea
                                              línea deben
                                                        deben devolver
                                                                     devolver el         el dispositivo
                                                                                             dispositivo al          al Centro
                                                                                                                         Centro de      de devoluciones
                                                                                                                                               devoluciones en                  en linea
                                                                                                                                                                                      línea        todo   según lo
                                                                                                                                                                                                    todo segun   lo permita
                                                                                                                                                                                                                    permita la
                                                                                                                                                                                                                            la ley.
                                                                                                                                                                                                                               ley.
           según las
           segun           las instrucciones
                                   instrucciones que           que se   se incluyen
                                                                               incluyen en        en el el paquete
                                                                                                            paquete de         de envio.
                                                                                                                                     envío.
•• Segun   Según esta      esta politicapolítica las las actualizaciones
                                                            actualizaciones de              de dispositivos
                                                                                                    dispositivos no        no sonson reembolsables
                                                                                                                                          reembolsables pero                   pero                La opcione
                                                                                                                                                                                                   La opcione de
                                                                                                                                                                                                              de Politica
                                                                                                                                                                                                                 Política de
                                                                                                                                                                                                                          de devolucion
                                                                                                                                                                                                                             devolución no
                                                                                                                                                                                                                                        no se
                                                                                                                                                                                                                                           se aa los
                                                                                                                                                                                                                                                 los dispositivos
                                                                                                                                                                                                                                                     dispositivos que
                                                                                                                                                                                                                                                                  que no
                                                                                                                                                                                                                                                                      no son
                                                                                                                                                                                                                                                                         son
           pueden tener
           pueden            tener cobertura
                                          cobertura de        de unauna garantia
                                                                              garantía limitadalimitada del      del fabricante,
                                                                                                                        fabricante, si         si corresponde.
                                                                                                                                                    corresponde.
 * Esta política de devolución solo se aplica a compras de teléfonos nuevos en tiendas de MetroPCS y de sus distribuidores autorizados; no se aplica a compras de teléfonos nuevos en              de
                                                                                                                                                                                                   de MetroPCS.
                                                                                                                                                                                                      MetroPCS.
   eVrtVade.
     metropcs.com. dElrag
    ren,ner4n=ri
          el mismo nlugar.
                      TE:rip    poagolAV
                            Esspposible
                                          leagdescargas
                           servicio mensual,
                                       :v9:pi  tqgga
                                               gfarr
                                         que las
                                                    :LaPdr:
                                                 compras
                                                                 Vcrgenev:=
                                                        de aplicaciones,
                                                         tjtafogo4l
                                                         de
 metropcs.com/returns para ver la política de devolución completa.
                                                                         y otros cargos no g
                                                                      imos,
                                                            teléfonos nuevos,
                                                                                               1',:rtrn%Poglide:
                                                                                           son reembolsables.
                                                                               incluso las aolualtraciones
                                                                               holds°      actualizaciones de
                                                                                                                      pdester
                                                                                                                La promesa
                                                                                                           de teléfonos,
                                                                                                                           =1:guel=c?,
                                                                                                               telefonos,estén cubiertas
                                                                                                                               cubiertas por
                                                                                                                                          por una
                                                                                                                                              Lila garantía
                                                                                                                                                            ,147,17
                                                                                                                            Metro es aplicable solo si el teléfono
                                                                                                                                                   garantfa limitada
                                                                                                                                                              limitada del
                                                                                                                                                                            =Jr
                                                                                                                                                                    y el servicio  2,72de4
                                                                                                                                                                                  son adquiridos
                                                                                                                                                                        del fabricante. Consulte
                                                                                                                                                                             fabricante Comulte




                                                                                                     Términos yy Condiciones
                                                                                                     Terminos    Condiciones de
                                                                                                                             de Servicio MetroPCS
                                                                                                                                Servicio MetroPCS
Al activar
Al activar oo usar
              usar el
                   el Servicio
                      Servicio de
                                de MetroPCS,
                                   MetroPCS, aceptas
                                              aceptas los
                                                       los Terminos
                                                           Términos yy condiciones
                                                                       condiciones dede Servicio
                                                                                        Servicio de
                                                                                                 de MetroPCS.
                                                                                                     MetroPCS. MetroPCS
                                                                                                                  MetroPCS exige
                                                                                                                               exige el
                                                                                                                                     el arbitraje
                                                                                                                                        arbitraje de
                                                                                                                                                  de disputas
                                                                                                                                                     disputes aa menos
                                                                                                                                                                 menos que
                                                                                                                                                                       que
decidas no
decides  no aceptar
              aceptar tal arbitraje dentro
                      tal arbitraje dentro de
                                           de los
                                              los 30
                                                  30 dias
                                                     días posteriores
                                                          posteriores aa la
                                                                         la activación.
                                                                            activacion. Puedes
                                                                                        Puedes ver
                                                                                                ver los
                                                                                                     los detalles
                                                                                                         detalles yy la
                                                                                                                      la versión
                                                                                                                         versioncompleta
                                                                                                                                 completeen enmetropcs.com/terms.
                                                                                                                                                metropcs.com/terms.
 Bienvenido aa MetroPCS.
 Bienvenido       MetroPCS. NosNos complace
                                   complace queque nos
                                                   nos haya
                                                         haya elegido
                                                               elegido como
                                                                       como susu proveedor
                                                                                 proveedor de
                                                                                            de servicio
                                                                                                servicio celular.
                                                                                                          celular. Use
                                                                                                                   Use esta
                                                                                                                        esta página
                                                                                                                             pagina como
                                                                                                                                      como referencia
                                                                                                                                             referencia para
                                                                                                                                                        para preguntas
                                                                                                                                                             preguntas sobre
                                                                                                                                                                         sobre su
                                                                                                                                                                                su servicio
                                                                                                                                                                                   servicio yy para
                                                                                                                                                                                               para
 conocer los
 conocer    los terminos
                términos yy condiciones
                             condiciones de
                                          de servicio
                                              servicio que
                                                        que rigen
                                                            rigen el
                                                                  el servicio
                                                                     servicio que
                                                                              que ha
                                                                                   ha comprado
                                                                                      comprado dede MetroPCS.
                                                                                                     MetroPCS. Estos
                                                                                                                   Estos Terminos
                                                                                                                          Términos yy condiciones
                                                                                                                                       condiciones de
                                                                                                                                                    de servicio  se aplican
                                                                                                                                                        servicio se aplican aa todos
                                                                                                                                                                               todos los
                                                                                                                                                                                     los aparatos
                                                                                                                                                                                         aparatos
 telefónicos yy servicios
 telefOnicos      servicios celulares
                            celulares que
                                      que nosotros
                                           nosotros lele proporcionamos
                                                         proporcionamos yy constan
                                                                             constan de
                                                                                      de varias
                                                                                         varias partes,
                                                                                                partes, las
                                                                                                          las cuales
                                                                                                              cuales podrán
                                                                                                                     podran ser
                                                                                                                              ser modificadas    ocasionalmente:
                                                                                                                                   modificadas ocasionalmente:
• Los
   Los Terminos
        Términos yy condiciones
                       condiciones de
                                    de servicio de MetroPCS
                                       servicio de MetroPCS
   (http://www.metropcs.com/terms);                                                                   •  Divulgación
                                                                                                       • DivulgaciOn   sobre
                                                                                                                       sobre  la
                                                                                                                              la red
                                                                                                                                 red de
                                                                                                                                      de  MetroPCS
                                                                                                                                          MetroPCS
   (http://www.nnetropcs.conn/ternns);                                                                   (www.metropcs.com/terms-network-disclosure);
                                                                                                         (www.nnetropcs.conn/ternns-network-disclosure);
•• Su
   Su plan
       plan de
             de tarifas  de MetroPCS
                 tarifas de MetroPCS
   (http://www.metropcs.com/plans);                                                                   •• Los
                                                                                                         Los Terminos
                                                                                                              Términos dede uso
                                                                                                                            uso del   sitio de
                                                                                                                                  del sitio de MetroPCS
                                                                                                                                               MetroPCS
   (http://www.nnetropcs.conn/plans);                                                                    (https://www.metropcs.com/terms-conditions/online-terms.html);
                                                                                                         (https://www.nnetropcs.conn/ternns-conditions/online-ternns.htnnI);
•• La
   La politica
       política de
                 de privacidad
                    privacidad de
                                de MetroPCS
                                   MetroPCS
   (http://www.metropcs.com/privacy-policy);                                                          •• Los
                                                                                                         Los Terminos
                                                                                                              Términos dede uso
                                                                                                                            uso dede MetroPCS
                                                                                                                                     MetroPCS Wi-Fi
                                                                                                                                                 Wi-Fi
   (http://www.nnetropcs.conn/privacy-policy);                                                           (https://www.metropcs.com/terms-conditions/wifi.html); yy
                                                                                                         (https://www.metropcs.com/terms-conditions/wifi.html);

•• Los
   Los terminos
       términos yy condiciones
                   condiciones relacionados
                               relacionados con
                                            con cualquier
                                                cualquier función adicional que
                                                          funci6n adicional     pueda haber
                                                                            que pueda       seleccionado oo pueda
                                                                                      haber seleccionado    pueda estar
                                                                                                                  estar incluida
                                                                                                                        incluida en
                                                                                                                                 en su
                                                                                                                                    su plan
                                                                                                                                       plan de
                                                                                                                                            de tarifas, incluyendo, aa título
                                                                                                                                               tarifas, incluyendo,           enunciativo:
                                                                                                                                                                       titulo enunciativo:
      o Terminos
      o Términos de
                  de uso
                     uso de
                         de MetroWEB®
                            MetroWEB ®                                                                                                                                                               oo Terminos
                                                                                                                                                                                                        Términos de
                                                                                                                                                                                                                  de uso
                                                                                                                                                                                                                     uso de
                                                                                                                                                                                                                         de Lookout®
                                                                                                                                                                                                                            Lookout ® Premium
                                                                                                                                                                                                                                      Premium
        (https://www.metropcs.com/terms-conditions/metro-web.html)
        (https://www.nnetropcs.conn/ternns-conditions/nnetro-web.htnnl)                                                                                                                                 (http://www.mymetrophp.com)
                                                                                                                                                                                                        (http://www.nnynnetrophp.conn)

      o Terminos
      o Términos de
                  de uso
                     uso de
                         de Metro411
                            Metro411                                                                                                                                                                 oo Llamadas
                                                                                                                                                                                                        Llamadas internacionales
                                                                                                                                                                                                                   internacionales de
                                                                                                                                                                                                                                   de MetroPCS
                                                                                                                                                                                                                                      MetroPCS
        (http://www.metropcs.com/metro411-terms-of-use)
        (http://www.nnetropcs.conn/nnetro411-terms-of-use)                                                                                                                                              (https://www.metropcs.com/terms-conditions/uild-terms-conditions.html)
                                                                                                                                                                                                        (https://www. nnetropcs. conn/ternns-cond itions/ui Id -terms-co nd itio ns. html)
      o Terminos
      o Términos dede servicio de MetroZone
                      servicio de MetroZone yy MyExtras®
                                               MyExtras ®                                                                                                                                            oo Terminos
                                                                                                                                                                                                        Términos de
                                                                                                                                                                                                                  de uso de programa
                                                                                                                                                                                                                     uso de programa Premium
                                                                                                                                                                                                                                     Premium Handset
                                                                                                                                                                                                                                             Handset Protection®
                                                                                                                                                                                                                                                     Protection®
        (https://www.metropcs.com/terms-conditions/metrozone-my-extras-terms-of-service.html)
        (https://www.nnetropcs.conn/ternns-conditions/nnetrozone-my-extras-terms-of-service.htnnl)                                                                                                      (http://www.mymetrophp.com)
                                                                                                                                                                                                        (http://www.nnynnetrophp.conn)
      o Terminos
      o Términos dede uso
                      uso de
                          de trae
                             trae tu teléfono
                                  tu telefono
        (https://www.metropcs.com/content/metro/en/desktop/metro/cell-phones/simcard-terms.html)
        (https://www.nnetropcs.conn/content/nnetro/en/desktop/nnetro/cell-phones/sinncard-ternns.htnnl)
      o Terminos
      o Términos de   uso de
                   de uso de nnusica
                             música ilimitada  Napster ®
                                     ilimitada Napster®
        (https://www.metropcs.com/terms-conditions/napster-unlimited-music-terms-conditions.html)
        (https://www. nnetropcs. conn/ternns-cond itions/napster-u n m ited - music-te rms-cond itions. html)
 En caso
En   caso dede que
                 que los
                      los términos
                           terminos yy condiciones
                                        condiciones relacionados
                                                        relacionados con con alguna
                                                                               alguna función
                                                                                        funci6n que
                                                                                                  que pueda
                                                                                                        pueda haber
                                                                                                                haber seleccionado
                                                                                                                         seleccionado oo que
                                                                                                                                         que pueda
                                                                                                                                               pueda estar
                                                                                                                                                      estar incluida
                                                                                                                                                             incluida en
                                                                                                                                                                      en su
                                                                                                                                                                          su plan
                                                                                                                                                                                plan de
                                                                                                                                                                                     de tarifas
                                                                                                                                                                                         tarifas creen
                                                                                                                                                                                                 creen conflictos   con
                                                                                                                                                                                                        conflictos con
 los Terminos
los  Términos yy condiciones
                     condiciones de  de servicio
                                         servicio dede MetroPCS,
                                                        MetroPCS,regiran
                                                                      regiránestos
                                                                                estosOltinnos.
                                                                                       últimos.
 Al: (a)
Al:   (a) proporcionarnos
           proporcionarnos una       una firma
                                           firma escrita
                                                    escrita oo electronics
                                                                 electrónicaoo comunicarnos
                                                                                    comunicarnos en        en forma
                                                                                                               forma verbal
                                                                                                                        verbal que
                                                                                                                                 que acepta
                                                                                                                                      aceptalos losTerminos
                                                                                                                                                     Términos yy condiciones
                                                                                                                                                                   condiciones de     de servicio
                                                                                                                                                                                           servicio dede MetroPCS;
                                                                                                                                                                                                          MetroPCS;
 (b) activar
(b)   activar el  el Servicio
                     Servicio (si (sies
                                      es un
                                          un nuevo
                                               nuevo suscriptor);
                                                        suscriptor); (c) (c) usar
                                                                              usar susu Servicio
                                                                                          Servicio despues
                                                                                                      después de   de lala activacion
                                                                                                                           activación del
                                                                                                                                        del mismo
                                                                                                                                             mismo oo despues
                                                                                                                                                        después de  de realizar
                                                                                                                                                                        realizar un  un cambio
                                                                                                                                                                                          cambio oo una
                                                                                                                                                                                                      una adicion
                                                                                                                                                                                                            adición aa
 su Servicio;
su   Servicio; (d) (d) pagar
                         pagar su su Servicio;
                                      Servicio; oo (e)(e) no
                                                           no activar
                                                               activar elel Servicio
                                                                             Servicio dentro
                                                                                          dentro de de los
                                                                                                         los 30
                                                                                                              30 dias
                                                                                                                 días posteriores
                                                                                                                         posteriores aa la
                                                                                                                                         la compra
                                                                                                                                             compra de de su
                                                                                                                                                          su dispositivo
                                                                                                                                                               dispositivo celular,
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su   dispositivo celular         dentro del
                       celular dentro       del period°
                                                  período de de devolucion
                                                                 devolución correspondiente
                                                                                 correspondiente de        de MetroPCS,
                                                                                                               MetroPCS, ustedusted acepta
                                                                                                                                     aceptalos los Terminos
                                                                                                                                                    Términos yy condiciones
                                                                                                                                                                  condiciones de     de servicio
                                                                                                                                                                                         servicio dede MetroPCS
                                                                                                                                                                                                         MetroPCS yy
 los terminos
los   términos yy condiciones
                       condiciones de     de servicio
                                              servicio yy usouso relacionados
                                                                   relacionados con   con cualquier
                                                                                             cualquier función
                                                                                                            funcion que que pueda
                                                                                                                             pueda haber
                                                                                                                                     haber seleccionado
                                                                                                                                              seleccionado oo que que pueda
                                                                                                                                                                       pueda estar estar incluida
                                                                                                                                                                                           incluida en    su plan
                                                                                                                                                                                                      en su   plan dede
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tarifas,    incluyendo, aa titulotítulo enunciativo:
                                         enunciativo:
•• Usted
    Usted renuncia
             renuncia aa su   su derecho
                                  derecho aa un   un juicio
                                                      juicio con
                                                              con jurado
                                                                    jurado porpor disputes
                                                                                   disputas con  con MetroPCS;
                                                                                                        MetroPCS;
•• Sus
    Sus disputas
          disputes con  con MetroPCS
                              MetroPCS serán  serail decididas
                                                       decididas por por un
                                                                          un árbitro;
                                                                               arbitro;
•• Usted
    Usted renuncia
             renuncia aa su   su derecho
                                  derecho de   de entablar
                                                   entablar oo participar
                                                                  participar en  en litigios
                                                                                     litigios dede demandas
                                                                                                    demandas colectivas
                                                                                                                    colectivas contra
                                                                                                                                  contra MetroPCS;
                                                                                                                                            MetroPCS;
•• Usted
    Usted proporcionard
            proporcionará aa MetroPCS
                                  MetroPCS infornnaciOn
                                                información fidedigna
                                                               fidedigna sobre
                                                                           sobre usted;
                                                                                   usted;
•• MetroPCS
    MetroPCS podrápodra comunicarse
                           comunicarse con  con usted
                                                  usted ocasionalmente
                                                         ocasionalmente acercaacerca dede su
                                                                                           su Servicio;
                                                                                               Servicio;
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    Pagará todos
              todos los
                      los impuestos
                           impuestos yy tarifas
                                           tarifas reglamentarias
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                                                                                su plan
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    MetroPCS podrápodra cancelar
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 Facturación de
Facturacion         de servicios
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 Solo residentes
Solo   residentes de  de California
                          California
 Ciertos terceros,
Ciertos    terceros, aparte
                        aparte dede MetroPCS,
                                     MetroPCS, pueden
                                                    pueden aplicar
                                                              aplicar cargos
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                                                                                                                  premium. Puedes
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                                                                              información.



                                                                                                                                                 metroPCS.                                                                                                                        MPCS-4042/06-17
                                                                                                                                                                                                                                                                                  MPCS-4042/06-17
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                Exhibit A-2
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 15 of 39
                                                                                         MetroPCS.com




         metroPCS.
                 Wireless for All.




         Home
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                   andConditions
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                                  (/../terms-conditions/terms-conditions-service.html)
          > Metro
            Metro by
                  by T-Mobile
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                               TermsAndAndConditions
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               Metro
               Metro by
                     by T-Mobile
                        T-Mobile Terms
                                 Terms And
                                       And Conditions
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                         Network
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                       Disclosure        us
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                    (/content/metro/en/d148            glrEffigitiiRp   relating to
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                                                      • Premium
                                                        Premium Handset
                                                                Handset Protection®Terms
                                                                        Protection®Terms and
                                                                                         and Conditions
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https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
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7/18/2019
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7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
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                                                                              Docket      08/02/2019 Page 16 of 39
                                                                                         MetroPCS.com
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                    conditions/callertunes-selected or
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                                                     or that may be included in your Rate Plan conflicts with the Metro
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                                               T-Mobile Terms
                                                         Terms and
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                                                                    Conditions of
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                    conditions.html)
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                                                          T-Mobile Terms
                                                                     Terms andand Conditions
                                                                                   Conditions of of Service;
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                       Protection
                       Protection        Service (if you are a new subscriber); (c) using your Service after your
                                         Service  (if you  are a new  subscriber);    (c) using  your  Service   after your Service
                                                                                                                             Service
                                         is
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                      protection-
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                    privacy.html)
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                                                 against Metro by T-Mobile.
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                                                                                                         the  “Agreement”).
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                                        This Agreement
                                        This Agreement governs      the sale,
                                                           governs the  sale, use,
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                                                                                    and delivery
                                                                                          delivery ofof Metro
                                                                                                         Metro by
                                                                                                                by T-Mobile
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                                                           ("Service" or
                                                                      or "Services")
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                                                                                       of its
                                                                                           its controlled
                                                                                               controlled subsidiaries,
                                                                                                            subsidiaries,
                    (/content/metro/en/desktop/metro/terms-
                                        assignees, and
                    Ucontent/metro/en/digtifp(rAt     era4Miffinrs,""we,"
                                                         agents ("us," "we," "our"
                                                                               our oror"Metro
                                                                                        "Metro by  by T
                                                                                                      T-Mobile").
                                                                                                        -Mobile"). Certain
                                                                                                                    Certain
                    conditions/long-
                    conditions/long-    other laws may
                                        other laws  may also
                                                          also govern our provision
                                                               govern our  provision of of Services
                                                                                            Services toto you
                                                                                                          you and
                                                                                                               and such  laws are
                                                                                                                   such laws    are
                    distance.html)
                    distance.htmI)      incorporated
                                        incorporated   in
                                                       in their
                                                          their entirety
                                                                entirety by
                                                                         by this
                                                                             this reference
                                                                                   reference    into
                                                                                                into this
                                                                                                     this Agreement
                                                                                                           Agreement    as
                                                                                                                        as if
                                                                                                                           if set
                                                                                                                              set
                                                 forth in
                                                 forth in this
                                                          this Agreement.
                                                               Agreement. Your
                                                                          YourService
                                                                               Service is
                                                                                        isalso
                                                                                           alsosubject
                                                                                                subject to,
                                                                                                        to, and
                                                                                                            and you
                                                                                                                you agree
                                                                                                                    agree to
                                                                                                                          to
                        Metro411
                        Metro411        adhere to, our
                                        adhere to, our business
                                                        business policies,  practices, and
                                                                  policies, practices,  and procedures,    which we
                                                                                             procedures, which    we can
                                                                                                                       can
                        Premium
                        Premium         change  at any
                                        change at  any time
                                                       time without
                                                             without notice
                                                                      notice to
                                                                              toyou
                                                                                  you (collectively,
                                                                                      (collectively,the
                                                                                                      the"Policies").
                                                                                                          "Policies"). Offers
                                                                                                                        Offers

                    Terms of
                    Terms  of Use
                              Use       may
                                        may not
                                            not  be
                                                 be available
                                                    available  everywhere
                                                               everywhere    or
                                                                             or combinable
                                                                                combinable    with
                                                                                              with  other
                                                                                                    other
                                        promotions/options.
                                        oromotilnshrtirs. Your Your  Rate
                                                                   Rate    Planincludes
                                                                         Plan    includesyour
                                                                                           yourallotments
                                                                                                 allotmentsfor
                                                                                                             for minutes,
                                                                                                                 minutes,
                    (/content/metro/en/desktop/metro/terms-
                    Ucontent/metro/en/desktop me ro terms-
                                        messages   or data, rates, coverage   and  other terms  (“Rate   Plan”).
                                        messag s or at , rates, coverage and other terms ("Rate Plan"). The      The
                    conditions/metro-
                    conditions/metro-   Agreement makes
                                        Agreement    makes upup the
                                                                the complete    agreement between
                                                                    complete agreement       betweenyou youand
                                                                                                            and us,
                                                                                                                  us, and
                                                                                                                      and

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                             2/25
                                                                                                                                          2/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 17 of 39
                                                                                         MetroPCS.com

                             411-
                             411 -                 supersedesany
                                                   supersedes any and
                                                                  and all
                                                                      all prior
                                                                          priorand
                                                                                andcontemporaneous
                                                                                    contemporaneous agreements,
                                                                                                       agreements,
                        premium-
                        premium-                   arrangements,
                                                   arrangements, representations,
                                                                 representations, advertising,
                                                                                   advertising, contracts,
                                                                                                contracts, statements,
                                                                                                           statements, offers,
                                                                                                                       offers,
                                                   and
                                                   and understandings
                                                        understandings relating
                                                                         relating to
                                                                                   to the
                                                                                      the subject
                                                                                           subject matter
                                                                                                    matter of
                                                                                                            of the
                                                                                                                the Agreement,
                                                                                                                     Agreement,
                        terms-of-
                        terms-of-
                                                   whether oral
                                                   whether  oral or
                                                                 or written,
                                                                    written, including,
                                                                             including, but
                                                                                          but not
                                                                                              not limited  to, all
                                                                                                  limited to,  all previous
                                                                                                                   previous versions  of
                                                                                                                             versions of
                        use.html)
                        use.html)                  the Terms
                                                   the Terms and
                                                              and Conditions
                                                                   Conditions ofof Service.  You cannot
                                                                                   Service. You            rely on
                                                                                                  cannot rely    on any
                                                                                                                    any other
                                                                                                                         other
                                                   documents
                                                   documents oror statements
                                                                  statementsby by any
                                                                                   any sales
                                                                                        sales person,
                                                                                              person, service
                                                                                                       service representative
                                                                                                                 representative oror
                        Metro411
                        Metro411
                                                   other
                                                   other agent. You acknowledge
                                                         agent. You  acknowledge and  and agree
                                                                                           agree that
                                                                                                 that you
                                                                                                       you have
                                                                                                            have not
                                                                                                                   not relied
                                                                                                                        relied on
                                                                                                                               on any
                                                                                                                                  any
                       Terms and
                       Terms  and
                                                   representation,  assertion, guarantee,
                                                                               guarantee,warranty,
                                                                                             warranty, contract
                                                   representation, assertion,                           contract or or other
                                                                                                                       other assurance,
                                                                                                                              assurance,
                       Conditions
                      Conditions                   stated or made   by anyone   except   those set  out in this  Agreement.
                                                   stated or made by anyone except those set out in this Agreement.
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/deskto_p/metro/terms-
                                         IMPORTANT:
                                         IMPORTANT: READ   THIS AGREEMENT
                                                     READ THIS              CAREFULLY. IT
                                                                AGREEMENT CAREFULLY.     IT REQUIRES  THE
                                                                                            REQUIRES THE
                    conditions/metro-
                    conditions/metro-
                                         USE OF INDIVIDUAL
                                         USE OF INDIVIDUAL ARBITRATION
                                                            ARBITRATION RATHER
                                                                         RATHER THAN
                                                                                  THAN JURY
                                                                                        JURY TRIALS
                                                                                              TRIALS OR
                                                                                                     OR
                       411-terms-
                       411-terms-        CLASS ACTIONS
                                         CLASS ACTIONS TO
                                                        TO RESOLVE
                                                           RESOLVE DISPUTES.
                                                                     DISPUTES. ARBITRATION
                                                                               ARBITRATION IS IS MORE
                                                                                                 MORE
                             and--
                             and         INFORMAL   THAN LITIGATION
                                         INFORMAL THAN   LITIGATION BECAUSE   IT USES
                                                                      BECAUSE IT USES A
                                                                                      A NEUTRAL
                                                                                        NEUTRAL
                    conditions.html)
                    conditions.html)     ARBITRATOR INSTEAD
                                         ARBITRATOR   INSTEADOFOF A
                                                                  A JUDGE
                                                                    JUDGE OR
                                                                          OR JURY
                                                                             JURY AND
                                                                                   AND ALLOWS
                                                                                        ALLOWS FORFOR LESS
                                                                                                      LESS
                                                   DISCOVERY AND LESS
                                                   DISCOVERY AND LESS APPELLATE
                                                                      APPELLATE REVIEW
                                                                                REVIEW THAN
                                                                                       THAN IN
                                                                                            IN COURT.
                                                                                               COURT.
                      Metro
                      Metro by
                            by T-
                               T-
                                            1. Acceptance.
                                            1. Acceptance.YOUR
                                                             YOURAGREEMENT
                                                                    AGREEMENTWITH WITHMETRO
                                                                                        METROBY BYT-MOBILE
                                                                                                   T-MOBILE STARTS
                                                                                                               STARTS
                       Mobile Ad
                       Mobile Ad
                                            WHEN
                                            WHEN YOUYOU ACCEPT
                                                          ACCEPT THESE
                                                                    THESE TERMS
                                                                            TERMS AND
                                                                                    AND CONDITIONS.
                                                                                        CONDITIONS. YOU      AGREE
                                                                                                       YOU AGREE
                      Options for
                      Options for           TO COMPLY      WITH ALL
                                            TO  COMPLY WITH       ALLAPPLICABLE
                                                                      APPLICABLELAWS LAWS AND
                                                                                           AND POLICIES
                                                                                                POLICIES BYBY DOING
                                                                                                              DOING
                     Your Device
                     Your  Device           ANY OF
                                            ANY   OF THE
                                                     THE FOLLOWING:
                                                           FOLLOWING: (A) (A) GIVING
                                                                              GIVING US
                                                                                      US A
                                                                                         A WRITTEN
                                                                                           WRITTEN OROR
                    (/content/metro/en/desktop/metro/terms-
                                            ELECTRONIC SIGNATURE,
                    Ucontentimetro/en/ClebiltDP*141tICONIMIRE,            OR TELLING
                                                                     OR TELLING      USUS  ORALLYTHAT
                                                                                        ORALLY     THAT YOU
                                                                                                         YOU
                    conditions/metropcs-
                    conditions/metropcs   - ACCEPT;
                                            ACCEPT;   (B)
                                                      (B)  ACTIVATING
                                                          ACTIVATING    OR
                                                                         OR  CONTINUING
                                                                             CONTINUING    SERVICE;
                                                                                           SERVICE;  (C)
                                                                                                     (C) USING
                                                                                                         USING   YOUR
                                                                                                                 YOUR
                     ad-options-
                      ad-options-           SERVICE AFTER
                                            SERVICE   AFTER YOUR      SERVICE IS
                                                                YOUR SERVICE    IS ACTIVATED
                                                                                   ACTIVATED OROR YOU  MAKE A
                                                                                                  YOU MAKE     A
                                            CHANGE
                                            CHANGE OR  OR ADDITION
                                                           ADDITION TO TO YOUR
                                                                           YOUR SERVICE;
                                                                                  SERVICE; (D)
                                                                                           (D) PAYING
                                                                                               PAYING FOR
                                                                                                       FOR THE
                                                                                                             THE
                        for-your-
                        for-your-
                                            SERVICE; OR
                                            SERVICE;   OR (E)
                                                            (E) FAILING
                                                                FAILING TO
                                                                        TO ACTIVATE
                                                                             ACTIVATESERVICE
                                                                                       SERVICEWITHIN
                                                                                                 WITHIN30 30 DAYS
                                                                                                             DAYS
                     device.html)
                     device.html)




                                                                                                                                                 Feedback
                                            AFTER THE
                                            AFTER   THEPURCHASE
                                                          PURCHASE OF  OF YOUR
                                                                          YOUR WIRELESS
                                                                                 WIRELESS DEVICE.
                                                                                            DEVICE. IF
                                                                                                     IFYOU
                                                                                                        YOUAREAREAA                               CD
                                                   NEW CUSTOMER AND
                                                                  AND YOU
                                                                      YOU DO
                                                                          DONOT
                                                                             NOTAGREE
                                                                                AGREETO
                                                                                      TO THIS
                                                                                         THIS AGREEMENT,                                          CD
                                                   NEW CUSTOMER                               AGREEMENT, DO
                                                                                                         DO
                      Metro
                      Metro by
                            by T-
                               T-                                                                                                                 0_
                                                   NOT
                                                   NOT DO ANY OF
                                                       DO ANY OF THESE
                                                                 THESE THINGS.
                                                                       THINGS.
                          Mobile
                          Mobile                                                                                                                  0
                     Marks
                     Marks Rules
                            Rules         IF
                                          IF YOU
                                             YOU ARE
                                                 ARE AN
                                                     AN EXISTING
                                                         EXISTING CUSTOMER  AND THE
                                                                  CUSTOMER AND  THE SERVICE
                                                                                    SERVICE IS
                                                                                            IS
                                          PROVIDED TO YOU UNDER A  A PRIOR
                                                                     PRIOR AGREEMENT
                                                                           AGREEMENT  AND
                                                                                       AND YOU
                                                                                           YOU DO
                                                                                               DO NOT
                                                                                                  NOT
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/dERXreNaYnYtIDER
                                          AGREE
                                          A  R   TO THISAGREEMENT,
                                                  0 THI  AGREEMENT,YOU
                                                                     YOUMUST
                                                                         MUSTTERMINATE
                                                                              TERMINATE SERVICE
                                                                                         SERVICE AS
                                                                                                 AS SET
                                                                                                    SET
                    conditions/marksrules.html)
                    conditions/marksrules
                                                   FORTH IN
                                                          IN THE
                                                             THE PRIOR
                                                                  PRIOR AGREEMENT;
                                                                        AGREEMENT; PROVIDED,   HOWEVER,THAT
                                                                                     PROVIDED, HOWEVER,   THAT IF
                                                                                                                IF
                      Metro
                      Metro by
                             by T-
                                T-                 YOU CHOOSE
                                                   YOU CHOOSETO  TOTERMINATE
                                                                    TERMINATE SERVICE
                                                                               SERVICE YOU
                                                                                        YOU WILL
                                                                                            WILL STILL
                                                                                                 STILLBE
                                                                                                       BEBOUND
                                                                                                          BOUND
                                                   BY
                                                   BY THE
                                                      THEPRIOR
                                                           PRIORAGREEMENT,
                                                                  AGREEMENT, INCLUDING
                                                                              INCLUDING YOUR
                                                                                         YOUR OBLIGATION
                                                                                               OBLIGATION TO
                                                                                                           TO PAY
                                                                                                               PAY
                           Mobile
                           Mobile
                                                   ANY OUTSTANDING
                                                   ANY                AMOUNTS AND
                                                       OUTSTANDING AMOUNTS       AND YOUR
                                                                                      YOUR AGREEMENT
                                                                                           AGREEMENT TOTO
                           Phone
                            Phone                  ARBITRATE DISPUTES.
                                                   ARBITRATE   DISPUTES.IF
                                                                         IFYOU
                                                                            YOUHAVE
                                                                                HAVEANY
                                                                                      ANYQUESTIONS,
                                                                                          QUESTIONS, DO
                                                                                                     DO NOT
                                                                                                        NOT
                           Unlock
                           Unlock                  ACTIVATE OR
                                                   ACTIVATE   OR USE
                                                                 USE YOUR
                                                                     YOUR SERVICE,
                                                                           SERVICE, AND CONTACT METRO
                                                                                    AND CONTACT  METRO BYBY T-
                                                                                                            T-
                            Policy
                            Policy      MOBILE
                                        MOBILE OR    OR ITS
                                                         ITSAUTHORIZED
                                                             AUTHORIZEDDEALERS
                                                                             DEALERSTO  TOHAVE
                                                                                            HAVEYOUR
                                                                                                  YOURQUESTIONS
                                                                                                           QUESTIONS
                                        ANSWERED.
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/d@    't       &ro/terms-
                    conditions/phone-
                    conditions/phone-   2. ** Dispute
                                        2.    Dispute Resolution
                                                       Resolution and
                                                                   and Arbitration.
                                                                        Arbitration.We
                                                                                     Weeach
                                                                                        eachagree
                                                                                              agree that,
                                                                                                     that,except
                                                                                                          except asas
                          unlock-
                          unlock-       provided    below, any
                                        provided below,     any and
                                                                and all
                                                                    all claims
                                                                        claims or
                                                                               orDisputes
                                                                                  Disputes between   you and
                                                                                           between you   and us,
                                                                                                              us, in
                                                                                                                  in any
                                                                                                                     any
                      policy.html)
                      policy.html)      way related
                                        way            to or
                                               related to or concerning  the Agreement,
                                                             concerning the  Agreement,our
                                                                                         our Privacy
                                                                                             Privacy Policy,
                                                                                                      Policy, our
                                                                                                              our
                                                   Services, devices
                                                   Services, devicesor
                                                                     orproducts,
                                                                       products,will
                                                                                 will be
                                                                                      beresolved
                                                                                         resolvedby
                                                                                                  bybinding
                                                                                                     bindingarbitration.
                                                                                                             arbitration. This
                                                                                                                          This
                       MetroPCS
                       MetroPCS          includes   any claims
                                         includes any     claims against
                                                                   against other    parties relating
                                                                            other parties     relating toto Services
                                                                                                            Services or  or wireless
                                                                                                                              wireless
                         Terms of
                         Terms  of       devices   providedor
                                         devices provided       or charged
                                                                   chargedto  toyou
                                                                                 you(such
                                                                                       (suchas asour
                                                                                                  oursuppliers,
                                                                                                       suppliers, Dealers
                                                                                                                      Dealersor   or third
                                                                                                                                      third
                           Service
                           Service       party
                                         party  vendors)
                                                vendors)    whenever
                                                             whenever     you
                                                                          you  also
                                                                               also  assert
                                                                                      assert claims
                                                                                             claims   against
                                                                                                      against    us
                                                                                                                 us  in
                                                                                                                     in  the
                                                                                                                          the  same
                                                                                                                               same
                                         proceeding.     "Dispute" shall
                                         proceeding. "Dispute"        shallbebegiven
                                                                                 giventhethe broadest
                                                                                              broadest possible
                                                                                                           possible meaning
                                                                                                                       meaning and  and
                    International
                     International
                                         shall include
                                         shall include anyany dispute,
                                                               dispute,claim,
                                                                          claim, or
                                                                                  or controversy
                                                                                      controversyarising
                                                                                                      arising from
                                                                                                               from or  or relating
                                                                                                                            relating toto this
                                                                                                                                          this
                         Roaming
                         Roaming
                                         Agreement or
                                         Agreement      or Services
                                                            Services and/or     Products provided
                                                                       and/or Products       provided under
                                                                                                          under this
                                                                                                                   this Agreement,
                                                                                                                          Agreement,
                    (/content/metro/en/desktop/metro/terms-
                    Ucontent/metro/en/dprtigeja4rsgtAgitmwto:
                                         including but not limited to:(1)    (1) all
                                                                                 all claims
                                                                                     claims for
                                                                                              for relief
                                                                                                  relief and
                                                                                                          and all
                                                                                                               all theories
                                                                                                                    theories of of liability,
                                                                                                                                    liability,
                    conditions/metropcs- whetherbased
                    conditions/metropcs- whether    basedin  incontract,
                                                                contract,tort,
                                                                            tort, statute,
                                                                                  statute,regulation,
                                                                                             regulation,ordinance,
                                                                                                            ordinance,fraud, fraud, oror
                        terms-of-
                        terms-of-        misrepresentation;
                                         misrepresentation; (2)   (2) all
                                                                      all disputes    regarding the
                                                                          disputes regarding           validity, enforceability
                                                                                                   the validity,    enforceability or    or
                          service-
                          service-       scope
                                         scope   of
                                                of  this
                                                    this  arbitration
                                                         arbitration    agreement
                                                                        agreement      (with
                                                                                        (with  the
                                                                                               the  exception
                                                                                                    exception     of
                                                                                                                 of   its
                                                                                                                      its  class
                                                                                                                           class  action
                                                                                                                                  action
                                         waiver); (3)
                                         waiver);   (3)all
                                                        alldisputes
                                                             disputesthat
                                                                       that arose
                                                                             arose before
                                                                                      before this
                                                                                               this Agreement;
                                                                                                    Agreement; (4)   (4) all
                                                                                                                           all disputes
                                                                                                                               disputes
                    international-
                    internationa I-
                                         that arise after the termination of this Agreement; and (5) all disputes that
                                         that  arise after  the  termination     of  this Agreement;       and  (5)  all  disputes     that
                    roaming.html)
                    roaming.html)        are
                                         are the
                                             the subject
                                                  subject of of a
                                                                a putative
                                                                  putative class
                                                                             class action    in which
                                                                                     action in   which no no class
                                                                                                             class has
                                                                                                                     has been
                                                                                                                            been certified.
                                                                                                                                   certified.

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                       3/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 18 of 39
                                                                                         MetroPCS.com
                                                 References in this provision to "us" include our parents, subsidiaries,
                                          References in this provision to "us" include our parents, subsidiaries,
                      MetroWEB
                      MetroWEB
                                          affiliates,
                                          affiliates, predecessors,  successors,and
                                                      predecessors, successors,   andassigns
                                                                                      assignsand
                                                                                               andour
                                                                                                    our and
                                                                                                        and their
                                                                                                            their directors,
                                                                                                                   directors,
                    Terms of
                    Terms  of Use
                              Use
                                          officers,
                                          officers, employees
                                                    employees andandagents.
                                                                     agents.References
                                                                             Referencesininthis
                                                                                             thisprovision
                                                                                                  provisionto
                                                                                                            to"you"
                                                                                                               "you" include
                                                                                                                       include
                    (/content/metro/en/desktop/metro/terms-
                                          all beneficiaries of this Agreement
                    (/contentimetro/en/dgwistqpiststicawmreement                and
                                                                           and all   all users
                                                                                   users       of the
                                                                                           of the     Servicesprovided
                                                                                                   Services    provided
                    conditions/metro-
                    conditions/metro-     under
                                          under this
                                                  this Agreement.
                                                       Agreement. Notwithstanding
                                                                    Notwithstanding thethe foregoing,
                                                                                           foregoing,either
                                                                                                       eitherparty
                                                                                                              party may
                                                                                                                      may
                       web.html)
                       web.html)          bring
                                          bring an
                                                 an individual
                                                     individual action
                                                                action in
                                                                       in small
                                                                          smallclaims
                                                                                claimscourt
                                                                                        court or
                                                                                              orbring
                                                                                                 bringDisputes
                                                                                                        Disputes to
                                                                                                                  to the
                                                                                                                     the
                                                 attention of federal,
                                                 attention of federal, state,
                                                                       state, or
                                                                              or local
                                                                                 local agencies, including, but
                                                                                       agencies, including, but not
                                                                                                                not limited
                                                                                                                    limited to,
                                                                                                                            to, the
                                                                                                                                the
                         Napster
                          Napster         Federal
                                          Federal Communications
                                                     Communications Commission.
                                                                          Commission.
                        Unlimited
                        Unlimited
                                          If
                                          If you
                                             you do
                                                  do not
                                                      not wish
                                                           wish to
                                                                 to be
                                                                    be bound
                                                                       bound byby this
                                                                                   this arbitration
                                                                                        arbitrationagreement,
                                                                                                      agreement, youyou must
                                                                                                                          must notify
                                                                                                                                 notify
                     Music
                     Music Terms
                            Terms         us
                                          us of
                                              of your
                                                 your desire
                                                       desire to
                                                               to do
                                                                  do so  within 30
                                                                      so within     days of
                                                                                 30 days   of initiating
                                                                                              initiating Service,
                                                                                                         Service, or,
                                                                                                                   or, if
                                                                                                                       if you
                                                                                                                          you have
                                                                                                                                have
                              and
                              and         never
                                          never had
                                                  had the   opportunity to
                                                       the opportunity        opt out
                                                                          to opt  out of
                                                                                       of arbitration,
                                                                                          arbitration, within
                                                                                                         within30
                                                                                                                30 days
                                                                                                                    days of of the
                                                                                                                               the
                       Conditions
                       Conditions         date
                                          date ofof the
                                                    the change
                                                        change notice
                                                                  noticegiving
                                                                          giving you
                                                                                  you the
                                                                                      the opportunity.
                                                                                           opportunity. To To do
                                                                                                               do so,
                                                                                                                   so, please
                                                                                                                       please
                                          visit www.metropcsdisputeresolution.com
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/d4§14ttrittitsitrOcellinuteresolution.com
                    conditions/napster-   (http://www.metropcsdisputeresolution.com/) and follow the instructions
                    conditions/napster- (http://www.metropcsdisputeresolution.com/) and follow the instructions
                                          on
                                          on that   site. Your
                                              that site.  Your decision
                                                                decision to  opt out
                                                                          to opt  out of
                                                                                      of this
                                                                                         this arbitration
                                                                                               arbitration agreement
                                                                                                            agreement will will not
                                                                                                                                not
                       unlimited-
                       unlimited-
                                          adversely    affectour
                                          adversely affect    our relationship
                                                                   relationship with
                                                                                  with or
                                                                                       or delivery
                                                                                          delivery ofof Service
                                                                                                        Service to
                                                                                                                 to you.
                                                                                                                    you. IfIf you
                                                                                                                              you
                           music-
                           music-         have   previously notified
                                          have previously               us of
                                                              notified us  of your
                                                                              your decision
                                                                                    decision toto opt
                                                                                                  opt out
                                                                                                       outof
                                                                                                           ofthis
                                                                                                              this arbitration
                                                                                                                   arbitration
                           terms-
                           terms-         agreement,
                                          agreement, you  you need   not do
                                                              need not   do so
                                                                             so again.
                                                                                again.
                    conditions.html)
                    conditions.html)
                                        For
                                        For all
                                             alldisputes,
                                                 disputes, whether     pursuedin
                                                           whether pursued         in court
                                                                                      court oror arbitration,
                                                                                                 arbitration, you
                                                                                                              you must
                                                                                                                     must first
                                                                                                                           first give
                                                                                                                                 give
                           Online
                           Online       us
                                        us an
                                           an  opportunity
                                               opportunity    to
                                                              to resolve
                                                                 resolve    your
                                                                            your  claim
                                                                                  claim  by
                                                                                          by  sending
                                                                                              sending   a
                                                                                                        a written
                                                                                                          written   description
                                                                                                                    description   of
                                                                                                                                  of
                                        your  claim  to the  address    in Section    16 below.    We  each  agree
                                        your claim to the address in Section 16 below. We each agree to negotiate     to negotiate
                    Terms of
                    Terms   of Use
                               Use
                                        your claim
                                        your  claimin ingood   faith.If
                                                           , ifaith.
                                                         goo          If we
                                                                         we are
                                                                             are unable
                                                                                  unable to to resolve
                                                                                                resolve the claim within
                                                                                                        the claim    within 6060 days
                                                                                                                                 days
                    (/content/metro/en/desktop/metro/terms-
                    Ucontent/metro/en/desktop/metro termsr
                                        after we rreceive
                                        atter we   eceiveyourour claim
                                                                  claim description,      you may
                                                                           description, you     may pursue
                                                                                                     pursue your
                                                                                                              your claim
                                                                                                                     claim in
                                                                                                                            in
                    conditions/online-
                    conditions/online-  arbitration.
                                        arbitration. WeWe each
                                                           each agree     that if
                                                                  agree that   if you
                                                                                   you fail
                                                                                        fail to
                                                                                             to timely
                                                                                                 timely pay
                                                                                                        pay amounts
                                                                                                             amounts due,due, we
                                                                                                                               we may
                                                                                                                                   may
                      terms.html)




                                                                                                                                          Feedback
                      terms.html)       assign
                                        assign your
                                                your account
                                                       account for
                                                                 for collection,
                                                                     collection, andand the
                                                                                         the collection    agencymay
                                                                                               collection agency     may pursue,
                                                                                                                          pursue, inin     -n
                                                                                                                                           ca
                                                                                                                                           cp
                                        small  claims  court,  claims   limited   strictly to  the  collection  of  the
                                        small claims court, claims limited strictly to the collection of the past due    past  due         o_
                         Premium
                         Premium        amounts
                                        amounts andand any
                                                        any interest
                                                             interest or or cost
                                                                            cost of
                                                                                 of collection     permittedby
                                                                                     collection permitted      by law
                                                                                                                   law or
                                                                                                                        or this
                                                                                                                           this
                                                                                                                                           CT
                                                                                                                                           CD
                                                                                                                                           o
                         Handset
                         Handset        Agreement.
                                        Agreement.
                       Protection
                       Protection
                                           Notwithstanding
                                           Notwithstanding any   any provision
                                                                      provision inin this
                                                                                     this Agreement
                                                                                          Agreement toto the
                                                                                                         the contrary,
                                                                                                              contrary, ifif we
                                                                                                                             we
                       Terms and
                       Terms  and          change    this arbitration
                                           change this    arbitration agreement,
                                                                        agreement, you you may
                                                                                           may reject
                                                                                                 rejectthe
                                                                                                        the change
                                                                                                            change without
                                                                                                                      without
                       Conditions
                       Conditions          terminating or
                                           terminating    or adversely   affectingyour
                                                             adversely affecting      your Service
                                                                                           Servicebyby notifying
                                                                                                       notifyingus usin
                                                                                                                      in writing
                                                                                                                         writing atat
                    (/content/metro/en/desktop/metro/terms-
                                           the  address   set forth  in the  "Notices"   section below   within
                    (/content/metro/en/deskaditrirmattOttionahe "Notices" section below within 30 days of the    30  days   of  the
                    conditions/premium-    dateofofthe
                    conditions/premium- date        thechange
                                                         changenotice.
                                                                   notice.IfIfyou
                                                                               youdo,
                                                                                    do,you
                                                                                        youshall
                                                                                            shallarbitrate
                                                                                                  arbitrate any
                                                                                                             any Dispute
                                                                                                                  Dispute in in
                                           accordance     with the
                                                                theterms
                                                                     termsof ofthis
                                                                                this arbitration
                                                                                     arbitration agreement.    If you
                                                                                                                  you do
                                                                                                                       do not,
                                                                                                                           not, you
                        handset-
                         handset-          accordance with                                       agreement. If                   you
                                           will be
                                           will be bound
                                                    bound by by the
                                                                 the changes.
                                                                     changes.
                      protection-
                      protection-
                      terms-and-
                      terms-and -          Because
                                           Because thisthis Agreement
                                                            Agreement and and the
                                                                                the Services
                                                                                    Services provided
                                                                                              provided under
                                                                                                         under this
                                                                                                                 this Agreement
                                                                                                                      Agreement

                    conditions.html)
                    conditions.html)       concern
                                           concern    interstate
                                                      interstate   commerce,
                                                                  commerce,      this
                                                                                 this arbitration
                                                                                      arbitration agreement
                                                                                                   agreement    shall
                                                                                                                shall be
                                                                                                                       be governed
                                                                                                                          governed
                                                 by
                                                 by the FederalArbitration
                                                    the Federal Arbitration Act
                                                                            Act ("FAN').
                                                                                ("FAA").
                         Privacy
                          Privacy
                                          The party
                                          The party initiating
                                                     initiatingarbitration
                                                                arbitrationmay
                                                                            maychoose
                                                                                 choosefrom
                                                                                        fromthe
                                                                                             thefollowing
                                                                                                 followingindependent,
                                                                                                           independent,
                           Policy
                           Policy         impartial
                                          impartial arbitration
                                                    arbitration administrators:
                                                                 administrators:
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/desktop/metro/terms-
                                          American   Arbitration Association
                                              rican Arbitration   Association
                    conditions/privacy.html)
                    conditions/privacy.htm[
                                          Are
                                                 335
                                                 3   Madison Avenue,
                                                   5 Madison Avenue,
                           Start of
                           Start of              Floor
                                                 Floor 10
                                                       10

                           Service               New  York, NY
                                                 New York,  NY 10017
                                                                10017
                           Service
                                                 1-800-778-7879
                                                 1-800-778-7879
                            Forms
                            Forms
                                                 www.adr.org
                                                 www.adr.org
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/desktop/metro/terms-
                    conditions/start-
                    conditions/start-
                                        Copies
                                        Copies ofof their
                                                    their respective   rules for
                                                          respective rules   for consumer   disputes and
                                                                                 consumer disputes   and forms
                                                                                                         forms and
                                                                                                                and
                       of-service-
                       of-service-
                                        instructions
                                        instructions for
                                                      for initiating
                                                           initiating arbitration
                                                                      arbitrationmay
                                                                                   maybebeobtained
                                                                                           obtainedbybycontacting
                                                                                                        contacting them
                                                                                                                   them oror
                      forms.html)
                      forms.html)       visiting their
                                        visiting their websites.   Any arbitration
                                                       websites. Any    arbitrationshall
                                                                                     shallbe
                                                                                           beconducted
                                                                                              conducted pursuant
                                                                                                         pursuant to
                                                                                                                   to the
                                                                                                                      the
                                                 arbitration
                                                 arbitration administrator's
                                                             administrator'srules
                                                                                rulesforforconsumer
                                                                                            consumerdisputes
                                                                                                       disputesin
                                                                                                                ineffect
                                                                                                                   effect when
                                                                                                                          when the
                                                                                                                                 the
                      Third-Party
                      Third-Party
                                                 arbitration
                                                 arbitrationisisinitiated
                                                                 initiatedexcept
                                                                           except to
                                                                                   to the
                                                                                       the extent  they are
                                                                                            extent they are inconsistent   with this
                                                                                                            inconsistent with   this
                          Services
                          Services
                                                 arbitration
                                                 arbitration agreement.
                                                             agreement. If If the arbitration administrator
                                                                              the arbitration   administrator will
                                                                                                               willnot
                                                                                                                    notenforce
                                                                                                                        enforce this
                                                                                                                                 this

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                4/25
                                                                                                                                             4/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 19 of 39
                                                                                         MetroPCS.com
                                           arbitration agreement as written, the
                    (/content/metro/en/desktop/metro/terms-
                    Ucontent/metro/en/denIkte056montitiontio-written,         the parties
                                                                                  parties shall
                                                                                          shall agree
                                                                                                agree on
                                                                                                       on or
                                                                                                          or mutually
                                                                                                             mutually
                                           petition
                    conditions/blocking.html)
                    conditions/blocking.htffliition a
                                                    a court
                                                      court of
                                                            of competent
                                                               competent  jurisdiction
                                                                         jurisdiction  to
                                                                                       to appoint
                                                                                          appoint aa substitute
                                                                                                     substitute arbitration
                                                                                                                arbitration
                                                     administrator
                                                     administrator who
                                                                     who will
                                                                          will do
                                                                               do so.
                                                                                  so. The
                                                                                      The arbitrator
                                                                                          arbitratorshall
                                                                                                     shallenforce
                                                                                                           enforce contractual,
                                                                                                                   contractual,
                     Wi-Fi Terms
                     Wi-Fi Terms                     statutory and
                                                     statutory and other
                                                                    other limitation
                                                                           limitation periods
                                                                                       periods and
                                                                                               and shall
                                                                                                   shall honor
                                                                                                         honor claims
                                                                                                               claims of
                                                                                                                      of privilege
                                                                                                                         privilege
                                 And
                                 And                 recognized  at law.
                                                     recognized at   law. Judgment
                                                                          Judgmentuponuponany
                                                                                            anyarbitration
                                                                                                arbitration award
                                                                                                            award may
                                                                                                                    may be
                                                                                                                        be entered in
                                                                                                                           entered in
                                                     any
                                                     any court having jurisdiction.
                                                         court having   jurisdiction.
                       Conditions
                       Conditions
                    (/content/metro/en/desktop/metro/terms-
                                           If we initiate the arbitration, we
                    (/content/metro/en/dIgskibittlinbetkielitimnsion,      we will
                                                                              will notify  you in
                                                                                   notify you   in writing
                                                                                                   writing at
                                                                                                           at your
                                                                                                              your then-current
                                                                                                                   then-current
                    conditions/wifi.html)
                    conditions/wifi.htm I) account
                                           account   address
                                                     address  or
                                                              or (if
                                                                 (if your
                                                                     your account
                                                                          account  is
                                                                                    is closed)
                                                                                       closed) the
                                                                                               the  last
                                                                                                    last address
                                                                                                         address at
                                                                                                                 at which
                                                                                                                    which we
                                                                                                                          we
                                                     contacted  you.IfIfyou
                                                     contacted you.     youinitiate
                                                                             initiatethe
                                                                                      thearbitration,
                                                                                          arbitration, you
                                                                                                       you must
                                                                                                           mustnotify
                                                                                                                notifyus
                                                                                                                      usin
                                                                                                                         in writing
                                                                                                                            writing at
                                                                                                                                    at
                          Wireless
                          Wireless                   the address
                                                     the address set
                                                                 set forth
                                                                      forth in
                                                                            in the  "Notices" section
                                                                               the "Notices"   section below.
                                                                                                        below.
                      Emergency
                      Emergency
                                          If
                                          Ifyour
                                              yourDispute
                                                   Disputedoes
                                                             doesnot
                                                                   not exceed    $10,000,we
                                                                       exceed $10,000,       wewill
                                                                                                 willpromptly
                                                                                                      promptlyreimburse
                                                                                                                    reimburse your
                                                                                                                                your
                            Alerts
                            Alerts        filing fee
                                          filing     and will
                                                 fee and  will pay
                                                               pay the
                                                                    the arbitrator's
                                                                        arbitrator'sother
                                                                                       otherfees,
                                                                                              fees,costs
                                                                                                     costs and
                                                                                                            and expenses.     (If you
                                                                                                                  expenses. (If   you
                    (/content/metro/en/desktop/metro/terms-
                    (/contentimetroienidegcannot   payttectihtelMeTyou
                                              gIMOR(   the filing fee, youmay
                                                                            may request
                                                                                   request that
                                                                                             that we
                                                                                                   we pay
                                                                                                       pay the
                                                                                                             the filing
                                                                                                                  filing fee directly.)
                                                                                                                         fee directly.)
                    conditions/wireless-
                    cond itions/wireless- If,
                                          If, however,
                                               however, the arbitrator finds
                                                        the arbitrator   finds that
                                                                                that your
                                                                                     your Dispute
                                                                                           Dispute is is frivolous
                                                                                                         frivolous or or brought   for
                                                                                                                         brought for
                     emergency-
                     emergency-           an
                                          an   improper
                                               improper  purpose,
                                                         purpose,   you
                                                                    you  shall
                                                                         shall reimburse
                                                                                reimburse   the
                                                                                             the filing
                                                                                                 filing fee
                                                                                                         fee  to
                                                                                                              to us
                                                                                                                 us  and
                                                                                                                     and  the
                                                                                                                          the
                                          payment
                                          payment of of the arbitrator's others
                                                        the arbitrator's   othersfees,
                                                                                    fees,costs
                                                                                          costs and
                                                                                                 and expenses
                                                                                                       expenses shall
                                                                                                                   shall be
                                                                                                                          be
                      alerts.html)
                      alerts.html)
                                                     governed bythe
                                                     governed by thearbitration
                                                                     arbitration administrator's
                                                                                 administrator's rules.
                                                                                                 rules.
                      Metro
                      Metro by
                             by T-
                                T-
                                         You may
                                         You  may hire
                                                   hire an
                                                        anattorney
                                                           attorney to to represent
                                                                          represent you you in
                                                                                             in the
                                                                                                the arbitration
                                                                                                    arbitrationproceeding
                                                                                                                  proceeding andand
                           Mobile
                           Mobile        may
                                         may recover
                                              recover your
                                                       your reasonable
                                                             reasonable attorneys'
                                                                            attorneys' fees    and costs
                                                                                          fees and  costs inin arbitration
                                                                                                               arbitration to
                                                                                                                           to the
                                                                                                                              the
                          Insights
                          Insights       same extent
                                         same   extentas
                                                       asyou
                                                          you could
                                                              couldin in court
                                                                          court if
                                                                                 if the  arbitration proceeding
                                                                                    the arbitration    proceeding is is decided
                                                                                                                        decided inin
                         Program
                         Program         your
                                         your favor.
                                               favor. We
                                                      We may
                                                         may   hire
                                                               hire  an
                                                                     an attorney
                                                                         attorney    to
                                                                                     to represent
                                                                                        represent    us
                                                                                                    us  in
                                                                                                        in the
                                                                                                           the  arbitration
                                                                                                                arbitration
                                         proceeding but waive any right
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/dRcROWIalibrifi'llsrlY          right toto recover
                                                                                  recover ourourattorneys'
                                                                                                  attorneys'fees
                                                                                                               fees and
                                                                                                                    and costs
                                                                                                                         costs if
                                                                                                                               if the
                                                                                                                                  the
                                         arbitration
                                         arbitration proceeding
                                                      proceeding isis decided
                                                                      decidedin  inour
                                                                                     our favor.
                                                                                         favor.
                    conditions/insights-
                    conditions/insights-




                                                                                                                                                          Feedback
                    program.html)
                    program.html)        Unless  you and
                                         Unless you   and we
                                                          we agree
                                                              agreeotherwise
                                                                      otherwiseininwriting,
                                                                                       writing, any
                                                                                                 any arbitration
                                                                                                      arbitration hearings
                                                                                                                    hearings will
                                                                                                                              will be
                                                                                                                                   be                      CD
                                                                                                                                                           CD
                                                     held in the
                                                     held in     county of
                                                             the county  of your
                                                                            your then-current  service address
                                                                                  then-current service addressor
                                                                                                               or (if
                                                                                                                  (if your
                                                                                                                      your account is
                                                                                                                           account is                      0-
                        Improving
                        Improving                    closed)  the last
                                                     closed) the  last address
                                                                       address at
                                                                               at which
                                                                                   which we
                                                                                         we contacted  you.
                                                                                            contacted you.                                                 0
                       Safety and
                       Safety and
                                              If
                                              If the
                                                  the arbitration
                                                      arbitrationprovision
                                                                      provisionapplies
                                                                                    applies ororyou
                                                                                                  youchoose
                                                                                                        choose arbitration
                                                                                                                 arbitration to  to resolve
                                                                                                                                     resolve your
                                                                                                                                                your
                      Security on
                      Security on
                                             disputes, then either you or we may start arbitration proceedings. You must
                                              disputes,   then     either  you   or  we  may    start   arbitration   proceedings.        You   must
                              WiFi
                              WiFi            send aa letter
                                             send      letter requesting
                                                                requestingarbitration
                                                                               arbitration and and describing
                                                                                                      describing your
                                                                                                                    your claim
                                                                                                                            claim to   our
                                                                                                                                    to our
                        Networks
                        Networks              registered    agent(see
                                              registered agent        (seeSection
                                                                            Section16)  16)to
                                                                                            tobegin
                                                                                                beginarbitration.
                                                                                                         arbitration.TheThe American
                                                                                                                               American
                                              Arbitration Association (“AAA”)
                    (/content/metro/en/desktop/metro/terms-
                    (icontentimetro/en/d4SkitatiMliklisOft4141/CAAA")                  willwill  arbitrateallalldisputes.
                                                                                             arbitrate           disputes.For For claims
                                                                                                                                    claims less
                                                                                                                                              less
                    conditions/safety-
                    conditions/safety-        than
                                             than    $75,000,
                                                     $75,000,      the
                                                                  the    AAA’s
                                                                       AAA's      Supplementary
                                                                                 Supplementary           Procedures
                                                                                                        Procedures       for
                                                                                                                        for   Consumer-
                                                                                                                              Consumer-
                                              Related    Disputes will
                                              Related Disputes         will apply;
                                                                            apply; forforclaims
                                                                                           claimsoverover$75,000,
                                                                                                           $75,000, the theAAA's
                                                                                                                              AAA’s Commercial
                                                                                                                                       Commercial
                         security-
                         security-
                                              Arbitration Rules
                                             Arbitration               will apply.
                                                              Rules will    apply. TheThe AAA
                                                                                           AAA rules
                                                                                                   rules are
                                                                                                          are available
                                                                                                               available at at www.adr.org
                                                                                                                               www.adr.org
                              wifi-
                              wifi-           (http://www.adr.org/)
                                              (http://www.adr.org/) or       or by
                                                                                 by calling
                                                                                      calling1-800-778-7879.
                                                                                                1-800-778-7879. Upon   Upon filing
                                                                                                                                filing ofof the
                                                                                                                                            the
                    networks.html)
                    networks. htm I)          arbitration
                                              arbitration demand,
                                                              demand, we  we will
                                                                              will pay
                                                                                     pay all
                                                                                          all filing,
                                                                                              filing, administration
                                                                                                       administration and   and arbitrator
                                                                                                                                 arbitratorfees  fees
                                              for claims
                                             for   claims that
                                                            that total
                                                                   total less
                                                                          less than
                                                                                than$75,000.
                                                                                       $75,000. For  Forclaims
                                                                                                          claims that
                                                                                                                   that total
                                                                                                                          total more
                                                                                                                                 more thanthan
                            Wi-Fi
                            Wi-Fi
                                              $75,000,
                                              $75,000, the the payment
                                                                  paymentof   offiling,
                                                                                  filing, administration
                                                                                          administration and   and arbitrator
                                                                                                                     arbitrator feesfees will
                                                                                                                                           will be
                                                                                                                                                be
                         Access in
                        Access   in           governed     by   the  AAA     Commercial        Arbitration    Rules.
                                              governed by the AAA Commercial Arbitration Rules. An arbitrator may      An    arbitrator    may
                      LAX
                      LAX Airport
                           Airport            award
                                              award on on an
                                                           an individual
                                                                individual basis
                                                                              basis any
                                                                                      any relief
                                                                                           relief that
                                                                                                    that would
                                                                                                          would be    available in
                                                                                                                  be available      in aa court,
                                                                                                                                          court,
                                              including injunctive or declaratoryrelief
                    (/content/metro/en/desktop/metro/terms-
                    (/contentimetro/en/alSktetipOriiiMPOVURTygeclaratory                      reliefandandattorneys'
                                                                                                            attorneys’fees.fees.InInaddition,
                                                                                                                                     addition, for  for
                    conditions/LAX-
                    conditions/LAX-           claims
                                              claims   under
                                                       under     $75,000
                                                                 $75,000     as
                                                                             as  to
                                                                                 to  which
                                                                                      which   you
                                                                                              you    provided
                                                                                                     provided    notice
                                                                                                                 notice   and
                                                                                                                           and  negotiated
                                                                                                                                 negotiated       in
                                                                                                                                                 in
                                              good    faith as
                                              good faith    as required
                                                                 required above
                                                                             abovebefore
                                                                                       beforeinitiating
                                                                                                 initiatingarbitration,
                                                                                                             arbitration, ifif the
                                                                                                                                the arbitrator
                                                                                                                                      arbitrator
                    BOINGO.html)
                    BOINGO.html)
                                             finds that you are the prevailing party in the arbitration, you willbe
                                              finds  that  you    are  the  prevailing    party    in the  arbitration,     you  will   be entitled
                                                                                                                                            entitled
                        California
                        California            to aa recovery
                                             to     recovery of  of reasonable
                                                                    reasonable attorneys’
                                                                                     attorneys' fees      and costs.
                                                                                                    fees and   costs. Except
                                                                                                                       Except for  for claims
                                                                                                                                       claims
                                              determined
                                              determined to    to be
                                                                   befrivolous,
                                                                       frivolous, Metro
                                                                                     Metro PCSPCS agrees      not to
                                                                                                     agrees not    to seek
                                                                                                                       seekan  an award
                                                                                                                                   award of of
                       Cramming
                       Cramming
                                              attorneys’    feesin
                                              attorneys' fees      in arbitration
                                                                       arbitration even
                                                                                      even ifif an
                                                                                                an award
                                                                                                     award isis otherwise
                                                                                                                otherwise available
                                                                                                                              available under
                                                                                                                                            under
                      Compliance
                     Compliance
                                              applicable
                                              applicable law.law.
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/desktop/metro/terms-
                    conditions/california-  CLASS ACTION WAIVER. WE EACH AGREE
                                                                         AGREE THAT
                                                                               THAT ANY
                                                                                    ANY DISPUTE
                    conditions/california CLASS ACTION WAIVER. WE EACH                  DISPUTE
                                            RESOLUTION
                                            RESOLUTION PROCEEDINGS, WHETHER IN ARBITRATION OR
                                                       PROCEEDINGS,  WHETHER IN ARBITRATION OR
                    cramming.html)
                    cramming.htm I)
                                                     COURT, WILL
                                                     COURT, WILL BE
                                                                 BECONDUCTED
                                                                    CONDUCTED ONLY
                                                                              ONLY ON AN INDIVIDUAL
                                                                                   ON AN INDIVIDUAL BASIS
                                                                                                    BASIS AND
                                                                                                          AND

                         California
                         California                  NOT
                                                     NOT IN
                                                         IN A
                                                            A CLASS
                                                              CLASS OR
                                                                    OR REPRESENTATIVE
                                                                       REPRESENTATIVE ACTION
                                                                                      ACTION OR
                                                                                             OR AS
                                                                                                AS A
                                                                                                   A MEMBER
                                                                                                     MEMBER OF
                                                                                                            OF
                                                     A CLASS,
                                                     A CLASS, CONSOLIDATED
                                                              CONSOLIDATED OR
                                                                           ORREPRESENTATIVE
                                                                              REPRESENTATIVE ACTION.
                                                                                             ACTION. If
                                                                                                     If aa court
                                                                                                           court or
                                                                                                                 or
                    Transparency
                    Transparency
                                                     arbitrator
                                                     arbitratordetermines
                                                                determines in
                                                                            inan
                                                                              anaction
                                                                                 actionbetween you and
                                                                                       between you and us
                                                                                                       us that this Class
                                                                                                          that this Class Action
                                                                                                                          Action

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                                5/25
                                                                                                                                                             5/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
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                         in
                         in Supply
                            Supply          Waiver
                                            Waiver isis unenforceable,
                                                        unenforceable, thethearbitration
                                                                               arbitration agreement
                                                                                            agreementwillwill be
                                                                                                              bevoid
                                                                                                                   void as
                                                                                                                         as to
                                                                                                                            toyou.
                                                                                                                               you. If
                                                                                                                                    If
                       Chains
                       Chains Act
                               Act          you
                                            you choose
                                                choose    to
                                                         to  pursue
                                                            pursue   your
                                                                    your    claim
                                                                            claim  in
                                                                                   in court
                                                                                      court  by
                                                                                             by opting
                                                                                                opting  out
                                                                                                        out  of
                                                                                                            of   the
                                                                                                                the   arbitration
                                                                                                                      arbitration
                                            provision
                                            provision asas specified above,this
                                                           specified above,    thisClass
                                                                                    Class Action
                                                                                          ActionWaiver
                                                                                                   Waiver provision
                                                                                                            provision will
                                                                                                                         will not
                                                                                                                              not
                       of 2010
                       of      SB
                          2010 SB
                                            apply to
                                            apply  to you.
                                                      you. Neither   you, nor
                                                            Neither you,    nor any
                                                                                 any other
                                                                                      other customer,
                                                                                            customer, can
                                                                                                        can be
                                                                                                             be a a class
                                                                                                                    class
                              657
                              657           representative,   class member,
                                            representative, class   member, or   or otherwise   participate in
                                                                                    otherwise participate    in aa class,
                                                                                                                   class,
                       Disclosure
                        Disclosure          consolidated or
                                            consolidated    or representative
                                                               representative proceeding
                                                                                  proceeding without
                                                                                                without having
                                                                                                         having complied
                                                                                                                   complied with
                                                                                                                               with
                    (/content/metro/en/desktop/metro/terms-
                                            the opt out requirementsabove.
                    (/content/metro/en/ditaidpiainbetqolfteaerals          above.
                    conditions/california-
                    conditions/california -
                                            JURY TRIAL
                                            JURY   TRIAL WAIVER.
                                                            WAIVER. If If aa claim
                                                                             claim proceeds
                                                                                    proceeds inin court
                                                                                                  court rather
                                                                                                        rather than
                                                                                                                 than inin
                    transparency.html)
                    transparency.html)      arbitration,  WE EACH
                                            arbitration, WE    EACHWAIVE
                                                                      WAIVEANY    ANYRIGHT
                                                                                        RIGHT TO TO A
                                                                                                    A JURY
                                                                                                       JURY TRIAL
                                                                                                              TRIAL.

                         AutoPay
                         AutoPay                 ARBITRATION INVOLVES
                                                 ARBITRATION INVOLVES A
                                                                      A FAIR
                                                                        FAIR HEARING
                                                                             HEARING BEFORE A NEUTRAL
                                                                                     BEFORE A NEUTRAL
                          Terms &
                          Terms &                ARBITRATOR RATHER
                                                 ARBITRATOR RATHER THAN
                                                                   THAN A
                                                                        A JUDGE OR JURY.
                                                                          JUDGE OR JURY. THE
                                                                                         THE ARBITRATOR
                                                                                             ARBITRATOR
                       Conditions
                       Conditions        MAY
                                         MAY AWARD   DECLARATORY OR
                                              AWARD DECLARATORY     OR INJUNCTIVE
                                                                       INJUNCTIVE RELIEF
                                                                                    RELIEF ONLY IN
                                                                                           ONLY IN
                                         FAVORR OF THE INDIVIDUAL
                                                            1p UAL PARTY
                                                                   PARTY NAMED   IN THE
                                                                          NAMED IN  THE ARBITRATION
                                                                                        ARBITRATION
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/d
                                         PROCEEDING
                                         PAOMDifIG ANDAND ONLY
                                                          ONLY TO
                                                                TO THE
                                                                    THE EXTENT
                                                                        EXTENT NECESSARY
                                                                                NECESSARY TOTO PROVIDE
                                                                                               PROVIDE
                    conditions/make-
                    conditions/make-     RELIEF
                                         RELIEF WARRANTED
                                                WARRANTED BYBY THAT
                                                               THAT PARTY'S
                                                                     PARTY'S INDIVIDUAL  CLAIM.
                                                                             INDIVIDUAL CLAIM.
                    payment.html)
                    payment.htm I)
                                                 Unless otherwise provided
                                                 Unless otherwise  provided by
                                                                            by applicable
                                                                                applicablelaw,
                                                                                            law, or
                                                                                                 or otherwise
                                                                                                     otherwise inin this
                                                                                                                    this
                    MetroSMART
                    MetroSMART                   Agreement,neither
                                                 Agreement,  neitherparty
                                                                     party has
                                                                           has the
                                                                               the right
                                                                                   right to
                                                                                         to bring
                                                                                             bring aa Dispute  or other
                                                                                                      Dispute or   other legal
                                                                                                                         legal
                      Ride  Terms
                       Ride Terms                action under this
                                                 action under this Agreement   more than
                                                                   Agreement more    than one
                                                                                          one (1)
                                                                                                (1) year
                                                                                                    year after
                                                                                                         after the
                                                                                                                the Dispute
                                                                                                                     Dispute arose.
                                                                                                                             arose.

                              and
                              and        3. ** Your
                                         3.    YourTerm
                                                     TermofofService.
                                                              Service.YouYouare
                                                                              areaamonth-to-month
                                                                                    month-to-month customer.
                                                                                                      customer. IfIf you
                                                                                                                     you
                       Conditions
                       Conditions        terminate your
                                         terminate    your Service,
                                                           Service, your
                                                                    your termination
                                                                           terminationwill
                                                                                         willbe
                                                                                              beeffective
                                                                                                 effective at
                                                                                                           at the
                                                                                                              the end
                                                                                                                  end ofof your
                                                                                                                           your
                                         current  month   of
                    (/content/metro/en/desktop/metro/terms-
                    (/contentimetro/en/d018400141,           Service   (unless
                                                     141EittOgerricso-(unless   you
                                                                                 you port-out
                                                                                      port-out your
                                                                                               your number),
                                                                                                    number),   and
                                                                                                               and  you
                                                                                                                    you  will
                                                                                                                         will
                                         remain responsible
                    conditions/metrosmartride-
                    conditions/metrosmarfPR360                 for all
                                                  responsible for  all fees  and Charges
                                                                        fees and           for your
                                                                                  Charges for   your Service
                                                                                                     Service and
                                                                                                              and usage
                                                                                                                   usage
                                         through the
                                         through    the end
                                                        endof
                                                            ofthat
                                                               thatperiod.
                                                                    period.If If we
                                                                                 we terminate
                                                                                    terminate your
                                                                                                your Service,
                                                                                                     Service, we
                                                                                                               we will
                                                                                                                   will
                      terms.html)
                      terms.htm I)




                                                                                                                                           Feedback
                                                 determine  thedate
                                                 determine the  dateofoftermination,
                                                                          termination, and
                                                                                         and you
                                                                                             you will
                                                                                                  will be
                                                                                                       be responsible   for all
                                                                                                          responsible for   all usage
                                                                                                                                usage       cp
                                                                                                                                            cp
                         Overlay
                         Overlay                 and
                                                 and Charges
                                                     Charges through
                                                              through the    date of
                                                                         the date   of termination.
                                                                                       termination. You
                                                                                                    You can
                                                                                                          can request
                                                                                                              request that
                                                                                                                        that we   port
                                                                                                                              we port       o_
                                                                                                                                            CT
                                                 your number
                                                 your number to  another carrier,
                                                              to another    carrier, and
                                                                                      and Service
                                                                                          Service for
                                                                                                  for that
                                                                                                       that number
                                                                                                            number will
                                                                                                                     will be
                                                                                                                          be                (1)
                       Approved
                       Approved                                                                                                             0
                                                 terminated when
                                                 terminated  when the
                                                                   theporting
                                                                        portingis is complete.
                                                                                     complete.IfIfyou
                                                                                                   youport
                                                                                                        portyour
                                                                                                             yournumber,
                                                                                                                 number, you you will
                                                                                                                                  will
                         for New
                         for New
                                                 be responsible for
                                                 be responsible for all
                                                                    all usage
                                                                        usage and
                                                                                and Charges
                                                                                      Charges until
                                                                                               untilthe
                                                                                                     the port-out
                                                                                                          port-out is
                                                                                                                    iscomplete.
                                                                                                                      complete.
                      Jersey 609
                      Jersey  609
                       Area Code          The Services
                                          The              are provided
                                                Services are               via Rate
                                                                provided via   Rate Plans
                                                                                      Plans under
                                                                                             under which
                                                                                                    which you
                                                                                                           you do
                                                                                                                do not
                                                                                                                    not pay
                                                                                                                         pay
                       Area Code
                                          metered
                                          meirredier  "perm minute"
                                                             cii    "charges
                                                                      arges for forservice.
                                                                                     service.In
                                                                                              Inan
                                                                                                an effort
                                                                                                   effort to
                                                                                                          to offer
                                                                                                              offer this
                                                                                                                    this Service
                                                                                                                         Service on
                                                                                                                                 on
                    (/content/metro/en/desktop/metro/terms-
                    Ucontent/metro/en/des too etr terms
                                          a
                                          a reliable
                                             re i s    basis,
                                                        asis, Metro   byT-Mobile
                                                                 ero by  T-Mobile may may discontinue
                                                                                           discontinue providing
                                                                                                        providing Service
                                                                                                                     Service to
                                                                                                                              to
                    conditions/overlay-
                    conditions/overlay- you,
                                          you,    change
                                             change    thethe   services
                                                            services     provided
                                                                      provided     toto  you,change
                                                                                       you,   changeyour
                                                                                                      yourRate
                                                                                                            RatePlan,
                                                                                                                  Plan, reduce
                                                                                                                         reduce the
                                                                                                                                 the
                       approved--
                       approved           speedof
                                          speed     ofany
                                                      any service
                                                           service provided,
                                                                    provided, restrict
                                                                                restrict the   amount of
                                                                                          the amount   of use  of any
                                                                                                          use of  any service,
                                                                                                                       service,
                     new-jersey-
                     new-jersey-          change
                                          change the theservices
                                                         servicesandandfeatures
                                                                        featuresin  in your
                                                                                       your Rate
                                                                                            Rate Plan,
                                                                                                  Plan, discontinue    your
                                                                                                        discontinue your
                       609-area-
                       609-area -         account,
                                          account,    or
                                                      or discontinue
                                                         discontinue    or
                                                                       or  limit
                                                                           limit providing
                                                                                 providing    connections
                                                                                              connections  to
                                                                                                           to  particular
                                                                                                               particular
                                          telephonenumbers,
                                          telephone     numbers, countries,
                                                                    countries, destinations,
                                                                                 destinations, providers,
                                                                                                 providers, features,
                                                                                                            features, requested
                                                                                                                        requested
                      code.html)
                      code.html)
                                           or
                                           or called
                                              called by
                                                     by you
                                                         you or
                                                             or the
                                                                the provision
                                                                     provision of of certain
                                                                                     certain services    in certain
                                                                                               services in   certain areas,
                                                                                                                      areas, such
                                                                                                                              such as
                                                                                                                                    as
                     New   Dialing
                      New Dialing          pursuant
                                           pursuant  to
                                                     to roaming
                                                         roaming   arrangements,
                                                                   arrangements,      or
                                                                                       orservices
                                                                                           services that
                                                                                                     that appear
                                                                                                           appear  likely
                                                                                                                    likely to
                                                                                                                            togenerate
                                                                                                                               generate
                                           abnormally
                                           abnormally high
                                                         highuse,
                                                              use, or
                                                                    orother
                                                                       otherdisproportionate
                                                                               disproportionateuse    usewhen
                                                                                                          whencompared
                                                                                                                  comparedto   to those
                        Procedure
                        Procedure
                                                                                                                                   those
                                           of
                                           of other
                                              other customers
                                                    customers of of Metro
                                                                    Metro by by T-Mobile
                                                                                T-Mobile (as  (asdescribed
                                                                                                  described below
                                                                                                               below under
                                                                                                                       under Section
                                                                                                                               Section
                          for New
                          for New
                                           24 "Your Use
                                           24 "Your  Use Of
                                                          Of The
                                                              The Service")
                                                                   Service") oror which
                                                                                   which maymay be
                                                                                                 be harmful,
                                                                                                    harmful, disruptive,
                                                                                                                disruptive, oror
                       Jersey 609
                       Jersey  609         interfere
                                           interfere with
                                                     with Metro
                                                           Metro byby T-Mobile'
                                                                       T-Mobile'system
                                                                                     system ororservices
                                                                                                  servicesto toother
                                                                                                                other customers.
                                                                                                                       customers. We We
                       Area Code
                       Area  Code          may
                                           may provide
                                                 provide notice  to you
                                                          notice to you prior
                                                                         prior toto taking
                                                                                     taking any
                                                                                              anyofofthe
                                                                                                      the foregoing
                                                                                                           foregoing actions,
                                                                                                                       actions, but
                                                                                                                                 but
                    (/content/metro/en/desktop/metro/terms-
                                           you acknowledge and agree that
                    (/content/metro/en/dgektioloteadoactOtarrtheree          that we
                                                                                   we are
                                                                                       are not   required to
                                                                                            not required     to provide
                                                                                                                provide notice     and
                                                                                                                          notice and
                    conditions/new-
                    conditions/new-        you agree
                                           you        that we
                                                agree that  we may
                                                                may take
                                                                     take any
                                                                            any of
                                                                                 of the
                                                                                     the foregoing     actions without
                                                                                          foregoing actions      without providing
                                                                                                                           providing
                                           notice  you. By
                                           notice you.  By initiating
                                                           initiating service   and placing
                                                                       service and              calls or
                                                                                      placing calls    or using
                                                                                                          using any
                                                                                                                  any other
                                                                                                                       other service
                                                                                                                              service
                          dialing--
                          dialing
                                           on
                                           on the  Metro by
                                               the Metro  by T-Mobile
                                                              T-Mobile system,
                                                                          system, youyou acknowledge
                                                                                           acknowledge and  and agree
                                                                                                                 agree toto Metro
                                                                                                                            Metro by by
                      procedure-
                       procedure-
                                           T-Mobile' ability
                                           T-Mobile'  ability to
                                                              to modify
                                                                 modify or orterminate
                                                                              terminate youryourService
                                                                                                   Serviceunder
                                                                                                             underthese
                                                                                                                     these
                      new-jersey-
                      new-jersey-          circumstances.
                                           circumstances.
                       609-area-
                       609-area-
                                                 4. Return
                                                 4. Return Policy
                                                           Policy and
                                                                  and Refund
                                                                      Refund Policy.
                                                                             Policy. For
                                                                                     For Metro
                                                                                         Metro by
                                                                                               by T-Mobile
                                                                                                  T-Mobile Device and
                                                                                                           Device and
                       code.html)
                       code.htm I)
                                                 accessory  returns and
                                                 accessory returns  and exchanges,  seethe
                                                                         exchanges, see theapplicable
                                                                                            applicablereturn
                                                                                                       return policy,
                                                                                                              policy, which
                                                                                                                      which is
                                                                                                                            is
                     Philadelphia
                     Philadelphia                available
                                                 available at
                                                           at your
                                                              your place
                                                                   place of
                                                                         of purchase.
                                                                            purchase. Amounts  paid for
                                                                                      Amounts paid  for Service
                                                                                                        Service charges are
                                                                                                                charges are

                        445 Area
                        445 Area

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                 6/25
                                                                                                                                              6/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 21 of 39
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                              Code
                              Code               non-refundable.
                                                 non-refundable. IfIfyour
                                                                      your Service
                                                                           Service is
                                                                                   is terminated
                                                                                      terminated for
                                                                                                 for any
                                                                                                      any reason  and you
                                                                                                          reason and   you have  a
                                                                                                                            have a

                     Notification
                      Notification               positive  balance in
                                                 positive balance  in your
                                                                      your Service
                                                                           Service account,
                                                                                    account, you
                                                                                             you will
                                                                                                 willnot
                                                                                                       notbe
                                                                                                           beentitled
                                                                                                              entitled to
                                                                                                                       to receive
                                                                                                                          receive
                                                 any
                                                 anv rrefund.
                                                       ef und.
                    (/content/metro/en/desktop/metro/terms-
                    Ucontent/metro/en/desktop/metro/terms-
                    conditions/philadelphia-
                                         5.-Changes
                    conditions/philadelph6.  Changes toto Your
                                                          Your Service.
                                                                 Service. This
                                                                          ThisSection
                                                                                Section describes
                                                                                         describes how
                                                                                                     how changes    may be
                                                                                                          changes may     be
                       445-area-
                       445  -area -      made   to your
                                          made to  your Agreement,
                                                         Agreement, is is subject  to requirements
                                                                          subject to  requirements andand limitations
                                                                                                           limitations imposed
                                                                                                                        imposed
                                         by
                                          by applicable
                                             applicable law,
                                                         law, and
                                                              and will
                                                                    willnot
                                                                         notbe
                                                                             beenforced
                                                                                enforced to to the
                                                                                               the extent prohibited by
                                                                                                   extent prohibited    by law.
                                                                                                                           law.
                            code-
                            code-
                                         We   may change
                                          We may            theprice
                                                    change the   price and
                                                                       and structure
                                                                            structure ofof your
                                                                                           your Rate
                                                                                                 Rate Plan,
                                                                                                      Plan, modify
                                                                                                             modify the
                                                                                                                      the
                         overlay-
                         overlay-
                                         various Rate
                                         various  Rate Plans,
                                                        Plans, change
                                                                change the
                                                                         the price
                                                                             price of
                                                                                    of the
                                                                                       the various
                                                                                            various Rate
                                                                                                     Rate Plans,
                                                                                                          Plans,change
                                                                                                                  change thethe
                    notification.html)
                    notification.html)   services included
                                         services  includedinin aa Rate
                                                                   Rate Plan,
                                                                        Plan, or
                                                                               or change
                                                                                  change thethe requirements
                                                                                                requirements ofof eligibility
                                                                                                                  eligibility for
                                                                                                                              for
                                            Rate
                                            Rate Plans,
                                                   Plans, at
                                                          at any time without
                                                             anytime    without prior
                                                                                  prior notice
                                                                                        notice to
                                                                                                to you.
                                                                                                   you. You
                                                                                                        You may
                                                                                                              maydesignate
                                                                                                                   designate
                     Sacramento
                     Sacramento
                                            others  to manage
                                            others to  manageor  or make
                                                                    make changes
                                                                           changesto  toyour
                                                                                         youraccount
                                                                                               account("Authorized
                                                                                                         ("AuthorizedUsers").
                                                                                                                        Users").
                         279 Area
                         279 Area           You and
                                            You   and any
                                                       any Authorized
                                                           Authorized Users
                                                                         Users on
                                                                                on your
                                                                                     youraccount
                                                                                           account will
                                                                                                    will have
                                                                                                         have access   to all
                                                                                                               access to  all
                            Code
                            Code            account   information. If
                                            account information.     If you
                                                                        you give
                                                                             give your
                                                                                   your personal
                                                                                         personal account    validation
                                                                                                   account validation
                    (/content/metro/en/desktop/metro/terms-
                                            information to someone, they can
                    (/content/metro/en/disiktoptionektrEqttennerthey           can access,   and may
                                                                                     access, and   may be
                                                                                                        be able
                                                                                                           able to
                                                                                                                 to make
                                                                                                                    make changes
                                                                                                                           changes
                    conditions/sacramento-
                    conditions/sacrament60  to your
                                               your account    just as
                                                     account just   as you
                                                                       you can,
                                                                            can, including
                                                                                  including incurring
                                                                                             incurring charges    for which
                                                                                                        charges for   which you   are
                                                                                                                              you are
                                            responsible.   Those changes
                                            responsible. Those    changeswillwill be
                                                                                  be binding
                                                                                      binding on
                                                                                               on you.
                                                                                                   you. Metro
                                                                                                        Metro byby T-Mobile
                                                                                                                   T-Mobile takes
                                                                                                                               takes
                        279-area-
                        279-area -
                                            no
                                            no responsibility
                                                responsibility for
                                                                for changes
                                                                    changes made
                                                                              made to to your
                                                                                         your account
                                                                                               account byby any
                                                                                                            any Authorized     User.
                                                                                                                 Authorized User.
                       code.html)
                       code.html)
                                           With
                                           With respect  to domestic
                                                 respect to  domesticlong
                                                                       longdistance,
                                                                             distance,roaming,
                                                                                         roaming, international
                                                                                                    international long
                                                                                                                   long
                        San Diego
                        San Diego          distance, and any
                                           distance, and  any other
                                                               other service
                                                                     serviceprovided
                                                                              providedby  byus
                                                                                             us(or
                                                                                                (or to
                                                                                                    to us
                                                                                                       us by
                                                                                                          by third
                                                                                                             third parties),
                                                                                                                    parties), we
                                                                                                                              we
                      Area Codes
                      Area Codes           may
                                           may change
                                                change the
                                                        the locations   and destinations
                                                             locations and                  where such
                                                                             destinations where     such Services
                                                                                                          Services may
                                                                                                                    may bebe used
                                                                                                                             used
                                           or where calls can be placed or
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/detivt(gpsimetpgittImplIced        or placed   in specific
                                                                              placed in            Rate Plans,
                                                                                          specific Rate  Plans, or
                                                                                                                or the
                                                                                                                   the rates
                                                                                                                        rates and
                                                                                                                              and

                    conditions/san-
                    conditions/san-        terms
                                           terms applicable
                                                  applicable  to
                                                              to such
                                                                 such locations
                                                                      locations  and
                                                                                 and   destinations,
                                                                                       destinations,   without
                                                                                                       without  prior
                                                                                                                prior notice
                                                                                                                       notice to
                                                                                                                              to
                                           you. Certain
                                           you. Certain charges   may be
                                                        charges may        imposedby
                                                                       be imposed    bythird
                                                                                          third parties
                                                                                                parties and
                                                                                                        and Metro
                                                                                                             Metro byby T-
                                                                                                                        T-
                      diego-area-
                      diego-area -
                                           Mobile
                                           Mobile may,
                                                   may, as
                                                         as an
                                                            anaccommodation,
                                                                accommodation, allow
                                                                                   allow such
                                                                                           such charges
                                                                                                 charges to
                                                                                                          to be paid through
                                                                                                             be paid  through
                      codes.html)
                      codes.html)                                                                                                        -n




                                                                                                                                        Feedback
                                           Metro
                                           Metro by
                                                  by T-Mobile.
                                                     T-Mobile.                                                                           CD
                                                                                                                                         CD
                    Orlando 689
                    Orlando 689                  YOU HAVE
                                                 YOU HAVE THE
                                                          THE RIGHT
                                                              RIGHT TO
                                                                    TO REFUSE
                                                                       REFUSE TO
                                                                              TO ACCEPT THESE RATE
                                                                                 ACCEPT THESE RATE PLAN
                                                                                                   PLAN
                                                                                                                                         0_

                       Area Code
                       Area Code        CHANGES.
                                        CHANGES. IFIF YOU
                                                      YOU DO
                                                           DONOT
                                                              NOTWANT
                                                                   WANTTO TOACCEPT
                                                                             ACCEPTTHETHE RATE
                                                                                          RATE PLAN
                                                                                                PLAN                                     0
                                        CHANGES, YOU  trgMUST
                    (/content/metro/en/desktop/metro/terms-
                    Ucontent/metro/en/dRIANFirifteX           NOTIFY
                                                          'JAIN OT I FYUS
                                                                        USIN
                                                                           INWRITING
                                                                             WRITINGWITHIN
                                                                                       WITHINTEN
                                                                                              TEN(10)
                                                                                                   (10) DAYS
                                                                                                        DAYS
                                        OF THE DATE
                                               DATE OF   THE CHANGE    THAT YOU   WISH TO
                                                                                        TO TERMINATE
                                                                                           TERMINATE
                    conditions/orlando-
                    conditions/orlando- OF THE        OF THE  CHANGE THAT    YOU WISH
                                        SERVICE. IF
                                        SERVICE. IF YOU
                                                    YOU DO   NOT NOTIFY
                                                         DO NOT  NOTIFY USUSTHAT
                                                                             THAT YOU
                                                                                   YOU WISH
                                                                                        WISH TO
                                                                                             TO TERMINATE
                                                                                                 TERMINATE
                       689-area-
                       689-area-
                                        SERVICE WITHIN
                                        SERVICE  WITHIN THAT
                                                          THATTIME
                                                               TIMEAND/OR
                                                                      AND/OR IF
                                                                              IF YOU
                                                                                 YOU CONTINUE
                                                                                     CONTINUE TOTO USE
                                                                                                    USE THE
                                                                                                         THE
                      code.html)
                      code.html)        SERVICE AFTER
                                        SERVICE  AFTER THE
                                                         THE RATE
                                                             RATEPLAN
                                                                   PLANCHANGES,
                                                                         CHANGES, YOU    ACCEPT THE
                                                                                    YOU ACCEPT    THE
                                        CHANGES.   NOTWITHSTANDING ANY
                                        CHANGES. NOTWITHSTANDING         ANY TERMINATION,
                                                                             TERMINATION, AMOUNTS
                                                                                             AMOUNTS
                         Overlay
                         Overlay
                                        PREVIOUSLY
                                        PREVIOUSLY PAID
                                                      PAIDARE
                                                            ARENON-REFUNDABLE.
                                                                NON-REFUNDABLE.
                        Approved
                        Approved
                     for Alabama
                     for Alabama                 6. Our Rights
                                                 6. Our Rights to
                                                               to Make
                                                                  Make Changes. We may
                                                                       Changes. We may change this Agreement
                                                                                       change this           at any
                                                                                                   Agreement at any
                                                 time. If
                                                 time. If you
                                                          you are
                                                              are an
                                                                  anexisting
                                                                     existing customer,
                                                                              customer, you
                                                                                        you will
                                                                                            willbe
                                                                                                 be notified
                                                                                                    notified at
                                                                                                             at least
                                                                                                                 least ten
                                                                                                                       ten (10)
                                                                                                                           (10)
                        205  Area
                        205 Area
                                         days,
                                         days, unless  a longer
                                                unless a longer period
                                                                 period is
                                                                        is required,
                                                                           required,ininadvance
                                                                                         advanceof ofany
                                                                                                      anyproposed
                                                                                                           proposed changes
                                                                                                                      changes
                            Code
                            Code
                                         that  may  result in more restrictive terms  or conditions  in this Agreement.
                                         that may result in more restrictive terms or conditions in this Agreement.
                    (/content/metro/en/desktop/metro/terms-
                    (/content/metro/en/dAny    such changes to this Ag
                                            1§tscilEOZWRIPOR1        Agreement    will be
                                                                         reement will   be effective after that
                                                                                           effective after  that time
                                                                                                                 time period.
                                                                                                                      period.
                    conditions/overlay-
                    cond itions/overlay-
                       approved-
                       approved-
                        alabama--
                        alabama          YOU HAVE
                                         YOU    HAVE THE
                                                       THE RIGHT
                                                              RIGHT TO
                                                                     TOREFUSE
                                                                          REFUSE TOTO ACCEPT
                                                                                        ACCEPT THE THE CHANGES.
                                                                                                        CHANGES. IF   IF YOU
                                                                                                                         YOU

                       205-area-
                       205-area -        DO
                                         DO   NOT
                                              NOT   WANT
                                                    WANT     TO
                                                             TO ACCEPT
                                                                ACCEPT     THE
                                                                           THE  CHANGES,
                                                                                CHANGES,       YOU
                                                                                              YOU    MUST
                                                                                                    MUST     NOTIFY
                                                                                                             NOTIFY    US
                                                                                                                       US IN
                                                                                                                          IN
                                         WRITING
                                         WRITING WITHIN
                                                      WITHIN TENTEN (10)
                                                                     (10) DAYS
                                                                          DAYS OF    THE DATE
                                                                                 OF THE    DATE OFOF THE
                                                                                                       THE CHANGE
                                                                                                             CHANGE
                       code.html)
                       code.html)
                                                 NOTICE
                                                 NOTICE THAT
                                                        THAT YOU
                                                             YOU WISH
                                                                  WISH TO
                                                                       TO TERMINATE
                                                                          TERMINATESERVICE.
                                                                                    SERVICE.IF
                                                                                             IFYOU
                                                                                               YOUDO
                                                                                                   DO NOT
                                                                                                       NOT
                         Ohio 937
                         Ohio 937                NOTIFY US THAT YOU WISH TO TERMINATE SERVICE WITHIN THAT
                                                 NOTIFY US THAT YOU WISH TO TERMINATE SERVICE  WITHIN THAT
                                                 TIME AND/OR
                                                 TIME        IF YOU
                                                      AND/OR IF YOU CONTINUE
                                                                    CONTINUETOTOUSE
                                                                                USETHE
                                                                                    THE SERVICE
                                                                                        SERVICE AFTER
                                                                                                AFTER
                       Area Code
                       Area Code
                                                 NOTIFICATION
                                                 NQTIFIQATION OF
                                                               OF THE
                                                                  THECHANGES,
                                                                      CHANGES, YOU
                                                                               YOU ACCEPT
                                                                                   ACCEPT THE
                                                                                           THE CHANGES.
                                                                                               CHANGES.
                    (/content/metro/en/desktop/metro/terms-
                    Ucontent/metro/en/desktop/metro/terms-
                    conditions/ohio-
                    conditions/ohio-    7. **Your
                                        7.   Your Wireless
                                                  Wireless Device   and Compatibility
                                                           Device and    Compatibility with
                                                                                         with Other
                                                                                               Other Networks
                                                                                                      Networks and
                                                                                                                and

                       937-area-        Equipment.
                                        Equipment. You
                                                     You may
                                                          may buy
                                                                buy aa wireless
                                                                       wireless device  to
                                                                                 device to use
                                                                                           use on
                                                                                               on our
                                                                                                  our Service
                                                                                                      Service from
                                                                                                              from us or
                                                                                                                   us or
                       937-area -
                                        someoneelse,
                                        someone   else,but
                                                        butititmust,
                                                               must, as
                                                                     as solely
                                                                        solely determined
                                                                                determinedby byus,
                                                                                                us, comply
                                                                                                    comply with
                                                                                                           with Federal
                                                                                                                 Federal
                      code.html)
                      code.htm I)
                                                 Communications     Commission regulations,
                                                 Communications Commission           regulations, be
                                                                                                  be certified
                                                                                                     certified for
                                                                                                               for use on our
                                                                                                                   use on our
                       Metro Tax
                       Metro Tax                 network,
                                                 network, and
                                                           and be  compatiblewith,
                                                                be compatible     with, and
                                                                                        and not
                                                                                             not potentially
                                                                                                 potentiallyharm,
                                                                                                              harm, our
                                                                                                                    our Service or
                                                                                                                        Service or
                                                 our
                                                 ournetwork.    OuriMy
                                                     nerriorc l.egr Services
                                                                       rijicse_swill
                                                                                 willonly
                                                                                      onlywork
                                                                                           workwith
                                                                                                 withwireless
                                                                                                      wirelessdevices
                                                                                                               devicescompatible
                                                                                                                       compatible
                    (/content/metro/en/desktop/metro/terms-
                    Ucontent/metro/en/deskt
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                              7/25
                                                                                                                                           7/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
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                    conditions/metro-
                    conditions/metro-            with our
                                                 with our network
                                                          network and
                                                                  and not
                                                                      not all
                                                                          all services
                                                                              services are
                                                                                       are available
                                                                                           available with
                                                                                                     with all
                                                                                                          allwireless
                                                                                                              wireless devices or
                                                                                                                       devices or

                       tax.html)
                       tax.html)                 on
                                                 on all
                                                     all networks.
                                                         networks. Some
                                                                      Some features
                                                                              features andand Rate
                                                                                               Rate Plans
                                                                                                      Plans will
                                                                                                             will be   available only
                                                                                                                   be available    only onon
                                                 Metro
                                                 Metro by by T-Mobile
                                                             T-Mobile wireless
                                                                          wireless devices      purchased from
                                                                                      devices purchased       from us.
                                                                                                                     us. At
                                                                                                                          At times
                                                                                                                             times wewe may
                                                                                                                                          may
                                                 remotely
                                                 remotely change       your wireless
                                                             change your       wireless device's   software, applications
                                                                                          device's software,     applications or  or
                                                 programming,
                                                 programming, without
                                                                    without notice
                                                                                notice to
                                                                                        to address
                                                                                            address security,
                                                                                                      security, safety,
                                                                                                                 safety, oror other
                                                                                                                              other issues
                                                                                                                                       issues that
                                                                                                                                               that
                                                 impact
                                                 impact our
                                                          our network
                                                               network or  or your
                                                                               yourdevice.
                                                                                      device. These
                                                                                               These changes
                                                                                                       changes willwill modify
                                                                                                                        modify your
                                                                                                                                  your wireless
                                                                                                                                         wireless
                                                 device   and may
                                                 device and    may affect
                                                                      affect oror erase
                                                                                   erase data
                                                                                          data you
                                                                                                you have    stored on
                                                                                                     have stored      on your
                                                                                                                          your wireless
                                                                                                                                 wireless device,
                                                                                                                                            device,
                                                 or
                                                 or how
                                                     how you
                                                          you have
                                                               have programmed
                                                                      programmed or      or use  your wireless
                                                                                            use your    wireless device.
                                                                                                                  device. A A Metro
                                                                                                                               Metro by  by T-
                                                                                                                                            T-
                                                 Mobile
                                                 Mobile wireless
                                                           wireless device
                                                                      device is is designed
                                                                                   designed toto be
                                                                                                  beused
                                                                                                     usedonly
                                                                                                            onlywith
                                                                                                                   with our
                                                                                                                         our service
                                                                                                                              service andand on
                                                                                                                                              on
                                                 our
                                                 our network.
                                                      network. Your
                                                                  Yourwireless
                                                                         wireless device
                                                                                     device may
                                                                                              may not
                                                                                                   not work
                                                                                                        work with
                                                                                                                with another
                                                                                                                      another wireless
                                                                                                                                  wireless
                                                 network,
                                                 network, oror the
                                                                the other
                                                                     other wireless
                                                                             wireless carrier
                                                                                         carriermay
                                                                                                  maynotnotaccept
                                                                                                             accept your
                                                                                                                      your wireless
                                                                                                                             wireless device
                                                                                                                                         device on
                                                                                                                                                 on
                                                 its
                                                 its network.
                                                     network. IfIf your
                                                                   yourwireless
                                                                          wirelessdevice
                                                                                      device was
                                                                                              was purchased
                                                                                                   purchased from from Metro
                                                                                                                         Metro by by T-Mobile
                                                                                                                                      T-Mobile
                                                 or
                                                 or an
                                                     an authorized
                                                         authorized Metro
                                                                       Metro by  by T-Mobile
                                                                                     T-Mobile dealer,
                                                                                                 dealer, the
                                                                                                          the wireless
                                                                                                               wireless device     has aa
                                                                                                                          device has
                                                 software programming
                                                 software   programming lock    lock that
                                                                                      that will
                                                                                            willprevent
                                                                                                 prevent the
                                                                                                           the wireless
                                                                                                                wireless device      from
                                                                                                                            device from
                                                 operating
                                                 operating with
                                                              with other
                                                                     other compatible
                                                                             compatible wireless
                                                                                             wireless telephone      carriers' services.
                                                                                                       telephone carriers'       services. Please
                                                                                                                                             Please
                                                 see www.metrobyt-mobile.com/unlockpolicy
                                                 see  www.metrobyt-mobile.com/unlockpolicy for              for information
                                                                                                                 information regarding
                                                                                                                                  regarding ourour
                                                 software programming
                                                 software   programming unlocking
                                                                                unlocking policy.
                                                                                             policy. Your
                                                                                                      Yourwireless
                                                                                                             wireless device
                                                                                                                         device may
                                                                                                                                  may contain
                                                                                                                                        contain
                                                 sensitiveor
                                                 sensitive  or personal
                                                               personal information.
                                                                            information. Metro
                                                                                             Metro byby T-Mobile
                                                                                                         T-Mobile is  is not
                                                                                                                         not responsible
                                                                                                                              responsible for for
                                                 any
                                                 any information
                                                      information on  on your
                                                                          yourwireless
                                                                                  wirelessdevice,
                                                                                             device, including
                                                                                                      including sensitive     or personal
                                                                                                                   sensitive or   personal
                                                 information.
                                                 information. If Ifpossible,
                                                                     possible, youyou should
                                                                                       should remove
                                                                                               remove or or otherwise
                                                                                                             otherwise safeguard
                                                                                                                           safeguard any any
                                                 sensitive or
                                                 sensitive  or personal
                                                               personal information
                                                                            information when when your
                                                                                                   your wireless
                                                                                                          wireless device
                                                                                                                      device isis out  of your
                                                                                                                                  out of  your
                                                 possession
                                                 possession or or control,
                                                                  control, including,
                                                                              including, butbut not
                                                                                                not limited
                                                                                                     limited to,
                                                                                                               to, relinquishing,
                                                                                                                    relinquishing,
                                                 exchanging,     returning or
                                                 exchanging, returning         or recycling   your wireless
                                                                                   recycling your   wireless device.
                                                                                                                device. ByBy providing
                                                                                                                              providing your
                                                                                                                                           your
                                                 wireless device
                                                 wireless  device to to us,
                                                                        us, you
                                                                             you agree
                                                                                    agree that
                                                                                           that our
                                                                                                our employees,       contractors or
                                                                                                     employees, contractors          or vendors
                                                                                                                                         vendors
                                                 may
                                                 may access    all of
                                                       access all   of the  information on
                                                                       the information       on your
                                                                                                your wireless
                                                                                                       wireless device.
                                                                                                                  device.
                                                                                                                                                                  -n




                                                                                                                                                                 Feedback
                                                                                                                                                                  CD
                                                                                                                                                                  CD
                                                                                                                                                                  0_
                                                 8.  ServiceAvailability.
                                                 8. Service     Availability. Service
                                                                                Service is  is limited
                                                                                                limited toto the
                                                                                                             the operating
                                                                                                                   operating range,
                                                                                                                                 range, spectrum,
                                                                                                                                            spectrum,
                                                                                                                                                                  0
                                                 and
                                                 and capacity
                                                       capacity of  of our,
                                                                       our, or
                                                                            or our
                                                                                our roaming
                                                                                      roaming partners’,
                                                                                                    partners',wireless
                                                                                                                 wireless system
                                                                                                                            system in  in your
                                                                                                                                           your service
                                                                                                                                                    service
                                                 area.
                                                 area. Your
                                                          YourService
                                                                 Servicearea
                                                                           areaisisthe
                                                                                     thearea
                                                                                          areadepicted
                                                                                                   depicted ininthe
                                                                                                                  the coverage
                                                                                                                       coverage map  map available
                                                                                                                                             available to  to
                                                 you when
                                                 you   when youyou activated      Service and
                                                                     activated Service        and maymay change
                                                                                                           change fromfrom time
                                                                                                                             time to to time
                                                                                                                                         time without
                                                                                                                                                 without
                                                 notice.    Since Metro
                                                 notice. Since      Metro byby T-Mobile
                                                                                T-Mobile uses         different spectrum
                                                                                               uses different      spectrum in   in different
                                                                                                                                     different areas
                                                                                                                                                   areas of of
                                                 the country,
                                                 the   country, service
                                                                  service may
                                                                            may notnot be
                                                                                        be available
                                                                                             available on  on all
                                                                                                               all wireless   devicesin
                                                                                                                   wireless devices        in all
                                                                                                                                               all areas.
                                                                                                                                                   areas.
                                                 We    may, but
                                                 We may,      but are
                                                                    are not
                                                                         not obligated
                                                                             obligated to,  to, provide
                                                                                                  provide notice
                                                                                                            notice when
                                                                                                                      when youyou areare being
                                                                                                                                           being served
                                                                                                                                                    served
                                                 by
                                                 by a a carrier
                                                         carrierother
                                                                  otherthan
                                                                          thanourselves.
                                                                                ourselves.The    Thespecific
                                                                                                       specific network
                                                                                                                 network coverage
                                                                                                                             coverage you   you get     will
                                                                                                                                                   get will
                                                 depend
                                                 depend on   on the
                                                                 theradio
                                                                      radio transmissions
                                                                             transmissions your    your wireless
                                                                                                         wirelessdevice
                                                                                                                      device can
                                                                                                                               can receive
                                                                                                                                     receive and and use,
                                                                                                                                                        use,
                                                 and
                                                 and thethe Services
                                                             Services youyou have
                                                                              have chosen.         Specific Services
                                                                                     chosen. Specific        Services may may not
                                                                                                                                not be be available
                                                                                                                                            available on  on
                                                 all wireless
                                                 all  wireless devices
                                                                 devices atat all
                                                                              all points
                                                                                   points in in time
                                                                                                  time due
                                                                                                        due to
                                                                                                             to wireless
                                                                                                                 wireless device        hardware
                                                                                                                            device hardware
                                                 and/or software,
                                                 and/or     software, changes
                                                                         changesto  toour
                                                                                        our network,
                                                                                              network, network
                                                                                                           network infrastructure,
                                                                                                                        infrastructure, cessation
                                                                                                                                               cessation
                                                 of specific
                                                 of  specificServices,
                                                                Services,or or service
                                                                               serviceby   bycarriers
                                                                                                carriers other
                                                                                                          other than
                                                                                                                   than ourselves.
                                                                                                                          ourselves.ExceptExceptfor  for911
                                                                                                                                                          911
                                                 calls
                                                 calls and
                                                         and any
                                                              any "roaming"
                                                                    "roaming"service
                                                                                   serviceto  towhich
                                                                                                   whichyou
                                                                                                          youhave
                                                                                                                havesubscribed,
                                                                                                                        subscribed, you  you will
                                                                                                                                               will not
                                                                                                                                                      not be
                                                                                                                                                           be
                                                 able
                                                 able toto use
                                                            use your
                                                                 your wireless
                                                                        wireless device
                                                                                   deviceoutside
                                                                                              outsideof  ofyour
                                                                                                            yourservice
                                                                                                                    servicearea
                                                                                                                              areaforfor any
                                                                                                                                           any calls,
                                                                                                                                                 calls,
                                                 including
                                                 including local,
                                                               local, long
                                                                       long distance
                                                                             distance and and international
                                                                                                 international calls.
                                                                                                                   calls. Further,
                                                                                                                           Further, sincesince services
                                                                                                                                                 services
                                                 outside     Metro by
                                                 outside Metro       by T-Mobile's
                                                                          T-Mobile's service
                                                                                         service areaarea are
                                                                                                           are provided
                                                                                                                provided by  by third
                                                                                                                                  third parties,
                                                                                                                                          parties, notnot
                                                 all
                                                 all services
                                                      services may
                                                                 may work
                                                                        workoutside
                                                                               outside your
                                                                                          yourservice
                                                                                                   servicearea.
                                                                                                            area.Service
                                                                                                                     Servicedepends
                                                                                                                               depends on    on over-
                                                                                                                                                  over-
                                                 the-air radio
                                                 the-air    radio transmissions.
                                                                   transmissions.Our   Ourcoverage
                                                                                               coverage mapsmapsprovide
                                                                                                                     providehighhighlevel
                                                                                                                                        levelestimates
                                                                                                                                                estimates
                                                 of our
                                                 of  our coverage       areas when
                                                           coverage areas              using Services
                                                                               when using                   outdoors under
                                                                                                 Services outdoors        under optimal
                                                                                                                                    optimal
                                                 conditions. Coverage
                                                 conditions.     Coverage is  is not
                                                                                  not available
                                                                                       available everywhere
                                                                                                      everywhere and   anddepends
                                                                                                                            depends on     on the
                                                                                                                                               the
                                                 Service purchased
                                                 Service     purchased and and the
                                                                                 the wireless
                                                                                       wireless device
                                                                                                    device used.
                                                                                                             used. Service
                                                                                                                      Service speeds
                                                                                                                                speeds are  are not
                                                                                                                                                  not
                                                 guaranteed and
                                                 guaranteed       and actual
                                                                        actual speeds
                                                                                speedswill will vary.
                                                                                                   vary. Estimating
                                                                                                         Estimating wireless
                                                                                                                         wireless coverage,          signal
                                                                                                                                      coverage, signal
                                                 strength and
                                                 strength     and Service
                                                                    Service speed
                                                                             speed is  is not
                                                                                          not an an exact
                                                                                                     exact science.
                                                                                                            science.ThereThere areare gaps
                                                                                                                                       gaps in  in
                                                 coverage within
                                                 coverage      within our
                                                                        our estimated       coverageareas
                                                                            estimated coverage            areasthat
                                                                                                                  thatmaymay result
                                                                                                                               result in in dropped
                                                                                                                                             dropped
                                                 and/or blocked
                                                 and/or     blocked connections,
                                                                       connections, slower
                                                                                         slower Service
                                                                                                     Service speeds,
                                                                                                               speeds, or or otherwise
                                                                                                                              otherwise impactimpact the the
                                                 quality of
                                                 quality    of Service.
                                                               Service. Many
                                                                           Many factors
                                                                                   factors beyond
                                                                                              beyond our our control
                                                                                                              control affect       your ability
                                                                                                                         affect your      ability to to
                                                 make
                                                 make and and receive     calls on
                                                                receive calls   on your
                                                                                     your wireless
                                                                                             wireless device,
                                                                                                         device, the     quality of
                                                                                                                   the quality      of those     calls, and
                                                                                                                                       those calls,      and
                                                 the speed
                                                 the   speedof  ofyour
                                                                   your Service
                                                                          Service including,
                                                                                    including, but   but not
                                                                                                         not limited
                                                                                                              limited to,to, your
                                                                                                                             your location,
                                                                                                                                      location, the the
                                                 conditions of
                                                 conditions      of the
                                                                    theatmosphere,
                                                                         atmosphere,terrain,
                                                                                           terrain, nearby
                                                                                                       nearby buildings
                                                                                                                 buildings andand other
                                                                                                                                     other structures,
                                                                                                                                              structures,

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                                       8/25
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7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
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                                                                                         MetroPCS.com
                                                 network
                                                 network capacity
                                                         capacity issues,
                                                                  issues, system
                                                                          system outages, failure of
                                                                                 outages, failure of equipment
                                                                                                     equipment to
                                                                                                               to operate
                                                                                                                  operate as
                                                                                                                          as
                                                 expected,spectrum
                                                 expected, spectrumused,
                                                                   used,problems
                                                                         problems that
                                                                                  that occur
                                                                                       occur with
                                                                                             with service
                                                                                                  service we
                                                                                                          we purchase
                                                                                                             purchase
                                                 from third
                                                 from thirdparties,
                                                            parties,system
                                                                     systemupgrades,
                                                                           upgrades,performance
                                                                                     performanceof
                                                                                                ofsystem
                                                                                                   system maintenance,
                                                                                                          maintenance,
                                                 accidents, network
                                                 accidents, network problems,
                                                                    problems, network
                                                                              network or
                                                                                      or Internet
                                                                                          Internetcongestion,
                                                                                                  congestion, software,
                                                                                                              software,
                                                 signal strength,
                                                 signal strength, your
                                                                  your wireless
                                                                       wireless device,
                                                                                device, weather,
                                                                                        weather, geography,
                                                                                                 geography, topography,
                                                                                                            topography,
                                                 server speeds
                                                 server        of the
                                                        speeds of the websites you access
                                                                      websites you access or
                                                                                          or other
                                                                                             other events outside of
                                                                                                   events outside of our
                                                                                                                     our
                                                 control. As
                                                 control. As aa result,
                                                                result,sometimes
                                                                        sometimes Service,
                                                                                  Service, including
                                                                                           including calls
                                                                                                     calls or
                                                                                                           orattempted
                                                                                                              attempted calls
                                                                                                                        calls to
                                                                                                                              to
                                                 emergencyservices
                                                 emergency serviceslike
                                                                    like911,
                                                                         911, may
                                                                              may be
                                                                                  be unavailable,
                                                                                     unavailable,interrupted
                                                                                                  interruptedor
                                                                                                             or may
                                                                                                                may fail,
                                                                                                                    fail, and
                                                                                                                          and
                                                 the quality
                                                 the quality of
                                                             of calls
                                                                calls may
                                                                      may sometimes be poor.
                                                                          sometimes be poor. Metro
                                                                                             Metro by
                                                                                                   by T-Mobile
                                                                                                      T-Mobile takes
                                                                                                               takes no
                                                                                                                     no
                                                 responsibility
                                                 responsibility for
                                                                for Service
                                                                    Service interruptions
                                                                             interruptions or
                                                                                            orproblems
                                                                                               problems caused
                                                                                                          caused by
                                                                                                                 by factors
                                                                                                                     factors
                                                 beyond   our control.
                                                 beyond our   control. Any
                                                                       Any statements    by Metro
                                                                             statements by  Metro byby T-Mobile,
                                                                                                        T-Mobile,its
                                                                                                                  itsemployees,
                                                                                                                      employees,
                                                 representatives  or agents
                                                 representatives or  agents about
                                                                              about the  coverage of
                                                                                    the coverage    of our
                                                                                                       our system
                                                                                                           system are
                                                                                                                  are intended
                                                                                                                       intended
                                                 only
                                                 only to
                                                      to describe  Metro by
                                                         describe Metro   by T-Mobile's
                                                                              T-Mobile's approximate
                                                                                          approximate coverage     in your
                                                                                                         coverage in  your service
                                                                                                                           service
                                                 area. You should   not interpret any such   statement   to mean that  Service
                                                 area. You should not interpret any such statement to mean that Service will   will
                                                 be available or
                                                 be available or without   interruption in
                                                                 without interruption   in any
                                                                                           any service
                                                                                                service area.
                                                                                                        area.




                                                 9. LocationBased
                                                 9. Location BasedServices;
                                                                   Services;Important
                                                                             Important Emergency
                                                                                       Emergencyand
                                                                                                 and9-1-1
                                                                                                    9-1-1 Information;
                                                                                                          Information;
                                                 and Emergency
                                                 and           Alerts. When
                                                     Emergency Alerts. Whenmaking
                                                                            makingaa 911
                                                                                     911 call,
                                                                                         call, always
                                                                                               always state
                                                                                                      state the nature of
                                                                                                            the nature of
                                                 your emergency
                                                 your           and provide
                                                      emergency and provide both your location
                                                                            both your location and
                                                                                               and phone number, as
                                                                                                   phone number, as the
                                                                                                                    the
                                                 operator
                                                 operator may may not
                                                                    not automatically         receive this
                                                                          automatically receive           this information.
                                                                                                                information. Metro Metro by  by T-Mobile
                                                                                                                                                  T-Mobile
                                                 is
                                                 is not
                                                    not responsible
                                                         responsible for  for failures
                                                                                failures toto connect
                                                                                              connect or   or complete
                                                                                                               complete911   911 calls
                                                                                                                                   calls or
                                                                                                                                          or if
                                                                                                                                              if inaccurate
                                                                                                                                                 inaccurate
                                                 location    information is
                                                 location information          is provided.
                                                                                  provided. 911911 service
                                                                                                     service maymay notnot be
                                                                                                                            be available
                                                                                                                                  available or  or reliable
                                                                                                                                                    reliable
                                                 and your
                                                 and   your ability
                                                              abilityto toreceive
                                                                            receiveemergency
                                                                                        emergency services
                                                                                                       services may may be be impeded.
                                                                                                                                impeded. Services
                                                                                                                                               Services
                                                 that rely
                                                 that  rely on   location information,
                                                             on location      information, such suchas  as E911,
                                                                                                            E911, GPS
                                                                                                                    GPS navigation,
                                                                                                                           navigation, and   and ourour




                                                                                                                                                                 Feedback
                                                 wireless network
                                                 wireless   network depend
                                                                         depend on    on your
                                                                                          your wireless
                                                                                                 wireless device's       ability to
                                                                                                              device's ability      to acquire
                                                                                                                                        acquire satellite
                                                                                                                                                     satellite    CD
                                                 signals   and   network      coverage.      Unlike   traditional
                                                 signals and network coverage. Unlike traditional wireline telephones,wireline     telephones,                    CD
                                                                                                                                                                  0-
                                                 depending
                                                 depending on   onaa number
                                                                       number of    of factors
                                                                                        factors (for
                                                                                                  (for example,
                                                                                                        example, where
                                                                                                                     where you  you are,
                                                                                                                                      are, whether
                                                                                                                                             whether
                                                                                                                                                                  0
                                                 local
                                                 local emergency
                                                        emergency serviceserviceproviders
                                                                                    providers havehave upgraded
                                                                                                          upgraded theirtheir equipment,
                                                                                                                                 equipment, etc.),  etc.),911
                                                                                                                                                           911
                                                 operators
                                                 operators may may notnot know
                                                                            know youryour telephone        number, your
                                                                                            telephone number,          your location
                                                                                                                                location or or the
                                                                                                                                                 the
                                                 location
                                                 location of of your
                                                                your wireless
                                                                       wireless device.        Other third
                                                                                    device. Other       third party
                                                                                                                party entities
                                                                                                                        entities are are involved
                                                                                                                                          involved in   in
                                                 connecting
                                                 connecting aa911   911 call.
                                                                         call. Metro
                                                                                 Metro by by T-Mobile
                                                                                              T-Mobile makes makes no no guarantee
                                                                                                                          guarantee that   that
                                                 emergency
                                                 emergency 911   911 calls
                                                                      calls will
                                                                              will be
                                                                                    be routed
                                                                                         routed toto aa specific
                                                                                                        specific Public
                                                                                                                    Public Safety       Answering
                                                                                                                               Safety Answering
                                                 Point   ("PSAP") or
                                                 Point ("PSAP")        oranyanyparticular
                                                                                  particularpublic
                                                                                                publicsafety
                                                                                                          safetyorganization
                                                                                                                   organization (for  (forexample,
                                                                                                                                             example,
                                                 police   department, fire
                                                 police department,          fire department,       ambulance services,
                                                                                   department, ambulance             services, etc.).
                                                                                                                                    etc.). Metro
                                                                                                                                            Metro by  by T-
                                                                                                                                                          T-
                                                 Mobile
                                                 Mobile takes
                                                           takes nono responsibility
                                                                        responsibility for  for the   acts or
                                                                                                 the acts     or omissions
                                                                                                                 omissions of    of any
                                                                                                                                    any PSAP
                                                                                                                                          PSAP or   or any
                                                                                                                                                        any
                                                 public
                                                 public safety
                                                          safety organization
                                                                   organization (for   (for example,
                                                                                             example, police
                                                                                                           police department,
                                                                                                                    department, fire   fire department,
                                                                                                                                              department,
                                                 ambulance       services, etc.).
                                                 ambulance services,           etc.). In
                                                                                       In certain
                                                                                          certain circumstances,
                                                                                                    circumstances, an     an emergency
                                                                                                                                emergency call    call may
                                                                                                                                                       may
                                                 be  routed to
                                                 be routed     to aa state
                                                                     state patrol
                                                                              patrol dispatcher
                                                                                       dispatcher or  or alternative
                                                                                                           alternative location
                                                                                                                           location set set byby local
                                                                                                                                                  local
                                                 emergency       serviceproviders.
                                                 emergency service          providers.Enhanced
                                                                                            Enhanced911    911service
                                                                                                                service("E911"),
                                                                                                                          ("E911"), wherewhere enabled
                                                                                                                                                    enabled
                                                 by
                                                 by local
                                                     local emergency
                                                            emergency authorities,
                                                                             authorities, usesuses GPS
                                                                                                     GPS or  ornetwork
                                                                                                                 networktechnologies
                                                                                                                               technologies to     to
                                                 provide
                                                 provide location       information. Even
                                                            location information.           Even when
                                                                                                   when available,
                                                                                                            available, however,
                                                                                                                          however, E911  E911 doesdoes not
                                                                                                                                                         not
                                                 always    provide    accurate      location    information,      and
                                                 always provide accurate location information, and in some cases may notin  some     cases     may    not
                                                 generate
                                                 generate aa location
                                                                locationat   atall.
                                                                                 all. If
                                                                                      If your
                                                                                         your wireless
                                                                                               wireless device
                                                                                                            device isis indoors
                                                                                                                        indoors or   or for
                                                                                                                                         forsome
                                                                                                                                               some other
                                                                                                                                                       other
                                                 reason
                                                 reason cannot
                                                           cannot acquire
                                                                     acquire aa satellite
                                                                                    satellite signal,
                                                                                                signal, you
                                                                                                          you maymaynotnotbe belocated.
                                                                                                                                  located. SomeSome
                                                 wireless devices
                                                 wireless               have aa safety
                                                             devices have                   feature that
                                                                                   safety feature      that prevents
                                                                                                               prevents useuse of of the
                                                                                                                                     the keypad
                                                                                                                                           keypad afterafter
                                                 dialing
                                                 dialing 911.
                                                           911.You
                                                                 Youshould
                                                                        shouldfollow
                                                                                   followvoice
                                                                                            voice prompts
                                                                                                    prompts when when interacting
                                                                                                                         interacting with  with
                                                 emergency       serviceproviders
                                                 emergency service          providersemploying
                                                                                           employingInteractive
                                                                                                           InteractiveVoiceVoiceResponse
                                                                                                                                     Response("IVR") ("IVR")
                                                 systems to
                                                 systems    to screen
                                                                screencalls.
                                                                           calls. While
                                                                                   While your
                                                                                            your wireless
                                                                                                   wireless device
                                                                                                                device isis receiving
                                                                                                                             receiving a    a software
                                                                                                                                               software
                                                 update,
                                                 update, youyou may
                                                                  may be be unable
                                                                              unable to  to use
                                                                                            useyour
                                                                                                 your wireless
                                                                                                         wireless device
                                                                                                                     devicein   inany
                                                                                                                                   any manner
                                                                                                                                         manner until until
                                                 the software
                                                 the  software update
                                                                   updateisis complete.
                                                                                  complete.IfIfyou you are
                                                                                                         are porting
                                                                                                               porting a a phone       number to
                                                                                                                            phone number            to or
                                                                                                                                                        or
                                                 from us,
                                                 from   us, we
                                                             we may
                                                                 may not not bebe able
                                                                                   able toto provide
                                                                                             provide you you with
                                                                                                                with some      Services, such
                                                                                                                      some Services,         such as as 9-1-1
                                                                                                                                                         9-1-1
                                                 location    services, while
                                                 location services,       while thetheport
                                                                                         port is
                                                                                              is in
                                                                                                 in process.
                                                                                                    process. YourYour wireless
                                                                                                                         wireless device
                                                                                                                                      device may  may
                                                 require
                                                 require youyouto toelect
                                                                      elect toto use
                                                                                  use location
                                                                                        location based       services, or
                                                                                                   based services,       or you
                                                                                                                              you maymaychoose
                                                                                                                                            choose to  to use
                                                                                                                                                           use
                                                 location    basedservices,
                                                 location based       services,otherotherthan
                                                                                            thanE911.
                                                                                                   E911. If If you
                                                                                                               you elect
                                                                                                                    elect to     use non-E911
                                                                                                                            to use    non-E911
                                                 location    based services,
                                                 location based       services, you you agree
                                                                                          agree that
                                                                                                  that wewe maymay use
                                                                                                                    use the
                                                                                                                          the location
                                                                                                                                 locationinformation
                                                                                                                                              information
                                                 transmitted from
                                                 transmitted      from your
                                                                          your wireless
                                                                                  wireless device
                                                                                             device to to improve
                                                                                                           improve our our location        services. Your
                                                                                                                              location services.         Your

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                                       9/25
                                                                                                                                                                    9/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 24 of 39
                                                                                         MetroPCS.com
                                                 personal,  biographical and
                                                 personal, biographical     and calling
                                                                                 calling information
                                                                                          information will
                                                                                                         will not
                                                                                                              not be
                                                                                                                  be used   by us.
                                                                                                                      used by  us. By
                                                                                                                                    By
                                                 electing  to use
                                                 electing to  use location
                                                                   location based
                                                                             basedservices,
                                                                                     services,you you agree
                                                                                                       agree and
                                                                                                             and authorize
                                                                                                                  authorize usus to
                                                                                                                                 to send
                                                                                                                                     send
                                                 targeted, location
                                                 targeted,  location based
                                                                       basedinformation
                                                                               information to to your
                                                                                                  your mobile
                                                                                                        mobile device   and also
                                                                                                                device and   also to
                                                                                                                                   to use or
                                                                                                                                      use or
                                                 provide
                                                 provide to  third parties
                                                          to third  parties your
                                                                             your location
                                                                                   location information
                                                                                              information in inan
                                                                                                                anaggregate
                                                                                                                   aggregate
                                                 form. Emergency
                                                 form.   Emergency Alerts.
                                                                       Alerts. Metro
                                                                               Metro byby T-Mobile
                                                                                           T-Mobile has has chosen
                                                                                                            chosen toto offer
                                                                                                                        offer wireless
                                                                                                                              wireless
                                                 emergency     alerts, within
                                                 emergency alerts,     within portions
                                                                               portions of
                                                                                         of its
                                                                                             its coverage   area, on
                                                                                                 coverage area,   on wireless
                                                                                                                      wireless alert
                                                                                                                                alert
                                                 capable  Devices. There
                                                 capable Devices.    There isis no
                                                                                no additional
                                                                                   additional charge
                                                                                                  charge for
                                                                                                          forthese
                                                                                                               these wireless
                                                                                                                     wireless emergency
                                                                                                                               emergency
                                                 alerts.
                                                 alerts. For
                                                         For details
                                                              details on
                                                                       on the
                                                                          the availability
                                                                              availabilityof ofthis
                                                                                                 thisservice
                                                                                                      serviceand
                                                                                                              andwireless
                                                                                                                   wirelessemergency
                                                                                                                             emergency
                                                 alert
                                                 alert capable
                                                       capable Devices,
                                                                 Devices, please
                                                                            please visit
                                                                                    visit https://www.metrobyt-
                                                                                           https://www.metrobyt-
                                                 mobile.com/terms-conditions/wireless-emergency-alerts.html
                                                 mobile.com/terms-conditions/wireless-emergency-alerts.html ..




                                                 10. *
                                                 10. * Data
                                                       Data Plans
                                                            Plansand
                                                                  andOther
                                                                     OtherFeatures.
                                                                           Features.Data
                                                                                    DataAccess.
                                                                                         Access. Depending on your
                                                                                                 Depending on your Rate
                                                                                                                   Rate
                                                 Plan,
                                                 Plan, your
                                                         yourusage
                                                              usage of of Data
                                                                          Data Access      may be
                                                                                  Access may     be metered
                                                                                                     meteredby    byUs. Us.Your
                                                                                                                             Your Rate
                                                                                                                                    Rate Plan
                                                                                                                                         Plan may
                                                                                                                                               may
                                                 include
                                                 include a a Data
                                                             Data Access      usagelimit,
                                                                    Access usage       limit, such
                                                                                              such asas 22 GB
                                                                                                           GB perper service
                                                                                                                       service cycle.
                                                                                                                                 cycle. We   shall
                                                                                                                                        We shall
                                                 determine
                                                 determine in in our
                                                                  oursole
                                                                        sole discretion
                                                                              discretionwhatwhatdata
                                                                                                   datausage
                                                                                                          usageconstitutes
                                                                                                                   constitutes Data Data Access
                                                                                                                                          Access
                                                 and
                                                 and reserve
                                                       reserve the   right to
                                                                the right    to alter,
                                                                                alter, make
                                                                                         make additions
                                                                                                additions to  to or
                                                                                                                 ordeletions
                                                                                                                      deletions toto what
                                                                                                                                      what type   of
                                                                                                                                            type of
                                                 data
                                                 data usage,   or protocols,
                                                        usage, or   protocols, constitute       Data Access
                                                                                  constitute Data                 without notification
                                                                                                       Access without         notification to   you.
                                                                                                                                             to you.
                                                 Data
                                                 Data Access     may include,
                                                        Access may     include, forfor example,
                                                                                        example, multimedia
                                                                                                    multimedia streaming
                                                                                                                      streaming and and video
                                                                                                                                         video on
                                                                                                                                                on
                                                 demand     services, as
                                                 demand services,       as well
                                                                            well as
                                                                                  as certain
                                                                                     certain multimedia
                                                                                               multimedia uploads,
                                                                                                                uploads, downloads
                                                                                                                             downloads and and
                                                 gaming
                                                 gaming services
                                                           services and
                                                                      and applications.
                                                                            applications. Uploads
                                                                                              Uploads are are data
                                                                                                               data sessions
                                                                                                                        sessions where
                                                                                                                                   where the
                                                                                                                                          the data
                                                                                                                                               data
                                                 is
                                                 is transferred
                                                    transferred from
                                                                   fromyour
                                                                          yourWireless
                                                                                  WirelessDevice
                                                                                             Deviceto  to some
                                                                                                           some other
                                                                                                                  other computer
                                                                                                                            computer or or wireless
                                                                                                                                           wireless
                                                 device,   while downloads
                                                 device, while    downloadsare    are data
                                                                                      data sessions
                                                                                             sessionswhere
                                                                                                         wherethe thedatadataisistransferred
                                                                                                                                  transferred from
                                                                                                                                                from
                                                 some other
                                                 some    other computer
                                                               computer or    or wireless
                                                                                  wireless device
                                                                                            device to     your Wireless
                                                                                                      to your    Wireless Device.
                                                                                                                               Device. Depending
                                                                                                                                        Depending
                                                 on
                                                 on your
                                                     your Rate
                                                           Rate Plan,
                                                                  Plan, certain
                                                                          certainusages
                                                                                    usages may
                                                                                             may notnot count
                                                                                                         count against
                                                                                                                  against youryour Data
                                                                                                                                     Data Access
                                                                                                                                          Access




                                                                                                                                                       Feedback
                                                 limit.
                                                 limit. Data
                                                         DataAccess
                                                               Access does      not include
                                                                         does not    include any
                                                                                               any data
                                                                                                     data services
                                                                                                             services or or uses   which are
                                                                                                                             uses which   are           CD
                                                                                                                                                        CD
                                                 prohibited
                                                 prohibited byby UsUs under
                                                                       under this
                                                                                this Agreement,
                                                                                      Agreement, such suchas  asin
                                                                                                                 in the
                                                                                                                    theMetroWEB
                                                                                                                          MetroWEB Terms Terms of of    0-
                                                 Use.
                                                 Use. Data
                                                        Data Access     usage includes,
                                                              Access usage       includes, but
                                                                                             but is
                                                                                                  is not
                                                                                                     not limited
                                                                                                           limited to,to, the
                                                                                                                           the actual
                                                                                                                               actual data
                                                                                                                                        data sent
                                                                                                                                              sent
                                                                                                                                                        0
                                                 and
                                                 and received     along with
                                                       received along     with overhead,
                                                                                 overhead, header        packets, and
                                                                                               header packets,         and may
                                                                                                                             may include
                                                                                                                                   include other
                                                                                                                                            other
                                                 information
                                                 information sentsent in
                                                                       in connection
                                                                           connection withwith aa data
                                                                                                   data session
                                                                                                          session in in which
                                                                                                                         which Data
                                                                                                                                 Data Access
                                                                                                                                        Access
                                                 occurs.
                                                 occurs. Data
                                                           Data Access
                                                                  Access on on networks
                                                                               networks not not owned
                                                                                                 owned by    by us,
                                                                                                                us, such
                                                                                                                     such as as when
                                                                                                                                when you
                                                                                                                                       you are
                                                                                                                                            are
                                                 roaming,
                                                 roaming, maymay not
                                                                   not be   available or
                                                                        be available     or may
                                                                                            may bebe further
                                                                                                      further limited.
                                                                                                                 limited. Charges
                                                                                                                              Charges and
                                                                                                                                        and
                                                 availability
                                                 availabilityare
                                                               arebased
                                                                     based on on the
                                                                                  the location
                                                                                       location of
                                                                                                 of the
                                                                                                     the cell
                                                                                                           cell site   receiving and
                                                                                                                site receiving      and
                                                 transmitting the
                                                 transmitting    the Data
                                                                      Data Access       service and
                                                                              Access service     and not
                                                                                                       not your
                                                                                                              your location.
                                                                                                                    location.

                                                 The absolute
                                                 The          capacity of
                                                     absolute capacity of the
                                                                          thewireless
                                                                              wirelessdata
                                                                                      datanetwork
                                                                                           network is
                                                                                                   is limited.
                                                                                                      limited. Accordingly,
                                                                                                               Accordingly,
                                                 Data
                                                 Data Access  is only
                                                      Access is  only provided
                                                                      provided for
                                                                               for prescribed purposesand
                                                                                   prescribed purposes andpricing
                                                                                                          pricing for
                                                                                                                  for Data
                                                                                                                      Data
                                                 Access is
                                                 Access is device
                                                           device dependent
                                                                  dependentand
                                                                            andbased
                                                                               basedon
                                                                                     onthe
                                                                                        thetransmit
                                                                                            transmit and
                                                                                                     and receive
                                                                                                         receive capacity
                                                                                                                 capacity
                                                 of
                                                 of each device. A
                                                    each device. A Data
                                                                   Data Access  pricing plan
                                                                         Access pricing plandesignated
                                                                                             designated for
                                                                                                        forone
                                                                                                            one type
                                                                                                                type of
                                                                                                                     of device
                                                                                                                        device
                                                 may
                                                 may not
                                                      not be
                                                          be used
                                                             used with
                                                                   with another
                                                                        another device.
                                                                                device. Compatible
                                                                                        Compatible data-enabled   wireless
                                                                                                    data-enabled wireless
                                                 devices are required.
                                                 devices are required.

                                                 You acknowledge
                                                 You             and agree
                                                     acknowledge and agree that
                                                                           that your
                                                                                your Data
                                                                                     DataAccess
                                                                                          Access usage
                                                                                                 usage and
                                                                                                       and speed may
                                                                                                           speed may
                                                 vary depending
                                                 vary           on certain
                                                      depending on certain factors
                                                                           factors outside
                                                                                   outside of
                                                                                           of our
                                                                                              our control.
                                                                                                  control. Such factors may
                                                                                                           Such factors may
                                                 include
                                                 include the     amount of
                                                           the amount      of users
                                                                              users onon the
                                                                                          the service,
                                                                                              service, network
                                                                                                         networkcongestion,
                                                                                                                    congestion, the  the
                                                 distance
                                                 distance to to the
                                                                theserving
                                                                     serving cell
                                                                              cellsite,
                                                                                    site,the
                                                                                          thenumber
                                                                                               numberof  ofusers
                                                                                                             usersserved
                                                                                                                   servedby  byyour
                                                                                                                                  your serving
                                                                                                                                        serving
                                                 cell
                                                 cell site, the management
                                                      site, the   managementof     of backhaul
                                                                                      backhaul at at the
                                                                                                     the serving
                                                                                                           serving cell site, any
                                                                                                                   cell site,  any
                                                 application(s)
                                                 application(s) you you are
                                                                         are using
                                                                             using for
                                                                                     for your
                                                                                          yourdata
                                                                                                datasession,
                                                                                                      session, the
                                                                                                                the screen
                                                                                                                     screen size
                                                                                                                              size ofof your
                                                                                                                                        your
                                                 Wireless
                                                 Wireless Device,      the bit
                                                             Device, the    bit rate(s)
                                                                                rate(s) of
                                                                                         of your
                                                                                            your data
                                                                                                  data session,
                                                                                                         session, the
                                                                                                                   the type(s)
                                                                                                                       type(s) and and
                                                 amount(s)
                                                 amount(s) of  of compression
                                                                   compression usedused byby the
                                                                                             the computers
                                                                                                  computers or  or wireless
                                                                                                                    wireless devices
                                                                                                                                devices
                                                 involved
                                                 involved in in the  data session,
                                                                the data   session,andandany
                                                                                           any error(s)
                                                                                                error(s) that
                                                                                                           that might
                                                                                                                might occur
                                                                                                                       occur in  in the
                                                                                                                                    the data
                                                                                                                                         data
                                                 session. We
                                                 session.   We also
                                                                 also manage
                                                                      manageour  our network
                                                                                       network toto facilitate
                                                                                                    facilitate the
                                                                                                                the proper
                                                                                                                     proper functioning
                                                                                                                               functioning of of
                                                 services that
                                                 services   that require
                                                                  require consistent      high speeds,
                                                                            consistent high                such as
                                                                                                speeds, such    as video
                                                                                                                    video calling,
                                                                                                                            calling, which
                                                                                                                                       which
                                                 may,
                                                 may, particularly
                                                        particularlyat  attimes
                                                                           times and
                                                                                  and ininareas
                                                                                           areasofofnetwork
                                                                                                     networkcongestion,         result in
                                                                                                                congestion, result      in
                                                 reduced    speedsfor
                                                 reduced speeds       for other
                                                                          other services.
                                                                                  services. Additionally,
                                                                                             Additionally, we we may
                                                                                                                  may implement
                                                                                                                        implement other  other
                                                 network
                                                 network management
                                                             management practices,
                                                                              practices, such
                                                                                           such as
                                                                                                 as deploying
                                                                                                     deploying streaming
                                                                                                                 streaming video video
                                                 optimization     technologyand
                                                 optimization technology         andprioritizing
                                                                                       prioritizing all
                                                                                                     all Smartphone
                                                                                                         Smartphone Mobile
                                                                                                                         Mobile Hotspot
                                                                                                                                    Hotspot
                                                 (tethering)
                                                 (tethering) data
                                                                data below
                                                                      below on-device       data. This
                                                                              on-device data.      This technology
                                                                                                          technology isis intended
                                                                                                                           intended to  to

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                          10/25
                                                                                                                                                       10/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
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                                                                                         MetroPCS.com
                                                 manage data usage
                                                 manage data usage on
                                                                   on the
                                                                      the network,
                                                                          network, reduce
                                                                                   reduce the
                                                                                          therisk
                                                                                              risk of
                                                                                                   of streaming
                                                                                                      streaming video
                                                                                                                video
                                                 stalling and
                                                 stalling and buffering,
                                                              buffering,and
                                                                         andreduce
                                                                             reducethe
                                                                                    the amount
                                                                                        amount of
                                                                                               ofhigh-speed  data
                                                                                                  high-speed data
                                                 consumption
                                                 consumption used   used for
                                                                          for streaming
                                                                               streaming video.     Streaming video
                                                                                           video. Streaming                optimization
                                                                                                                  video optimization
                                                 improves
                                                 improves streaming         video reliability
                                                              streaming video      reliability as
                                                                                               as well
                                                                                                   well as
                                                                                                        as makes
                                                                                                           makes roomroom forfor other
                                                                                                                                  other users
                                                                                                                                         users toto
                                                 enjoy
                                                 enjoy higher
                                                        higher browsing
                                                                   browsing speeds.      The streaming
                                                                                speeds. The   streaming video
                                                                                                            video optimization
                                                                                                                    optimization process
                                                                                                                                      process is is
                                                 agnostic
                                                 agnostic as as to
                                                                 to the
                                                                    the streaming
                                                                         streaming video
                                                                                       video content
                                                                                             content itself
                                                                                                        itself and
                                                                                                                and to
                                                                                                                     to the
                                                                                                                         the website
                                                                                                                              website that
                                                                                                                                         that
                                                 provides
                                                 provides it.    While most
                                                             it. While           changes to
                                                                         most changes      to streaming
                                                                                              streaming video
                                                                                                           video files
                                                                                                                    files are
                                                                                                                          are likely
                                                                                                                               likely to
                                                                                                                                       to be
                                                                                                                                           be
                                                 indiscernible,
                                                 indiscernible, the     optimization process
                                                                    the optimization     process may
                                                                                                   may minimally
                                                                                                         minimally impact
                                                                                                                       impact the the
                                                 appearance
                                                 appearance of    of the
                                                                     the streaming
                                                                          streaming video
                                                                                       video as
                                                                                              as displayed
                                                                                                  displayed onon a a user’s
                                                                                                                     user's device.
                                                                                                                              device. These
                                                                                                                                        These
                                                 practices
                                                 practices operate       without regard
                                                              operate without      regard toto the
                                                                                               the content     itself or
                                                                                                    content itself     or the
                                                                                                                          the source
                                                                                                                               source ofof the
                                                                                                                                            the
                                                 content,
                                                 content, andand dodo not
                                                                       not discriminate
                                                                            discriminate against
                                                                                            against offerings
                                                                                                     offerings that
                                                                                                                  that might
                                                                                                                         mightcompete
                                                                                                                                  compete
                                                 against
                                                 against those      offeredby
                                                           those offered      by Metro
                                                                                  Metro byby T-Mobile
                                                                                             T-Mobile on  on the
                                                                                                             the basis
                                                                                                                   basis of
                                                                                                                          of such
                                                                                                                              such
                                                 competition.
                                                 competition. In   In order
                                                                      order toto assess  your usage
                                                                                 assess your   usage during
                                                                                                       during an an applicable
                                                                                                                     applicable service
                                                                                                                                    service cycle,
                                                                                                                                              cycle,
                                                 you  may    obtain   approximate      usage  information     by
                                                 you may obtain approximate usage information by using one of our using   one   of  our
                                                 automated      systems.Any
                                                 automated systems.         Any application
                                                                                  application onon your
                                                                                                    your Wireless
                                                                                                           Wireless Device       which
                                                                                                                       Device which
                                                 describes
                                                 describes thethe amount
                                                                    amount of of data
                                                                                  data usage   does not
                                                                                        usage does    not necessarily
                                                                                                           necessarily reflect
                                                                                                                           reflect your
                                                                                                                                     your usage
                                                                                                                                           usage
                                                 of
                                                 of Data
                                                    Data Access.
                                                           Access. We Wemaymayprovide
                                                                                  provideaa meter
                                                                                             meterforfor your
                                                                                                          your use    in one
                                                                                                                 use in  one oror more
                                                                                                                                   more
                                                 locations    accessibleby
                                                 locations accessible       byyou.
                                                                                you.Any
                                                                                     Any meter
                                                                                           meterprovided
                                                                                                   providedfor  for your
                                                                                                                    your use    may deliver
                                                                                                                           use may    deliver
                                                 readings
                                                 readings higher
                                                             higher oror lower
                                                                          lower than
                                                                                  than your
                                                                                        youractual
                                                                                              actualData
                                                                                                      DataAccess
                                                                                                             Access usage,
                                                                                                                        usage, oror deliver
                                                                                                                                    deliver
                                                 readings
                                                 readings that
                                                             that are
                                                                    are higher
                                                                        higherthanthanyour
                                                                                        youractual
                                                                                              actualData
                                                                                                       DataAccess
                                                                                                              Accessusage
                                                                                                                        usagebecause
                                                                                                                                 because of of the
                                                                                                                                               the
                                                 units
                                                 units of
                                                        of measurement
                                                           measurement used   used byby Us.
                                                                                         Us. Any
                                                                                             Any reading
                                                                                                   reading delivered
                                                                                                             delivered by  by any
                                                                                                                               any meter
                                                                                                                                     meter wewe
                                                 provide
                                                 provide forfor your
                                                                 your use
                                                                       use will
                                                                            willhave
                                                                                  have inherent
                                                                                        inherent inaccuracies
                                                                                                   inaccuracies and and may
                                                                                                                          may not
                                                                                                                                not provide
                                                                                                                                     provide up up
                                                 to the
                                                 to the minute
                                                         minute or  or second
                                                                       secondaccuracy.
                                                                                 accuracy.Further,
                                                                                             Further, any
                                                                                                        any reading
                                                                                                             reading delivered
                                                                                                                         delivered by by any
                                                                                                                                          any
                                                 meter
                                                 meter WeWe provide
                                                               provide forfor your
                                                                              your use
                                                                                    use may
                                                                                         may only
                                                                                               only be
                                                                                                     be completely       accurate ifif your
                                                                                                         completely accurate           your
                                                 Wireless    Deviceisis turned
                                                 Wireless Device          turnedoffoff and
                                                                                       and not
                                                                                            nottransmitting
                                                                                                 transmitting or  or receiving
                                                                                                                     receiving any any data
                                                                                                                                       data from
                                                                                                                                              from
                                                 any
                                                 any data
                                                      data session.




                                                                                                                                                            Feedback
                                                             session.
                                                                                                                                                             cp
                                                                                                                                                             CD
                                                                                                                                                             0-

                                                                                                                                                             0
                                                 Network
                                                 Network Traffic
                                                              TrafficManagement.
                                                                       Management. Metro  Metro by by T-Mobile
                                                                                                       T-Mobile reserves
                                                                                                                      reserves the
                                                                                                                                 the right
                                                                                                                                       right to
                                                                                                                                              to
                                                 manage
                                                 manage our our network
                                                                 network and and the    traffic on
                                                                                   the traffic  on our
                                                                                                     our network
                                                                                                           networkin    inthe
                                                                                                                           theway
                                                                                                                               waywe   webelieve
                                                                                                                                           believe
                                                 best  benefits our
                                                 best benefits     our customers
                                                                        customers and  and best    enables us
                                                                                            best enables       us to
                                                                                                                   to maintain
                                                                                                                       maintain Service
                                                                                                                                    Service ofof the
                                                                                                                                                   the
                                                 nature
                                                 nature described
                                                           described in in this
                                                                           this Agreement.
                                                                                  Agreement. We        have determined
                                                                                                 We have        determinedthat  thatourour ability
                                                                                                                                            ability toto
                                                 provide
                                                 provide Service
                                                            Service to    our customers
                                                                      to our   customers is  is disrupted
                                                                                                disrupted when when youyou place
                                                                                                                            place an an abnormally
                                                                                                                                         abnormally
                                                 high
                                                 high number
                                                       number of   of calls,
                                                                      calls, repeatedly     placecalls
                                                                             repeatedly place        callswhich
                                                                                                            whichresult
                                                                                                                     result in
                                                                                                                             in abnormally
                                                                                                                                abnormally long  long
                                                 call
                                                 call lengths,   high or
                                                      lengths, high     or disproportionate
                                                                           disproportionate use,         or otherwise
                                                                                                   use, or    otherwise useuse our
                                                                                                                                 our Services
                                                                                                                                       Services or or
                                                 network
                                                 network in  in excess
                                                                excess ofof our
                                                                            our expectations
                                                                                  expectations for  for the
                                                                                                        the normal
                                                                                                               normal amount
                                                                                                                         amount of  of use
                                                                                                                                        use by
                                                                                                                                             by our
                                                                                                                                                 our
                                                 customers.     Other examples
                                                 customers. Other        examplesof   ofprohibited
                                                                                          prohibiteduses usescancanbe befound
                                                                                                                          foundin  inSection
                                                                                                                                      Section17.  17.If
                                                                                                                                                      If
                                                 you use
                                                 you  use your
                                                            your service    in aa manner
                                                                   service in     manner thatthat could
                                                                                                   could interfere
                                                                                                            interfere with
                                                                                                                         with other
                                                                                                                               other customers’
                                                                                                                                        customers'
                                                 service, affect
                                                 service,   affect our
                                                                    our ability
                                                                         ability toto allocate
                                                                                      allocate network
                                                                                                 network capacity
                                                                                                              capacity among
                                                                                                                          among customers
                                                                                                                                     customers or   or
                                                 degrade     service quality
                                                 degrade service       quality for
                                                                                 for other
                                                                                     other customers,
                                                                                             customers, we        may suspend,
                                                                                                             we may                   terminate, or
                                                                                                                         suspend, terminate,         or
                                                 restrict
                                                 restrict your
                                                            yourService.
                                                                   Service. Some
                                                                              Some elements
                                                                                      elements of  of multimedia
                                                                                                      multimedia messagesmessages may may not
                                                                                                                                            not bebe
                                                 accessible,    viewable,or
                                                 accessible, viewable,       or heard
                                                                                 heard due
                                                                                         due toto limitations
                                                                                                  limitations on   on certain
                                                                                                                       certain wireless
                                                                                                                                 wireless phones,
                                                                                                                                             phones,
                                                 PCs,
                                                 PCs, or e-mail. We reserve the right to change the multimedia message size
                                                        or e-mail.   We   reserve    the  right  to  change      the  multimedia      message       size
                                                 limit
                                                 limit at
                                                        at any
                                                           anytime
                                                                 timewithout
                                                                       withoutnotification.
                                                                                   notification.Text
                                                                                                   Textmessage
                                                                                                           message notifications
                                                                                                                        notifications maymay be be sent
                                                                                                                                                     sent
                                                 to non-multimedia
                                                 to non-multimedia messaging
                                                                           messaging subscribers
                                                                                         subscribers if   if they
                                                                                                             they subscribe
                                                                                                                    subscribe to  to text
                                                                                                                                      text
                                                 messaging.
                                                 messaging. You You may
                                                                      may receive      unsolicited messages
                                                                             receive unsolicited      messagesfrom    fromthird
                                                                                                                            third parties
                                                                                                                                    parties asas aa
                                                 result
                                                 result of
                                                         of visiting
                                                             visiting Internet
                                                                       Internet sites,
                                                                                   sites, and
                                                                                          and aaper-message
                                                                                                  per-message charge charge maymay apply
                                                                                                                                      apply whether
                                                                                                                                              whether
                                                 the message
                                                 the  messageisisreadread or
                                                                           or unread,
                                                                               unread, solicited
                                                                                          solicited oror unsolicited.
                                                                                                          unsolicited.

                                                 To differentiate
                                                 To differentiate the
                                                                  the services we sell,
                                                                      services we sell, at
                                                                                        at times
                                                                                           times and
                                                                                                 and at
                                                                                                     at locations
                                                                                                         locations where
                                                                                                                   where there
                                                                                                                         there
                                                 are
                                                 are competing customer demands
                                                     competing customer demands for
                                                                                for network
                                                                                    network resources,
                                                                                            resources, we
                                                                                                       we give
                                                                                                          give the data
                                                                                                               the data
                                                 traffic of
                                                 traffic ofcustomers
                                                            customerswho
                                                                     whochoose
                                                                         choose T-Mobile-branded
                                                                                T-Mobile-brandedservices
                                                                                                 servicesprecedence
                                                                                                          precedence
                                                 over
                                                 over the
                                                      the data
                                                          data traffic
                                                               trafficof
                                                                       ofcustomers
                                                                          customerswho
                                                                                   whochoose
                                                                                       choose non-T-Mobile-branded
                                                                                              non-T-Mobile-branded
                                                 services such
                                                 services such as
                                                               as Metro
                                                                  Metro by
                                                                        by T-Mobile. Where the
                                                                           T-Mobile. Where thenetwork
                                                                                               network is
                                                                                                       is lightly
                                                                                                          lightly loaded, a
                                                                                                                  loaded, a
                                                 Metro
                                                 Metro byby T-Mobile
                                                            T-Mobile customer      will notice
                                                                       customer will           little, if
                                                                                        notice little, if any,
                                                                                                          any, effect  from having
                                                                                                                effect from  having lower
                                                                                                                                     lower
                                                 priority.
                                                 priority.This
                                                           Thiswill
                                                                willbe
                                                                     bethe
                                                                        thecase
                                                                            case in
                                                                                  inthe
                                                                                     the vast
                                                                                         vast majority
                                                                                              majorityof   oftimes
                                                                                                              times and
                                                                                                                     and locations.  At
                                                                                                                          locations. At
                                                 times and
                                                 times  and at
                                                            at locations  where the
                                                               locations where    the network
                                                                                       network is is heavily
                                                                                                     heavily loaded
                                                                                                              loaded inin relation
                                                                                                                          relation to
                                                                                                                                   to


https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                               11/25
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7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
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                                                                                         MetroPCS.com
                                                 available
                                                 available capacity,
                                                             capacity, however,      Metro by
                                                                         however, Metro      by T-Mobile
                                                                                                   T-Mobile customers        will likely
                                                                                                                customers will     likelysee
                                                                                                                                          see
                                                 reductions
                                                 reductions in in data
                                                                   data speeds,
                                                                          speeds, especially
                                                                                  especially if  if they
                                                                                                    they are
                                                                                                          areengaged
                                                                                                                engaged inin data-intensive
                                                                                                                             data-intensive
                                                 activities.
                                                 activities. Customers
                                                              Customers on   on Rate
                                                                                Rate Plans
                                                                                       Plans and
                                                                                              and Devices       with 4G
                                                                                                      Devices with        capability should,
                                                                                                                      4G capability     should,
                                                 for example,
                                                 for example, be be aware
                                                                      aware that
                                                                              that these
                                                                                    these practices
                                                                                          practices may  may occasionally
                                                                                                               occasionally result
                                                                                                                              result ininspeeds
                                                                                                                                          speeds
                                                 below   thosetypically
                                                 below those     typicallyexperienced
                                                                             experiencedon  onour our4G4GLTELTE and
                                                                                                                 and HSPA
                                                                                                                       HSPA networks.
                                                                                                                              networks.
                                                 Metro
                                                 Metro byby T-Mobile
                                                             T-Mobile constantly        works to
                                                                           constantly works      to improve
                                                                                                     improve network
                                                                                                                network performance
                                                                                                                          performance and  and
                                                 capacity,   but there
                                                 capacity, but    there are
                                                                          are physical
                                                                              physical and
                                                                                         and technical       limits on
                                                                                               technical limits     on how
                                                                                                                        how much
                                                                                                                             much capacity
                                                                                                                                      capacity isis
                                                 available,
                                                 available, and
                                                              and atat constrained
                                                                       constrained locations,
                                                                                      locations, the     frequency of
                                                                                                     the frequency    of heavy
                                                                                                                         heavy loading
                                                                                                                                  loading inin
                                                 relation
                                                 relation to
                                                           to available
                                                               available capacity
                                                                            capacity may
                                                                                      may bebe greater
                                                                                                 greater than
                                                                                                           than atat other
                                                                                                                     other locations.
                                                                                                                            locations. When
                                                                                                                                         When
                                                 network
                                                 network loading
                                                            loading goes     down or
                                                                       goes down     or the Metro by
                                                                                        the Metro      by T-Mobile
                                                                                                           T-Mobile customer
                                                                                                                       customer moves
                                                                                                                                    moves toto aa
                                                 location  that is
                                                 location that    is less heavily loaded
                                                                     less heavily  loaded inin relation
                                                                                                relation to to available
                                                                                                               available capacity,
                                                                                                                          capacity, thethe Metro
                                                                                                                                           Metro
                                                 by
                                                 by T-Mobile
                                                     T-Mobile customer‘s
                                                                 customer's speeds       will likely
                                                                                speeds will    likelyimprove.
                                                                                                        improve.See See www.metrobyt-
                                                                                                                         www.metrobyt-
                                                 mobile.com/openinternet
                                                 mobile.com/openinternet (https://www.metrobyt-
                                                                                  (https://www.metrobyt-
                                                 mobile.com/openinternet)
                                                 mobile.com/openinternet) for      for details.
                                                                                        details.

                                                 Metro
                                                 Metro by
                                                        by T-Mobile
                                                            T-Mobile alsoalso reserves
                                                                              reserves the  right to
                                                                                       the right  to restrict,
                                                                                                      restrict, or
                                                                                                                orotherwise
                                                                                                                   otherwise prevent
                                                                                                                              prevent
                                                 access  toservices,
                                                 access to  services,countries,
                                                                       countries,carriers,
                                                                                   carriers, destinations    that Metro
                                                                                              destinations that    Metro by
                                                                                                                          by T-Mobile
                                                                                                                             T-Mobile
                                                 determines,
                                                 determines, inin its
                                                                  its sole
                                                                      sole discretion,
                                                                            discretion, are
                                                                                        are inconsistent    with the
                                                                                             inconsistent with        nature of
                                                                                                                  the nature  of Service
                                                                                                                                 Service
                                                 provided
                                                 provided by
                                                           by Metro
                                                               Metro by by T-Mobile,
                                                                            T-Mobile, are
                                                                                       areindicative
                                                                                            indicative ofofuses
                                                                                                           uses not
                                                                                                                 not permitted
                                                                                                                     permitted
                                                 hereunder,
                                                 hereunder, oror result
                                                                 result in
                                                                         in abnormally
                                                                             abnormally long
                                                                                         long calls,
                                                                                               calls, or
                                                                                                      orabnormally
                                                                                                          abnormallyhighhighusage.
                                                                                                                             usage. We
                                                                                                                                    We
                                                 also may  block   calls to telephone   numbers    at  the request   of the called
                                                 also may block calls to telephone numbers at the request of the called party.     party.

                                                 11. * Content
                                                 11.*  Content and
                                                               and Applications.
                                                                   Applications. You
                                                                                 Youcan
                                                                                     canpurchase
                                                                                        purchase Content
                                                                                                 Content and
                                                                                                         and Applications
                                                                                                             Applications
                                                 (for
                                                 (for example,
                                                      example, downloadable, streaming or
                                                               downloadable, streaming or networked
                                                                                          networked applications,
                                                                                                    applications,
                                                 wallpapers, ringtones,
                                                 wallpapers, ringtones, games, productivity tools
                                                                        games, productivity       and video)
                                                                                            tools and video) ("Content
                                                                                                             ("Content and
                                                                                                                       and
                                                 Apps") for
                                                 Apps")  forand
                                                             andwith
                                                                withyour
                                                                     yourcompatible
                                                                          compatiblewireless
                                                                                     wirelessdevice.
                                                                                              device.Some
                                                                                                     Some Content and
                                                                                                          Content and




                                                                                                                                                                Feedback
                                                 Apps that
                                                 Apps      you can
                                                      that you can purchase
                                                                   purchase with
                                                                            with your
                                                                                 your wireless
                                                                                      wireless device are not
                                                                                               device are not sold by Metro
                                                                                                              sold by Metro                                      CD
                                                                                                                                                                 CD
                                                 by
                                                 by T-Mobile
                                                     T-Mobile and and for
                                                                        for such
                                                                              such Content
                                                                                    Content and   and Apps,
                                                                                                       Apps, you you can
                                                                                                                       can identify
                                                                                                                              identify thethe third
                                                                                                                                                 third party
                                                                                                                                                        party    0-
                                                 seller at
                                                 seller at the   point of
                                                            the point     of purchase.
                                                                              purchase. Metro
                                                                                            Metro by  by T-Mobile
                                                                                                          T-Mobile is    is not
                                                                                                                             not responsible
                                                                                                                                  responsible for   for such
                                                                                                                                                         such
                                                                                                                                                                 0
                                                 Content
                                                 Content and and Apps,
                                                                  Apps, including
                                                                            including download,
                                                                                          download, installation,
                                                                                                          installation, use, use, transmission
                                                                                                                                    transmission
                                                 failure, interruption,
                                                 failure,  interruption,or    ordelay,
                                                                                  delay,or orany
                                                                                               anycontent
                                                                                                     contentor   orwebsite
                                                                                                                      website you you may
                                                                                                                                       maybe    be able
                                                                                                                                                    able to
                                                                                                                                                          to
                                                 access   through the
                                                 access through       the Content
                                                                            Contentand   andApps.
                                                                                               Apps. AnyAny support
                                                                                                               support questions
                                                                                                                            questions for   for such
                                                                                                                                                 such
                                                 Content
                                                 Content and and Apps
                                                                  Apps should
                                                                           should be be directed
                                                                                          directedto   tothe
                                                                                                           thethird
                                                                                                                 third party
                                                                                                                         party seller
                                                                                                                                  seller identified
                                                                                                                                           identified at  at
                                                 the point
                                                 the  point ofof purchase.
                                                                 purchase. When When you  you download
                                                                                                download or     or install
                                                                                                                   install any
                                                                                                                             any Content
                                                                                                                                    Content and   and Apps
                                                                                                                                                        Apps
                                                 sold by
                                                 sold  by aa third
                                                             third party
                                                                     partyseller,
                                                                              seller,youyoumaymaybe  besubject
                                                                                                         subjectto   tolicense
                                                                                                                        licensetermstermsbetween
                                                                                                                                              between you you
                                                 and
                                                 and the    third party
                                                      the third    partyseller
                                                                            sellerand
                                                                                    andContent
                                                                                           Content and and Apps
                                                                                                              Apps creator/owner.
                                                                                                                       creator/owner. When     When you you
                                                 use, install, display,
                                                 use, install,  display, run,run,ororlisten
                                                                                       listento toContent
                                                                                                    Content and and Apps
                                                                                                                       Apps that
                                                                                                                               that you
                                                                                                                                      you purchase
                                                                                                                                              purchase
                                                 from Metro
                                                 from   Metro by by T-Mobile,
                                                                      T-Mobile,the  the Content
                                                                                          Content and and Apps
                                                                                                             Apps are are licensed
                                                                                                                            licensed to to youyou by
                                                                                                                                                   by Metro
                                                                                                                                                        Metro
                                                 by  T-Mobile     and   may    be  subject     to  additional     license
                                                 by T-Mobile and may be subject to additional license terms between you       terms    between       you
                                                 and
                                                 and the
                                                      the creator/owner
                                                            creator/owner of     of the
                                                                                    the Content
                                                                                          Contentand   and Apps.
                                                                                                              Apps. Whether
                                                                                                                       Whether purchased
                                                                                                                                      purchased from   from
                                                 Metro
                                                 Metro byby T-Mobile
                                                              T-Mobile or   or aa third
                                                                                  thirdparty
                                                                                          partyseller,
                                                                                                   seller,any
                                                                                                            anyContent
                                                                                                                  Content and  and Apps
                                                                                                                                      Apps you you
                                                 purchase
                                                 purchase are are licensed
                                                                   licensed for for personal,
                                                                                    personal, lawful,
                                                                                                   lawful, non-commercial
                                                                                                              non-commercial use       use on on your
                                                                                                                                                  your
                                                 wireless device
                                                 wireless   deviceonly.
                                                                      only. You
                                                                              You may
                                                                                    may not      transfer, copy,
                                                                                           not transfer,       copy, oror reverse
                                                                                                                           reverse engineer
                                                                                                                                       engineer any  any
                                                 Content     and  Apps,     or  alter,  disable    or circumvent
                                                 Content and Apps, or alter, disable or circumvent any digital rights   any    digital   rights
                                                 management
                                                 management securitysecurity features
                                                                                features embedded
                                                                                             embedded in      in the
                                                                                                                 the Content
                                                                                                                       Content and   and Apps.
                                                                                                                                           Apps.
                                                 Content
                                                 Content and and Apps
                                                                  Apps may may notnot bebe transferable
                                                                                            transferable from  fromone one wireless
                                                                                                                              wirelessdevice
                                                                                                                                           device to to
                                                 another
                                                 another wireless
                                                            wireless device.
                                                                        device. YouYou understand
                                                                                          understand and    and agree
                                                                                                                  agree that
                                                                                                                           that thethe Content
                                                                                                                                        Content and   and
                                                 Apps contain
                                                 Apps   contain thethe intellectual
                                                                         intellectualproperty
                                                                                          propertyof    ofthird
                                                                                                           third parties.
                                                                                                                    parties. You
                                                                                                                               You understand
                                                                                                                                      understand and     and
                                                 agree  that the
                                                 agree that    the Content
                                                                     Contentand   andApps
                                                                                        Apps are are protected
                                                                                                     protectedby      bylaw
                                                                                                                          law (including
                                                                                                                                (including copyright
                                                                                                                                                 copyright
                                                 law)
                                                 law) and
                                                       and are
                                                             are solely
                                                                  solely for
                                                                           foryour
                                                                                 yourpersonal,
                                                                                        personal,non-commercial
                                                                                                      non-commercial use.      use. You
                                                                                                                                      You agree
                                                                                                                                              agree toto
                                                 comply    with all
                                                 comply with      all applicable
                                                                      applicable laws laws (including
                                                                                             (including copyright
                                                                                                            copyright law), law), and
                                                                                                                                    and may
                                                                                                                                          may onlyonly make
                                                                                                                                                         make
                                                 such copies
                                                 such  copiesas  as are
                                                                     are reasonably
                                                                          reasonably necessary
                                                                                           necessary for  for your
                                                                                                               your personal
                                                                                                                       personal and  and non-
                                                                                                                                            non-
                                                 commercial
                                                 commercial use. use. You
                                                                       You agree       that any
                                                                               agree that     any other      redistribution, reproduction,
                                                                                                    other redistribution,          reproduction,
                                                 transmission, communication,
                                                 transmission,      communication, sale,    sale, use
                                                                                                    use (including,
                                                                                                         (including, except
                                                                                                                          except in  in the
                                                                                                                                        the case     of
                                                                                                                                               case of
                                                 Ringtones,     as  a "ringer"    for  a telephone),       broadcast,
                                                 Ringtones, as a "'Inge' for a telephone), broadcast, public performance,  public     performance,
                                                 rental
                                                 rental or
                                                         orlending,
                                                             lending,adaptation,
                                                                          adaptation,sub-license
                                                                                           sub-license or   or other
                                                                                                                 other use
                                                                                                                         use ofof the
                                                                                                                                   the Content
                                                                                                                                         Content and  and
                                                 Apps without
                                                 Apps   without the the prior
                                                                         prior written
                                                                                  written consent
                                                                                             consent of  of the   copyright owner
                                                                                                            the copyright         owner is   is prohibited.
                                                                                                                                                prohibited.
                                                 You understand
                                                 You   understand and  and agree       that all
                                                                              agree that     all rights
                                                                                                  rights not
                                                                                                           not expressly
                                                                                                                 expressly granted           herein are
                                                                                                                                granted herein         are

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                                   12/25
                                                                                                                                                                12/25
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7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
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                                                                                         MetroPCS.com
                                                 reserved
                                                 reserved byby the   applicable content
                                                                the applicable      contentowner.
                                                                                               owner.Third
                                                                                                         ThirdParty
                                                                                                                 Party Applications.
                                                                                                                          Applications. Your  Your
                                                 location  can be
                                                 location can    be identified
                                                                     identifiedwhile
                                                                                  whileusing
                                                                                          usingGPSGPSapplications.
                                                                                                         applications.It   It is
                                                                                                                              is your
                                                                                                                                  your
                                                 responsibility
                                                 responsibility to to notify
                                                                      notify Authorized
                                                                               Authorized Users
                                                                                              Users that
                                                                                                      that their
                                                                                                             their location
                                                                                                                    location can  can bebe identified
                                                                                                                                            identified
                                                 while using
                                                 while  using GPS
                                                               GPS applications.
                                                                      applications. If If you
                                                                                          you use
                                                                                                use aa third
                                                                                                       third party
                                                                                                               party application,
                                                                                                                        application, the  the
                                                 application
                                                 application may
                                                               may access,      collect,use
                                                                      access, collect,    useorordisclose
                                                                                                   discloseyour
                                                                                                              yourpersonal
                                                                                                                      personalinformation
                                                                                                                                    information or  or
                                                 require
                                                 require Metro
                                                           Metro by by T-Mobile
                                                                       T-Mobile to  to disclose    your information,
                                                                                       disclose your      information, including
                                                                                                                           including location
                                                                                                                                           location
                                                 information
                                                 information (when
                                                                 (when applicable),
                                                                         applicable), to to the   application provider
                                                                                             the application      provider or  or some
                                                                                                                                    some other
                                                                                                                                            other
                                                 third party.
                                                 third party. IfIfyou
                                                                   youaccess,
                                                                        access, use
                                                                                 use or
                                                                                      or authorize
                                                                                          authorize third
                                                                                                       third party
                                                                                                               party applications
                                                                                                                        applications through
                                                                                                                                           through
                                                 the Services,
                                                 the Services, youyou agree
                                                                       agree and
                                                                               and authorize
                                                                                     authorize Metro
                                                                                                  Metro by by T-Mobile
                                                                                                               T-Mobile to   to provide
                                                                                                                                  provide
                                                 information
                                                 information related
                                                                 related to
                                                                          to your
                                                                              your use
                                                                                     use of
                                                                                          of the
                                                                                             the Services
                                                                                                  Services or or the   application(s). You
                                                                                                                  the application(s).        You
                                                 understand
                                                 understand thatthat your
                                                                      your use
                                                                            use ofof third
                                                                                     third party
                                                                                            party applications
                                                                                                    applications is   is subject
                                                                                                                         subject to     the third
                                                                                                                                     to the   third
                                                 party's
                                                 party's terms
                                                          terms and
                                                                  and conditions
                                                                        conditions andand policies,
                                                                                           policies, including
                                                                                                       includingthe  thethird
                                                                                                                          third party's
                                                                                                                                   party's privacy
                                                                                                                                             privacy
                                                 policy.
                                                 policy. You
                                                         You agree
                                                                agree that
                                                                       that any
                                                                              any Authorized
                                                                                   Authorized User User maymay access,
                                                                                                                 access, use
                                                                                                                           use or or authorize
                                                                                                                                      authorize
                                                 Metro
                                                 Metro by T-Mobile or third party location-sensitive applications through
                                                         by  T-Mobile    or  third  party  location-sensitive        applications        through thethe
                                                 Services. You
                                                 Services.   You understand
                                                                   understand that that your
                                                                                         youruseuseofofsuch
                                                                                                         suchlocation-sensitive
                                                                                                                location-sensitive
                                                 applications
                                                 applications is is subject
                                                                    subject toto the  application's terms
                                                                                 the application's      terms andand conditions
                                                                                                                       conditions and   and policies,
                                                                                                                                              policies,
                                                 including
                                                 including its
                                                             its privacy
                                                                 privacypolicy.
                                                                           policy.IfIfyou
                                                                                        youactivate
                                                                                              activatelocation-sensitive
                                                                                                         location-sensitive services
                                                                                                                                   services forfor
                                                 wireless devices
                                                 wireless             usedby
                                                           devices used      by other
                                                                                 other Authorized
                                                                                        Authorized Users,
                                                                                                        Users, youyou agree
                                                                                                                        agree to  to inform
                                                                                                                                      inform thethe
                                                 Authorized User(s)
                                                 Authorized     User(s) ofof the
                                                                             the terms
                                                                                  terms of of use
                                                                                              use for
                                                                                                   forlocation-sensitive
                                                                                                        location-sensitive applications
                                                                                                                                   applications
                                                 and
                                                 and that
                                                      that the   wireless device
                                                            the wireless   devicemay  may bebe located.
                                                                                                located.For Foradditional
                                                                                                                 additional information
                                                                                                                                 information on   on
                                                 location-sensitive     services,see
                                                 location-sensitive services,       seeour
                                                                                         ourPrivacy
                                                                                               Privacy Policy
                                                                                                         Policy at at our
                                                                                                                      our website.
                                                                                                                            website.

                                                 12. **Off-Net
                                                 12.   Off-Net Usage
                                                               Usage and
                                                                     and Roaming.
                                                                         Roaming. Off-Net Usage. Your
                                                                                  Off-Net Usage. Your wireless
                                                                                                      wireless device
                                                                                                               device may
                                                                                                                      may
                                                 connect
                                                 connect to  toanother
                                                                 anotherprovider's
                                                                           provider’s network
                                                                                         network ("Off-Net")
                                                                                                      (“Off-Net”) even       when you
                                                                                                                      even when        you are
                                                                                                                                             are within
                                                                                                                                                  within
                                                 our
                                                 our service
                                                      service area.
                                                                 area. Our
                                                                        OurServices
                                                                             Services andand Rate
                                                                                                Rate Plans
                                                                                                       Plans are
                                                                                                               aredesigned
                                                                                                                    designed for   for you
                                                                                                                                        you to
                                                                                                                                             to use
                                                                                                                                                 use
                                                 your Service
                                                 your  Service each       month predominantly
                                                                   each month     predominantly using   using our
                                                                                                                our networks.
                                                                                                                     networks. You   You must
                                                                                                                                            must use
                                                                                                                                                   use
                                                                                                                                                             -n




                                                                                                                                                            Feedback
                                                 your wireless
                                                 your  wireless device      predominantly within
                                                                    device predominantly         within thethe Metro
                                                                                                                Metro by by T-Mobile
                                                                                                                             T-Mobile owned  owned           CD
                                                                                                                                                             CD
                                                 network                                                                                                     0_
                                                 network coverage         area. If
                                                             coverage area.     If your
                                                                                    yourminutes
                                                                                           minutesof   ofuse,
                                                                                                          use, text
                                                                                                                 text messaging
                                                                                                                      messaging usage, usage, oror data
                                                                                                                                                    data
                                                 usage   are not
                                                 usage are     not predominantly
                                                                    predominantly on   on our
                                                                                           our networks
                                                                                                  networks ("Off-Net
                                                                                                               ("Off-Net Usage"),
                                                                                                                             Usage"), or    or are
                                                                                                                                               are           0
                                                 excessive,    abnormally high,
                                                 excessive, abnormally        high, oror cause     Metro by
                                                                                         cause Metro        by T-Mobile
                                                                                                                T-Mobile to       incur too
                                                                                                                             to incur      too much
                                                                                                                                               much
                                                 cost, Metro by
                                                 cost, Metro      by T-Mobile
                                                                      T-Mobile may,
                                                                                 may, atat its
                                                                                            its option    and sole
                                                                                                 option and           discretion, limit
                                                                                                                sole discretion,       limit or
                                                                                                                                              or
                                                 terminate your
                                                 terminate     your service,
                                                                       service, deny
                                                                                deny your
                                                                                       yourcontinued
                                                                                               continued use  use outside
                                                                                                                   outside the       areas served
                                                                                                                              the areas      served by by
                                                 our
                                                 our network
                                                      network or   or on
                                                                      on other
                                                                          other carriers'
                                                                                 carriers'coverage,
                                                                                             coverage, or  or change
                                                                                                               change your
                                                                                                                         your Rate
                                                                                                                                 Rate Plan.
                                                                                                                                         Plan. Metro
                                                                                                                                                 Metro
                                                 by
                                                 by T-Mobile
                                                     T-Mobile will willprovide
                                                                         provideyouyouwith
                                                                                        withadvance
                                                                                               advancenoticenotice that
                                                                                                                    that it
                                                                                                                          it intends
                                                                                                                              intends to  to take
                                                                                                                                             take any
                                                                                                                                                    any
                                                 of
                                                 of the  above actions.
                                                    the above      actions. Roaming.
                                                                             Roaming.Nationwide
                                                                                           Nationwideroaming roaming requires
                                                                                                                        requires multi-band
                                                                                                                                      multi-band
                                                 wireless devices
                                                 wireless   devices and and is
                                                                            is not
                                                                               not available
                                                                                     available withwithsingle-band
                                                                                                         single-band wireless
                                                                                                                          wireless devices,
                                                                                                                                        devices,
                                                 certain
                                                 certain other wireless devices, or to customers residing outside their
                                                           other    wireless  devices,   or  to  customers      residing   outside       their home
                                                                                                                                                home
                                                 area.
                                                 area. Data
                                                        Data services      and certain
                                                                services and    certain features
                                                                                          features (for(for example,
                                                                                                            example, Voicemail,
                                                                                                                         Voicemail,Caller  Caller ID,
                                                                                                                                                   ID,
                                                 Call
                                                 Call Waiting,
                                                       Waiting, Location
                                                                    Location Services,      etc.) may
                                                                               Services, etc.)      may not
                                                                                                          not be
                                                                                                               beavailable
                                                                                                                   availablein   in all
                                                                                                                                     all roaming
                                                                                                                                         roaming
                                                 areas.
                                                 areas. The
                                                         The term
                                                               term "roaming"
                                                                       "roaming"typically
                                                                                     typicallyrefers
                                                                                                  referstotocoverage
                                                                                                              coverage onon another
                                                                                                                               anothercarrier's
                                                                                                                                            carrier's
                                                 network
                                                 network thatthat wewe may
                                                                        may make
                                                                             make available
                                                                                      available to  to you
                                                                                                       you based
                                                                                                             based onon our
                                                                                                                         our agreements
                                                                                                                                agreements with  with
                                                 other  carriers. These
                                                 other carriers.      These agreements
                                                                             agreements may  may change        from time
                                                                                                     change from      time toto time
                                                                                                                                  time andand roaming
                                                                                                                                               roaming
                                                 coverage
                                                 coverage and and available
                                                                    available services
                                                                                services are
                                                                                           are subject
                                                                                                 subject to to change     without notice.
                                                                                                                change without         notice. Your
                                                                                                                                                 Your
                                                 ability
                                                 ability to
                                                          to roam
                                                              roam depends
                                                                      depends on on the
                                                                                     the radio
                                                                                          radio transmissions
                                                                                                   transmissions your your wireless
                                                                                                                             wireless device
                                                                                                                                           device can
                                                                                                                                                    can
                                                 receive   and use,
                                                 receive and      use, and
                                                                        and the
                                                                            the availability
                                                                                 availability of  of roaming
                                                                                                      roamingcoverage.
                                                                                                                  coverage. We  We makemake no no
                                                 guaranty
                                                 guaranty thatthat roaming
                                                                    roaming coverage
                                                                               coverage willwill bebe available.
                                                                                                       available. Roaming
                                                                                                                    Roaming coveragecoverage maymay
                                                 exist both within
                                                 exist both    within andand outside
                                                                             outside our
                                                                                       our network
                                                                                              network coverage
                                                                                                          coverage areas.
                                                                                                                       areas. Depending
                                                                                                                                 Depending on     on
                                                 your  Services,     separate   charges    or  limits   on  the   amount
                                                 your Services, separate charges or limits on the amount of minutes used    of  minutes      used
                                                 while roaming
                                                 while  roaming may   may apply.
                                                                           apply.We We may,
                                                                                         may,but butyouyouagree
                                                                                                             agreewewe are
                                                                                                                         arenotnotobligated
                                                                                                                                     obligated to, to,
                                                 provide
                                                 provide youyou with
                                                                  with notice
                                                                         noticewhen
                                                                                 whenyouyouare areroaming.
                                                                                                     roaming.YOU YOUAGREE
                                                                                                                        AGREE TO      TO HOLD
                                                                                                                                           HOLD
                                                 METRO
                                                 METRO BY    BY T-MOBILE
                                                                  T-MOBILE HARMLESS
                                                                                 HARMLESS AGAINST  AGAINST ANY    ANY AND
                                                                                                                        AND ALL ALL CLAIMS,
                                                                                                                                        CLAIMS,
                                                 DEMANDS,
                                                 DEMANDS, ACTIONS, ACTIONS, OR  OR OTHER
                                                                                      OTHER CAUSESCAUSES OF         ACTION (INCLUDING
                                                                                                               OF ACTION           (INCLUDING
                                                 ACTIONS BY
                                                 ACTIONS        BY THIRD
                                                                    THIRD PARTIES)
                                                                             PARTIES) ARISING
                                                                                           ARISING OUT    OUT OF, OF, RELATING
                                                                                                                       RELATING TO,       TO, OR
                                                                                                                                               OR ININ
                                                 CONNECTIONWITH
                                                 CONNECTION             WITHTHETHE USEUSE OROR ATTEMPTED
                                                                                                   ATTEMPTED USE      USE OFOF THE  THE SERVICE.
                                                                                                                                           SERVICE.




https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                               13/25
                                                                                                                                                            13/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 28 of 39
                                                                                         MetroPCS.com
                                                 13. **Charges;
                                                 13.   Charges;Taxes
                                                                Taxesand
                                                                      andFees.
                                                                         Fees. You
                                                                               You agree
                                                                                   agree to
                                                                                         to pay
                                                                                            pay for
                                                                                                for all
                                                                                                    all charges
                                                                                                        charges for
                                                                                                                for Service
                                                                                                                    Service
                                                 ("Service
                                                 ("Service Charges"),
                                                               Charges"), including,
                                                                                  including, but   but not     limited to
                                                                                                         not limited       to the
                                                                                                                               thefollowing:
                                                                                                                                    following:(1)     (1) recurring
                                                                                                                                                          recurring
                                                 monthly
                                                 monthly or   or weekly
                                                                  weekly access           charges; (2)
                                                                               access charges;           (2) charges
                                                                                                              charges and  and taxes
                                                                                                                                  taxes forfor optional
                                                                                                                                                  optional Service
                                                                                                                                                                Service
                                                 features that
                                                 features    that you
                                                                    you select,         including long
                                                                           select, including            long distance
                                                                                                                distance and   and directory
                                                                                                                                     directory assistance
                                                                                                                                                     assistance
                                                 (411)
                                                 (411)calls
                                                         callsand
                                                                andother
                                                                       otheroptional
                                                                                 optional features,
                                                                                                features, suchsuch as as ringtone
                                                                                                                           ringtone downloads;
                                                                                                                                         downloads; (3)      (3) any
                                                                                                                                                                  any
                                                 Service reconnection
                                                 Service    reconnectioncharges    chargesthat   thatmay mayapply,
                                                                                                                apply, such
                                                                                                                          such as  as aa reactivation
                                                                                                                                         reactivation fee;     fee; and
                                                                                                                                                                     and
                                                 (4)
                                                 (4) all
                                                      all applicable
                                                          applicable taxes taxes and  and regulatory
                                                                                             regulatorychargescharges whether
                                                                                                                            whether assessed            directly on
                                                                                                                                         assessed directly            on
                                                 you or
                                                 you   or us;
                                                           us; provided,
                                                                provided, however,
                                                                                 however, that   that for
                                                                                                        for certain
                                                                                                             certain tax tax inclusive
                                                                                                                                inclusive RateRate Plans,
                                                                                                                                                      Plans, onlyonly
                                                 applicable     taxes and
                                                 applicable taxes         and regulatory
                                                                                  regulatory chargescharges may   may be be included
                                                                                                                              included in   in the     Rate Plan
                                                                                                                                                 the Rate       Plan
                                                 price.
                                                 price. You
                                                          You must
                                                                 must paypayall  alltaxes,
                                                                                       taxes,feesfees and
                                                                                                        and surcharges
                                                                                                              surcharges set     set by
                                                                                                                                     by federal,
                                                                                                                                           federal, state
                                                                                                                                                        state andand
                                                 local
                                                 local governments.
                                                        governments. To        To determine
                                                                                     determine taxes, taxes, fees       and surcharges,
                                                                                                                 fees and      surcharges, we      we will
                                                                                                                                                        will useuse the
                                                                                                                                                                     the
                                                 streetaddress
                                                 street   addressyou   youidentified
                                                                              identifiedasasyour    yourPlace
                                                                                                           PlaceofofPrimary
                                                                                                                         PrimaryUse   Use("PPU"
                                                                                                                                              ("PPU" or   or "Service
                                                                                                                                                               "Service
                                                 Address"). IfIfyou
                                                 Address").          youdiddidnot  notidentify
                                                                                         identifythe  the correct
                                                                                                            correct PPU,PPU, or  or provided
                                                                                                                                     provided an     an address
                                                                                                                                                          address
                                                 that is not a recognized street address, such as a PO Box, does not identify
                                                 that  is not   a recognized           street     address,      such   as   a  PO   Box,    does     not    identify
                                                 the applicable
                                                 the  applicable taxingtaxing jurisdictions
                                                                                   jurisdictions or     or does
                                                                                                            does notnot reflect
                                                                                                                          reflect the       Service area
                                                                                                                                     the Service        area
                                                 associated
                                                 associated with with your
                                                                         your telephone
                                                                                  telephone number, number, you   you may
                                                                                                                        may be   be assigned
                                                                                                                                     assigned a     a default
                                                                                                                                                       default PPU PPU
                                                 for tax
                                                 for  tax purposes.
                                                           purposes. You   Youacknowledge
                                                                                    acknowledge and       and agree
                                                                                                                 agree that
                                                                                                                          that a  a default
                                                                                                                                    default PPU  PPU may may affect
                                                                                                                                                                  affect
                                                 your ability
                                                 your   ability toto receive
                                                                      receive E-911 E-911assistance
                                                                                               assistance and  and youyou agree
                                                                                                                             agree to     indemnify and
                                                                                                                                      to indemnify          and hold
                                                                                                                                                                   hold
                                                 us
                                                 us harmless
                                                     harmless for for any
                                                                        any claims
                                                                               claims relating
                                                                                           relating to  to your
                                                                                                            your failure
                                                                                                                    failure to     provide aa valid
                                                                                                                                to provide         valid PPU.
                                                                                                                                                           PPU. In   In
                                                 addition,
                                                 addition, if if you
                                                                 you areare notnot on on aa tax-inclusive
                                                                                             tax-inclusive plan,  plan, youyou agree
                                                                                                                                  agree to to pay
                                                                                                                                                pay all
                                                                                                                                                      all regulatory
                                                                                                                                                           regulatory
                                                 administration
                                                 administration chargescharges ("Regulatory
                                                                                      ("Regulatory Administration
                                                                                                           Administration Charges"),Charges"), which   which may may
                                                 include,
                                                 include, butbut are
                                                                  are not       limited to,
                                                                         not limited         to, Federal
                                                                                                  Federal Universal
                                                                                                               Universal Service,
                                                                                                                               Service, various
                                                                                                                                            various regulatory
                                                                                                                                                         regulatory
                                                 charges,
                                                 charges, ourour administrative
                                                                    administrative charges,   charges, gross
                                                                                                           gross receipts
                                                                                                                     receipts charges,
                                                                                                                                  charges, marginmargin taxes,taxes,
                                                 and
                                                 and charges
                                                       charges for for the
                                                                         the costs
                                                                                costs we we incur
                                                                                               incur in in complying
                                                                                                            complying with    with governmental
                                                                                                                                     governmental
                                                 programs.
                                                 programs. Regulatory
                                                                Regulatory Administration
                                                                                     Administration Charges  Charges are    are not
                                                                                                                                  not taxes
                                                                                                                                       taxes and and areare notnot
                                                 required
                                                 required by  by law.
                                                                   law.We Weset   set these
                                                                                        these charges,
                                                                                                  charges, and  and the
                                                                                                                      the amounts
                                                                                                                             amounts and   and whatwhat they




                                                                                                                                                                             Feedback
                                                                                                                                                           they
                                                                                                                                                                              CD
                                                 include
                                                 include maymay change
                                                                    change without
                                                                                 without notice.
                                                                                               notice. TheyThey are are rates
                                                                                                                          rates we we choose
                                                                                                                                        choose to       collect from
                                                                                                                                                    to collect      from      CD
                                                                                                                                                                              0_
                                                 you and
                                                 you   and are
                                                             are kept
                                                                  kept by by us us inin whole
                                                                                         whole or   or in
                                                                                                        in part.
                                                                                                           part. TheThe number
                                                                                                                           number and   and type
                                                                                                                                               type of of
                                                                                                                                                                              0
                                                 Regulatory
                                                 Regulatory Administration
                                                                  Administration Charges     Charges may   may varyvarydepending
                                                                                                                           depending upon   upon the the PPU
                                                                                                                                                           PPU of   of
                                                 the  wireless    device       and     can   change       over    time.
                                                 the wireless device and can change over time. We determine the rate for  We      determine        the   rate    for
                                                 these charges
                                                 these    charges and and these
                                                                             theseamounts
                                                                                        amounts are    are subject
                                                                                                             subject to  to change
                                                                                                                              change as   as are
                                                                                                                                               are the
                                                                                                                                                     the
                                                 components
                                                 components used    used to  to calculate
                                                                                  calculate these these amounts.
                                                                                                           amounts. ChangesChanges to     to taxes,
                                                                                                                                               taxes, fees
                                                                                                                                                         fees andand
                                                 surcharges will
                                                 surcharges      will become           effectiveas
                                                                        become effective              asprovided
                                                                                                          providedby     by thethetaxing
                                                                                                                                    taxing authority
                                                                                                                                                authority and   and
                                                 changes
                                                 changes to  to Regulatory
                                                                 Regulatory Administration
                                                                                      Administration Charges    Charges shall shallbebeeffective
                                                                                                                                           effective
                                                 immediately.
                                                 immediately. You    You areare responsible
                                                                                    responsible for    for all
                                                                                                            all Charges
                                                                                                                 Charges to     to your
                                                                                                                                   your account,
                                                                                                                                            account, whether
                                                                                                                                                          whether or    or
                                                 not
                                                 not you
                                                      you were
                                                            were the       user of
                                                                     the user       of the
                                                                                        the wireless
                                                                                              wireless device.
                                                                                                            device. If  If your
                                                                                                                            yourwireless
                                                                                                                                    wirelessdevicedevice gets gets lost
                                                                                                                                                                    lost
                                                 or
                                                 or stolen,
                                                     stolen, you
                                                               you agree
                                                                      agree to       notify us
                                                                                to notify       us immediately,
                                                                                                    immediately, so      so wewe can
                                                                                                                                   can suspend
                                                                                                                                         suspend your   your
                                                 Service to
                                                 Service    to prevent
                                                                prevent someone
                                                                             someoneelse       elsefrom
                                                                                                     fromusingusingit. it.After
                                                                                                                           After your
                                                                                                                                    your Service
                                                                                                                                            Service is   is
                                                 suspended,you
                                                 suspended,       youwillwill not
                                                                                not be be responsible
                                                                                            responsiblefor      for additional
                                                                                                                     additional usage           charges incurred
                                                                                                                                     usage charges            incurred
                                                 in
                                                 in excess
                                                     excess ofof your
                                                                  your Rate
                                                                          Rate Plan Plan Charges,
                                                                                             Charges, applicable
                                                                                                            applicable taxes,taxes, fees,
                                                                                                                                       fees, andand Surcharges.
                                                                                                                                                       Surcharges.
                                                 If
                                                 If you
                                                    you request
                                                          request thatthat we we notnot suspend
                                                                                           suspend your  your Service,
                                                                                                                 Service, you  you will
                                                                                                                                    will remain
                                                                                                                                           remain responsible
                                                                                                                                                        responsible
                                                 for all
                                                 for  all usage,
                                                          usage, Charges
                                                                    Charges incurred,
                                                                                    incurred,and    andapplicable
                                                                                                           applicable taxes taxes andand fees.
                                                                                                                                            fees. WeWe may may
                                                 prevent
                                                 prevent a   a lost
                                                               lost oror stolen       wireless device
                                                                          stolen wireless           devicefrom from registering
                                                                                                                       registering on    on ourour and
                                                                                                                                                     and other
                                                                                                                                                            other
                                                 networks.
                                                 networks. Wireless
                                                                Wireless access access to   to corporate/employee
                                                                                                corporate/employee email          emailmay may require
                                                                                                                                                   require
                                                 additional
                                                 additional server
                                                                server or  or server
                                                                                serveraccess,
                                                                                            access, licenses,
                                                                                                        licenses, or  or additional
                                                                                                                          additional requirements
                                                                                                                                           requirements which     which
                                                 may   incur   additional         charges.      By   requesting
                                                 may incur additional charges. By requesting wireless access to        wireless     access       to
                                                 corporate/employee
                                                 corporate/employee email,         email,you you agree
                                                                                                    agree to  topay
                                                                                                                  pay any
                                                                                                                        any of  of these     additional
                                                                                                                                   these additional
                                                 charges.    Charges for
                                                 charges. Charges           for Third-Party
                                                                                  Third-PartyServices. Services. Certain
                                                                                                                      Certainparties
                                                                                                                                   partiesbesides
                                                                                                                                               besides Metro
                                                                                                                                                           Metro by   by
                                                 T-Mobile have
                                                 T-Mobile      have the       ability to
                                                                       the ability        to place      charges on
                                                                                              place charges          on your
                                                                                                                         your account
                                                                                                                                  account for   for their
                                                                                                                                                     their services.
                                                                                                                                                              services.
                                                 You may
                                                 You    mayaccess
                                                               access these          services and
                                                                         these services            and authorize
                                                                                                         authorize the   the placement
                                                                                                                                placement of      of charges
                                                                                                                                                     charges on    on
                                                 your account
                                                 your                through your
                                                        account through             your phone
                                                                                             phone or  or online
                                                                                                           online account.
                                                                                                                      account. MetroMetro by    by T-Mobile
                                                                                                                                                    T-Mobile also   also
                                                 provides
                                                 provides customers,
                                                              customers, at      at nono additional
                                                                                          additional cost,          with the
                                                                                                           cost, with             ability to
                                                                                                                            the ability      to restrict
                                                                                                                                                 restrict the the
                                                 placement
                                                 placement of    of charges
                                                                     chargesfor     for third-party
                                                                                         third-party services
                                                                                                            services on  on your
                                                                                                                               your account.
                                                                                                                                       account. Contact
                                                                                                                                                      Contact
                                                 customer
                                                 customer care care at at 1-888-8metro8
                                                                           1-888-8metro8 or          or gogo toto www.metrobyt-
                                                                                                                   www.metrobyt-
                                                 mobile.com/blocking
                                                 mobile.com/blocking for            for more
                                                                                         more information.
                                                                                                   information.




https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                                                14/25
                                                                                                                                                                             14/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 29 of 39
                                                                                         MetroPCS.com
                                                 14. ** Payments
                                                 14.    Payments and
                                                                 and Late
                                                                     Late Fees.
                                                                          Fees. Service Charges must
                                                                                Service Charges must be
                                                                                                     be paid
                                                                                                        paid in
                                                                                                             in advance and
                                                                                                                advance and
                                                 are
                                                 are due
                                                      due before   the first
                                                           before the  first day
                                                                             day of
                                                                                  of your
                                                                                     yourservice
                                                                                           servicecycle.
                                                                                                    cycle. Service
                                                                                                           Service Charges
                                                                                                                    Charges cannot
                                                                                                                             cannot be
                                                                                                                                     be
                                                 paid
                                                 paid in
                                                       in arrears.
                                                          arrears.Unless
                                                                    Unlessotherwise
                                                                             otherwise specified   in your
                                                                                        specified in  your Rate
                                                                                                            Rate Plan,
                                                                                                                  Plan, monthly
                                                                                                                        monthly service
                                                                                                                                 service
                                                 cycles  are approximately
                                                 cycles are  approximately 30      days long.
                                                                               30 days   long. The
                                                                                                The dates
                                                                                                    dates ofof your
                                                                                                               your monthly
                                                                                                                    monthly or
                                                                                                                             or weekly
                                                                                                                                weekly
                                                 service cycle
                                                 service  cycle and
                                                                and other
                                                                     other dates
                                                                             dates related
                                                                                    related to
                                                                                             to your
                                                                                                 your account
                                                                                                      account maymay change  from time
                                                                                                                      change from  time
                                                 to time.
                                                 to time. You
                                                           You must
                                                                must promptly
                                                                      promptly notify
                                                                                  notify us
                                                                                          us of
                                                                                             of any
                                                                                                any change
                                                                                                     change inin your
                                                                                                                 youraccount
                                                                                                                       account address.
                                                                                                                               address.

                                                 As aa convenience,
                                                 As                 youmay
                                                       convenience, you may authorize
                                                                            authorize recurring
                                                                                      recurring payment of your
                                                                                                payment of your Service
                                                                                                                Service
                                                 Charges   through aa credit
                                                 Charges through      credit or
                                                                              or debit
                                                                                 debitcard
                                                                                         card oror bank
                                                                                                   bank transfer
                                                                                                         transfer authorization;
                                                                                                                   authorization; this
                                                                                                                                    this
                                                 authorizes  us to
                                                 authorizes us     charge all
                                                                to charge  all amounts
                                                                               amounts you you owe    us to
                                                                                                 owe us   to the
                                                                                                             the credit
                                                                                                                 credit or
                                                                                                                         or debit
                                                                                                                            debit card
                                                                                                                                   card or
                                                                                                                                         or
                                                 bank
                                                 bank transfer
                                                       transfer authorization
                                                                 authorization upup to
                                                                                     to five
                                                                                         five (5)
                                                                                               (5) days
                                                                                                   days prior
                                                                                                        priortotothe
                                                                                                                  thedue
                                                                                                                       due date
                                                                                                                           date and
                                                                                                                                 and to
                                                                                                                                      to
                                                 demand    immediatepayment
                                                 demand immediate      paymentfrom fromthethecard
                                                                                                cardor
                                                                                                     or debit
                                                                                                        debit issuer
                                                                                                               issuer or
                                                                                                                      or bank.
                                                                                                                         bank. WeWe may
                                                                                                                                     may
                                                 change  theday
                                                 change the   dayononwhich
                                                                      whichwe wecharge
                                                                                  chargeyouryourcredit
                                                                                                   creditor
                                                                                                          or debit
                                                                                                             debitcard,
                                                                                                                    card, in
                                                                                                                          in our
                                                                                                                             our sole
                                                                                                                                  sole and
                                                                                                                                       and
                                                 exclusive  discretion, but
                                                 exclusive discretion,  but in
                                                                             in no
                                                                                no event
                                                                                    event will
                                                                                            will that day be
                                                                                                 that day      more than
                                                                                                            be more   than five
                                                                                                                            five (5)
                                                                                                                                 (5) days
                                                                                                                                     days
                                                 prior
                                                 priorto
                                                       tothe
                                                          the due
                                                              due date.
                                                                   date.

                                                 Unless   required by
                                                 Unless required     by law,
                                                                         law, wewe will
                                                                                    will not
                                                                                          not give
                                                                                               give any
                                                                                                    any additional
                                                                                                         additional notice
                                                                                                                         notice to   you or
                                                                                                                                 to you   or
                                                 obtain
                                                 obtain additional
                                                          additional consent
                                                                       consent fromfrom you
                                                                                          you before    charging Service
                                                                                               before charging       Service Charges
                                                                                                                               Charges to  to that
                                                                                                                                              that
                                                 credit  or debit
                                                 credit or         card. You
                                                            debit card.    You must
                                                                                 must promptly
                                                                                         promptly notify
                                                                                                     notify us
                                                                                                             us of
                                                                                                                 of any
                                                                                                                     anychange
                                                                                                                          change in  in the
                                                                                                                                        the credit
                                                                                                                                            credit
                                                 or
                                                 or debit  card or
                                                    debit card    or bank
                                                                     bank transfer
                                                                             transferauthorization
                                                                                        authorization youyou want
                                                                                                               want to to use
                                                                                                                          use for
                                                                                                                               for payment.
                                                                                                                                     payment.
                                                 You may
                                                 You  may also
                                                             also make
                                                                  make aa payment
                                                                             payment by  by credit
                                                                                             credit or
                                                                                                    or debit
                                                                                                        debit card
                                                                                                               card online
                                                                                                                       online atat
                                                 www.metrobyt-mobile.com or
                                                 www.metrobyt-mobile.com              or through
                                                                                         through thethe automated
                                                                                                         automated Metro Metro by by T-Mobile
                                                                                                                                      T-Mobile
                                                 IVR.  In addition,   you   may   pay   your  Service   Charges     by  sending
                                                 IVR. In addition, you may pay your Service Charges by sending a check or           a check   or
                                                 money    order by
                                                 money order     by mail
                                                                     mail to    P.O. Box
                                                                            to P.O.   Box 5119,
                                                                                           5119, Carol
                                                                                                  Carol Stream,
                                                                                                          Stream, Illinois,
                                                                                                                      Illinois,60197-5119,
                                                                                                                                60197-5119, or  or
                                                 by
                                                 by bringing
                                                    bringing cash,
                                                                cash, check,
                                                                       check, or or money     order in
                                                                                    money order      in person
                                                                                                        person to     any Metro
                                                                                                                  to any   Metro by  by T-Mobile
                                                                                                                                         T-Mobile
                                                 store or
                                                 store  or authorized    payment center.
                                                           authorized payment          center.You
                                                                                                You may
                                                                                                      may bebe required
                                                                                                                required to  to pay
                                                                                                                                pay anan




                                                                                                                                                               Feedback
                                                 additional
                                                 additional service
                                                               service charge,
                                                                        charge,depending
                                                                                    depending on  on the
                                                                                                      the payment
                                                                                                           payment method
                                                                                                                        method you  you choose.
                                                                                                                                         choose.                CD
                                                                                                                                                                CD
                                                 This information
                                                 This  information is isavailable
                                                                         available at at MetroPCS.com.
                                                                                          MetroPCS.com. In    In addition, we may charge
                                                                                                                 addition,    we    may   charge                0-
                                                 an
                                                 an additional
                                                    additional fee     up to
                                                                  fee up   to the
                                                                               the maximum
                                                                                    maximum amount         permitted by
                                                                                                 amount permitted         by law
                                                                                                                              law for
                                                                                                                                    for any
                                                                                                                                         any check
                                                                                                                                             check
                                                                                                                                                                0
                                                 or
                                                 or other
                                                    other negotiable      instrument tendered
                                                            negotiable instrument         tenderedby  byyou
                                                                                                          youand
                                                                                                               andreturned
                                                                                                                      returned unpaid
                                                                                                                                  unpaid by by aa
                                                 financial institution
                                                 financial                for any
                                                            institution for    any reason.
                                                                                     reason. WeWe reserve    the right,
                                                                                                   reserve the     right, in
                                                                                                                           in our
                                                                                                                              our sole
                                                                                                                                    sole
                                                 discretion,
                                                 discretion, toto require
                                                                  require that     you pay
                                                                             that you   pay your
                                                                                              your Service
                                                                                                    Service Charges
                                                                                                              Charges with with cash,
                                                                                                                                 cash, certified
                                                                                                                                         certified
                                                 check,   cashier's check,
                                                 check, cashier's    check, or or money     order. We
                                                                                   money order.          also reserve
                                                                                                    We also    reserve thethe right
                                                                                                                               right to   report
                                                                                                                                       to report
                                                 any
                                                 any check    returned to
                                                      check returned      to us
                                                                              us to
                                                                                  to reporting
                                                                                     reporting andand credit
                                                                                                       credit agencies
                                                                                                                agencies andand lawlaw
                                                 enforcement.
                                                 enforcement.

                                                 15. ** Your
                                                 15.    Yourright
                                                             rightto
                                                                   toDispute
                                                                     Dispute Charges.
                                                                             Charges. Your
                                                                                      Yourpayment
                                                                                           payment will
                                                                                                   willbe
                                                                                                        be considered late if
                                                                                                           considered late if
                                                 we do
                                                 we do not
                                                       not receive
                                                           receive it
                                                                   it before
                                                                      before the
                                                                             thefirst
                                                                                 first day
                                                                                       day of
                                                                                           of the
                                                                                              the service
                                                                                                  service cycle for which
                                                                                                          cycle for which the
                                                                                                                          the
                                                 payment
                                                 payment is  is due.
                                                                due. IfIf you
                                                                          you dodo not
                                                                                     not make
                                                                                          make all all payments
                                                                                                       payments when          they are
                                                                                                                      when they      are due,
                                                                                                                                         due, you
                                                                                                                                                you will
                                                                                                                                                      will
                                                 be  in default
                                                 be in            under this
                                                        default under       this Agreement,
                                                                                  Agreement, and    and Metro
                                                                                                          Metro by by T-Mobile
                                                                                                                        T-Mobile willwill be
                                                                                                                                           be entitled
                                                                                                                                               entitled
                                                 to exercise
                                                 to  exercise any
                                                                any rights
                                                                      rights itit may
                                                                                  may have
                                                                                        have under
                                                                                                under thisthis Agreement,
                                                                                                                Agreement, including
                                                                                                                                 including thethe
                                                 suspensionor
                                                 suspension     or termination
                                                                    termination of    of Service
                                                                                         Service to  toyou.
                                                                                                         you. If
                                                                                                               If we   acceptaalate
                                                                                                                  we accept        lateoror partial
                                                                                                                                            partial
                                                 payment,
                                                 payment, evenevenififyou
                                                                        youmark
                                                                              mark thethe payment
                                                                                            payment"paid  "paid in
                                                                                                                 in full,"
                                                                                                                     full," we
                                                                                                                             we do
                                                                                                                                 do not
                                                                                                                                     not waive
                                                                                                                                          waive ourour
                                                 rights
                                                 rights to
                                                         to suspend
                                                            suspend or   or terminate
                                                                             terminate your your Service
                                                                                                    Service oror any
                                                                                                                  any other
                                                                                                                        other rights
                                                                                                                                rights we
                                                                                                                                        we may
                                                                                                                                             may have.
                                                                                                                                                    have.
                                                 If
                                                 If your
                                                    yourService
                                                          Service is isterminated
                                                                         terminated and  and you
                                                                                               you promptly
                                                                                                      promptly pay pay amounts
                                                                                                                         amounts that that are
                                                                                                                                           are
                                                 overdue,    Metro by
                                                 overdue, Metro        by T-Mobile,
                                                                           T-Mobile, in   in its
                                                                                              its sole
                                                                                                   sole discretion,
                                                                                                         discretion, maymay reconnect       your
                                                                                                                               reconnect your
                                                 Service after
                                                 Service   after you
                                                                  you have
                                                                         have paid
                                                                                 paid any
                                                                                        anyreconnection
                                                                                              reconnection fees  fees wewe have
                                                                                                                             have imposed.
                                                                                                                                    imposed. In  In such
                                                                                                                                                     such
                                                 case,  your service
                                                 case, your    service cycle
                                                                          cycleanniversary
                                                                                  anniversary date  date will
                                                                                                           will not
                                                                                                                not change,
                                                                                                                      change,which
                                                                                                                                 whichwillwill result
                                                                                                                                               result inin
                                                 fewer days
                                                 fewer   days ofof service
                                                                   service forfor that
                                                                                    that month.
                                                                                          month. If  If you
                                                                                                        you have
                                                                                                             have aa dispute
                                                                                                                        dispute regarding
                                                                                                                                   regarding the the
                                                 Charges
                                                 Charges to to your
                                                                your account,
                                                                        account, or  or about
                                                                                         about the the Services
                                                                                                        Services provided
                                                                                                                    provided to   to you,
                                                                                                                                     you, you
                                                                                                                                           you agree
                                                                                                                                                 agree to to
                                                 notify  us of  the   dispute     within   60   days    after the   date    you
                                                 notify us of the dispute within 60 days after the date you first receive the    first receive    the
                                                 disputed    Charge("Dispute
                                                 disputed Charge         ("Dispute Period"),
                                                                                       Period"), unless       otherwiseprovided
                                                                                                     unless otherwise        providedby   bylaw.
                                                                                                                                             law. IfIf you
                                                                                                                                                       you
                                                 do  not notify
                                                 do not   notify us
                                                                  us ofof your
                                                                          your dispute
                                                                                  dispute in in writing
                                                                                                 writing within
                                                                                                            withinthe the Dispute
                                                                                                                           Dispute Period,
                                                                                                                                      Period, you
                                                                                                                                                you
                                                 have   waived such
                                                 have waived      such claim
                                                                          claim andand will
                                                                                        will bebe forever
                                                                                                   forever barred
                                                                                                             barredand  andestopped
                                                                                                                              estopped fromfrom
                                                 raising,
                                                 raising, or
                                                           or making
                                                               making aaclaimclaimforforsuch
                                                                                          suchdispute
                                                                                                  dispute and
                                                                                                            and you
                                                                                                                  you may
                                                                                                                        may not     pursue aa claim
                                                                                                                               not pursue       claim inin
                                                 arbitration
                                                 arbitration or orinincourt.
                                                                        court.Unless
                                                                                 Unlessotherwise
                                                                                           otherwise provided
                                                                                                          provided by  by law,
                                                                                                                           law, you
                                                                                                                                 you must
                                                                                                                                       must pay
                                                                                                                                              pay
                                                 disputed    Charges until
                                                 disputed Charges         until the
                                                                                  the dispute
                                                                                       disputeis   is resolved.
                                                                                                      resolved. If If you
                                                                                                                      you accept
                                                                                                                            accept aa credit,
                                                                                                                                        credit, refund
                                                                                                                                                  refund
                                                 or
                                                 or other
                                                     other compensation
                                                            compensation or       or benefit
                                                                                      benefit toto resolve
                                                                                                    resolve a a disputed
                                                                                                                 disputed Charge,
                                                                                                                               Charge, youyou agree
                                                                                                                                                agree


https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                                  15/25
                                                                                                                                                               15/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 30 of 39
                                                                                         MetroPCS.com
                                                 that the
                                                 that the issue
                                                          issueisis fully
                                                                    fully and
                                                                          and finally
                                                                              finally resolved
                                                                                      resolved and
                                                                                               and such credit shall
                                                                                                   such credit shall act
                                                                                                                     act as
                                                                                                                         as an
                                                                                                                            an
                                                 accord
                                                 accord and
                                                         and satisfaction.  In the
                                                              satisfaction. In  the event
                                                                                    event ofof aa lost
                                                                                                  lost or
                                                                                                       or stolen
                                                                                                           stolen wireless
                                                                                                                   wireless device,   for
                                                                                                                             device, for
                                                 Charges  incurred before
                                                 Charges incurred            you notify
                                                                     before you   notify us,
                                                                                         us, you
                                                                                             you areare not   liable for
                                                                                                         not liable  for charges  you did
                                                                                                                          charges you   did
                                                 not
                                                 not authorize,
                                                     authorize, but
                                                                 but the  fact that
                                                                      the fact that your
                                                                                    your wireless
                                                                                           wireless device
                                                                                                       device oror service
                                                                                                                   service was
                                                                                                                            was used   is
                                                                                                                                 used is
                                                 some evidence
                                                 some  evidenceof ofauthorization.
                                                                     authorization. You
                                                                                      You may
                                                                                            may request
                                                                                                   request that
                                                                                                              that we
                                                                                                                    we investigate
                                                                                                                        investigate
                                                 Charges
                                                 Charges you
                                                          you believe    were unauthorized.
                                                                believe were   unauthorized. We  We maymay ask
                                                                                                             ask you
                                                                                                                 you toto provide
                                                                                                                          provide
                                                 information
                                                 information and
                                                               and you
                                                                    you may
                                                                        may submit
                                                                             submit information
                                                                                      information to   to support
                                                                                                          support your
                                                                                                                     your request.  If we
                                                                                                                           request. If we
                                                 determine  thecharges
                                                 determine the   chargeswere
                                                                           wereunauthorized,
                                                                                 unauthorized,we    wewill
                                                                                                         will credit
                                                                                                              credit your
                                                                                                                      your account.   If we
                                                                                                                            account. If  we
                                                 determine  the  charges   were  authorized,     we  will inform   you
                                                 determine the charges were authorized, we will inform you within 30 dayswithin 30 days
                                                 and
                                                 and you
                                                      you will
                                                          will remain
                                                               remainresponsible
                                                                        responsible for
                                                                                     for the
                                                                                          the charges.
                                                                                              charges.

                                                 16. ** Notices
                                                 16.            and Customer
                                                        Notices and Customer Communications.
                                                                             Communications. You
                                                                                             Youexpressly
                                                                                                 expresslyconsent
                                                                                                           consent to
                                                                                                                   to be
                                                                                                                      be
                                                 contacted,
                                                 contacted, by byMetro
                                                                    Metroby  byT-Mobile
                                                                                   T-Mobileor     or anyone
                                                                                                     anyonecalling
                                                                                                               calling on
                                                                                                                        on its
                                                                                                                            its behalf,
                                                                                                                                 behalf, for
                                                                                                                                          for any
                                                                                                                                              any and
                                                                                                                                                   and
                                                 all
                                                 all purposes,
                                                     purposes, at at any
                                                                      any telephone
                                                                           telephone number, number, or  or physical
                                                                                                             physical or
                                                                                                                       or electronic
                                                                                                                           electronic address
                                                                                                                                         address
                                                 where you
                                                 where    you may
                                                               may be be reached,         including any
                                                                          reached, including           any wireless
                                                                                                             wireless telephone       number. You
                                                                                                                       telephone number.         You
                                                 agree   that  Metro    by  T-Mobile         may   contact    you  in any
                                                 agree that Metro by T-Mobile may contact you in any way, including, pre-  way,    including,  pre-
                                                 recorded
                                                 recorded or or artificial
                                                                 artificialvoice
                                                                               voiceor   ortext
                                                                                             textmessages
                                                                                                   messages delivered
                                                                                                               delivered by by anan automatic
                                                                                                                                     automatic
                                                 telephonedialing
                                                 telephone     dialing system,
                                                                         system, or    or e-mail
                                                                                           e-mail messages       delivered by
                                                                                                     messages delivered        by an
                                                                                                                                   an automatic
                                                                                                                                       automatic e- e-
                                                 mailing
                                                 mailing system.
                                                            system. YouYouagree
                                                                             agreethat   thatwewealso
                                                                                                    alsohave
                                                                                                         havethetheconsent
                                                                                                                     consent to  to contact   any
                                                                                                                                    contact any
                                                 Authorized User
                                                 Authorized     User onon your
                                                                            your account
                                                                                      account for for Service
                                                                                                      Service oror payment
                                                                                                                    payment related
                                                                                                                                 related reasons.
                                                                                                                                          reasons.
                                                 Any   such  notice    will be    treated      as provided    to  you
                                                 Any such notice will be treated as provided to you when left with you,when     left with  you, on
                                                                                                                                                on
                                                 your wireless
                                                 your   wireless device,
                                                                   device, onon youryour answering/voicemail           service,or
                                                                                            answering/voicemail service,           or by
                                                                                                                                      by email
                                                                                                                                         email oror fax
                                                                                                                                                    fax
                                                 to any
                                                 to  any email
                                                          email or
                                                                 or fax
                                                                     fax number
                                                                          number you     you provided
                                                                                               provided to to us,
                                                                                                              us, or
                                                                                                                  or 3-days     after mailing
                                                                                                                      3-days after     mailing to
                                                                                                                                                to your
                                                                                                                                                   your
                                                 last
                                                 last known
                                                      known address
                                                               address as  as shown
                                                                                shown in    in our
                                                                                               ourrecords.
                                                                                                     records.Your
                                                                                                                Yourconsent
                                                                                                                       consentto   tobe
                                                                                                                                      becontacted
                                                                                                                                         contacted
                                                 may
                                                 may be    revoked only
                                                       be revoked      only ifif it
                                                                                 it is
                                                                                     is in
                                                                                        in writing
                                                                                            writing and
                                                                                                      and isiswith
                                                                                                              withMetro
                                                                                                                    Metro by byT-Mobile’s
                                                                                                                                  T-Mobile's express
                                                                                                                                               express
                                                 agreement.
                                                 agreement. You You must
                                                                       must notify
                                                                               notify us   us of
                                                                                              of any
                                                                                                  any address    changes.Failure
                                                                                                       address changes.        Failure to
                                                                                                                                        to notify
                                                                                                                                           notify us
                                                                                                                                                   us of
                                                                                                                                                      of       -n




                                                                                                                                                              Feedback
                                                 a
                                                 a change
                                                   change in in your
                                                                your address
                                                                        address constitutes
                                                                                      constitutes a   a breach
                                                                                                        breach of of this
                                                                                                                     this Agreement
                                                                                                                           Agreement and  and                  CD
                                                                                                                                                               CD
                                                 grounds    for possible     suspensionor       or termination
                                                                                                   termination of  of your
                                                                                                                      your Service.
                                                                                                                             Service. IfIf you                 0_
                                                 grounds for     possible suspension                                                       you have
                                                                                                                                                have
                                                                                                                                                               C1)
                                                 any
                                                 any questions      regarding your
                                                      questions regarding           your Service
                                                                                            Service oror information
                                                                                                          information in  in this
                                                                                                                              this Agreement,
                                                                                                                                    Agreement, youyou          C)
                                                 may
                                                 may contact
                                                       contact ourour Customer
                                                                       Customer Care     Care department
                                                                                                 department at   at www.metrobyt-mobile.com
                                                                                                                    www.metrobyt-mobile.com
                                                 (http://www.metrobyt-mobile.com/),
                                                 (http://www.metrobyt-mobile.com/), by                  by calling
                                                                                                            calling 1-888-8metro8,
                                                                                                                     1-888-8metro8, or    or by
                                                                                                                                             by
                                                 writing   us at Metro     by   T-Mobile,       P.O.   Box   601119,  Dallas,
                                                 writing us at Metro by T-Mobile, P.O. Box 601119, Dallas, Texas 75360-1119.     Texas  75360-1119.

                                                 17. ** Misuse
                                                 17.    Misuse of
                                                               of Service
                                                                  Service or
                                                                          or Device.
                                                                             Device. By
                                                                                     By activating
                                                                                        activating or
                                                                                                   or renewing
                                                                                                      renewing Service
                                                                                                               Service with
                                                                                                                       with
                                                 Metro
                                                 Metro byby T-Mobile,
                                                             T-Mobile,you    youagree
                                                                                  agree that
                                                                                          that you
                                                                                                 you do do so
                                                                                                            so because
                                                                                                                because you  you want
                                                                                                                                   want Service
                                                                                                                                           Service from
                                                                                                                                                      from
                                                 Metro
                                                 Metro byby T-Mobile
                                                             T-Mobile and   and not
                                                                                  not for
                                                                                      foranyanyother
                                                                                                  otherpurposes.
                                                                                                           purposes. You  Youagree
                                                                                                                                agree notnot toto misuse
                                                                                                                                                  misuse
                                                 the Service
                                                 the  Service oror Device,
                                                                    Device, including
                                                                               including but but not
                                                                                                  notlimited
                                                                                                         limitedto: to: (a)
                                                                                                                        (a) reselling
                                                                                                                             reselling ourour Service;
                                                                                                                                                Service;
                                                 (b)
                                                 (b) using
                                                     using the
                                                            the Service
                                                                 Service or  or Device
                                                                                 Device to to engage
                                                                                               engagein    inunlawful
                                                                                                              unlawful activity,
                                                                                                                            activity, oror in
                                                                                                                                            in conduct
                                                                                                                                                conduct
                                                 that adversely
                                                 that  adversely affects      our customers,
                                                                    affects our     customers, employees,              business, or
                                                                                                     employees, business,           or any
                                                                                                                                        any other
                                                                                                                                               other
                                                 person(s),
                                                 person(s), oror that
                                                                 that interferes      with our
                                                                         interferes with      our operations,
                                                                                                    operations, network,
                                                                                                                     network, reputation,
                                                                                                                                  reputation, or   or
                                                 ability to
                                                 ability to provide
                                                            provide quality
                                                                         quality service,
                                                                                   service, including,
                                                                                               including,but  butnotnot limited
                                                                                                                          limitedto,to,the
                                                                                                                                         the generation
                                                                                                                                               generation
                                                 or dissemination
                                                 or dissemination of    of viruses,
                                                                           viruses, malware
                                                                                      malware or   or "denial
                                                                                                       “denial of of service”
                                                                                                                      service" attacks;
                                                                                                                                  attacks; (c) (c) using
                                                                                                                                                   using
                                                 the Service
                                                 the  Service asas aa substitute
                                                                      substituteor   or backup
                                                                                        backup for   for private
                                                                                                          private lines
                                                                                                                     lines orordedicated
                                                                                                                                dedicated data  data
                                                 connections;(d)
                                                 connections;     (d)tampering
                                                                        tamperingwith withor or modifying
                                                                                                 modifying your  your Metro
                                                                                                                        Metro by  by T-Mobile
                                                                                                                                      T-Mobile
                                                 Device;
                                                 Device; (e)
                                                           (e) "spamming"
                                                               'spamming' or     or engaging
                                                                                    engaging in    in other
                                                                                                       other abusive
                                                                                                               abusive or   or unsolicited
                                                                                                                               unsolicited
                                                 communications, or
                                                 communications,         or any
                                                                            any other
                                                                                  other mass,
                                                                                          mass, automated
                                                                                                    automated voice voice or or data
                                                                                                                                data
                                                 communicationfor
                                                 communication         for commercial
                                                                           commercial or    or marketing
                                                                                                marketing purposes;
                                                                                                               purposes; (f)   (f) reselling
                                                                                                                                   reselling Metro
                                                                                                                                                 Metro byby
                                                 T-Mobile Devices
                                                 T-Mobile    Devicesfor   forprofit,
                                                                              profit, or
                                                                                       or tampering
                                                                                          tampering with,  with, reprogramming
                                                                                                                   reprogramming or       or altering
                                                                                                                                               altering
                                                 Metro
                                                 Metro byby T-Mobile
                                                             T-Mobile Devices
                                                                            Devices for
                                                                                      for the
                                                                                            the purpose
                                                                                                 purpose of   of reselling
                                                                                                                  reselling the     Metro by
                                                                                                                               the Metro       by T-
                                                                                                                                                   T-
                                                 Mobile
                                                 Mobile Device;
                                                          Device; (g) (g) using
                                                                           using the
                                                                                   the Service
                                                                                        Service in  in connection
                                                                                                        connection with with server
                                                                                                                               server devices
                                                                                                                                          devices oror
                                                 host  computer applications;
                                                 host computer       applications; (h) (h) using
                                                                                             using applications
                                                                                                      applications whichwhich automatically
                                                                                                                                 automatically
                                                 consume unreasonable
                                                 consume     unreasonableamounts amountsof    ofavailable
                                                                                                 availablenetwork
                                                                                                               network capacity;
                                                                                                                             capacity; (i) (i) using
                                                                                                                                               using
                                                 applications which
                                                 applications    which are aredesigned
                                                                                designed for  forunattended
                                                                                                    unattended use,  use, automatic
                                                                                                                            automatic data  data feeds,
                                                                                                                                                   feeds,
                                                 automated machine-to-machine
                                                 automated     machine-to-machineconnections,  connections,or      orapplications
                                                                                                                       applications that that are
                                                                                                                                                are used
                                                                                                                                                     used
                                                 in a way  that  degrades       network     capacity      or functionality;
                                                 in a way that degrades network capacity or functionality; or 0) assisting or    or  (j) assisting    or
                                                 facilitating anyone
                                                 facilitating  anyone else       in any
                                                                           else in  any of
                                                                                         of the
                                                                                              the above
                                                                                                    above activities.
                                                                                                             activities. Unless
                                                                                                                            Unless authorized
                                                                                                                                      authorized by    by
                                                 Metro
                                                 Metro byby T-Mobile,
                                                             T-Mobile, you  you agree
                                                                                  agree that
                                                                                          that you
                                                                                                 you won't
                                                                                                       won't install,
                                                                                                                install, deploy,
                                                                                                                           deploy, or or use
                                                                                                                                          use any
                                                                                                                                                any
                                                 regeneration     equipmentor
                                                 regeneration equipment            orsimilar
                                                                                      similar mechanism
                                                                                                 mechanism (for   (for example,
                                                                                                                         example, a   a repeater
                                                                                                                                         repeater or or

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                                 16/25
                                                                                                                                                              16/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 31 of 39
                                                                                         MetroPCS.com
                                                 signal booster)
                                                 signal          to originate,
                                                        booster) to originate, amplify,
                                                                               amplify, enhance, retransmit or
                                                                                        enhance, retransmit or regenerate a
                                                                                                               regenerate a
                                                 transmitted RF
                                                 transmitted RF signal
                                                                signal and,
                                                                       and, unless authorized by
                                                                            unless authorized by Metro
                                                                                                 Metro by
                                                                                                       by T-Mobile,
                                                                                                          T-Mobile, you
                                                                                                                    you
                                                 agree that
                                                 agree that you
                                                            you will
                                                                will not
                                                                     not use
                                                                         use a
                                                                             a telephone number on
                                                                               telephone number on the
                                                                                                   the Metro
                                                                                                       Metro by
                                                                                                             by T-Mobile
                                                                                                                T-Mobile
                                                 network
                                                 network for
                                                          forany
                                                             anypurpose
                                                                 purposebut
                                                                         butfor
                                                                             foraccess
                                                                                 accessto
                                                                                        tothe
                                                                                           thepublic
                                                                                               publicswitched
                                                                                                      switchedtelephone
                                                                                                               telephone
                                                 network.
                                                 network.

                                                 Metro
                                                 Metro by
                                                       by T-Mobile
                                                          T-Mobile also
                                                                   also reserves
                                                                         reserves the
                                                                                  the right,
                                                                                      right,in
                                                                                             inits
                                                                                                itssole
                                                                                                    solediscretion,
                                                                                                        discretion,to
                                                                                                                    toexclude
                                                                                                                      exclude
                                                 from your
                                                 from your Service,
                                                           Service, 9xx,
                                                                    9xx, 7xx, 5xx,
                                                                              5xx, and
                                                                                   and 8xx
                                                                                       8xx telephone numbers as
                                                                                           telephone numbers as well
                                                                                                                well as
                                                                                                                     as other
                                                                                                                        other
                                                 telephonenumbers
                                                 telephone numbers or
                                                                   or services.
                                                                      services. We
                                                                                We also
                                                                                   also may
                                                                                        may block
                                                                                            block calls
                                                                                                  callsto
                                                                                                        totelephone
                                                                                                           telephone
                                                 numbers
                                                 numbers at
                                                         at the
                                                            the request of the
                                                                request of the called
                                                                               called party.
                                                                                      party.

                                                 You can't
                                                 You can't use
                                                           use our
                                                               our Services:
                                                                   Services: (a)
                                                                             (a) in
                                                                                  inaaway
                                                                                      waythat
                                                                                          thatcould
                                                                                               couldcause
                                                                                                     cause damage
                                                                                                           damage or
                                                                                                                  or adversely
                                                                                                                     adversely
                                                 affect any of
                                                 affect any of our
                                                               our other customersor
                                                                   other customers or our
                                                                                      our reputation, network, property
                                                                                          reputation, network, property or
                                                                                                                        or
                                                 Services; or
                                                 Services; or (b)
                                                              (b) in
                                                                  in any
                                                                     anyway
                                                                         wayprohibited
                                                                            prohibited by
                                                                                       bythe
                                                                                          the terms
                                                                                              terms of
                                                                                                    of our
                                                                                                       ourServices,
                                                                                                           Services, the
                                                                                                                     the
                                                 Agreementor
                                                 Agreement or our
                                                              our Policies. We can
                                                                  Policies. We can take
                                                                                   takeany
                                                                                        any action
                                                                                            actionto:
                                                                                                   to: (1)
                                                                                                       (1) protect our
                                                                                                           protect our
                                                 network,
                                                 network, our our rights
                                                                   rights and
                                                                          and interests,
                                                                                interests, or
                                                                                           or the
                                                                                               the rights
                                                                                                    rights ofof others;
                                                                                                                others; (2)
                                                                                                                          (2) optimize
                                                                                                                              optimize oror
                                                 improve
                                                 improve the      overall use
                                                             the overall       of our
                                                                           use of  our network
                                                                                        network andand Services;
                                                                                                         Services; oror(3)
                                                                                                                         (3)prevent
                                                                                                                              prevent usage
                                                                                                                                       usage
                                                 that is
                                                 that  is indicative
                                                          indicative ofof uses
                                                                          uses not
                                                                                 not permitted
                                                                                      permitted hereunder.
                                                                                                   hereunder. Some Some of of these
                                                                                                                               these actions
                                                                                                                                     actions
                                                 may
                                                 may interrupt
                                                       interruptor  orprevent
                                                                       preventlegitimate
                                                                                  legitimate communications
                                                                                               communications and    and usage,
                                                                                                                            usage, such
                                                                                                                                    such as
                                                                                                                                          as
                                                 message     filtering/blockingsoftware
                                                 message filtering/blocking         softwareto toprevent
                                                                                                   preventspam,spam, viruses,
                                                                                                                       viruses, or
                                                                                                                                 or autodialed
                                                                                                                                    autodialed
                                                 calls
                                                 calls or
                                                        or SMS
                                                            SMSmessages.
                                                                  messages. ForFor additional
                                                                                     additional information
                                                                                                  information on   on what
                                                                                                                       what we we do
                                                                                                                                  do to
                                                                                                                                      to protect
                                                                                                                                         protect
                                                 our
                                                 our customers,
                                                      customers, network,
                                                                     network, Services
                                                                                 Services and
                                                                                           and equipment,
                                                                                                 equipment, see  seeourour Privacy
                                                                                                                            Privacy Policy,
                                                                                                                                     Policy,
                                                 MetroWEB
                                                 MetroWEB Terms  Terms ofof Use,
                                                                             Use, and
                                                                                   and Online
                                                                                        Online Terms
                                                                                                 Termsof   ofUse
                                                                                                               Use at
                                                                                                                    at our
                                                                                                                       ourwebsite
                                                                                                                             website
                                                 at
                                                 at www.metrobyt-mobile.com.
                                                    www.metrobyt-mobile.com. We          We use    filters to
                                                                                             use filters    to block
                                                                                                                block spam
                                                                                                                        spam messages,
                                                                                                                                messages, but
                                                                                                                                            but
                                                 we do
                                                 we  do not
                                                          not guarantee
                                                               guarantee that
                                                                            that you
                                                                                  you will
                                                                                       will not
                                                                                            not receive     spam or
                                                                                                 receive spam      or other
                                                                                                                       other unsolicited
                                                                                                                                unsolicited
                                                 messages,
                                                 messages, and and you
                                                                     you agree
                                                                         agree that
                                                                                  that we
                                                                                       we are
                                                                                           are not
                                                                                                not liable
                                                                                                      liable for
                                                                                                              for such
                                                                                                                  such messages.
                                                                                                                         messages. YouYou agree
                                                                                                                                            agree




                                                                                                                                                            Feedback
                                                 that aa violation
                                                 that    violation ofof this
                                                                        this Section    harms Metro
                                                                              Section harms     Metro by by T-Mobile,
                                                                                                              T-Mobile, which
                                                                                                                           which cannot
                                                                                                                                   cannot bebe               CD
                                                                                                                                                             CD
                                                 fully redressed     by money     damages,    and   that   we  shall
                                                 fully redressed by money damages, and that we shall be entitled to  be   entitled  to                       0-
                                                 immediate      injunctive relief
                                                 immediate injunctive        relief in
                                                                                    in addition
                                                                                       addition toto all
                                                                                                      all other
                                                                                                          other remedies
                                                                                                                  remedies available
                                                                                                                               available
                                                                                                                                                             0
                                                 without the
                                                 without         requirement to
                                                            the requirement      to post  a bond.
                                                                                     post a bond.

                                                 You agree
                                                 You agree you
                                                           you will
                                                               willnot
                                                                    notuse
                                                                        useour
                                                                           ourmessaging
                                                                               messagingservices
                                                                                         servicesto
                                                                                                  tosend
                                                                                                     send messages
                                                                                                          messages that
                                                                                                                   that
                                                 contain advertising or
                                                 contain advertising or aa commercial
                                                                           commercial solicitation
                                                                                      solicitation to
                                                                                                   to any
                                                                                                      any person
                                                                                                          person or
                                                                                                                 or entity
                                                                                                                    entity
                                                 without their
                                                 without their consent. You will
                                                               consent. You will have
                                                                                 have the
                                                                                      the burden
                                                                                          burden of
                                                                                                 of proving
                                                                                                    proving consent with
                                                                                                            consent with
                                                 clear
                                                 clear and
                                                        and convincing
                                                              convincing evidence
                                                                              evidence ifif aa person
                                                                                               person or  or entity
                                                                                                              entity complains
                                                                                                                       complains you  you did
                                                                                                                                           did not
                                                                                                                                                 not
                                                 obtain
                                                 obtain their
                                                          their consent.      Consent cannot
                                                                  consent. Consent        cannotbe   beevidenced
                                                                                                         evidencedby    bythird
                                                                                                                            thirdparty
                                                                                                                                     party lists
                                                                                                                                            lists you
                                                                                                                                                   you
                                                 purchased
                                                 purchased or   or obtained.
                                                                    obtained. YouYou further
                                                                                       further agree
                                                                                                  agree youyou will
                                                                                                                 will not
                                                                                                                      not use
                                                                                                                           use our
                                                                                                                                 our messaging
                                                                                                                                       messaging
                                                 service to
                                                 service   to send
                                                               send messages
                                                                       messagesthat:that:(a)
                                                                                          (a)are
                                                                                               are bulk
                                                                                                     bulk messages;
                                                                                                            messages; (b) (b) are
                                                                                                                               are automatically
                                                                                                                                     automatically
                                                 generated;
                                                 generated; (c)  (c) can
                                                                     candisrupt
                                                                           disrupt our
                                                                                     our network;
                                                                                         network; (d)   (d) harass
                                                                                                            harass or orthreaten
                                                                                                                         threaten another
                                                                                                                                      another
                                                 person;
                                                 person; (e)(e) interfere
                                                                interfere with
                                                                             with another
                                                                                    another customer's
                                                                                              customer's use        or enjoyment
                                                                                                               use or   enjoyment of    of our
                                                                                                                                           our
                                                 Services; (f)
                                                 Services;    (f) generate     significant or
                                                                  generate significant       or serious
                                                                                                 serious customer        complaints; (g)
                                                                                                            customer complaints;          (g) that
                                                                                                                                                that
                                                 falsify or
                                                 falsify or mask
                                                             maskthe  the sender/originator
                                                                           sender/originator of    of the
                                                                                                       the message;
                                                                                                            message;or   or (h)
                                                                                                                             (h) violate
                                                                                                                                  violate any
                                                                                                                                            any law
                                                                                                                                                  law or
                                                                                                                                                       or
                                                 regulation.
                                                 regulation. We  We reserve
                                                                       reserve the
                                                                                 the right,
                                                                                      right, but
                                                                                              butarearenotnotobligated,
                                                                                                               obligated,to  to deny,
                                                                                                                                 deny, disconnect,
                                                                                                                                         disconnect,
                                                 suspend, modify
                                                 suspend,     modify and/or
                                                                        and/or terminate
                                                                                  terminate youryour messaging
                                                                                                        messaging service
                                                                                                                       service or or messaging
                                                                                                                                      messaging
                                                 services with
                                                 services    with any
                                                                    any associated
                                                                          associated account(s),
                                                                                        account(s), or   or to
                                                                                                             to deny,
                                                                                                                deny, disconnect,
                                                                                                                        disconnect, suspend,
                                                                                                                                         suspend,
                                                 modify    and/or     terminate    the  account(s),      without    notice,
                                                 modify and/or terminate the account(s), without notice, as to anyone using    as  to anyone      using
                                                 messaging      servicesin
                                                 messaging services         inany
                                                                               any manner
                                                                                    manner thatthat isis prohibited.
                                                                                                         prohibited. Our Our failure
                                                                                                                               failure toto take
                                                                                                                                             take any
                                                                                                                                                    any
                                                 action  in the
                                                 action in   the event
                                                                   event ofof aa violation
                                                                                 violation shall
                                                                                            shall notnot be   construed as
                                                                                                          be construed      as aa waiver
                                                                                                                                   waiver of of the
                                                                                                                                                 the
                                                 right
                                                 right to
                                                        to enforce     such terms,
                                                            enforce such      terms, conditions,
                                                                                       conditions, or   or policies.   Advertising and
                                                                                                           policies. Advertising        and
                                                 commercial
                                                 commercial solicitations
                                                                  solicitations do do not
                                                                                       not include
                                                                                           include messaging
                                                                                                        messagingthat: that: (1)
                                                                                                                              (1) facilitate,
                                                                                                                                   facilitate,
                                                 complete,
                                                 complete, or  or confirm
                                                                   confirm aa commercial
                                                                                 commercial transaction
                                                                                                 transaction wherewhere thethe recipient
                                                                                                                                 recipient of of such
                                                                                                                                                  such
                                                 message(s)
                                                 message(s) has  has previously
                                                                       previously agreed
                                                                                     agreed to to enter
                                                                                                   enter into
                                                                                                           into with
                                                                                                                 with the
                                                                                                                        the sender
                                                                                                                             sender of  of such
                                                                                                                                            such
                                                 message(s);
                                                 message(s); or   or (2)
                                                                      (2) provides
                                                                          provides account        information, service
                                                                                      account information,         service or or product
                                                                                                                                   product
                                                 information,
                                                 information, warranty
                                                                   warranty information,
                                                                                information, product
                                                                                                product recall
                                                                                                             recall information,
                                                                                                                    information, or    or safety
                                                                                                                                          safety or or
                                                 security information
                                                 security   information with  with respect
                                                                                    respect toto a a commercial
                                                                                                     commercial product
                                                                                                                      product or  or service
                                                                                                                                      service used     or
                                                                                                                                                 used or
                                                 purchased
                                                 purchased by   by the    recipient of
                                                                    the recipient     of such
                                                                                         such message.
                                                                                                message.Although
                                                                                                               Althoughititis  is illegal
                                                                                                                                  illegal for
                                                                                                                                           for
                                                 unauthorized
                                                 unauthorized people people toto intercept
                                                                                  intercept wireless
                                                                                              wireless device        calls intended
                                                                                                           device calls    intended for  for others,
                                                                                                                                               others,
                                                 Metro
                                                 Metro by by T-Mobile
                                                               T-Mobile cannot
                                                                            cannot guarantee
                                                                                      guarantee the       completeprivacy
                                                                                                     the complete       privacy of of your
                                                                                                                                       your calls.
                                                                                                                                              calls.

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                               17/25
                                                                                                                                                            17/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 32 of 39
                                                                                         MetroPCS.com
                                                 Wireless calls by
                                                 Wireless calls by nature
                                                                   nature may
                                                                          may be
                                                                              be intercepted
                                                                                  interceptedby
                                                                                              bythird
                                                                                                 thirdparties.
                                                                                                       parties.METRO
                                                                                                               METRO BYBY T-
                                                                                                                           T-
                                                 MOBILE
                                                 MOBILE SHALL
                                                           SHALL NOTNOT BE
                                                                        BE LIABLE
                                                                           LIABLE TO TO YOU
                                                                                        YOU OROR TO
                                                                                                 TO ANY    THIRD PARTY
                                                                                                     ANY THIRD     PARTY FOR
                                                                                                                          FOR
                                                 ANY INTERCEPTION
                                                 ANY  INTERCEPTION BY    BY THIRD
                                                                            THIRDPARTIES
                                                                                     PARTIESOFOFCOMMUNICATIONS
                                                                                                  COMMUNICATIONS
                                                 FROM
                                                 FROM ITS
                                                        ITSSYSTEM.
                                                             SYSTEM.Additionally,
                                                                        Additionally,Metro
                                                                                      Metroby
                                                                                            byT-Mobile
                                                                                               T-Mobiledoes
                                                                                                         doesnot
                                                                                                               notnecessarily
                                                                                                                  necessarily
                                                 encrypt your calls.
                                                 encrypt your  calls.

                                                 You agree
                                                 You       that aa violation
                                                     agree that    violation of
                                                                             of this
                                                                                this Section harms Metro
                                                                                     Section harms Metro by
                                                                                                         by T-Mobile,
                                                                                                            T-Mobile, which
                                                                                                                      which
                                                 cannot be fully
                                                 cannot be fully redressed by money
                                                                 redressed by money damages,
                                                                                    damages, and
                                                                                             and that
                                                                                                 that Metro
                                                                                                      Metro by
                                                                                                            by T-Mobile
                                                                                                               T-Mobile
                                                 shall be
                                                 shall be entitled to immediate
                                                          entitled to  immediateinjunctive
                                                                                 injunctive relief
                                                                                            relief in
                                                                                                   in addition
                                                                                                      addition to all other
                                                                                                               to all other
                                                 remedies available.
                                                 remedies available.

                                                 18. Our
                                                 18. Our Rights
                                                         Rightsto
                                                                toLimit
                                                                  Limit or
                                                                        or End
                                                                           End Service
                                                                               Service or
                                                                                       or the
                                                                                          theAgreement.
                                                                                              Agreement.WE
                                                                                                         WEMAY
                                                                                                            MAYLIMIT,
                                                                                                                LIMIT,
                                                 SUSPENDOR
                                                 SUSPEND ORTERMINATE
                                                           TERMINATE YOUR
                                                                     YOUR SERVICE
                                                                          SERVICE OR
                                                                                  OR AGREEMENT
                                                                                     AGREEMENT WITHOUT
                                                                                               WITHOUT
                                                 NOTICE
                                                 NOTICE FOR   FOR ANY  ANY REASON,
                                                                                REASON, including,
                                                                                                 including, but         not limited
                                                                                                                  but not     limitedto:   to: (1)
                                                                                                                                                (1) if
                                                                                                                                                     if you,
                                                                                                                                                        you, anyany
                                                 user
                                                 user ofof your
                                                           your wireless
                                                                   wireless device,
                                                                                 device, or  or any
                                                                                                  any user
                                                                                                        user on on your
                                                                                                                     your account:
                                                                                                                             account: (a)   (a) breaches
                                                                                                                                                  breaches this  this
                                                 Agreement; (b)
                                                 Agreement;        (b) lives
                                                                         lives inin an
                                                                                     an area
                                                                                          area where
                                                                                                  where we  we don’t
                                                                                                                  don't provide
                                                                                                                           provide Service;
                                                                                                                                         Service; (c)  (c) have
                                                                                                                                                             have Off-
                                                                                                                                                                    Off-
                                                 Net   Usagewhich
                                                 Net Usage       which makesmakes itit uneconomical
                                                                                          uneconomicalfor         for us
                                                                                                                       us to
                                                                                                                           to provide
                                                                                                                                provide Service
                                                                                                                                             Service to    to you;
                                                                                                                                                               you; (d)
                                                                                                                                                                      (d)
                                                 resells  your Service;
                                                 resells your     Service; (e)        uses your
                                                                                (e) uses     your Service
                                                                                                     Service for  for any
                                                                                                                       any purpose
                                                                                                                              purpose or    or inin any
                                                                                                                                                     any wayway notnot
                                                 permitted
                                                 permitted underunder this this Agreement
                                                                                  Agreement or       or for
                                                                                                         for any
                                                                                                              any illegal
                                                                                                                     illegal purpose,
                                                                                                                                purpose, including
                                                                                                                                               including uses   uses
                                                 that violate
                                                 that  violate trade
                                                                  trade and  and economic           sanctions and
                                                                                    economic sanctions              and prohibitions
                                                                                                                          prohibitions promulgated
                                                                                                                                                promulgated by        by
                                                 any
                                                 any U.S.
                                                       U.S.governmental
                                                             governmental agency      agency or   orengages
                                                                                                       engages in   in conduct
                                                                                                                        conduct that  that adversely
                                                                                                                                              adversely affectsaffects
                                                 our
                                                 our customers,
                                                      customers, employees,                business,or
                                                                        employees, business,               or any
                                                                                                               any other
                                                                                                                     other person(s),
                                                                                                                               person(s), or     or that
                                                                                                                                                     that interferes
                                                                                                                                                             interferes
                                                 with our operations, network, reputation, or ability to provide quality service;
                                                 with   our  operations,        network,       reputation,        or  ability    to   provide      quality      service;
                                                 (f)
                                                 (f) tampers
                                                     tampers withwith or  or modifies
                                                                               modifies your your wireless
                                                                                                     wireless device;
                                                                                                                   device; (g) (g) engages
                                                                                                                                     engages in    in"spamming"
                                                                                                                                                       "spamming"
                                                 or
                                                 or other
                                                     other abusive
                                                             abusive or    or unsolicited        communications; (h)
                                                                               unsolicited communications;                    (h) resells
                                                                                                                                    resells Metro
                                                                                                                                              Metro by    by T-T-
                                                 Mobile
                                                 Mobile wireless         devicesfor
                                                           wireless devices            forprofit,
                                                                                           profit, or  or tampers
                                                                                                          tampers with, with, reprograms
                                                                                                                                 reprograms or        or alters
                                                                                                                                                          alters




                                                                                                                                                                             Feedback
                                                 wireless devices
                                                 wireless   devices for   for the
                                                                               the purpose
                                                                                      purpose of    of reselling
                                                                                                        reselling the the wireless
                                                                                                                            wireless device;
                                                                                                                                           device;(i)   (i) installs,
                                                                                                                                                            installs,         CD
                                                                                                                                                                              CD
                                                 deploys    or  uses     any   regeneration           equipment
                                                 deploys or uses any regeneration equipment or similar mechanism (for   or similar      mechanism           (for              0-
                                                 example,
                                                 example, a   a repeater)
                                                                 repeater) to     to originate,
                                                                                      originate, amplify,
                                                                                                      amplify, enhance,             retransmit or
                                                                                                                    enhance, retransmit               orregenerate
                                                                                                                                                           regenerate
                                                                                                                                                                              0
                                                 an
                                                 an RF
                                                     RF signal
                                                          signal without
                                                                   without our   our permission;
                                                                                        permission; (j)   (j) steals    from or
                                                                                                               steals from       or lies
                                                                                                                                      lies to
                                                                                                                                            to us;
                                                                                                                                                us; (k)
                                                                                                                                                      (k) interferes
                                                                                                                                                            interferes
                                                 with our
                                                 with   our operations;
                                                             operations; (I)    (l) fails
                                                                                      failstoto follow
                                                                                                 follow ourourPolicies;
                                                                                                                  Policies; (m) (m) provides
                                                                                                                                       provides false,false,
                                                 inaccurate,     datedor
                                                 inaccurate, dated           or unverifiable
                                                                                unverifiable identification
                                                                                                     identificationor      or credit
                                                                                                                                credit information;
                                                                                                                                          information; (n)      (n)
                                                 modifies
                                                 modifies a  a wireless       devicefrom
                                                                wireless device           from itsits manufacturer
                                                                                                       manufacturer specifications;
                                                                                                                              specifications; (o)      (o) fails
                                                                                                                                                             fails to
                                                                                                                                                                   to
                                                 use  our Services
                                                 use our    Services for  for an
                                                                               an extended
                                                                                     extended period periodof   oftime;
                                                                                                                    time;(p) (p) fails
                                                                                                                                   fails to
                                                                                                                                          to maintain
                                                                                                                                              maintain an     an
                                                 active   wireless device
                                                 active wireless       device in    in connection
                                                                                        connection with   with thethe Service;
                                                                                                                        Service; (q)   (q) attempts
                                                                                                                                            attempts to     to
                                                 transfer Service
                                                 transfer    Service to   to another       person without
                                                                              another person           without our   our consent;
                                                                                                                          consent; (r)    (r) misuses
                                                                                                                                              misuses your   your
                                                 Service or
                                                 Service    or wireless
                                                                wireless device;
                                                                              device; (s) (s) uses
                                                                                               uses your
                                                                                                       your Service
                                                                                                               Service or  or wireless
                                                                                                                                wireless device
                                                                                                                                              device in   in aa
                                                 manner
                                                 manner thatthat is is excessive
                                                                       excessive or     or unusually
                                                                                           unusually burdensome;
                                                                                                            burdensome; (t)        (t) uses
                                                                                                                                        uses your
                                                                                                                                               your service
                                                                                                                                                        service
                                                 other
                                                 other than predominantly on our networks; (u) uses our Service in a
                                                         than    predominantly            on  our    networks;       (u)  uses     our    Service      in a way
                                                                                                                                                              way that
                                                                                                                                                                    that
                                                 exceeds
                                                 exceeds our our stated
                                                                   statedPolicies
                                                                               Policiesfor  foruse;
                                                                                                  use;or or (v)
                                                                                                             (v) assists
                                                                                                                  assists or or facilitates
                                                                                                                                  facilitates anyone
                                                                                                                                                   anyone else        in
                                                                                                                                                                else in
                                                 any
                                                 any ofof the
                                                          the above        activities. You
                                                                above activities.          You agree
                                                                                                  agree thatthatyou,you, any
                                                                                                                           any user
                                                                                                                                  user of of your
                                                                                                                                              your wireless
                                                                                                                                                       wireless
                                                 device
                                                 device or or any
                                                              any account
                                                                     accountmanager manageron      onyour
                                                                                                        your account
                                                                                                               accountwon't  won't(1)   (1) install,
                                                                                                                                            install, deploy,
                                                                                                                                                        deploy, or   or
                                                 use  any regeneration
                                                 use any    regeneration equipment equipmentor       orsimilar
                                                                                                         similar mechanism
                                                                                                                    mechanism (for      (for example,
                                                                                                                                              example, a       a
                                                 repeater)
                                                 repeater) to  to originate,
                                                                   originate, amplify,
                                                                                    amplify, enhance,            retransmit or
                                                                                                  enhance, retransmit              or regenerate
                                                                                                                                        regenerate a      a
                                                 transmitted RF
                                                 transmitted      RF signal,
                                                                         signal, unless
                                                                                     unless authorized
                                                                                               authorized by     by Us;
                                                                                                                      Us; (2)
                                                                                                                            (2) threaten,
                                                                                                                                  threaten, harass,
                                                                                                                                                  harass, abuse,
                                                                                                                                                               abuse,
                                                 offend
                                                 offend or or use    vulgar and/or
                                                              use vulgar                    inappropriate language
                                                                                and/or inappropriate               language toward toward our  our
                                                 representatives
                                                 representatives or       or any
                                                                              any person
                                                                                     person whomwhom you  you call
                                                                                                                 call oror contact
                                                                                                                            contact using using ourour Service;
                                                                                                                                                          Service; (3) (3)
                                                 interfere    with our
                                                 interfere with      our operations;
                                                                             operations; (4)         "spam," or
                                                                                               (4) "spam,"         orengage
                                                                                                                       engage in    in other
                                                                                                                                        other abusive
                                                                                                                                                  abusive
                                                 messaging
                                                 messaging or    or calling;
                                                                     calling; (5)       modify your
                                                                                  (5) modify       your wireless
                                                                                                           wireless device
                                                                                                                         device from from itsits manufacturer's
                                                                                                                                                   manufacturer's
                                                 specifications; or
                                                 specifications;       or (6)    use your
                                                                            (6) use     your Service
                                                                                               Service in   in aa way
                                                                                                                   waythatthat negatively
                                                                                                                                  negatively affectsaffects our our
                                                 network
                                                 network or  or other
                                                                 other customers.
                                                                            customers. We     Wecan canalsoalsotemporarily
                                                                                                                  temporarily limit   limit your
                                                                                                                                              your Service
                                                                                                                                                       Service for for
                                                 any
                                                 any operational
                                                       operational or     or governmental
                                                                              governmental reason;   reason; or   orififwe
                                                                                                                         wehavehavereason
                                                                                                                                        reasonto    tobelieve
                                                                                                                                                        believe thatthat
                                                 you are
                                                 you   are using
                                                            using ourour Service
                                                                             Service for for any
                                                                                              anyfraudulent,
                                                                                                     fraudulent,obscene,               illegal, harassing,
                                                                                                                        obscene, illegal,          harassing,
                                                 commercial
                                                 commercial or    or abusive
                                                                       abusive purpose,
                                                                                     purpose, such such as as for
                                                                                                                for the
                                                                                                                      the transmission
                                                                                                                           transmission of        of ororaccess
                                                                                                                                                           access to to
                                                 pornography         or  other     services     or   materials      that
                                                 pornography or other services or materials that are obscene, cater to a   are    obscene,        cater    to   a
                                                 prurient
                                                 prurient interest
                                                             interest in   in sex,
                                                                               sex, arearepatently
                                                                                            patently offensive
                                                                                                          offensive or   or are
                                                                                                                              are without
                                                                                                                                     without redeeming
                                                                                                                                                  redeeming
                                                 social value,
                                                 social  value, or or ififwewebelieve
                                                                                 believe the the action
                                                                                                   action protects
                                                                                                              protects our  our interests,
                                                                                                                                   interests, any  any customer's
                                                                                                                                                          customer's
                                                 interests
                                                 interests or or our
                                                                  our network.
                                                                        network. Metro  Metro by   by T-Mobile
                                                                                                        T-Mobile is    is not
                                                                                                                          not required
                                                                                                                                 required to    to provide
                                                                                                                                                    provide you   you

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                                                18/25
                                                                                                                                                                             18/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 33 of 39
                                                                                         MetroPCS.com
                                                 with any
                                                 with any notification
                                                          notification before suspending,restricting,
                                                                       before suspending, restricting,or
                                                                                                      or terminating
                                                                                                         terminating your
                                                                                                                     your
                                                 Service. We
                                                 Service. We may
                                                             may impose usageor
                                                                 impose usage or other
                                                                                 other limits
                                                                                       limits to your Service,
                                                                                              to your Service, suspend your
                                                                                                               suspend your
                                                 Service, or
                                                 Service, or exclude
                                                             exclude certain
                                                                     certain types
                                                                             types of
                                                                                   of calls,
                                                                                      calls, messages or sessions
                                                                                             messages or sessions (such
                                                                                                                  (such as
                                                                                                                        as
                                                 international,
                                                 international, 900  or 976
                                                                900 or  976calls),
                                                                            calls),in
                                                                                    in our
                                                                                       our sole discretion and
                                                                                           sole discretion and without
                                                                                                               without notice.
                                                                                                                       notice.If
                                                                                                                               If
                                                 you promptly
                                                 you promptly pay
                                                              pay amounts
                                                                  amounts that are overdue
                                                                          that are         or cure
                                                                                   overdue or cure any
                                                                                                   any other
                                                                                                       other breach
                                                                                                             breach of
                                                                                                                    of this
                                                                                                                       this
                                                 Agreement, Metro
                                                 Agreement, Metro by
                                                                  by T-Mobile,
                                                                     T-Mobile, in
                                                                               in its
                                                                                   its sole
                                                                                       sole discretion,
                                                                                            discretion, may
                                                                                                        may reconnect your
                                                                                                            reconnect your
                                                 Service after
                                                 Service after you
                                                               you have
                                                                   have paid
                                                                        paid any
                                                                             anyreconnection
                                                                                 reconnection fees we have
                                                                                              fees we have imposed.
                                                                                                           imposed. In
                                                                                                                    In
                                                 addition, you may
                                                 addition, you  may terminate   Service at
                                                                     terminate Service  at any
                                                                                           any time
                                                                                               time by
                                                                                                    by notifying
                                                                                                       notifyingus
                                                                                                                 us in
                                                                                                                     in writing
                                                                                                                        writing at
                                                                                                                                at
                                                 the address  listed in Section 16 "Notices".
                                                 the address listed in Section 16 "Notices".

                                                 19. ** Intellectual
                                                 19.    Intellectual Property.
                                                                     Property. You
                                                                               You agree
                                                                                   agree not to infringe,
                                                                                         not to infringe, misappropriate,
                                                                                                          misappropriate, dilute
                                                                                                                          dilute
                                                 or
                                                 or otherwise
                                                    otherwise violate the intellectual
                                                              violate the intellectualproperty
                                                                                       property rights
                                                                                                rights or
                                                                                                       or goodwill of Metro
                                                                                                          goodwill of Metro by
                                                                                                                            by
                                                 T-Mobile or
                                                 T-Mobile or any
                                                             any third
                                                                 thirdparty.
                                                                       party.Except
                                                                              Exceptfor
                                                                                     foraalimited
                                                                                            limitedlicense
                                                                                                     licenseto
                                                                                                             touse
                                                                                                                use the
                                                                                                                     the Services
                                                                                                                         Services
                                                 or
                                                 or wireless
                                                    wireless devices    arising from
                                                              devices arising    from thethe sale    of a
                                                                                               sale of  a product,
                                                                                                          product, your
                                                                                                                     your purchase
                                                                                                                            purchase of of Metro
                                                                                                                                           Metro
                                                 by
                                                 by T-Mobile
                                                     T-Mobile wireless
                                                                 wireless devices
                                                                           devices and
                                                                                     and Services
                                                                                             Services does     not grant
                                                                                                         does not  grant you
                                                                                                                           you any
                                                                                                                                 any license   or
                                                                                                                                      license or
                                                 right to copy,  modify,    reverse   engineer,      download,    redistribute,
                                                 right to copy, modify, reverse engineer, download, redistribute, or resell the    or resell the
                                                 intellectual  property of
                                                 intellectual property     of Metro
                                                                              Metro by by T-Mobile
                                                                                            T-Mobile or   orothers
                                                                                                             othersrelated
                                                                                                                     related toto the
                                                                                                                                   the Services
                                                                                                                                       Services
                                                 and
                                                 and Metro
                                                      Metro byby T-Mobile
                                                                  T-Mobile wireless
                                                                              wireless devices
                                                                                           devices (or(or other
                                                                                                           other wireless
                                                                                                                 wireless devices),
                                                                                                                             devices), which
                                                                                                                                        which
                                                 may
                                                 may bebe used  only with
                                                          used only    with Metro
                                                                             Metro by by T-Mobile
                                                                                           T-Mobile Service
                                                                                                         Service unless
                                                                                                                  unless expressly
                                                                                                                           expressly
                                                 authorized
                                                 authorized inin writing
                                                                 writing byby Metro
                                                                               Metro by by T-Mobile.
                                                                                             T-Mobile. You You agree
                                                                                                                agree that
                                                                                                                        that aa violation
                                                                                                                                violation of
                                                                                                                                           of this
                                                                                                                                              this
                                                 Section  harms    Metro   by  T-Mobile,      which    cannot   be fully
                                                 Section harms Metro by T-Mobile, which cannot be fully redressed by      redressed     by
                                                 money   damages, and
                                                 money damages,       and that
                                                                            that Metro
                                                                                 Metro by   by T-Mobile
                                                                                                 T-Mobile shall
                                                                                                             shallbe
                                                                                                                   beentitled
                                                                                                                       entitled toto immediate
                                                                                                                                     immediate
                                                 injunctive
                                                 injunctive relief
                                                             relief in
                                                                    in addition
                                                                        addition toto all
                                                                                       all other
                                                                                            other remedies     available. In
                                                                                                    remedies available.     In conjunction
                                                                                                                                conjunction
                                                 with our
                                                 with  our rights
                                                           rights under
                                                                   under Section
                                                                           Section 18,18, it
                                                                                           it is
                                                                                              is Metro
                                                                                                 Metro byby T-Mobile’s     policy, in
                                                                                                             T-Mobile's policy,     in
                                                 appropriate
                                                 appropriate circumstances
                                                                circumstances and  and inin its
                                                                                             its sole
                                                                                                  sole judgment,
                                                                                                       judgment, to to suspend,
                                                                                                                       suspend, or  or terminate
                                                                                                                                       terminate
                                                 the Service
                                                 the Service ofof any
                                                                  any subscriber,
                                                                       subscriber, account         holder or
                                                                                       account holder       or user
                                                                                                               user who
                                                                                                                     who is isdeemed
                                                                                                                               deemed to to be
                                                                                                                                            be aa




                                                                                                                                                     Feedback
                                                 repeat  or blatant
                                                 repeat or            infringer of
                                                            blatant infringer     of copyrights.
                                                                                     copyrights.                                                      CD
                                                                                                                                                      CD
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                                                 20. Digital
                                                 20. Digital Millennium
                                                             Millennium Copyright
                                                                        Copyright Act
                                                                                  Act ("DMCA")
                                                                                      CDMCA")Notice.
                                                                                               Notice. If
                                                                                                        Ifyou
                                                                                                           youbelieve
                                                                                                               believe that
                                                                                                                       that
                                                                                                                                                      0
                                                 material
                                                 material residing
                                                           residing onon our
                                                                         our system
                                                                             system or
                                                                                     or network
                                                                                        network infringes
                                                                                                 infringes the
                                                                                                             the copyright
                                                                                                                 copyright ofof you
                                                                                                                                you or
                                                                                                                                     or
                                                 any
                                                 any third
                                                     third party
                                                            partyforforwhom
                                                                        whomyouyouare
                                                                                   areauthorized
                                                                                       authorizedtoto act,
                                                                                                      act, notify
                                                                                                            notify us
                                                                                                                   us by
                                                                                                                      by using
                                                                                                                          using the
                                                                                                                                 the
                                                 notice procedure under
                                                 notice procedure     under the
                                                                             the DMCA
                                                                                  DMCAand anddescribed
                                                                                               describedat athttps://www.t-
                                                                                                              https://www.t-
                                                 mobile.com/Company/CompanyInfo.aspx?
                                                 mobile.com/Company/CompanyInfo.aspx?
                                                 tp=Abt_Tab_ConsumerInfo&tsp=Abt_Sub_CopyrightDMCA
                                                 tp=Abt  Tab_ConsumerInfo&tsp=Abt_Sub_CopyrightDMCAand                 andhttp://es.t-
                                                                                                                            http://es.t-
                                                 mobile.com/DMCA.htm
                                                 mobile.com/DMCA.htm for      for T-Mobile’s
                                                                                  T-Mobile's Spanish
                                                                                              Spanish website.
                                                                                                        website. After
                                                                                                                  After receiving
                                                                                                                         receiving
                                                 notice, we may
                                                 notice, we  may remove
                                                                   remove oror disable
                                                                               disable access
                                                                                       accesstotoany
                                                                                                  anyinfringing
                                                                                                       infringing material
                                                                                                                   material as
                                                                                                                             as
                                                 provided   for in
                                                 provided for   in the
                                                                    the DMCA.
                                                                        DMCA.There
                                                                                 Thereare
                                                                                        aresubstantial
                                                                                            substantialpenalties
                                                                                                         penalties for
                                                                                                                    forsending
                                                                                                                        sending false
                                                                                                                                  false
                                                 notices.
                                                 notices.

                                                 21. ** Privacy
                                                 21.    Privacy Information;
                                                                 Information;CPNI.
                                                                              CPNI.Our
                                                                                    OurPrivacy
                                                                                        PrivacyPolicy
                                                                                                Policydescribes
                                                                                                       describeshow
                                                                                                                 howwe
                                                                                                                    wecollect,
                                                                                                                       collect,
                                                 use and share
                                                 use and    share information
                                                                    information related
                                                                                  related to to your
                                                                                                your use   of our
                                                                                                      use of   our Service
                                                                                                                    Service andand is
                                                                                                                                    is available
                                                                                                                                       available
                                                 online
                                                 online at
                                                         at metropcs.com/terms-conditions/privacy
                                                             metropcs.com/terms-conditions/privacy (https://www.metrobyt-
                                                                                                                   (https://www.metrobyt-
                                                 mobile.com/terms-conditions/privacy.html).
                                                 mobile.com/terms-conditions/privacy.html). We             We maymay change
                                                                                                                        change ourour Privacy
                                                                                                                                       Privacy
                                                 Policy
                                                 Policy at
                                                         at any
                                                             any time
                                                                  time toto provide  updatesto
                                                                            provide updates      toor
                                                                                                    or clarification
                                                                                                       clarification of  of our
                                                                                                                            our practices.    You
                                                                                                                                 practices. You
                                                 should refer
                                                 should   refer to   our Privacy
                                                                 to our   PrivacyPolicy
                                                                                   Policy often
                                                                                             often for
                                                                                                   for the
                                                                                                        the latest
                                                                                                             latest information
                                                                                                                     information and  and the
                                                                                                                                           the
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                                                 effective date      ofany
                                                                        anychanges.
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                                                                                           providing service
                                                                                                       service to to you,
                                                                                                                      you, Metro
                                                                                                                            Metro by by T-
                                                                                                                                         T-
                                                 Mobile
                                                 Mobile will
                                                          will receive    information classified
                                                                receive information                  as "customer
                                                                                         classified as   "customer proprietary
                                                                                                                        proprietary network
                                                                                                                                        network
                                                 information"
                                                 information" or   or“CPNI”
                                                                       "CPNI"under
                                                                                underfederal
                                                                                         federallaw
                                                                                                  lawthat
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                                                                                                                 consideredconfidential,
                                                                                                                               confidential,
                                                 such as
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                                                           information regarding
                                                                           regarding your
                                                                                       yourusage
                                                                                               usageofofthe
                                                                                                          the Service,
                                                                                                               Service, thethe technical
                                                                                                                                technical
                                                 configuration
                                                 configuration of   of such
                                                                        such Service,
                                                                             Service, the
                                                                                       the destination
                                                                                             destination of of telephone      calls you
                                                                                                                telephone calls      you make
                                                                                                                                          make
                                                 and  the   type  of  services you  purchase.     Metro    by  T-Mobile
                                                 and the type of services you purchase. Metro by T-Mobile may use this       may  use   this
                                                 information
                                                 information for forcertain
                                                                      certainpurposes
                                                                               purposes without
                                                                                           without further
                                                                                                     furtherdisclosure
                                                                                                                disclosure or orconsent,
                                                                                                                                  consent,
                                                 including
                                                 including the     following: to
                                                              the following:      provide you
                                                                               to provide     you with
                                                                                                  with Service;
                                                                                                         Service; to to market
                                                                                                                         market service
                                                                                                                                   service
                                                 offerings
                                                 offerings toto you
                                                                you related
                                                                       related to the Services
                                                                               to the  Services youyou purchase;
                                                                                                        purchase; or   or to
                                                                                                                          to protect
                                                                                                                              protect you,
                                                                                                                                        you,
                                                 other  Metro by
                                                 other Metro     by T-Mobile
                                                                      T-Mobile users,
                                                                                 users, Metro
                                                                                         Metro by by T-Mobile
                                                                                                     T-Mobile and  and other
                                                                                                                         othercarriers
                                                                                                                                 carriers from
                                                                                                                                           from
                                                 fraud, abuse
                                                 fraud,  abuse or or unlawful
                                                                      unlawfuluse
                                                                                use of
                                                                                     of its
                                                                                         its Service,
                                                                                             Service, and
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                                                                                                                 aggregate not not personally
                                                                                                                                    personally
                                                 identifiable   form to
                                                 identifiable form      to provide
                                                                           provide other     Services. Metro
                                                                                    other Services.     Metro by  by T-Mobile
                                                                                                                      T-Mobile alsoalso may
                                                                                                                                         may
                                                 share such
                                                 share  such information
                                                               information with
                                                                              with its
                                                                                    its affiliates,
                                                                                        affiliates, contractors,      dealers, and
                                                                                                    contractors, dealers,        and third
                                                                                                                                       third party
                                                                                                                                             party

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                        19/25
                                                                                                                                                     19/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 34 of 39
                                                                                         MetroPCS.com
                                                 agents  for the
                                                 agents for       limited purpose
                                                             the limited     purpose of  of making
                                                                                            making available
                                                                                                      available toto you
                                                                                                                     you communications-
                                                                                                                           communications-
                                                 related  offers and
                                                 related offers   and information
                                                                        information that that may
                                                                                               may be
                                                                                                    be of
                                                                                                        of interest
                                                                                                            interest to
                                                                                                                      to you.
                                                                                                                         you. You
                                                                                                                              You have
                                                                                                                                    have the
                                                                                                                                          the
                                                 right
                                                 right under
                                                        under federal
                                                               federal lawlawtoto request
                                                                                   request Metro
                                                                                              Metro by
                                                                                                     by T-Mobile
                                                                                                          T-Mobile notnot to
                                                                                                                          to disclose   your
                                                                                                                             disclose your
                                                 confidential   information for
                                                 confidential information        for the
                                                                                      the purpose
                                                                                           purpose ofof mailing
                                                                                                         mailingcommunications-related
                                                                                                                   communications-related
                                                 offers,
                                                 offers, and
                                                         and Metro
                                                              Metro by by T-Mobile
                                                                            T-Mobile has has the
                                                                                              the duty
                                                                                                  duty to    honor any
                                                                                                         to honor   any such
                                                                                                                         such request.    You
                                                                                                                               request. You
                                                 may
                                                 may "opt
                                                       "opt out"
                                                            out"of ofdisclosure
                                                                      disclosure of of your
                                                                                        your CPNI
                                                                                               CPNI toto Metro
                                                                                                          Metro by
                                                                                                                 by T-Mobile
                                                                                                                     T-Mobile affiliates
                                                                                                                                 affiliates and
                                                                                                                                            and
                                                 third party
                                                 third  partyagents
                                                              agents forfor the
                                                                             the purpose
                                                                                  purpose of  of mailing
                                                                                                 mailing communications
                                                                                                           communications related
                                                                                                                               related offers
                                                                                                                                         offers
                                                 by
                                                 by sending
                                                    sending aa request
                                                                 request in in writing
                                                                               writing to:to: P.O.
                                                                                              P.O.Box
                                                                                                   Box601119,
                                                                                                          601119,Dallas,
                                                                                                                   Dallas,Texas
                                                                                                                             Texas75360-
                                                                                                                                    75360-
                                                 1119. Opting out will not affect Metro by T-Mobile'sprovision of Service to
                                                 1119. Opting   out  will  not  affect  Metro    by T-Mobile'sprovision       of Service   to
                                                 you. Additional
                                                 you.               information regarding
                                                       Additional information        regarding ourour use
                                                                                                       use ofof CPNI
                                                                                                                CPNI and
                                                                                                                       and other
                                                                                                                            other subscriber
                                                                                                                                   subscriber
                                                 information
                                                 information isis set
                                                                   set forth
                                                                       forth in
                                                                              in our
                                                                                  our Privacy
                                                                                       PrivacyPolicy,
                                                                                                  Policy,which
                                                                                                           whichwe we incorporate
                                                                                                                       incorporate herein
                                                                                                                                     herein byby
                                                 reference.
                                                 reference.

                                                 22. ** Disclaimer
                                                 22.    Disclaimer of
                                                                   of Warranties:
                                                                      Warranties:Wireless
                                                                                  WirelessDevices,
                                                                                           Devices,Accessories,
                                                                                                   Accessories, and
                                                                                                                and Retailed
                                                                                                                    Retailed
                                                 Equipment.    METRO BY
                                                 Equipment. METRO      BY T-MOBI
                                                                           T-MOBILELEDOES
                                                                                      DOES NOT
                                                                                             NOT MANUFACTURE
                                                                                                   MANUFACTURE
                                                 WIRELESS
                                                 WIRELESS DEVICES
                                                               DEVICES OROR RELATED
                                                                             RELATEDACCESSORY
                                                                                       ACCESSORY EQUIPMENT.
                                                                                                     EQUIPMENT. YOURYOUR
                                                 WIRELESS
                                                 WIRELESS DEVICES
                                                             DEVICES ANDAND RELATED
                                                                             RELATEDACCESSORY
                                                                                         ACCESSORY EQUIPMENT
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                                                 WITH
                                                 WITH AA SEPARATE     WRITTEN LIMITED
                                                         SEPARATE WRITTEN        LIMITED WARRANTY
                                                                                           WARRANTY FROM      THE
                                                                                                         FROM THE
                                                 MANUFACTURER.        STATEMENTS BY
                                                 MANUFACTURER. STATEMENTS           BY METRO
                                                                                        METRO BYBY T-MOBILE
                                                                                                   T-MOBILE OR    METRO
                                                                                                               OR METRO
                                                 BY
                                                 BY T-MOBILE
                                                    T-MOBILE EMPLOYEES
                                                                EMPLOYEES AND AND AGENTS      REGARDING THE
                                                                                    AGENTS REGARDING        THE WIRELESS
                                                                                                                WIRELESS
                                                 DEVICES
                                                 DEVICES OROR RELATED
                                                              RELATEDACCESSORY
                                                                          ACCESSORY EQUIPMENT
                                                                                         EQUIPMENT SHOULD
                                                                                                       SHOULD NOT
                                                                                                                NOT BE
                                                                                                                    BE
                                                 INTERPRETED
                                                 INTERPRETED AS  AS A
                                                                    A WARRANTY
                                                                       WARRANTY BY  BY METRO
                                                                                        METRO BYBY T-MOBILE.
                                                                                                   T-MOBILE. METRO    BY
                                                                                                               METRO BY
                                                 T-MOBILE MAKES
                                                 T-MOBILE   MAKES NO  NO REPRESENTATIONS
                                                                         REPRESENTATIONS OR    OR WARRANTIES,
                                                                                                   WARRANTIES,
                                                 EXPRESS
                                                 EXPRESS OROR IMPLIED,
                                                               IMPLIED, ABOUT
                                                                          ABOUT YOUR
                                                                                   YOUR WIRELESS
                                                                                          WIRELESS DEVICES
                                                                                                     DEVICES OROR ANY
                                                                                                                  ANY
                                                 RELATED
                                                 RELATEDACCESSORY
                                                            ACCESSORY EQUIPMENT,
                                                                          EQUIPMENT, INCLUDING,
                                                                                          INCLUDING, WITHOUT
                                                                                                       WITHOUT
                                                 LIMITATION,
                                                 LIMITATION,ANYANY IMPLIED
                                                                     IMPLIEDWARRANTY
                                                                               WARRANTY OF      MERCHANTABILITY OR
                                                                                            OF MERCHANTABILITY      OR




                                                                                                                                                   Feedback
                                                                                                                                                    -n
                                                 FITNESS
                                                 FITNESS FOR
                                                          FORA  A PARTICULAR
                                                                  PARTICULAR PURPOSE.        THIS DISCLAIMER
                                                                                 PURPOSE. THIS    DISCLAIMER DOES
                                                                                                                DOES NOT
                                                                                                                     NOT                            CD
                                                                                                                                                    CD
                                                                                                                                                    0_
                                                 DEPRIVE
                                                 DEPRIVE YOU
                                                           YOU OFOF ANY
                                                                    ANY RIGHTS
                                                                          RIGHTS YOU
                                                                                   YOU MAY
                                                                                         MAY HAVE
                                                                                              HAVE AGAINST
                                                                                                    AGAINST THE
                                                                                                              THE
                                                 MANUFACTURER.
                                                 MANUFACTURER. WITHOUTWITHOUTLIMITATION,
                                                                                 LIMITATION,METRO
                                                                                               METROBY  BYT-MOBI
                                                                                                           T-MOBILE WILL
                                                                                                                 LE WILL                            C)
                                                 NOT  BE LIABLE
                                                 NOT BE  LIABLE TO TO YOU
                                                                       YOU IN
                                                                           IN CONNECTION
                                                                              CONNECTION WITH: WITH:(1)
                                                                                                     (1) THE
                                                                                                         THE
                                                 MANUFACTURER'S
                                                 MANUFACTURER'S WARRANTY;
                                                                       WARRANTY;(2)  (2) ANY
                                                                                         ANYACTIONS
                                                                                              ACTIONSOR  OROMISSIONS
                                                                                                            OMISSIONS OF
                                                                                                                       OF
                                                 THE MANUFACTURER;
                                                 THE MANUFACTURER; OR     OR (3)
                                                                              (3) ANY
                                                                                  ANY MALFUNCTION
                                                                                       MALFUNCTION OR    OR FAILURE
                                                                                                            FAILURE OF
                                                                                                                    OF
                                                 THE WIRELESS
                                                 THE WIRELESS DEVICE
                                                                  DEVICE OROR RELATED
                                                                               RELATEDACCESSORY
                                                                                           ACCESSORY EQUIPMENT.
                                                                                                         EQUIPMENT.

                                                 Disclaimer of Warranties:
                                                 Disclaimer of Warranties: Services.
                                                                            Services.METRO
                                                                                      METROBY BY T-MOBILE
                                                                                                  T-MOBILE AND
                                                                                                             AND ITS
                                                                                                                  ITS
                                                 VENDORS
                                                 VENDORS AND ANDSUPPLIERS
                                                                  SUPPLIERS("METRO
                                                                                ("METROBY  BYT-MOBILE
                                                                                              T-MOBILEPARTIES")
                                                                                                          PARTIES") MAKE
                                                                                                                     MAKE
                                                 NO  WARRANTIES, EXPRESS
                                                 NO WARRANTIES,      EXPRESS OR  OR IMPLIED,
                                                                                     IMPLIED, INCLUDING
                                                                                                INCLUDING WITHOUT
                                                                                                             WITHOUT
                                                 LIMITATION,
                                                 LIMITATION,ANY ANY IMPLIED
                                                                     IMPLIEDWARRANTY
                                                                                WARRANTY OF      MERCHANTABILITY OR
                                                                                              OF MERCHANTABILITY        OR
                                                 FITNESS
                                                 FITNESS FOR
                                                           FOR AA PARTICULAR
                                                                  PARTICULARPURPOSE,
                                                                                   PURPOSE, TO TO YOU
                                                                                                   YOU IN
                                                                                                        INCONNECTION
                                                                                                           CONNECTION
                                                 WITH,
                                                 WITH, ARISING
                                                        ARISING OUT
                                                                  OUT OF,
                                                                       OF, OR    RELATING TO
                                                                             OR RELATING     TO YOUR
                                                                                                 YOUR USE
                                                                                                       USE OF   THE
                                                                                                             OF THE
                                                 SERVICE. YOU
                                                 SERVICE.        ACKNOWLEDGETHAT
                                                            YOU ACKNOWLEDGE           THAT SERVICE
                                                                                            SERVICE INTERRUPTIONS
                                                                                                      INTERRUPTIONS WILL  WILL
                                                 OCCUR    FROMTIME
                                                 OCCUR FROM      TIME TO
                                                                       TO TIME
                                                                            TIME AND    AGREE TO
                                                                                  AND AGREE     TO HOLD
                                                                                                    HOLD THE
                                                                                                           THE METRO
                                                                                                               METRO BY  BY T-
                                                                                                                            T-
                                                 MOBILE
                                                 MOBILE PARTIES
                                                          PARTIES HARMLESS
                                                                    HARMLESS FOR   FOR ALL
                                                                                        ALLSUCH
                                                                                             SUCH INTERRUPTIONS.
                                                                                                    INTERRUPTIONS. IN  IN NO
                                                                                                                          NO
                                                 EVENT
                                                 EVENT SHALL
                                                         SHALL METRO
                                                                 METRO BYBY T-MOBILE
                                                                              T-MOBILE PARTIES
                                                                                          PARTIES BEBE LIABLE
                                                                                                       LIABLE FOR
                                                                                                               FOR
                                                 ECONOMIC
                                                 ECONOMIC LOSS,LOSS, PERSONAL
                                                                      PERSONAL INJURIES,
                                                                                    INJURIES, OR
                                                                                               OR PROPERTY
                                                                                                   PROPERTY DAMAGE
                                                                                                               DAMAGE
                                                 SUSTAINED BY
                                                 SUSTAINED     BY YOU
                                                                  YOU OR
                                                                       OR ANY
                                                                            ANY THIRD
                                                                                  THIRD PARTY
                                                                                         PARTY ARISING
                                                                                                  ARISINGFROM
                                                                                                            FROM USE
                                                                                                                  USE OFOF
                                                 THE SERVICE
                                                 THE  SERVICE OROR THIS
                                                                    THISAGREEMENT.
                                                                           AGREEMENT. WE   WE DO
                                                                                               DO NOT
                                                                                                   NOT GUARANTEE
                                                                                                        GUARANTEE THAT THAT
                                                 YOUR COMMUNICATIONS
                                                 YOUR   COMMUNICATIONSWILL      WILLBE BEPRIVATE
                                                                                         PRIVATE OR ORSECURE;
                                                                                                       SECURE;IT IT IS
                                                                                                                    IS
                                                 ILLEGAL
                                                 ILLEGALFOR FORUNAUTHORIZED
                                                                 UNAUTHORIZED PEOPLE PEOPLE TOTO INTERCEPT
                                                                                                  INTERCEPT YOUR
                                                                                                               YOUR
                                                 COMMUNICATIONS,
                                                 COMMUNICATIONS, BUT    BUT SUCH
                                                                              SUCH INTERCEPTIONS
                                                                                      INTERCEPTIONS CAN  CAN OCCUR.
                                                                                                              OCCUR.

                                                 23. ** Exclusive
                                                 23.              Remedy; Waivers
                                                        Exclusive Remedy; Waiversand
                                                                                  andLimitations
                                                                                      Limitationsof
                                                                                                 ofLiability.
                                                                                                    Liability. YOU
                                                                                                               YOU AGREE
                                                                                                                   AGREE
                                                 THAT YOUR
                                                 THAT    YOUR SOLE
                                                                 SOLE AND
                                                                      AND EXCLUSIVE
                                                                           EXCLUSIVE REMEDY
                                                                                        REMEDYFOR FOR (i)
                                                                                                       (i) OUR,
                                                                                                           OUR, OR
                                                                                                                 OR OUR
                                                                                                                    OUR
                                                 DEALER'S,
                                                 DEALER'S, AGENT'S,     REPRESENTATIVE'S, VENDOR'S,
                                                               AGENTS, REPRESENTATIVE'S,      VENDOR'S, SUPPLIER'S,
                                                                                                            SUPPLIER'S, OR
                                                                                                                        OR
                                                 OTHER
                                                 OTHER CARRIER'S
                                                           CARRIER'S FAILURE
                                                                       FAILURE TO
                                                                                TO PROVIDE
                                                                                    PROVIDE YOU     WITH SERVICE,
                                                                                              YOU WITH      SERVICE, OR
                                                                                                                     OR
                                                 METRO
                                                 METRO BY
                                                        BY T-MOBILE'S
                                                           T-MOBILE'S FAILURE
                                                                        FAILURETO
                                                                                TOPERFORM
                                                                                   PERFORM HEREUNDER    SHALL
                                                                                             HEREUNDER SHALL
                                                 BE
                                                 BE YOUR
                                                    YOUR RIGHT
                                                          RIGHT TOTO HAVE
                                                                     HAVE METRO
                                                                          METROBYBYT-MOBILE
                                                                                    T-MOBILERE-PERFORM
                                                                                              RE-PERFORM SUCH
                                                                                                          SUCH
                                                 SERVICE; OR
                                                 SERVICE;    (ii) UNLESS
                                                          OR (ii)        THE LAW
                                                                  UNLESS THE     FORBIDSIT
                                                                             LAW FORBIDS IT IN
                                                                                            IN ANY
                                                                                               ANY PARTICULAR
                                                                                                   PARTICULAR


https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                      20/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
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                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 35 of 39
                                                                                         MetroPCS.com
                                                 CASE ANY FAILURE,
                                                 CASE ANY FAILURE, MALFUNCTION, OR DEFECT
                                                                   MALFUNCTION, OR DEFECT RELATED
                                                                                          RELATED TO,
                                                                                                  TO,
                                                 ARISING OUT
                                                 ARISING OUT OF,
                                                             OF, OR IN CONNECTION
                                                                 OR IN            WITH ANY
                                                                       CONNECTION WITH ANY DEVICE,
                                                                                           DEVICE, HANDSET,
                                                                                                   HANDSET,
                                                 OR
                                                 OR OTHER
                                                     OTHER EQUIPMENT
                                                              EQUIPMENT OR    OR PRODUCT
                                                                                  PRODUCT SUPPLIED
                                                                                              SUPPLIED OR OR PROVIDED
                                                                                                              PROVIDED BY  BY
                                                 US, SHALL BE
                                                 US, SHALL   BE YOUR     RIGHT TO
                                                                 YOUR RIGHT      TO HAVE
                                                                                     HAVE METRO
                                                                                            METRO BY BY T-MOBILE
                                                                                                         T-MOBILE REPAIR,
                                                                                                                    REPAIR,
                                                 OR  HAVE REPAIRED,
                                                 OR HAVE    REPAIRED, REPLACE,
                                                                          REPLACE, OR OR HAVE
                                                                                          HAVE REPLACED,
                                                                                                  REPLACED, SUCHSUCH DEVICE,
                                                                                                                      DEVICE,
                                                 HANDSET,
                                                 HANDSET, OR OR OTHER
                                                                  OTHER EQUIPMENT
                                                                            EQUIPMENT OR  OR PRODUCT.      UNLESS THE
                                                                                              PRODUCT. UNLESS       THE
                                                 EXCLUSIVE
                                                 EXCLUSIVE REMEDY
                                                               REMEDY SET  SET FORTH
                                                                               FORTH IN INTHE
                                                                                           THEPREVIOUS
                                                                                                 PREVIOUS SENTENCE
                                                                                                             SENTENCE IS IS
                                                 PROHIBITED
                                                 PROHIBITED UNDER         APPLICABLE LAW,
                                                                 UNDER APPLICABLE        LAW, YOU
                                                                                                YOUAGREE
                                                                                                      AGREETO TOLIMIT
                                                                                                                  LIMIT
                                                 CLAIMS
                                                 CLAIMS FOR     DAMAGES OR
                                                          FOR DAMAGES         OROTHER
                                                                                 OTHERMONETARY
                                                                                          MONETARYRELIEF RELIEF AGAINST
                                                                                                                 AGAINST THETHE
                                                 METRO
                                                 METRO BYBY T-MOBILE
                                                             T-MOBILE PARTIES,
                                                                           PARTIES, OROR ANY
                                                                                          ANY SUPPLIER,
                                                                                                SUPPLIER, AGENT,
                                                                                                            AGENT, DEALER,
                                                                                                                     DEALER,
                                                 REPRESENTATIVE,
                                                 REPRESENTATIVE, CARRIER,
                                                                        CARRIER,VENDOR
                                                                                    VENDOR OR OR MANUFACTURER,
                                                                                                   MANUFACTURER, TO    TO THE
                                                                                                                           THE
                                                 LESSER
                                                 LESSER OF:
                                                          OF: (A)
                                                               (A) YOUR
                                                                   YOUR DIRECT
                                                                           DIRECT DAMAGES;
                                                                                    DAMAGES; OR   OR (B)
                                                                                                     (B) THE
                                                                                                         THE PRORATED
                                                                                                              PRORATED
                                                 MONTHLY
                                                 MONTHLY OR  OR OTHER
                                                                  OTHERCHARGES
                                                                            CHARGES YOU YOU PAID
                                                                                             PAID OROR OWE
                                                                                                        OWE USUS FOR
                                                                                                                 FOR THE
                                                                                                                      THE
                                                 APPLICABLE SERVICE
                                                 APPLICABLE      SERVICE OR  OR WIRELESS
                                                                                WIRELESS DEVICE
                                                                                             DEVICE FOR
                                                                                                      FOR ONE
                                                                                                            ONE MONTH'S
                                                                                                                 MONTH'S
                                                 SERVICE CHARGES.
                                                 SERVICE   CHARGES. AS   AS AA MATERIAL
                                                                               MATERIAL PARTPART OFOF THE
                                                                                                      THECONSIDERATION
                                                                                                           CONSIDERATION
                                                 PAID
                                                 PAID BY
                                                       BY YOU
                                                          YOU FOR      THE SERVICES
                                                                 FOR THE     SERVICES PROVIDED
                                                                                        PROVIDED BY  BY METRO
                                                                                                         METRO BY BY T-MOBILE
                                                                                                                     T-MOBILE
                                                 OR  ANY SUPPLIER,
                                                 OR ANY   SUPPLIER, AGENT,
                                                                        AGENT, DEALER,
                                                                                 DEALER, REPRESENTATIVE,
                                                                                            REPRESENTATIVE, CARRIER,
                                                                                                                  CARRIER,
                                                 VENDOR
                                                 VENDOR OR OR MANUFACTURER
                                                                MANUFACTUREROF        OFMETRO
                                                                                         METROBY   BY T-MOBILE,
                                                                                                      T-MOBILE, UNDER
                                                                                                                   UNDER THIS
                                                                                                                            THIS
                                                 AGREEMENT, AND
                                                 AGREEMENT,       AND NOTWITHSTANDING
                                                                        NOTWITHSTANDING ANY      ANY OTHER
                                                                                                      OTHER PROVISION
                                                                                                               PROVISION
                                                 HEREOF,
                                                 HEREOF, YOUYOU AGREE
                                                                  AGREE THATTHATUNDER
                                                                                  UNDER NO NO CIRCUMSTANCES
                                                                                               CIRCUMSTANCES ARE    ARE WE
                                                                                                                         WE
                                                 LIABLE
                                                 LIABLEFORFOR ANY
                                                                ANY INCIDENTAL,
                                                                      INCIDENTAL,CONSEQUENTIAL,            EXEMPLARY,
                                                                                      CONSEQUENTIAL, EXEMPLARY,
                                                 TREBLE, PUNITIVE
                                                 TREBLE,   PUNITIVEOR   OR SPECIAL
                                                                            SPECIALDAMAGES
                                                                                      DAMAGES OF   OF ANY
                                                                                                       ANY NATURE
                                                                                                            NATURE
                                                 WHATSOEVER
                                                 WHATSOEVER ARISINGARISING OUTOUT OF,   RELATED TO,
                                                                                   OF, RELATED      TO,OR
                                                                                                        ORININCONNECTION
                                                                                                               CONNECTION
                                                 WITH,
                                                 WITH, INCLUDING,
                                                        INCLUDING, BUT  BUT NOT
                                                                              NOT LIMITED
                                                                                   LIMITED TO,
                                                                                             TO,LOST
                                                                                                  LOSTPROFITS,
                                                                                                        PROFITS, LOSS
                                                                                                                   LOSS OF
                                                                                                                         OF
                                                 BUSINESS,
                                                 BUSINESS, OROR COST
                                                                  COST OF     REPLACEMENT PRODUCTS
                                                                         OF REPLACEMENT         PRODUCTS AND       SERVICES,
                                                                                                              AND SERVICES,
                                                 TO THE
                                                     THE FULLEST
                                                         FULLEST EXTENT
                                                                     EXTENT THETHESAME
                                                                                     SAME MAY
                                                                                            MAY BEBE DISCLAIMED
                                                                                                     DISCLAIMED BY  BY LAW.




                                                                                                                                             Feedback
                                                 TO                                                                    LAW.                   -n
                                                                                                                                              CD
                                                 THIS MEANS
                                                 THIS MEANS THATTHAT NEITHER
                                                                       NEITHER OF OF US  WILL SEEK
                                                                                      US WILL   SEEK ANY
                                                                                                       ANY INDIRECT,
                                                                                                            INDIRECT,                         CD
                                                                                                                                              0_
                                                 SPECIAL, CONSEQUENTIAL,
                                                 SPECIAL,   CONSEQUENTIAL, TREBLE,TREBLE, OR OR PUNITIVE
                                                                                                 PUNITIVE DAMAGES
                                                                                                             DAMAGES FROM
                                                                                                                        FROM
                                                                                                                                              0
                                                 THE OTHER.
                                                 THE  OTHER. THIS
                                                                THIS EXCLUSIVE
                                                                      EXCLUSIVE REMEDY,
                                                                                    REMEDY, LIMITATION
                                                                                               LIMITATIONAND  AND WAIVER
                                                                                                                   WAIVER
                                                 ALSO APPLIES
                                                 ALSO  APPLIES TO TO ANY
                                                                       ANY CLAIMS
                                                                             CLAIMS EITHER
                                                                                      EITHER PARTY
                                                                                               PARTY MAYMAY BRING
                                                                                                             BRING AGAINST
                                                                                                                     AGAINST
                                                 THE OTHER
                                                 THE  OTHER PARTY
                                                               PARTY TO TO THE
                                                                            THE EXTENT
                                                                                 EXTENT THAT
                                                                                           THATIT ITWOULD
                                                                                                     WOULDBE  BEREQUIRED
                                                                                                                 REQUIRED TO  TO
                                                 INDEMNIFY
                                                 INDEMNIFY THATTHAT PARTY
                                                                       PARTY FOR    SUCH CLAIM.
                                                                               FOR SUCH    CLAIM. THIS
                                                                                                    THIS LIMITATION
                                                                                                          LIMITATION ANDAND
                                                 WAIVER    WILL APPLY
                                                 WAIVER WILL               REGARDLESSOF
                                                                  APPLY REGARDLESS         OFTHE
                                                                                               THETHEORY
                                                                                                    THEORYOF  OFLIABILITY,
                                                                                                                  LIABILITY,
                                                 WHETHER
                                                 WHETHER FRAUD,
                                                             FRAUD, MISREPRESENTATION,
                                                                        MISREPRESENTATION, BREACH  BREACH OF OF CONTRACT,
                                                                                                                 CONTRACT,
                                                 PERSONAL     INJURY, NEGLIGENCE,
                                                 PERSONAL INJURY,        NEGLIGENCE,PRODUCT
                                                                                          PRODUCTLIABILITY,
                                                                                                      LIABILITY, OR
                                                                                                                  OR ANY
                                                                                                                      ANY
                                                 OTHER
                                                 OTHER THEORY.
                                                         THEORY. YOU YOU AGREE
                                                                            AGREE THAT
                                                                                    THAT THE
                                                                                           THEFOREGOING
                                                                                                 FOREGOING ALLOCATION
                                                                                                               ALLOCATION
                                                 OF  RISK SHALL,
                                                 OF RISK  SHALL, IN IN THE
                                                                       THE EVENT
                                                                             EVENT OF    METRO BY
                                                                                     OF METRO     BY T-MOBILE'S
                                                                                                     T-MOBILE'SINABILITY,
                                                                                                                   INABILITY,
                                                 DESPITE
                                                 DESPITE GOOD       FAITH EFFORTS,
                                                           GOOD FAITH       EFFORTS, TOTO PROVIDE
                                                                                           PROVIDE THE THE SERVICES
                                                                                                           SERVICES OR OR THE
                                                                                                                            THE
                                                 PRODUCTS,     REMAIN IN
                                                 PRODUCTS, REMAIN         IN EFFECT
                                                                              EFFECT REGARDLESS
                                                                                       REGARDLESS OF   OF WHETHER
                                                                                                           WHETHER THE THE
                                                 EXCLUSIVE
                                                 EXCLUSIVE REMEDIES
                                                               REMEDIES PROVIDED
                                                                             PROVIDED FOR      UNDER THIS
                                                                                         FOR UNDER      THIS SECTION
                                                                                                              SECTION THEN
                                                                                                                        THEN
                                                 SATISFY THE
                                                 SATISFY   THEESSENTIAL
                                                                 ESSENTIALPURPOSES
                                                                               PURPOSES FORFOR WHICH
                                                                                                 WHICHTHETY
                                                                                                          THETY WERE
                                                                                                                  WERE
                                                 INTENDED,
                                                 INTENDED, OR OR OTHERWISE
                                                                   OTHERWISE PROVIDE
                                                                                  PROVIDE YOUYOU WITH
                                                                                                    WITH AA FAIR
                                                                                                            FAIR QUANTUM
                                                                                                                  QUANTUM
                                                 OF  RELIEF.
                                                 OF RELIEF.

                                                 You agree
                                                 You         that neither
                                                      agree that  neither we
                                                                          wenor
                                                                              nor our
                                                                                   our vendors,   suppliers or
                                                                                       vendors, suppliers    or licensors
                                                                                                                 licensors are
                                                                                                                           are
                                                 responsible  for any
                                                 responsible for  any damages
                                                                      damagesresulting
                                                                                 resultingfrom:
                                                                                            from: (a)
                                                                                                   (a) any
                                                                                                       any action
                                                                                                           action oror omission
                                                                                                                       omission byby aa
                                                 third party;
                                                 third party;(b)
                                                              (b)providing
                                                                  providingororfailing
                                                                                failingto
                                                                                        toprovide
                                                                                           provideServices,
                                                                                                     Services, including,
                                                                                                                including, but
                                                                                                                           but not
                                                                                                                                not
                                                 limited
                                                 limited to,
                                                         to, deficiencies or problems
                                                             deficiencies or problems with
                                                                                         with aa wireless
                                                                                                 wireless device
                                                                                                           device oror network
                                                                                                                       network
                                                 coverage  (for example,
                                                 coverage (for             dropped, blocked,
                                                                example, dropped,     blocked, interrupted
                                                                                                 interrupted Services,
                                                                                                               Services, etc.);
                                                                                                                          etc.); (c)
                                                                                                                                 (c)
                                                 traffic or
                                                 traffic  or other
                                                             other accidents,
                                                                    accidents, or
                                                                               or any
                                                                                   any health-related    claims relating
                                                                                         health-related claims   relating to our
                                                                                                                          to our
                                                 Services; (d)
                                                 Services;   (d) data
                                                                 data content   or information
                                                                       content or  information accessed      while using
                                                                                                  accessed while    using our
                                                                                                                          our Services;
                                                                                                                              Services;
                                                 (e)
                                                 (e) an
                                                     an interruption
                                                         interruptionor orfailure
                                                                           failureininaccessing
                                                                                        accessingororattempting
                                                                                                      attemptingto toaccess
                                                                                                                      accessemergency
                                                                                                                             emergency
                                                 services from
                                                 services   from aa wireless
                                                                    wireless device,
                                                                             device,including
                                                                                       includingthrough
                                                                                                  through911,
                                                                                                            911, Enhanced
                                                                                                                 Enhanced911 911 or
                                                                                                                                 or
                                                 otherwise;  (f) interrupted,
                                                 otherwise; (f)  interrupted, failed,
                                                                              failed, or
                                                                                      or inaccurate
                                                                                          inaccurate location
                                                                                                       location information
                                                                                                                  information services;
                                                                                                                                 services;
                                                 (g)
                                                 (g) information
                                                     information oror communication    that is
                                                                      communication that      is blocked
                                                                                                 blockedby byaa spam
                                                                                                                spamfilter;
                                                                                                                       filter; and
                                                                                                                               and (h)
                                                                                                                                   (h)
                                                 damage
                                                 damage toto your
                                                             your wireless
                                                                    wireless device
                                                                             device or
                                                                                    or any
                                                                                        anycomputer
                                                                                              computeror   orequipment
                                                                                                              equipmentconnected
                                                                                                                            connected toto
                                                 your wireless
                                                 your  wireless device,  or damage
                                                                 device, or damage toto or
                                                                                        or loss
                                                                                            loss of
                                                                                                  of any
                                                                                                     any information
                                                                                                         information stored     on your
                                                                                                                        stored on   your
                                                 wireless device,
                                                 wireless           computer, equipment,
                                                          device, computer,    equipment, or   or Metro
                                                                                                  Metro byby T-Mobile
                                                                                                             T-Mobile storage
                                                                                                                          storage space
                                                                                                                                   space
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                21/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 36 of 39
                                                                                         MetroPCS.com
                                                 from your
                                                 from your use
                                                           use of
                                                               of the Servicesor
                                                                  the Services or from
                                                                                  from viruses,
                                                                                       viruses, worms,
                                                                                                worms, or
                                                                                                       or downloads of
                                                                                                          downloads of
                                                 malicious
                                                 malicious content, materials, data,
                                                           content, materials, data, text, images, video
                                                                                     text, images, video or
                                                                                                         or audio.
                                                                                                            audio. You
                                                                                                                   You agree
                                                                                                                       agree
                                                 we aren't
                                                 we aren't responsible for problems
                                                           responsible for problems caused
                                                                                    causedby
                                                                                           byyou
                                                                                             youor
                                                                                                 or others,
                                                                                                    others,or
                                                                                                            or by
                                                                                                               by any
                                                                                                                  any act of
                                                                                                                      act of
                                                 God
                                                 God or
                                                     or other
                                                        other events beyondour
                                                              events beyond our control,
                                                                                control, including
                                                                                         including acts of God
                                                                                                   acts of God (for
                                                                                                               (for example,
                                                                                                                    example,
                                                 weather-relatedphenomena,
                                                 weather-related phenomena,fire,
                                                                            fire,earthquake,
                                                                                  earthquake,hurricane,
                                                                                              hurricane, etc.),
                                                                                                         etc.),riot,
                                                                                                                riot, strike,
                                                                                                                      strike,
                                                 war, terrorism
                                                 war, terrorismor
                                                                orgovernment
                                                                   government orders
                                                                              orders or
                                                                                     oracts.
                                                                                        acts. You
                                                                                              Youalso
                                                                                                  also agree
                                                                                                       agree we
                                                                                                             we aren't
                                                                                                                aren't liable
                                                                                                                       liable
                                                 for missed
                                                 for missed or
                                                            or deleted voicemails
                                                               deleted voice mails or
                                                                                   or other
                                                                                      other messages,
                                                                                            messages,or
                                                                                                      orfor
                                                                                                         for any
                                                                                                             any information,
                                                                                                                 information,
                                                 such as
                                                 such as pictures,
                                                         pictures, that
                                                                   that gets lost or
                                                                        gets lost or deleted
                                                                                     deletedifif we
                                                                                                 weservice
                                                                                                    serviceyour
                                                                                                           your wireless
                                                                                                                wireless device.
                                                                                                                         device.If
                                                                                                                                 If
                                                 another  wireless carrier
                                                 another wireless  carrier is
                                                                           is involved
                                                                               involved inin any
                                                                                             any problem
                                                                                                 problem (for
                                                                                                            (for example,
                                                                                                                  example, while
                                                                                                                             while you're
                                                                                                                                     you're
                                                 roaming),
                                                 roaming), you
                                                            you also agree to
                                                                also agree   toany
                                                                                 any limitations
                                                                                      limitationsof
                                                                                                  ofliability
                                                                                                     liability in
                                                                                                               in its
                                                                                                                   its favor
                                                                                                                       favor that it
                                                                                                                             that it
                                                 imposes.  You should
                                                 imposes. You   should implement        appropriate safeguards
                                                                        implement appropriate        safeguards to   to secure your
                                                                                                                        secure your
                                                 wireless device,
                                                 wireless device, computer
                                                                  computeror    or equipment
                                                                                   equipmentand and to
                                                                                                    toback-up
                                                                                                        back-upyour  your information
                                                                                                                          information
                                                 stored on
                                                 stored on each.
                                                            each.

                                                 24. ** Your
                                                 24.    YourUse
                                                             Use Of
                                                                 OfThe
                                                                    TheService
                                                                        Serviceand
                                                                               andIndemnification.
                                                                                   Indemnification.You
                                                                                                   Youagree
                                                                                                       agreeto
                                                                                                             to use
                                                                                                                use the
                                                                                                                    the
                                                 Service in
                                                 Service in accordance with this
                                                            accordance with this Agreement and to
                                                                                 Agreement and to comply
                                                                                                  comply with
                                                                                                         with all
                                                                                                              all applicable
                                                                                                                  applicable
                                                 laws.
                                                 laws. YOU    AGREE TO
                                                       YOU AGREE         TO DEFEND,       INDEMNIFY, AND
                                                                             DEFEND, INDEMNIFY,                    HOLD HARMLESS
                                                                                                            AND HOLD       HARMLESS
                                                 METRO
                                                 METRO BY   BY T-MOBILE
                                                                 T-MOBILE FROMFROM ANY ANY CLAIMS
                                                                                               CLAIMS ARISING
                                                                                                           ARISING OUTOUT OF,OF,
                                                 RELATING
                                                 RELATING TO,   TO,OR OR IN
                                                                          INCONNECTION
                                                                             CONNECTION WITH,     WITH, USEUSE OFOF THE
                                                                                                                     THE SERVICE
                                                                                                                           SERVICE OR  OR
                                                 YOUR DEVICE,
                                                 YOUR    DEVICE, YOUR YOUR ACTS
                                                                              ACTS OR OR OMISSIONS,
                                                                                            OMISSIONS, INCLUDING,
                                                                                                             INCLUDING, BUT   BUT NOT
                                                                                                                                    NOT
                                                 LIMITED
                                                 LIMITEDTO,   TO,ANY
                                                                   ANYVIOLATION
                                                                         VIOLATIONBY      BYYOU
                                                                                              YOU OF OF THE
                                                                                                         THE TERMS
                                                                                                                TERMS ANDAND
                                                 CONDITIONS
                                                 CONDITIONS OF      OFTHIS
                                                                        THIS AGREEMENT,
                                                                              AGREEMENT, THE       THE POLICIES,
                                                                                                         POLICIES, OR  OR OFOF ANY
                                                                                                                                ANY
                                                 APPLICABLE STATUTES,
                                                 APPLICABLE         STATUTES,ORDINANCES,
                                                                                  ORDINANCES, LAWS     LAWS OR  OR REGULATIONS
                                                                                                                     REGULATIONS OF      OF
                                                 ANY LOCAL,
                                                 ANY   LOCAL, STATE,
                                                                   STATE, OROR FEDERAL
                                                                                FEDERAL AUTHORITY,
                                                                                               AUTHORITY, YOUR   YOUR USEUSE OF    THE
                                                                                                                               OF THE
                                                 SERVICE OR
                                                 SERVICE      OR DEVICE
                                                                   DEVICE ANDAND ANYANY INFORMATION
                                                                                           INFORMATION YOU             SUBMIT, POST,
                                                                                                                 YOU SUBMIT,       POST,
                                                 TRANSMIT OR
                                                 TRANSMIT            MAKE AVAILABLE
                                                                OR MAKE      AVAILABLE VIA    VIA THE
                                                                                                    THE SERVICE,
                                                                                                          SERVICE, FAILING
                                                                                                                       FAILING TO TO




                                                                                                                                                           Feedback
                                                 PROVIDE
                                                 PROVIDE APPROPRIATE
                                                               APPROPRIATE NOTICES NOTICES REGARDING
                                                                                                 REGARDING LOCATION-
                                                                                                                   LOCATION-                                CD
                                                                                                                                                            CD
                                                                                                                                                            0-
                                                 SENSITIVE SERVICES,
                                                 SENSITIVE      SERVICES,FAILURE
                                                                              FAILURETO      TOSAFEGUARD
                                                                                                  SAFEGUARDYOUR    YOURPASSWORDS,
                                                                                                                            PASSWORDS,
                                                 BACKUP
                                                 BACKUP SECURITY
                                                             SECURITY QUESTION
                                                                            QUESTION TO     TO YOUR
                                                                                                 YOUR PASSWORD
                                                                                                          PASSWORD OR     OR ANY
                                                                                                                              ANY OTHER
                                                                                                                                    OTHER                   0
                                                 ACCOUNTINFORMATION,
                                                 ACCOUNT        INFORMATION,OR       ORTHE THERIGHTS
                                                                                                 RIGHTS OF  OFANYANYTHIRD
                                                                                                                       THIRD PARTY.
                                                                                                                                PARTY.
                                                 Metro
                                                 Metro by
                                                        by T-Mobile
                                                             T-Mobile maymay deny
                                                                              deny a a request
                                                                                       requestfor for Service
                                                                                                      Servicefrom
                                                                                                                from you
                                                                                                                      you for
                                                                                                                           for any
                                                                                                                               any lawful
                                                                                                                                   lawful
                                                 reason. Metro     by  T-Mobile   also  reserves    the right  to cease  serving
                                                 reason. Metro by T-Mobile also reserves the right to cease serving you if        you  if you
                                                                                                                                          you
                                                 are
                                                 are not
                                                     not acting
                                                         acting in in accordance
                                                                      accordance with
                                                                                    with the
                                                                                           the terms
                                                                                                terms ofof this
                                                                                                           this Agreement
                                                                                                                Agreement or  or the
                                                                                                                                 the
                                                 Policies,
                                                 Policies, to  disconnectcalls
                                                            to disconnect    calls that
                                                                                   that are
                                                                                         are not
                                                                                              not in
                                                                                                   in accordance
                                                                                                      accordance withwith the
                                                                                                                          the terms
                                                                                                                               terms and
                                                                                                                                      and
                                                 conditions
                                                 conditions of of this
                                                                  this Agreement
                                                                       Agreement or  or the
                                                                                         the Policies,
                                                                                              Policies, and
                                                                                                         and to
                                                                                                              to cease   providing services
                                                                                                                  cease providing    services
                                                 that are
                                                 that are inconsistent     with the
                                                           inconsistent with         terms and
                                                                                the terms     and conditions
                                                                                                    conditions ofof this
                                                                                                                    this Agreement
                                                                                                                         Agreement or  or the
                                                                                                                                           the
                                                 Policies and    the nature  of the  Service.
                                                 Policies and the nature of the Service.

                                                 25. ** Enforceability
                                                 25.    Enforceability and
                                                                       and Assignment. A waiver
                                                                           Assignment. A waiver of
                                                                                                of any
                                                                                                   any part
                                                                                                       partof
                                                                                                            ofthis
                                                                                                               thisAgreement
                                                                                                                   Agreement
                                                 in
                                                 in one
                                                    one instance
                                                         instance isis not
                                                                       not aa waiver
                                                                               waiver of of any
                                                                                            any other     part or
                                                                                                   other part      or any
                                                                                                                       any other
                                                                                                                            other instance
                                                                                                                                    instance and
                                                                                                                                               and
                                                 must
                                                 must be   expressly provided
                                                        be expressly    providedin    in writing.
                                                                                         writing. If If we
                                                                                                        we don’t
                                                                                                              don't enforce
                                                                                                                      enforce ourour rights
                                                                                                                                      rights under
                                                                                                                                              under
                                                 any
                                                 any provisions
                                                      provisions ofof the
                                                                       the Agreement,
                                                                             Agreement, we   wemay  may still
                                                                                                         still require
                                                                                                                 require strict
                                                                                                                           strict compliance
                                                                                                                                   compliance in  in
                                                 the future.
                                                 the  future. Except
                                                              Except as  as provided
                                                                             provided in  in Section
                                                                                             Section2,   2, ifif any
                                                                                                                 any part
                                                                                                                      part of
                                                                                                                            of this
                                                                                                                                this Agreement
                                                                                                                                     Agreement is   is
                                                 held  invalid that   part   may   be  severed      from  the      Agreement.
                                                 held invalid that part may be severed from the Agreement. You can't assign        You  can't  assign
                                                 this Agreement
                                                 this Agreementor    or any
                                                                         any of
                                                                              of your
                                                                                  your rights
                                                                                         rights or or duties     under it
                                                                                                      duties under       it without
                                                                                                                            without ourour written
                                                                                                                                           written
                                                 consent.
                                                 consent. WeWemaymay assign
                                                                        assign all
                                                                                 all or
                                                                                     or part
                                                                                         part ofof the
                                                                                                    the Agreement
                                                                                                         Agreement or     or your
                                                                                                                              your debts
                                                                                                                                     debts to
                                                                                                                                            to us
                                                                                                                                               us
                                                 without notice.
                                                 without   notice. Upon
                                                                    Upon its its transfer
                                                                                 transfer or or assignment
                                                                                                  assignment of     of this
                                                                                                                       this Agreement,
                                                                                                                            Agreement, MetroMetro by by
                                                 T-Mobile shall
                                                 T-Mobile    shall be
                                                                   be released      from all
                                                                        released from       all liability
                                                                                                 liabilitywith
                                                                                                            withrespect
                                                                                                                     respect toto this
                                                                                                                                  this Agreement.
                                                                                                                                        Agreement.
                                                 This Agreement
                                                 This  Agreement is   is the
                                                                          the entire
                                                                               entire agreement
                                                                                        agreement between
                                                                                                        between us    us and
                                                                                                                          and defines    all of
                                                                                                                                defines all  of the
                                                                                                                                                the
                                                 rights
                                                 rights you
                                                         you have
                                                              have with
                                                                     with respect
                                                                            respect to to your
                                                                                           your Service
                                                                                                   Service or   orwireless
                                                                                                                    wirelessdevice,
                                                                                                                              device, except
                                                                                                                                        except asas
                                                 provided
                                                 provided byby law,
                                                                law, and
                                                                       andyouyoucannot
                                                                                   cannot rely
                                                                                             relyon onany
                                                                                                        anyother otherdocuments
                                                                                                                        documents or   orstatements
                                                                                                                                          statements
                                                 by
                                                 by any
                                                     any sales,
                                                          sales, service
                                                                 service representatives
                                                                            representatives or     or other
                                                                                                      other agents.
                                                                                                                 agents.IfIf you
                                                                                                                             you purchase
                                                                                                                                   purchase aa
                                                 device,  servicesor
                                                 device, services    or content
                                                                         contentfrom fromaathird
                                                                                              third party,
                                                                                                      party, you  you may
                                                                                                                       may have
                                                                                                                             have aa separate
                                                                                                                                      separate
                                                 agreement
                                                 agreement withwiththe
                                                                     thethird
                                                                           thirdparty;
                                                                                  party; Metro
                                                                                           Metro by  by T-Mobile
                                                                                                         T-Mobile is    is not
                                                                                                                           not aa party
                                                                                                                                   party to
                                                                                                                                         to that
                                                                                                                                             that
                                                 agreement.    Any   determination         made     by  us  pursuant
                                                 agreement. Any determination made by us pursuant to this Agreement, shallto this  Agreement,      shall
                                                 be  in our
                                                 be in  our sole  reasonablediscretion.
                                                            sole reasonable       discretion.Paragraphs
                                                                                                   Paragraphsmarked  marked"*" “*” continue
                                                                                                                                    continue after
                                                                                                                                               after
                                                 termination of
                                                 termination    of our
                                                                   our Agreement
                                                                         Agreement with   with you.
                                                                                                 you.



https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                              22/25
                                                                                                                                                           22/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 37 of 39
                                                                                         MetroPCS.com
                                                 26. ** Choice
                                                 26.           of Law.
                                                        Choice of Law. This
                                                                       ThisAgreement
                                                                            Agreement is
                                                                                      is governed by the
                                                                                         governed by the Federal
                                                                                                         Federal Arbitration
                                                                                                                 Arbitration
                                                 Act, applicable
                                                 Act,            federal law,
                                                      applicable federal law, and
                                                                              and the
                                                                                  the laws
                                                                                      laws of
                                                                                           of the state in
                                                                                              the state in which
                                                                                                           which your
                                                                                                                 your service
                                                                                                                      service
                                                 address
                                                 address in in our
                                                               our records
                                                                   records isislocated,
                                                                                located, without
                                                                                          without regard
                                                                                                    regard to
                                                                                                            to the
                                                                                                               the conflicts  of laws
                                                                                                                    conflicts of laws rules
                                                                                                                                       rules
                                                 of
                                                 of that  state. Foreign
                                                     that state. Foreign laws
                                                                           laws dodo not
                                                                                     not apply.
                                                                                          apply. Arbitration
                                                                                                  Arbitration ororcourt
                                                                                                                   courtproceedings
                                                                                                                          proceedings
                                                 must
                                                 must be    in the
                                                        be in      county and
                                                               the county   and state
                                                                                  statein
                                                                                        in which
                                                                                           which your
                                                                                                   your service
                                                                                                        service address
                                                                                                                  address in
                                                                                                                           in our
                                                                                                                              our records
                                                                                                                                   records
                                                 is
                                                 is located,   but not
                                                    located, but   not outside
                                                                        outsidethetheU.S.
                                                                                      U.S.IfIf any
                                                                                               any provision
                                                                                                   provision of
                                                                                                              of this
                                                                                                                  this Agreement
                                                                                                                       Agreement is is
                                                 invalid
                                                 invalid under
                                                           under the  law of
                                                                  the law of aa particular
                                                                                 particular jurisdiction,
                                                                                             jurisdiction, that
                                                                                                           that provision
                                                                                                                 provision will
                                                                                                                            will not
                                                                                                                                 not apply
                                                                                                                                     apply
                                                 in
                                                 in that
                                                     that jurisdiction.
                                                          jurisdiction.

                                                 27. Other
                                                 27.       Terms.
                                                     Other Terms.

                                                 27.1 TTY.
                                                 27.1 TTY. TTY
                                                           TTY(also
                                                               (alsoknown
                                                                     knownas
                                                                           asTDD
                                                                             TDDor
                                                                                 orText
                                                                                    TextTelephone)  is aa
                                                                                         Telephone) is
                                                 telecommunications device
                                                 telecommunications devicethat
                                                                           thatallows
                                                                               allows people
                                                                                      peoplewho
                                                                                             whoare
                                                                                                are deaf
                                                                                                    deaf or
                                                                                                         or hearing-
                                                                                                            hearing-
                                                 impaired
                                                 impaired or
                                                          orwho
                                                             whohave
                                                                 havespeech
                                                                      speech or
                                                                             or language
                                                                                 language disabilities
                                                                                          disabilities to
                                                                                                       to communicate
                                                                                                          communicate by
                                                                                                                      by
                                                 telephone.IfIf you
                                                 telephone.     you have
                                                                    haveaa digital
                                                                           digital wireless
                                                                                   wireless device
                                                                                            devicethat
                                                                                                   thatisisTTY-compatible,
                                                                                                           TTY-compatible, it
                                                                                                                           it is
                                                                                                                              is
                                                 possible  tomake
                                                 possible to makecalls,
                                                                    calls,including
                                                                           including911
                                                                                     911 calls,
                                                                                         calls, with
                                                                                                with aa TTY.
                                                                                                        TTY. IfIfyou
                                                                                                                  youhave
                                                                                                                      havequestions
                                                                                                                           questions
                                                 concerning
                                                 concerning the   capabilities of
                                                              the capabilities  of your
                                                                                   yourwireless
                                                                                        wirelessdevice,
                                                                                                   device,please
                                                                                                           please contact
                                                                                                                     contact us
                                                                                                                             us toll-
                                                                                                                                toll-
                                                 free at
                                                 free at 1-888-8metro8.
                                                         1-888-8metro8.

                                                 27.2 Risk
                                                 27.2 Risk of
                                                           of Loss
                                                              Loss or
                                                                   orDamage
                                                                      Damage to
                                                                              to Wireless
                                                                                 Wireless Devices.
                                                                                          Devices. Upon
                                                                                                   Upon your
                                                                                                        youracceptance  of
                                                                                                             acceptance of
                                                 delivery
                                                 delivery of
                                                           of your
                                                              your wireless
                                                                    wireless device,  all risk
                                                                              device, all riskofofloss,
                                                                                                   loss,damage,
                                                                                                         damage, theft,
                                                                                                                   theft, or
                                                                                                                          or destruction
                                                                                                                              destruction
                                                 of
                                                 of your
                                                    your wireless
                                                          wireless device  is borne
                                                                    device is borne by
                                                                                     by you.
                                                                                          you. In
                                                                                               Inthetheevent
                                                                                                        event of
                                                                                                              of any
                                                                                                                 any loss,
                                                                                                                       loss, damage,
                                                                                                                             damage,
                                                 theft, or
                                                 theft, or destruction
                                                           destructionofofyour
                                                                           your wireless
                                                                                 wireless device,
                                                                                            device,in inwhole
                                                                                                         wholeororin
                                                                                                                   in part,
                                                                                                                      part, you
                                                                                                                             you are
                                                                                                                                 are
                                                 responsible   for purchasing
                                                 responsible for   purchasing a a replacement      wireless device
                                                                                  replacement wireless      devicefrom
                                                                                                                     from Metro
                                                                                                                            Metro by
                                                                                                                                   by T-
                                                                                                                                      T-
                                                 Mobile
                                                 Mobile atat your
                                                             your expense,   and you
                                                                   expense, and   you remain
                                                                                       remain responsible      for your
                                                                                                 responsible for   your obligations
                                                                                                                          obligations
                                                 under
                                                 under this
                                                         this Agreement,   including, without
                                                              Agreement, including,     withoutlimitation,
                                                                                                   limitation, your
                                                                                                               your responsibility
                                                                                                                     responsibility for
                                                                                                                                     for
                                                 the payment
                                                 the payment of of Service
                                                                   Service Charges.
                                                                            Charges.




                                                                                                                                                 Feedback
                                                                                                                                                  CD
                                                                                                                                                  CD
                                                 27.3 Premium
                                                 27.3 Premium Handset
                                                              Handset Protection®
                                                                      Protection®                                                                 0_
                                                                                                                                                  C1)
                                                 "Premium Handset
                                                 "Premium Handset Protection"
                                                                  Protection" is
                                                                              is an
                                                                                 an equipment
                                                                                    equipment insurance program provided
                                                                                              insurance program provided                          C)

                                                 by
                                                 by Old
                                                    Old Republic   Insurance Company
                                                         Republic Insurance     Company and and administered
                                                                                                 administered by by Asurion
                                                                                                                    Asurion Insurance
                                                                                                                              Insurance
                                                 Services, Inc. Phone  Recovery    features   are available  as well  on
                                                 Services, Inc. Phone Recovery features are available as well on select  select
                                                 phones.  Please see
                                                 phones. Please  seethe
                                                                      thePremium
                                                                            Premium Handset
                                                                                      Handset Protection
                                                                                                 Protectionbrochure
                                                                                                              brochure available
                                                                                                                          available at
                                                                                                                                    at
                                                 any
                                                 any participating
                                                     participating retail
                                                                    retail location
                                                                           location or
                                                                                    or click
                                                                                        click here
                                                                                              here for
                                                                                                    for complete   Terms and
                                                                                                        complete Terms     and
                                                 Conditions  of Coverage.
                                                 Conditions of  Coverage. TheThe Premium
                                                                                  Premium Handset       ProtectionTerms
                                                                                              Handset Protection     Terms and
                                                                                                                             and
                                                 Conditions  of Coverage
                                                 Conditions of  Coverage are are subject
                                                                                 subject to
                                                                                          to change.
                                                                                             change."Premium
                                                                                                       "Premium Handset
                                                                                                                    Handset
                                                 Protection"
                                                 Protection" may
                                                              may not
                                                                   not be   available in
                                                                       be available   in all
                                                                                         all states and eligibility
                                                                                             states and  eligibility varies
                                                                                                                     varies by
                                                                                                                            by wireless
                                                                                                                               wireless
                                                 device.
                                                 device.

                                                 27.4. California
                                                 27.4. California Customers.
                                                                  Customers. Our
                                                                             Our Utility
                                                                                 Utility number
                                                                                         number is
                                                                                                is U-3079-C.  If you
                                                                                                   U-3079-C. If  you file
                                                                                                                     file aa
                                                 billing-related claimwith
                                                 billing-related claim  withthetheConsumer
                                                                                   ConsumerAffairs
                                                                                              AffairsBranch
                                                                                                     Branch("CAB")
                                                                                                              ("CAB") of
                                                                                                                       of the
                                                                                                                           the
                                                 California
                                                 California Public
                                                             Public Utilities
                                                                     Utilities Commission   you must,
                                                                               Commission you   must, within
                                                                                                      within 24   hours of
                                                                                                              24 hours  of filing,
                                                                                                                            filing,
                                                 inform
                                                 inform us
                                                         us by
                                                            bywriting
                                                                writingtotothe
                                                                            theCustomer
                                                                                 Customer Service
                                                                                           Service address
                                                                                                   address set  forth below.
                                                                                                            set forth below. If If we
                                                                                                                                   we
                                                 resolve  your dispute,
                                                 resolve your            you agree
                                                               dispute, you    agreeto
                                                                                     towithdraw
                                                                                       withdraw your
                                                                                                  your claim
                                                                                                       claim with
                                                                                                              with the CAB.
                                                                                                                   the CAB.

                                                 27.5 Start
                                                 27.5 Start of
                                                            of Service
                                                               Service Form/Rate
                                                                       Form/Rate Plan/Coverage
                                                                                 Plan/CoverageBrochure.
                                                                                               Brochure. The
                                                                                                         The Rate
                                                                                                             Rate Plan
                                                                                                                  Plan
                                                 selectedby
                                                 selected byyou
                                                            youdetermines
                                                                determinesthe
                                                                           thecharges
                                                                               chargesfor
                                                                                       forthe
                                                                                           theServices.
                                                                                              Services.The
                                                                                                        The Start
                                                                                                            Start of
                                                                                                                  of Service
                                                                                                                     Service
                                                 form may
                                                 form mayidentify
                                                          identifythe
                                                                   the Rate
                                                                       Rate Plan
                                                                            Planyou
                                                                                 youhave
                                                                                     havechosen
                                                                                          chosen and
                                                                                                 and set
                                                                                                     set forth
                                                                                                         forth the
                                                                                                               the charges
                                                                                                                   charges
                                                 you are
                                                 you are required
                                                         required to
                                                                  to pay
                                                                     pay for
                                                                         for Service,
                                                                             Service, including
                                                                                      including monthly
                                                                                                monthly or
                                                                                                        or other
                                                                                                           other cyclical
                                                                                                                 cyclical
                                                 access  fees,as
                                                 access fees,   aswell
                                                                   wellasasany
                                                                            any applicable
                                                                                 applicablesurcharges
                                                                                              surcharges or  or other
                                                                                                                other fees.
                                                                                                                       fees. If
                                                                                                                             If you
                                                                                                                                 you did
                                                                                                                                      did not
                                                                                                                                          not
                                                 receive
                                                 receive aa Start
                                                            Start of
                                                                   of Service   form, you
                                                                      Service form,    you can
                                                                                            can find
                                                                                                  find details
                                                                                                        details on
                                                                                                                on the
                                                                                                                    the Rate
                                                                                                                        Rate Plan,
                                                                                                                              Plan,
                                                 services, or
                                                 services,  or features
                                                               features you
                                                                          you selected
                                                                               selected byby visiting
                                                                                              visiting our
                                                                                                        our stores,
                                                                                                             stores, authorized
                                                                                                                     authorized dealers,
                                                                                                                                    dealers,
                                                 or
                                                 or at
                                                    at www.metrobyt-mobile.com.
                                                       www.metrobyt-mobile.com. Unused    Unused RateRate Plan
                                                                                                            Plan allotments,
                                                                                                                  allotments, bundles,     or
                                                                                                                                 bundles, or
                                                 buckets   expire at
                                                 buckets expire    at the
                                                                       the end
                                                                           end ofof your
                                                                                    your service
                                                                                         service cycle     and do
                                                                                                    cycle and   do not
                                                                                                                   not roll
                                                                                                                        roll over
                                                                                                                             over toto the
                                                                                                                                       the
                                                 next
                                                 next service   cycle. We
                                                       service cycle.   We will
                                                                             will determine    what types
                                                                                  determine what      types ofof Service
                                                                                                                 Service and
                                                                                                                          and Rate
                                                                                                                                Rate Plans
                                                                                                                                       Plans
                                                 are
                                                 are available
                                                     available toto you.
                                                                    you. The
                                                                          The Rate
                                                                               Rate Plan
                                                                                      Plan to
                                                                                            to which
                                                                                               which youyou subscribe
                                                                                                             subscribe when
                                                                                                                         when youyou initiate
                                                                                                                                      initiate
                                                 Service, as
                                                 Service,  as modified
                                                              modified by by us
                                                                             us from
                                                                                 from time
                                                                                       time toto time
                                                                                                 time inin accordance    with this
                                                                                                           accordance with      this
                                                 Agreement,will
                                                 Agreement,     will remain
                                                                     remain inin effect for the
                                                                                 effect for  the term
                                                                                                  term ofof your
                                                                                                            your Service   until or
                                                                                                                  Service until   or unless
                                                                                                                                     unless
                                                 we change
                                                 we  change your
                                                              your Rate
                                                                     Rate Plan
                                                                           Plan oror you
                                                                                     youchoose
                                                                                          choose to to subscribe
                                                                                                       subscribe to   a different
                                                                                                                   to a different Rate
                                                                                                                                     Rate

https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                    23/25
                                                                                                                                                 23/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 38 of 39
                                                                                         MetroPCS.com
                                                 Plan,
                                                 Plan, if
                                                       if available
                                                          available to
                                                                    to you.
                                                                       you. If
                                                                            If we
                                                                               we offer
                                                                                  offer more
                                                                                        more than
                                                                                             than one Rate Plan
                                                                                                  one Rate Plan in
                                                                                                                 in your
                                                                                                                    your area
                                                                                                                         area and
                                                                                                                              and
                                                 you wish
                                                 you wish to
                                                          to change the Rate
                                                             change the Rate Plan
                                                                             Plan to
                                                                                  to which
                                                                                     which you
                                                                                           you subscribe,
                                                                                               subscribe, you
                                                                                                          you may
                                                                                                              may contact
                                                                                                                  contact
                                                 us
                                                 us to
                                                    to request
                                                       request aa change
                                                                  changein in your
                                                                              your Rate
                                                                                    Rate Plan
                                                                                         Plan to
                                                                                              to any
                                                                                                 any other
                                                                                                     other Rate
                                                                                                            Rate Plan
                                                                                                                 Plan for
                                                                                                                      for which
                                                                                                                          which
                                                 you are
                                                 you  are eligible.
                                                          eligible. Rate
                                                                    Rate Plan
                                                                          Plan changes
                                                                                changes may
                                                                                         may not
                                                                                              not be
                                                                                                  be effective immediately, and
                                                                                                     effective immediately, and
                                                 you may
                                                 you  may be
                                                           be required
                                                               required to
                                                                         to pay
                                                                            pay to
                                                                                 to make
                                                                                    make such
                                                                                          such changes.
                                                                                                changes.

                                                 27.6 Account
                                                 27.6 AccountActivity
                                                              Activityand
                                                                       andInformation
                                                                           Information Verification.
                                                                                       Verification. This
                                                                                                     This Agreement
                                                                                                          Agreement shall
                                                                                                                    shall be
                                                                                                                          be
                                                 contingent uponour
                                                 contingent upon our verification
                                                                     verification and
                                                                                  and approval
                                                                                      approval of
                                                                                               of certain
                                                                                                  certain information
                                                                                                          information about
                                                                                                                      about
                                                 you. We
                                                 you.    reserve the
                                                      We reserve the right
                                                                     right to
                                                                           to deny
                                                                              deny or
                                                                                   or limit
                                                                                      limit the
                                                                                            the provision
                                                                                                provision of
                                                                                                          of Service
                                                                                                             Service on
                                                                                                                     on the
                                                                                                                        the
                                                 basis
                                                 basis ofof any
                                                            any information
                                                                 information that
                                                                                that wewe gather.
                                                                                          gather. We      may require
                                                                                                     We may      require thatthat you
                                                                                                                                   you provide
                                                                                                                                         provide usus
                                                 with additional
                                                 with   additional oror updated
                                                                         updated information
                                                                                    information we   we reasonably
                                                                                                         reasonably need  need to   determine if
                                                                                                                                 to determine      if
                                                 you qualify
                                                 you   qualify for
                                                                for Service,
                                                                     Service, to
                                                                               to manage
                                                                                  manage the       Service, or
                                                                                              the Service,     or to
                                                                                                                  to determine
                                                                                                                       determine if  if you
                                                                                                                                        you are
                                                                                                                                             are
                                                 using
                                                 using the    Service in
                                                         the Service    in accordance
                                                                           accordance withwith this
                                                                                                 this Agreement.
                                                                                                       Agreement. If     If you
                                                                                                                            you do
                                                                                                                                 do not
                                                                                                                                      not provide
                                                                                                                                          provide
                                                 us
                                                 us the
                                                     the information
                                                          information we  we request
                                                                              request within
                                                                                        within thethe time
                                                                                                       time period
                                                                                                              period that
                                                                                                                        that wewe specify,
                                                                                                                                   specify, wewe
                                                 may
                                                 may choose      not to
                                                        choose not    toprovide
                                                                          provide Service
                                                                                    Serviceto  toyou,
                                                                                                  you,or,
                                                                                                        or, if
                                                                                                            if you
                                                                                                               you areare an
                                                                                                                           an existing
                                                                                                                               existing customer,
                                                                                                                                          customer,
                                                 we may
                                                 we   may suspend
                                                            suspend or or terminate
                                                                          terminate Service
                                                                                        Service totoyou.
                                                                                                      you. You
                                                                                                            You warrant
                                                                                                                   warrant and and represent
                                                                                                                                     represent that
                                                                                                                                                 that
                                                 all
                                                 all information
                                                     information furnished
                                                                     furnished toto us
                                                                                     us by
                                                                                         byyou
                                                                                             youis iscurrent,
                                                                                                      current,complete,
                                                                                                                 complete, accurate
                                                                                                                                accurate and
                                                                                                                                           and true
                                                                                                                                                 true
                                                 as
                                                 as of
                                                     of the  time you
                                                        the time   you provide
                                                                         provide it,
                                                                                  it, and
                                                                                      and you
                                                                                           you will
                                                                                                  willupdate
                                                                                                       update it  it as
                                                                                                                      asnecessary
                                                                                                                         necessary to  to keep  it
                                                                                                                                          keep it
                                                 complete,     accurate,and
                                                 complete, accurate,       andtrue.
                                                                                true. AtAt any
                                                                                           any time,
                                                                                                 time, we    may take
                                                                                                         we may      take any
                                                                                                                            any action
                                                                                                                                 action that
                                                                                                                                          that we
                                                                                                                                                we
                                                 believe    necessaryto
                                                 believe necessary       toverify
                                                                            verifyoror review
                                                                                       review your
                                                                                                 your account
                                                                                                       accountactivity
                                                                                                                    activityor or information
                                                                                                                                  information you you
                                                 provide    to us, including:   (1) verification    of your   account      information;
                                                 provide to us, including: (1) verification of your account information; (2)                (2)
                                                 review
                                                 review of of your
                                                              youruseuse of
                                                                          of Services
                                                                             Services and
                                                                                        andof ofyour
                                                                                                  youraccount
                                                                                                         accountto   tohelp
                                                                                                                        helpassess
                                                                                                                               assess the
                                                                                                                                        the
                                                 Services we
                                                 Services    we provide
                                                                 provide and
                                                                           and the
                                                                                the performance
                                                                                      performance of    of our
                                                                                                           our systems;
                                                                                                                 systems; and and (3)
                                                                                                                                   (3)
                                                 investigation
                                                 investigation of  of suspected     prohibiteduse
                                                                      suspected prohibited         useoror violation
                                                                                                           violation of  of this
                                                                                                                             this Agreement
                                                                                                                                  Agreement or   or
                                                 the Policies.
                                                 the  Policies. WeWemaymay share
                                                                             share information
                                                                                    information we   we gather
                                                                                                         gather about
                                                                                                                    about youyou as
                                                                                                                                  as provided
                                                                                                                                      provided
                                                 elsewhere
                                                 elsewhere in  in this
                                                                  this Agreement
                                                                        Agreementand   andininour
                                                                                                our Privacy
                                                                                                     Privacy Policy
                                                                                                                Policy which
                                                                                                                          which isis available
                                                                                                                                     available




                                                                                                                                                         Feedback
                                                 atwww.metrobyt-mobile.com
                                                 atwww.metrobyt-mobile.com or           or by
                                                                                           by writing
                                                                                                writingto to us
                                                                                                              us at
                                                                                                                  at the
                                                                                                                      the address
                                                                                                                           address in in Section
                                                                                                                                         Section 16 16    CD
                                                                                                                                                          CD
                                                 "Notices". We                                                                                            0_
                                                 "Notices".    We also    may share
                                                                    also may           your information,
                                                                               share your     information, including
                                                                                                                including youryour personal
                                                                                                                                     personal
                                                 information
                                                 information and and customer      proprietary network
                                                                       customer proprietary                    information, with
                                                                                                   network information,          with any
                                                                                                                                        any person
                                                                                                                                             person       0
                                                 who may
                                                 who   may purchase
                                                              purchase ourour business.
                                                                               business.

                                                 You (the
                                                 You (the account holder) may
                                                          account holder) may password
                                                                              password protect your account
                                                                                       protect your         information by
                                                                                                    account information by
                                                 establishing
                                                 establishing aa personal
                                                                  personalidentification
                                                                              identificationnumber
                                                                                              number("PIN").
                                                                                                         ("PIN"). You
                                                                                                                    You may
                                                                                                                         may alsoalso set a
                                                                                                                                      set a
                                                 backup
                                                 backup security
                                                          security question
                                                                     question andand answer
                                                                                     answer in in the eventyou
                                                                                                  the event   youforget
                                                                                                                    forgetyour
                                                                                                                            yourPIN.PIN. You
                                                                                                                                          You
                                                 agree  to protect
                                                 agree to  protect your
                                                                      your PIN,
                                                                            PIN, passwords
                                                                                  passwordsand  andother
                                                                                                     otheraccount
                                                                                                            account access
                                                                                                                       access credentials
                                                                                                                                  credentials
                                                 like
                                                 like your
                                                      your backup
                                                            backup security
                                                                      security question    from loss
                                                                                 question from    loss or
                                                                                                       or disclosure.
                                                                                                          disclosure. ItIt is
                                                                                                                           is your
                                                                                                                               your sole
                                                                                                                                     sole
                                                 responsibility
                                                 responsibility toto protect    your account
                                                                     protect your    account by by creating
                                                                                                   creating aa password
                                                                                                                 password thatthat is
                                                                                                                                    is
                                                 unknown
                                                 unknown to  to any
                                                                any other
                                                                     other person.
                                                                             person. This
                                                                                      This password
                                                                                            password should
                                                                                                        should never
                                                                                                                  never be   shared nor
                                                                                                                         be shared      nor
                                                 should it
                                                 should  it be  written down
                                                            be written    down and
                                                                                 and kept
                                                                                      kept in
                                                                                            in aaplace
                                                                                                  place that
                                                                                                         that is
                                                                                                               isaccessible
                                                                                                                  accessible to to others.
                                                                                                                                   others.
                                                 Should you
                                                 Should   you feel  that your
                                                               feel that   your password
                                                                                 password hashas been
                                                                                                  been compromised
                                                                                                        compromised you   you should
                                                                                                                                 should
                                                 immediately
                                                 immediately callcall Metro
                                                                      Metro by by T-Mobile
                                                                                  T-Mobile to    changeyour
                                                                                             to change     your password.
                                                                                                                 password. You You further
                                                                                                                                     further
                                                 agree  that Metro
                                                 agree that   Metro by by T-Mobile
                                                                          T-Mobile may,
                                                                                      may, in
                                                                                            in our
                                                                                                our sole
                                                                                                    sole discretion,
                                                                                                          discretion, treat
                                                                                                                       treat anyany person
                                                                                                                                     person
                                                 who presents
                                                 who   presents your
                                                                  your credentials    for account
                                                                        credentials for              accessas
                                                                                          account access     asyouyouor
                                                                                                                      or an
                                                                                                                         an Authorized
                                                                                                                              Authorized
                                                 User
                                                 User on the account for the purposes of disclosure of information or
                                                       on the  account     for the purposes    of disclosure    of information      or changes
                                                                                                                                       changes
                                                 in
                                                 in your
                                                    your Rate
                                                          Rate Plan
                                                                Plan oror Service.
                                                                          Service.

                                                 27.7 Telephone
                                                 27.7 TelephoneNumbers.
                                                                Numbers. We
                                                                         We will
                                                                            will assign
                                                                                 assign aa telephone  number (the
                                                                                            telephone number (the
                                                 "Number") to
                                                 "Number")  toyour
                                                               yourwireless
                                                                    wirelessdevice.
                                                                             device. You
                                                                                     You do
                                                                                         do not
                                                                                            not own
                                                                                                own nor
                                                                                                    nor have
                                                                                                        have any
                                                                                                             any rights
                                                                                                                 rights to
                                                                                                                         to the
                                                                                                                            the
                                                 Number
                                                 Number or or any
                                                               any personal   identificationnumber
                                                                   personal identification    number("PIN")
                                                                                                        ("PIN") that
                                                                                                                 that you
                                                                                                                       you may
                                                                                                                            may use   in
                                                                                                                                  use in
                                                 connection    withyour
                                                 connection with     your Service,
                                                                           Service, except
                                                                                     exceptfor
                                                                                             for any
                                                                                                 any right
                                                                                                      right you
                                                                                                            you may
                                                                                                                 may have
                                                                                                                       have to
                                                                                                                             to port
                                                                                                                                port the
                                                                                                                                      the
                                                 Number    to  another   carrier.  We also may   assign  an Internet  Protocol
                                                 Number to another carrier. We also may assign an Internet Protocol address       address
                                                 ("IP
                                                 ("IPAddress")
                                                       Address")to toyour
                                                                       yourwireless
                                                                            wirelessdevice.
                                                                                      device. You
                                                                                              You dodo not
                                                                                                        not own
                                                                                                            own or
                                                                                                                 or have
                                                                                                                     have any
                                                                                                                           any rights
                                                                                                                                rights to
                                                                                                                                       to
                                                 the IP
                                                 the  IP Address.
                                                         Address. We     can change,
                                                                    We can   change,reassign,
                                                                                       reassign,oror eliminate
                                                                                                     eliminateany
                                                                                                                any Number
                                                                                                                      Number or or PIN
                                                                                                                                   PIN byby
                                                 giving
                                                 giving you
                                                         you notice   and your
                                                              notice and   your IPIP Address
                                                                                     Address without    giving you
                                                                                              without giving   you notice.
                                                                                                                     notice.If
                                                                                                                             If your
                                                                                                                                your
                                                 account
                                                 account isis deactivated,
                                                              deactivated,we wecancanreassign
                                                                                      reassignthe
                                                                                               theNumber
                                                                                                    Numberor   or IP
                                                                                                                  IP Address
                                                                                                                     Address without
                                                                                                                                without
                                                 giving
                                                 giving you
                                                         you any
                                                              any notice.  You may
                                                                  notice. You    may not
                                                                                      not assign  the Number,
                                                                                          assign the   Number, PINPIN or
                                                                                                                       or IP
                                                                                                                          IP Address
                                                                                                                              Address to to
                                                 any
                                                 any wireless
                                                       wireless device,  other equipment
                                                                device, other   equipment or or to
                                                                                                to any
                                                                                                   any other
                                                                                                         other party
                                                                                                               party except
                                                                                                                      except asas
                                                 approved
                                                 approved by by us.
                                                                us. If
                                                                    If you
                                                                       you assign
                                                                            assign the  Number, PIN
                                                                                    the Number,    PIN or
                                                                                                        or IP
                                                                                                           IP Address
                                                                                                              Address toto any
                                                                                                                            any wireless
                                                                                                                                 wireless


https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                            24/25
                                                                                                                                                         24/25
7/18/2019
       Case
7/18/2019                           Metro
                                    Metro by
               0:19-cv-61664-RS Document     T-Mobile
                                          by 5-1      Terms
                                                       Termsand
                                                    Entered
                                             T-Mobile           Conditions
                                                             andon FLSD
                                                                Conditions of
                                                                           of Service
                                                                              Service -- MetroPCS.com
                                                                              Docket      08/02/2019 Page 39 of 39
                                                                                         MetroPCS.com
                                                 device,   otherequipment
                                                 device, other     equipmentor     orto
                                                                                      toany
                                                                                         anyother
                                                                                                otherparty
                                                                                                       party without
                                                                                                               without ourour approval,
                                                                                                                               approval, we  we
                                                 reserve
                                                 reserve the    right to
                                                           the right    to terminate
                                                                           terminate youryour Service.
                                                                                                 Service. You
                                                                                                            You can
                                                                                                                  can request
                                                                                                                       request that
                                                                                                                                 that we     port
                                                                                                                                        we port
                                                 your number
                                                 your  number to       another carrier,
                                                                  to another     carrier, and
                                                                                            and Service
                                                                                                  Service for
                                                                                                            for that
                                                                                                                 that number
                                                                                                                       number willwill be
                                                                                                                                       be
                                                 terminated when
                                                 terminated     when the theporting
                                                                              portingis is complete.
                                                                                           complete.IfIfyou  youport
                                                                                                                  portyour
                                                                                                                         yournumber,
                                                                                                                               number, you you will
                                                                                                                                                 will
                                                 be  responsible for
                                                 be responsible      for all
                                                                          all usage
                                                                              usage and
                                                                                      and Charges
                                                                                             Charges until
                                                                                                        untilthethe port-out
                                                                                                                     port-out isis complete.
                                                                                                                                   complete. If   If
                                                 you port
                                                 you  port aa Number
                                                               Number to   to us,
                                                                               us, please
                                                                                   please be be aware
                                                                                                 aware that
                                                                                                         that wewe may
                                                                                                                    may not
                                                                                                                          not bebe able
                                                                                                                                    able to
                                                                                                                                         to provide
                                                                                                                                              provide
                                                 some services
                                                 some   servicesright
                                                                    right away,
                                                                           away, such
                                                                                   such asas 911
                                                                                              911 location    services. You
                                                                                                   location services.     You maymay be    required
                                                                                                                                       be required
                                                 to purchase
                                                 to purchase aa new new wireless
                                                                          wireless device
                                                                                     device andand you
                                                                                                     you may
                                                                                                          may be be without
                                                                                                                     without Service
                                                                                                                                Service for
                                                                                                                                          for some
                                                                                                                                                some
                                                 period
                                                 period ofof time.
                                                             time. Metro
                                                                     Metro by by T-Mobile
                                                                                  T-Mobile may  may charge
                                                                                                      charge aa fee
                                                                                                                  fee to  reimburse Metro
                                                                                                                      to reimburse      Metro by  by
                                                 T-Mobile for
                                                 T-Mobile     for the
                                                                   the costs
                                                                        costs Metro
                                                                               Metro by by T-Mobile
                                                                                             T-Mobile incurs
                                                                                                          incursto tomeet
                                                                                                                       meet the
                                                                                                                              the equipment,
                                                                                                                                   equipment,
                                                 technologyand
                                                 technology     and infrastructure
                                                                       infrastructure requirements
                                                                                          requirements necessary
                                                                                                             necessary to  to enable    number
                                                                                                                              enable number
                                                 porting.
                                                 porting. Metro
                                                            Metro by by T-Mobile
                                                                          T-Mobile maymay also
                                                                                             also charge
                                                                                                   charge a  a fee  to reimburse
                                                                                                               fee to  reimburse Metro
                                                                                                                                     Metro by  by T-
                                                                                                                                                   T-
                                                 Mobile
                                                 Mobile forfor the   costMetro
                                                               the cost    Metroby  byT-Mobile
                                                                                       T-Mobileincursincurs totoperform
                                                                                                                  perform aa port.
                                                                                                                               port. As
                                                                                                                                      As aa
                                                 standard service
                                                 standard    service feature,
                                                                        feature, Metro
                                                                                   Metro by by T-Mobile
                                                                                                T-Mobile transmits
                                                                                                             transmits your
                                                                                                                          your Number,
                                                                                                                                 Number,
                                                 account    name, and
                                                 account name,        and address
                                                                           address with
                                                                                      with each
                                                                                             eachcall
                                                                                                    call or
                                                                                                         or data
                                                                                                             data session
                                                                                                                    session you
                                                                                                                              you make
                                                                                                                                    make from
                                                                                                                                            from
                                                 your Metro
                                                 your  Metro by by T-Mobile
                                                                     T-Mobile wireless
                                                                                  wireless device.     Your account
                                                                                              device. Your     account name,       Number, and
                                                                                                                          name, Number,         and
                                                 IP
                                                 I PAddress
                                                      Addressmay maybe  bedisplayed
                                                                            displayedon  onthethetelephone
                                                                                                   telephone or  or other
                                                                                                                    other device
                                                                                                                            device ofof the   party
                                                                                                                                        the party
                                                 called  if that
                                                 called if  that person     uses caller
                                                                  person uses      caller identification.
                                                                                           identification. Your
                                                                                                              Your Number
                                                                                                                      Number and and location
                                                                                                                                       location
                                                 may
                                                 may also
                                                       also be   transmitted to
                                                             be transmitted      topublic
                                                                                     publicsafety
                                                                                               safetyofficials
                                                                                                       officialsififyou
                                                                                                                     youdial
                                                                                                                          dial 911
                                                                                                                                911 or
                                                                                                                                     or other
                                                                                                                                        other
                                                 emergency      servicenumbers.
                                                 emergency service         numbers.Your Your name      and Number
                                                                                                name and     Number for  for most
                                                                                                                              most calls
                                                                                                                                     calls can
                                                                                                                                            can be
                                                                                                                                                 be
                                                 blocked
                                                 blocked on on aa call-by-call
                                                                   call-by-call basis
                                                                                   basis by
                                                                                          by dialing
                                                                                               dialing*67
                                                                                                        *67before
                                                                                                              beforethe thetelephone
                                                                                                                             telephone area
                                                                                                                                          area code
                                                                                                                                                  code
                                                 and
                                                 and telephone       number (on
                                                      telephone number          (on certain
                                                                                     certain devices
                                                                                                devicesthere
                                                                                                           theremaymay bebe aa different
                                                                                                                               different number).
                                                                                                                                            number).
                                                 In
                                                 In addition,
                                                    addition, youyou maymayelect
                                                                              elect to
                                                                                    to have
                                                                                       have your
                                                                                               your name
                                                                                                      name andand Number
                                                                                                                    Number permanently
                                                                                                                               permanently
                                                 blocked,
                                                 blocked, at at no
                                                                no charge,
                                                                     charge, byby sending
                                                                                   sendingaarequest
                                                                                                 requestin  inwriting
                                                                                                               writing to:
                                                                                                                         to: Metro
                                                                                                                             Metro by by T-Mobile,
                                                                                                                                          T-Mobile,
                                                 P.O. Box 601119, Dallas, Texas, 75360-1119.
                                                 P.O.  Box   601119,     Dallas,  Texas,    75360-1119.




                                                                                                                                                         Feedback
                                                                                                                                                          CD
                                                                                                                                                          CD
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https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html
https://www.metrobyt-mobile.com/content/metro/en/desktop/metro/terms-conditions/terms-conditions-service.html                                            25/25
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